Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 1 of 624 PageID #: 7




                    Exhibit A
 Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 2 of 624 PageID #: 8
                                              EFiled: Apr 05 2018 12:03PM EDT
                                              Transaction ID 61878611
                                              Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,
                                              PUBLIC VERSION
v.                                            Filed: April 5, 2018

TRUSTWAVE HOLDINGS, INC.,               C.A. No.18C-04-006-WCC-CCLD

                Defendant.                     TRIAL BY JURY DEMANDED


                                   COMPLAINT

      Plaintiff Finjan, Inc. (“Finjan”), by and through its undersigned counsel,

asserts its claims against Trustwave Holdings, Inc. as follows.

                             NATURE OF THE ACTION
      1.     This is a complaint for breach of contract.

                                      PARTIES
      2.     Finjan is a Delaware corporation with a principal place of business at

2000 University Avenue, Suite 600, Palo Alto, California, 94303.

      3.     On information and belief, Defendant Trustwave Holdings, Inc.

(“Trustwave”) is a Delaware corporation with a principal place of business in 70

W. Madison St., Suite 600, Chicago, IL 60602. On information and belief,

Trustwave makes, uses, sells, and/or offers to sell in the United States, or imports

into the United States, including in this judicial district, cybersecurity products or

processes that practice the inventions claimed in Finjan’s patents.
 Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 3 of 624 PageID #: 9



                             FINJAN’S INNOVATIONS
        4.      Finjan was founded in 1997 as a wholly-owned subsidiary of Finjan

Software Ltd., an Israeli corporation. In 1998, Finjan moved its headquarters to

San Jose, California. Finjan was a pioneer in developing proactive security

technologies capable of detecting previously unknown and emerging online

security threats, recognized today under the umbrella term “malware.” These

technologies protect networks and endpoints by identifying suspicious patterns and

behaviors of content delivered over the Internet. Finjan has been awarded, and

continues to prosecute, numerous patents covering innovations in the United States

and around the world resulting directly from Finjan’s more than decades-long

research and development efforts, supported by a dozen inventors and over $65

million in R&D investments.

        5.      Finjan built and sold software, including application program

interfaces (APIs) and appliances for network security, using these patented

technologies. These products and related customers continue to be supported by

Finjan’s licensing partners. At its height, Finjan employed nearly 150 employees

around the world building and selling security products and operating the

Malicious Code Research Center, through which it frequently published research

regarding network security and current threats on the Internet. Finjan’s pioneering

approach to online security drew equity investments from two major software and



01:23041496.1
                                          -2-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 4 of 624 PageID #: 10



technology companies, the first in 2005 followed by the second in 2006. Finjan

generated millions of dollars in product sales and related services and support

revenues through 2009, when it spun off certain hardware and technology assets in

a merger. Pursuant to this merger, Finjan was bound to a non-compete and

confidentiality agreement, under which it could not make or sell a competing

product or disclose the existence of the non-compete clause. Finjan became a

publicly traded company in June 2013, capitalized with $30 million. After

Finjan’s obligations under the non-compete and confidentiality agreement expired

in March 2015, Finjan re-entered the development and production sector of secure

mobile products for the consumer market.

                  TRUSTWAVE LICENSES FINJAN’S PATENTS
        6.      Finjan and Trustwave entered into an Amended and Restated Patent

License Agreement (the “Agreement”), which is a binding contract supported by

offer, acceptance and mutual consideration. Among other things, under Section

2.1.1 of the Agreement, Finjan granted “to Licensee a limited, non-exclusive

(without the right to assign except as provided in Sections 2.4 or 6.9 below), fully

paid up, worldwide right and license, to:

        “(a) make, have made, use, import, sell and offer for sale (directly or

        indirectly, via one or more tiers of distribution channels) the Licensed

        Products and Services under the Licensed Patents;”



01:23041496.1
                                          -3-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 5 of 624 PageID #: 11



        7.      Under the Agreement, in the event Trustwave was acquired, certain

royalties would be due on certain products. Specifically, Section 2.5 of the

Agreement states:

                “Acquiring Parties. In the event of an Acquisition of
                Licensee, all the provisions of this Agreement applicable
                to Licensee (except as related to Section 3), shall be
                deemed to apply to the Acquirer, and its respective
                Affiliates that are licensed hereunder, and the royalties
                that apply under Section 3 to Permitted Transferees shall
                apply (from the effective date of such Acquisition) to all
                Licensed Products and Services sold and licensed by the
                Acquirer and its Affiliates licensed hereunder that are not
                attributable to the Existing Business.”

Section 3.2.1 of the Agreement, which provides the applicable royalty, states:

                “in respect of Permitted Transferees, and OEMs which
                are Excluded Persons and not Threshold Value OEMs
                exceeding the Net Sales Threshold, the then-prevailing
                royalty rate to be determined and agreed in good faith by
                Licensor and Licensee and reviewed annually if
                requested by Licensor based on then current royalty rates
                in the enterprise software market for customers of
                equivalent size for similar products, and, in the absence
                of such agreed prevailing rate provided such absence of
                agreement is not due to a lack of good faith on Licensor’s
                part,

Pursuant to Sections 2.5 and 3.2.1 of the Agreement, a         royalty would be due on

“any products and services other than the Licensed Products and Services and

Integrated Licensed Products and Services as actually offered and distributed by

the Licensee and their Affiliates at the time of the Transfer (“Existing Business.”).”




01:23041496.1
                                           -4-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 6 of 624 PageID #: 12



Further, under Section 3.3 of the Agreement, interest at the rate of “      per

annum” would also be due on such royalties.

       SINGTEL ACQUIRES TRUSTWAVE, TRIGGERING ROYALTY
                  CLAUSES IN THE AGREEMENT
        8.      Singtel publicly announced its offer to acquire Trustwave no later than

April 7, 2015. Trustwave announced on August 31, 2015, that Singtel had

completed its acquisition of Trustwave, including the Trustwave products and

services that are the subject of the Agreement that is at issue in this dispute. On

information and belief, Singtel now wholly owns Trustwave.

        9.      In 2015, Trustwave informed Finjan that Singtel was in the process of

acquiring Trustwave. By mid-2015, Finjan began negotiations with Trustwave

regarding the royalties due under the Agreement. Finjan explained that pursuant to

Sections 1.13, 2.4 and 2.5, a       royalty would be owed on products not

attributable to “Existing Business,” as defined by the Agreement. Finjan also

explained that Section 1.4 and Exhibit B of the Agreement imposed a          royalty

on relevant sales.

        10.     In a July 22, 2015 email, Trustwave informed Finjan that it agreed

that section 2.5 applied to the acquisition of Trustwave by Singtel.

        11.     By the fall of 2015, the parties were nearing an agreement regarding

additional royalties, when Trustwave suddenly, and without explanation, stopped

responding to Finjan’s emails, and thus refused to deal with Finjan.


01:23041496.1
                                          -5-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 7 of 624 PageID #: 13



        12.     After Trustwave withdrew from negotiations, on November 16, 2015,

Finjan notified Trustwave that it was in breach of the Agreement. On December

30, 2015, Finjan reiterated to Trustwave that it was in breach of the Agreement,

stating that “Trustwave/SingTel is in breach of the license to the Finjan patents and

is on notice for lack of compliance.”

        13.     On June 22, 2016 of 2016, Finjan requested an audit pursuant to

Section 3.4 of the Agreement for an accounting of the royalties resulting from

Singtel’s acquisition of Trustwave. Section 3.4 of the Agreement states:

                Licensee further agrees to permit its books and records,
                and to require any of its Affiliates licensed hereunder or
                OEMs, as the case may be, to permit such of their books
                and records necessary to determine the royalties paid
                hereunder, to be examined by an auditor or independent
                accounting firm mutually selected by Licensor and
                Licensee from time-to-time during regular business
                hours, but not more than once a year.”

Finjan proposed Connor Consulting to perform the audit, as Connor Consulting

came highly recommended, specialized in performing royalty audits, and would

cost less than other auditors. But Trustwave rejected Finjan’s proposed and instead

suggested either KPMG or Ernst & Young to perform the audit. Finjan looked into

having Ernst & Young perform the audit, but discovered that it had an engagement

with Singtel and thus could not perform the audit due to a conflict. Finjan then

retained KPMG, the other auditor suggested by Trustwave, to perform the audit.

Pursuant to the Agreement, Finjan initially paid for the audit. Under Section 3.4,


01:23041496.1
                                           -6-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 8 of 624 PageID #: 14



those audit fees could be shifted to Trustwave if the audit revealed an

underpayment of a certain amount.

        14.     KPMG attempted to perform its audit, but was denied various

information by Trustwave, in violation of Section 3.4 of the Agreement. Among

other things, Trustwave refused to provide sales and technical information on

products that Trustwave did not believe were within the scope of the Agreement,

unilaterally dictating the terms of KPMG’s audit, and violating the Agreement.

        15.     Based on Trustwave’s definition of what products were within the

scope of the agreement, KPMG concluded that an additional $160,524.91 was due

under the Agreement. However, based on KPMG’s own analysis of what products

were within the scope of the agreement, KPMG determined that an additional

$1,526,445.95 was due under the Agreement. Due to the amount by which

Trustwave was in underpayment, it was also required to pay for the audit, in the

amount of $50,654.67. On October 1, 2017, Finjan requested payment of those

fees and the cost of the audit, and asked that Trustwave advise whether it would

pay by October 18, 2017. Trustwave declined to pay.

        16.     On March 6, 2018, Finjan again reached out to Trustwave to request

payment of the fees and the cost of the audit. Over one week later, Trustwave’s

counsel responded on March 14 to request a CEO-to-CEO conversation to resolve

this dispute. Finjan promptly agreed to that request, and on March 16 provided



01:23041496.1
                                         -7-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 9 of 624 PageID #: 15



Trustwave’s counsel with the direct contact information of Finjan’s CEO. To date,

Trustwave has not reached out to Finjan or its CEO, despite its request.

                            JURISDICTION AND VENUE
        17.     The Court has subject matter jurisdiction and personal jurisdiction

over Trustwave at least by virtue of Section 6.4.1 of the Agreement, which states

that “[t]he parties hereto hereby irrevocably submit to the exclusive jurisdiction of

any federal or state court located within the State of Delaware over any dispute

arising out of or relating to this Agreement and each party hereby irrevocably

agrees that all claims in respect of such dispute or any suit, action proceeding

related thereto may be heard and determined in such courts.” This dispute arises of

and relates to the Agreement by virtue of Trustwave’s breach of various

provisions, described above and detailed further below.

        18.     The Court also has personal jurisdiction over Trustwave because

Plaintiff’s claims against each of them arises out of or relate to each of their

purposeful contacts with Delaware, and the exercise of personal jurisdiction over

each Trustwave in this particular case would comport with principles of fair play

and substantial justice.

        19.     This Court also has personal jurisdiction over each Trustwave because

it has engaged in systematic and continuous contacts with this State and this

district by, inter alia, regularly conducting and soliciting business in this State and



01:23041496.1
                                           -8-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 10 of 624 PageID #: 16



this district, and deriving substantial revenue from products and/or services

provided to persons in this State and this district. For example and without

limitation, as noted above, Trustwave is a Delaware corporation. As another

example without limitations, Trustwave offers for sale and on information and

belief has sold its products and services to residents on this State.

        20.     Venue is proper in this Court at least by virtue of Section 6.4.1 of the

Agreement, which, in addition to stating that “[t]he parties hereto hereby

irrevocably submit to the exclusive jurisdiction of any federal or state court located

within the State of Delaware over any dispute arising out of or relating to this

Agreement,” further states that “[t]he parties hereby irrevocably waive, to the

fullest extent permitted by applicable law, any objection which they may now or

hereafter have to the laying of venue of any such dispute brought in such court or

any defense of inconvenient forum for the maintenance of such dispute.”

        21.     Venue is further proper in this State because Trustwave is

incorporated here, and a substantial part of the events or omissions giving rise to

the claims alleged herein occurred in this district, and because Trustwave is subject

to this Court’s personal jurisdiction with respect to the claims alleged herein.

                             FIRST CAUSE OF ACTION

                   (Breach of Contract – Failure to Pay Royalties)
        22.     Finjan incorporates paragraphs 1 through 21 herein by reference.



01:23041496.1
                                           -9-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 11 of 624 PageID #: 17



        23.     Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration. Trustwave was acquired by Singtel no later than August 31, 2015.

        24.     The Agreement provides that, in the event of an acquisition of

Trustwave, at least a       royalty on “any products and services other than the

Licensed Products and Services and Integrated Licensed Products and Services as

actually offered and distributed by the Licensee and their Affiliates at the time of

the Transfer (‘Existing Business.’)” are due. Accordingly, additional royalties are

due under the Agreement.

        25.     Further, Finjan commenced an audit pursuant to Section 3.4 of the

Agreement. The independent auditor, KPMG, concluded that at least

$1,526,445.95 in additional royalties were owed by Trustwave to Finjan, based on

the available information. Despite Finjan’s repeated requests, Trustwave refuses to

pay that amount.

        26.     Accordingly, Trustwave has breached the Agreement by failing to pay

the royalties.

        27.     Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave’s breaches thereof.

        28.     As a direct and proximate result of Trustwave’s breach of the

Agreement, Finjan has suffered damages, in the amount of at least $1,526,445.95



01:23041496.1
                                          - 10 -
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 12 of 624 PageID #: 18



for the period of January 1, 2014 through December 31, 2016, based on the

information made available to Finjan.

                           SECOND CAUSE OF ACTION

                  (Breach of Contract – Noncompliance with Audit)
        29.     Finjan incorporates paragraphs 1 through 21 herein by reference.

        30.     Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration.

        31.     The Agreement allows for audits of Trustwave to determine whether

additional royalties are due. In the event of such an audit, Trustwave is required to

permits its books and records to be examined by an auditor. Trustwave refused to

provide certain information on products that it contends are not within the scope of

the Agreement. But the Agreement does not allow Trustwave to limit what books

or records are examined by the auditor. Accordingly, Trustwave interfered with

the requested audit, preventing it to be performed in accordance with Section 3.4 of

the Agreement. Trustwave has violated Section 3.4 of the Agreement, and has thus

breached the Agreement.

        32.     Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave’s breaches thereof.




01:23041496.1
                                          - 11 -
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 13 of 624 PageID #: 19



        33.     As a direct and proximate result of Trustwave’s breach of the

Agreement, Finjan has suffered damages, in an amount to be determined at trial.

                             THIRD CAUSE OF ACTION

                         (Breach of Contract – Cost of Audit)
        34.     Finjan incorporates paragraphs 1 through 21 herein by reference.

        35.     Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration.

        36.     Section 3.4 of the Agreement states:

                “Licensor shall bear the cost of the audit, provided,
                however, that if the audit reveals an underpayment in
                excess of the greater of                , then Licensee
                shall, within 30 days, reimburse Licensor for the costs of
                such audit.”
        37.     KPMG, the independent auditor mutually agreed upon by the parties

to perform an audit pursuant to the Agreement, determined that $1,526,445.95 in

additional royalties were owed by Trustwave to Finjan. This amount is in excess

of the greater of                 . Accordingly, pursuant to Section 3.4 of the

Agreement, Trustwave is required to bear the cost of the audit, $50,654.67.

Trustwave refuses to pay that amount, in violation of the Agreement. Accordingly,

Trustwave has breached the Agreement by failing to pay for the audit fees.

        38.     Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave’s breaches thereof.

01:23041496.1
                                          - 12 -
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 14 of 624 PageID #: 20



        39.     As a direct and proximate result of Trustwave’s breach of the

Agreement, Finjan has suffered damages, in the amount of at least $50,654.67 for

the cost of the audit.

                                PRAYER FOR RELIEF
        WHEREFORE, Finjan respectfully requests entry of judgment as follows:

        A.      That Trustwave be ordered to pay to Finjan damages for its breach of

the Agreement, in the amount of $1,526,445.95;

        B.      That Trustwave be ordered to pay Finjan pre-judgment and post-

judgment interest on the damages caused to it by reason of Trustwaves’ breach of

the Agreement, including interest pursuant to Section 3.3 of the Agreement in the

amount of          per annum;

        C.      That Trustwave be ordered to pay Finjan for the cost of the audit, in

the amount of $50,654.67;

        D.      That Trustwave be ordered to pay Finjan pre-judgment and post-

judgment interest on the cost of the audit;

        E.      That Finjan be awarded its Attorneys’ fees, including because of

Trustwave’s willful breach and its blatant lack of response.

                            DEMAND FOR JURY TRIAL
        Finjan hereby demands a jury trial on all issues so triable.




01:23041496.1
                                          - 13 -
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 15 of 624 PageID #: 21



Dated: April 4, 2018              YOUNG CONAWAY STARGATT & TAYLOR LLP

Of Counsel:                       /s/ Karen L. Pascale
                                  ______________________________________
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                                  Attorneys for Plaintiff Finjan, Inc.




01:23041496.1
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 16 of 624 PageID #: 22
   EFiled: Apr 12 2018 10:33AM EDT
   Transaction ID 61909308
   Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 17 of 624 PageID #: 23
                                               EFiled: Apr 20 2018 12:30PM EDT
                                               Transaction ID 61941132
                                               Case No. N18C-04-006 WCC CCLD
                 Sheriff's Office                                     State of Delaware
                 800 N. French Street, 5th Floor                     New Castle County
                 Wilmington, Delaware 19801                        Samuel D. Pratcher. Jr.
                 302-395-8450, Fax: 302-395-8460                           Sheriff


                                                                     4/20/2018
Court Case # N18C-04-006 WCC CCLD
Sheriff # 18-003387

Summons and Complaint

                                   FINJAN INC
                                       vs
                             TRUSTWAVE HOLDINGS INC

Entity - TRUSTWAVE HOLDINGS INC

On 4/19/2018 at 11:40 AM a copy of the within writ together with a copy of the Summons and
Complaint were served upon Litigation Management Representative, a representative for the
registered agent CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE
WILMINGTON, DE 19808 .



Fees Paid: $30.00

Per: Deputy Sheriff, Jeffrey Maddocks

SO ANS;



        SHERIFF

PER Faith Brown
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 18 of 624 PageID #: 24
                                               EFiled: May 04 2018 03:10PM EDT
                                               Transaction ID 61992906
                                               Case No. N18C-04-006 WCC CCLD
          IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                                  )
                                              )
                  Plaintiff,                  )
                                              )
     v.                                       )
                                              )
TRUSTWAVE HOLDINGS, INC.,                     )
                                              )    C.A. No. N18C-04-006 WCC
                  Defendants.                 )    CCLD
                                              )


                          ENTRY OF APPEARANCE
              PLEASE ENTER THE APPEARANCE of Jack B. Blumenfeld and

Alexandra M. Cumings of Morris, Nichols, Arsht & Tunnell LLP on behalf of

Defendant Trustwave Holdings, Inc.

                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP



                                /s/ Alexandra M. Cumings
                                Jack B. Blumenfeld (#1014)
                                Alexandra M. Cumings (#6146)
                                1201 N. Market Street
                                P.O. Box 1347
                                Wilmington, DE 19899-1347
                                (302) 658-9200
                                   Attorneys for Defendants Trustwave Holdings,
                                   Inc.


May 4, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 19 of 624 PageID #: 25



                        CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on May 4, 2018, she caused a

copy of the foregoing document to be electronically served, via File &

ServeXpress, upon the following counsel of record:

                        Karen L. Pascale (#2903)
                        Mary F. Dugan (#4704)
                        YOUNG CONAWAY STARGATT &
                        TAYLOR, LLP
                        1000 North King Street
                        Wilmington, DE 19801



                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 20 of 624 PageID #: 26
                                               EFiled: May 04 2018 03:10PM EDT
                                               Transaction ID 61992906
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                                    )
                                                )
                   Plaintiff,                   )
                                                )
      v.                                        )
                                                )
TRUSTWAVE HOLDINGS, INC.,                       )
                                                )   C.A. No. N18C-04-006 WCC
                   Defendants.                  )   CCLD
                                                )
                                                )
                                                )

             STIPULATION AND ORDER REGARDING
       DEFENDANT’S TIME TO RESPOND TO THE COMPLAINT

      IT IS HEREBY STIPULATED AND AGREED among the undersigned

parties that the time for Defendant to move, answer or otherwise plead in response

to the Complaint is extended to June 8, 2018.



YOUNG CONAWAY STARGATT &                  MORRIS, NICHOLS, ARSHT
TAYLOR, LLP                                & TUNNELL LLP


/s/ Karen L. Pascale                      /s/ Alexandra M. Cumings
Karen L. Pascale (#2903)                  Jack B. Blumenfeld (#1014)
Mary F. Dugan (#4704)                     Alexandra M. Cumings (#6146)
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Wilmington, DE 19801                      P.O. Box 1347
(302) 571-6600                            Wilmington, DE 19899-1347
  Attorneys for Plaintiff                 (302) 658-9200
                                            Attorneys for Defendant
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 21 of 624 PageID #: 27




     SO ORDERED this ____ day of May, 2018.



                                                     Judge Carpenter




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 22 of 624 PageID #: 28
                      So Ordered                 EFiled: May 09 2018 10:13AM EDT
           /s/ Carpenter, William C May 09, 2018 Transaction ID 62010175
                                                 Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                                    )
                                                )
                   Plaintiff,                   )
                                                )
      v.                                        )
                                                )
TRUSTWAVE HOLDINGS, INC.,                       )
                                                )   C.A. No. N18C-04-006 WCC
                   Defendants.                  )   CCLD
                                                )
                                                )
                                                )

             STIPULATION AND ORDER REGARDING
       DEFENDANT’S TIME TO RESPOND TO THE COMPLAINT

      IT IS HEREBY STIPULATED AND AGREED among the undersigned

parties that the time for Defendant to move, answer or otherwise plead in response

to the Complaint is extended to June 8, 2018.



YOUNG CONAWAY STARGATT &                  MORRIS, NICHOLS, ARSHT
TAYLOR, LLP                                & TUNNELL LLP


/s/ Karen L. Pascale                      /s/ Alexandra M. Cumings
Karen L. Pascale (#2903)                  Jack B. Blumenfeld (#1014)
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(302) 571-6600                            Wilmington, DE 19899-1347
  Attorneys for Plaintiff                 (302) 658-9200
                                            Attorneys for Defendant
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 23 of 624 PageID #: 29




     SO ORDERED this ____ day of May, 2018.



                                                     Judge Carpenter




                                      2
   Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 24 of 624 PageID #: 30




            Court: DE Superior Court-New Castle County
            Judge: William C Carpenter
     File & Serve
  Transaction ID: 61992906
    Case Number: N18C-04-006 WCC CCLD
      Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.
Court Authorizer: Carpenter, William C



 Court Authorizer
      Comments:
So Ordered by Carpenter, J. on 5-8-2018.

/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 25 of 624 PageID #: 31
                                               EFiled: Jun 08 2018 02:50PM EDT
                                               Transaction ID 62118630
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


              DEFENDANT TRUSTWAVE HOLDINGS, INC.’S
                MOTION TO DISMISS THE COMPLAINT

             Defendant Trustwave Holdings, Inc., through its undersigned counsel,

hereby moves to dismiss the Complaint (the “Complaint”) in the above-captioned

action pursuant to Superior Court Civil Rule 12(b)(6) on the grounds that the

Complaint fails to state a claim upon which relief can be granted. The grounds for

this motion shall be set forth in briefing to be filed pursuant to a scheduling

stipulation to be agreed upon by the parties and entered by the Court.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 26 of 624 PageID #: 32



                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                             /s/ Jack B. Blumenfeld
                             Jack B. Blumenfeld (#1014)
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                             (302) 658-9200
                             Attorneys for Defendant


June 8, 2018




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 27 of 624 PageID #: 33



                         CERTIFICATE OF SERVICE

            I hereby certify that on June 8, 2018, the foregoing was caused to be

served upon the following counsel of record via File & ServeXpress:

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801


                                           /s/ Alexandra M. Cumings
                                           Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 28 of 624 PageID #: 34
                                               EFiled: Jun 08 2018 02:50PM EDT
                                               Transaction ID 62118630
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                    Plaintiff,          )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
                    Defendant.          )


                      NOTICE OF MOTION TO DISMISS
               PLEASE TAKE NOTICE that the undersigned will present Defendant

Trustwave Holding, Inc.’s Motion to Dismiss the Complaint to the Court at the

earliest convenience of the Court.

                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                 /s/ Jack B. Blumenfeld
                                 Jack B. Blumenfeld (#1014)
                                 Alexandra M. Cumings (#6146)
                                 1201 North Market Street
                                 P.O. Box 1347
                                 Wilmington, DE 19899-1347
                                 (302) 658-9200
                                 Attorneys for Defendant


June 8, 2018
                                      SUPERIOR
           Case 1:20-cv-00372-MN Document       COURT
                                          2-1 Filed 03/16/20 Page 29 of 624 PageID #: 35
                          CIVIL CASE INFORMATION STATEMENTEFiled: (CIS)
                                                                   Jun 08 2018 02:50PM EDT
                                                                                          Transaction ID 62118630
COUNTY:       N            K   S                                 CIVIL ACTION NUMBER:  N18C-04-006-WCC-CCLD
                                                                                 Case No. N18C-04-006 WCC CCLD

Caption:                                                                      Civil Case Code: CCLD

FINJAN, INC.,                                                                 Civil Case Type: Complex Commercial Litigation Division
                                                                                                        (SEE REVERSE SIDE FOR CODE AND TYPE)

              Plaintiff,                                                      Name and Status of Party filing document:

                                                                              Trustwave Holdings, Inc. - Defendant
v.

TRUSTWAVE HOLDINGS, INC.                                                      Document Type: ( E.G.; COMPLAINT; ANSWER           WITH COUNTERCLAIM )


                                                                              Motion to Dismiss
              Defendants.

                                                                                              JURY DEMAND:    YES       NO   X




ATTORNEY NAME( S):                                                             IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR ANY
                                                                               RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE LAST
Jack B. Blumenfeld, Esquire                                                    TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE’S
Alexandra M. Cumings, Esquire                                                  INITIALS:

ATTORNEY ID(S):
JBB (#1014)
AMC (#6146)

FIRM NAME:
                                                                               EXPLAIN THE RELATIONSHIP(S):
MORRIS, NICHOLS, ARSHT & TUNNELL LLP


ADDRESS:
1201 North Market Street
P.O. Box 1347
Wilmington, DE 19899


TELEPHONE NUMBER:
(302) 658-9200

                                                                               OTHER    UNUSUAL ISSUES THAT AFFECT   CASE MANAGEMENT:




FAX NUMBER:
(302) 658-3989



E-MAIL ADDRESS:
jblumenfeld@mnat.com
acumings@mnat.com

                                                                               (IF   ADDITIONAL SPACE IS NEEDED , PLEASE ATTACH PAGE)

THE PROTHONOTARY      WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL
THE CASE INFORMATION STATEMENT         (CIS)   IS FILED.   THE   FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAY
RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.
                                                                                                                                       Revised 5/20
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 30 of 624 PageID #: 36
                                               EFiled: Jun 08 2018 02:50PM EDT
                                               Transaction ID 62118630
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                           )
                                       )
                  Plaintiff,           )
                                       ) C.A. No. N18C-04-006 WCC CCLD
      v.                               )
                                       )
TRUSTWAVE HOLDINGS, INC.,              )
                                       )
                  Defendant.           )


                               [PROPOSED] ORDER

             Upon consideration of Defendant Trustwave Holdings, Inc.’s Motion

to Dismiss the Complaint (the “Motion to Dismiss”),

             IT IS HEREBY ORDERED that:

             1.   The Motion to Dismiss is GRANTED; and

             2.   The Complaint is hereby DISMISSED with prejudice.




             IT IS SO ORDERED, this ____ day of ______________, 201_.




                                                      Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 31 of 624 PageID #: 37
                                                         EFiled: Jun 14 2018 02:22PM EDT
               M O R R I S , N I C H O L S , A R S H T & Transaction
                                                         T U N N E L L LIDL P62140037
                                                         Case No. N18C-04-006 WCC CCLD
                                  1201 N ORTH M ARKET S TREET
                                         P.O. B OX 1347
                              W ILMINGTON , D ELAWARE 19899-1347

                                         (302) 658-9200
                                      (302) 658-3989 FAX

JACK B. BLUMENFELD
(302) 351-9291
(302) 425-3012 FAX
jblumenfeld@mnat.com




                                           June 14, 2018

BY E-FILING AND HAND DELIVERY

The Honorable William C. Carpenter, Jr.
Superior Court of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801

                  Re:   Finjan, Inc. v. Trustwave Holdings, Inc.,
                        C.A. No. N18C-04-006-WCC [CCLD]

Dear Judge Carpenter:

                  I write on behalf of Defendant Trustwave Holdings, Inc.

(“Trustwave”) regarding entry of an order governing briefing on Trustwave’s June

8, 2018 motion to dismiss. Unfortunately, the parties have been unable to reach an

agreement on a schedule.

                  The complaint in this action for alleged breach of a patent license

agreement was served on April 19, 2018. (D.I. 4). The parties agreed to extend

Trustwave’s time to respond to the complaint to June 8, 2018. (D.I. 7). On June 8,
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 32 of 624 PageID #: 38
The Honorable William C. Carpenter, Jr.
June 14, 2018
Page 2


Trustwave filed a motion to dismiss the complaint that stated, using standard

language, that the grounds “shall be set forth in briefing to be filed pursuant to a

scheduling stipulation to be agreed upon by the parties and entered by the Court.”

(D.I. 8).

             By way of background, this is a complex action involving an alleged

breach of a complicated, 15-page (plus exhibits) patent license agreement in which

Plaintiff is seeking millions of dollars in damages. As noted on the Civil Case

Cover Sheet, Plaintiff designated this case as a complex commercial case. As

urged by Plaintiff, it is in essence a multi-patent patent infringement case within a

contract case, which will involve a myriad of contract interpretation issues and,

potentially, patent infringement and invalidity issues on an undefined set of

products. Under the circumstances, Trustwave believes it needs until June 29 to

file its opening brief. Plaintiff has insisted, however, that (1) Trustwave was

required to file its opening brief with its motion on June 8 even though there is no

such provision in Superior Court Civil Rule 107 and (2) Trustwave must now file

its opening brief by tomorrow, June 15, although it has pointed to no prejudice

from two more weeks, until June 29. We have made repeated attempts to resolve

this issue with Plaintiff’s counsel and have asked how much time Plaintiff would

like for its answering brief, but have not received a response.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 33 of 624 PageID #: 39
The Honorable William C. Carpenter, Jr.
June 14, 2018
Page 3


            Trustwave respectfully submits that a briefing schedule beginning on

June 29 is appropriate, and requests that Your Honor enter the attached proposed

order, providing for an opening brief on June 29, and answering and reply briefs 30

and 15 days thereafter.

            Should Your Honor have any questions, the parties are available at the

Court’s convenience.

                                      Respectfully,
                                      /s/ Jack B. Blumenfeld

                                      Jack B. Blumenfeld (#1014)




cc:   Karen L. Pascale, Esquire (via File & ServeXpress)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 34 of 624 PageID #: 40
                                               EFiled: Jun 14 2018 02:22PM EDT
                                               Transaction ID 62140037
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         ) C.A. No. N18C-04-006-WCC [CCLD]
                   Defendant.            )


             [PROPOSED] ORDER GOVERNING BRIEFING ON
                        MOTION TO DISMISS

      WHEREAS, Plaintiff filed its Complaint on April 4, 2018;

      WHEREAS, Defendant filed a Motion to Dismiss pursuant to Rule 12(b)(6)

(the “Motion to Dismiss”) on June 8, 2018;

      IT IS HEREBY ORDERED this __ day of __________ 2018, that the

following schedule shall govern briefing on the Motion to Dismiss:

      1.     Defendant shall file its opening brief on or before June 29, 2018.

      2.     Plaintiff shall file its answering brief on or before July 30, 2018.

      3.     Defendant shall file its reply brief on or before August 13, 2018.

      4.     Counsel for the parties shall contact the Court to schedule oral

argument on the Motion to Dismiss after Plaintiff files its Answering Brief.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 35 of 624 PageID #: 41




     SO ORDERED this ____ day of June, 2018.



                                                     Judge Carpenter




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 36 of 624 PageID #: 42
                                               EFiled: Jun 15 2018 12:28PM EDT
                                               Transaction ID 62144183 WILMINGTON
                                               Case No. N18C-04-006 WCC   CCLD
                                                                       RODNEY SQUARE

                                                                                    NEW YORK
                                                                            ROCKEFELLER CENTER


                                                                                     Karen L. Pascale
                                                                                       P 302.571.5001
                                                                                       F 302.576.3516
                                                                                    kpascale@ycst.com



                                      June 15, 2018

Via E-Filing and Hand Delivery
The Honorable William C. Carpenter, Jr.
Superior Court of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801

      Re:     Finjan, Inc. v. Trustwave Holdings, Inc.,
              C.A. No. N18C-04-006-WCC [CCLD]

Dear Judge Carpenter:

      I write on behalf of Plaintiff Finjan, Inc. (“Finjan”) in opposition to the

briefing schedule requested by Defendant Trustwave Holdings, Inc. (“Trustwave”)

on its motion to dismiss. Trustwave’s opening brief in support of its motion to

dismiss was due to be filed on June 8, 2018, concurrently with its motion.

      1. Background.

      In 2015, Finjan began negotiations with Trustwave regarding royalties due

under a license agreement. Over the next several years, Finjan repeatedly

attempted to collect the amounts owed by Trustwave under that agreement,

including amounts that a third-party auditor had determined were owed. Faced

with Trustwave’s complete failure to pay the amounts owed and its continual lack

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               P   302.571.6600   F   302.571.1253    YoungConaway.com
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 37 of 624 PageID #: 43
YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable William C. Carpenter, Jr.
June 15, 2018
Page 2

of response to communications, Finjan filed the Complaint in this action (under

seal) on April 4, 2018.

      The Sheriff served the Complaint on April 19, 2018. Trustwave’s response

was due 20 days later, on May 9, 2018. At Trustwave’s request, Finjan consented

to an additional 30 days (for a total of 50 days) for Trustwave to respond to the

Complaint. At that time, Finjan counsel explicitly warned Trustwave counsel:

“[p]lease be aware that Finjan is unlikely to consent to any further extension of

time to respond to the Complaint.” See Exhibit 1.

      On June 8, 2018, Trustwave filed a two-sentence motion to dismiss—with

no grounds for dismissal or an opening brief in support— and called Finjan

counsel to request a briefing schedule under which its opening brief would be filed

30 days later. Finjan counsel advised Trustwave counsel within a few hours that a

motion to dismiss must be supported by a simultaneously filed opening brief, and

therefore Trustwave's opening brief in support of its motion to dismiss was actually

that same day. See Exhibit 2.

      Following consultation with the client, Finjan counsel offered to stipulate to

an additional 7-day extension of time (for a total of 57 days after service of the

Complaint) for Trustwave to file its opening brief. Trustwave declined the offer,
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 38 of 624 PageID #: 44
YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable William C. Carpenter, Jr.
June 15, 2018
Page 3

maintaining that it had no obligation to file an opening brief together with its

motion to dismiss. See Exhibit 3 (June 11 – June 14, 2018 email chain).

      2. Superior Court Rules and Practice on Briefing

      Trustwave counsel is apparently relying upon Court of Chancery practice,

under which parties routinely file short-form motions with no opening brief and

subsequently negotiate briefing schedules. Finjan respectfully submits that this is

not the Superior Court practice.

      The Superior Court Rules require that a motion “shall state with particularity

the grounds therefor.” Del. Super. Ct. Civ. R. 7(b)(1). In its motion to dismiss,

Trustwave states that “[t]he grounds for this motion shall be set forth in briefing to

be filed pursuant to a scheduling stipulation to be agreed upon by the parties and

entered by the Court,” which directly contravenes the motion requirements of Rule

7(b). Trustwave was required to submit the grounds for its motion to dismiss at the

time of filing, not at some later date.

      The fact that the Superior Court rules appear on their face to be very similar

to the Court of Chancery rules does not mean that the conventions on briefing are

the same in both courts. In Superior Court it is expected that you will file your

opening brief along with your motion (and then negotiate a schedule for the

answering and reply briefs). There is no Superior Court rule, administrative
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 39 of 624 PageID #: 45
YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable William C. Carpenter, Jr.
June 15, 2018
Page 4

directive, standing order, etc. (and Trustwave has not cited any) that permits a

party to file a pro forma motion and say it will file its brief later.

      Rule 107 does not allow Trustwave to file its opening brief separate from its

motion to dismiss. If this was not a CCLD case, Trustwave would have been

limited under Del. Super. Ct. Civ. R. 78(b) to a 6-page “speaking” motion

containing all of its arguments and authorities, due on the date it was obligated to

respond to the Complaint. The fact that there is a CCLD Standing Order that

permits Trustwave to file an 8,000-word brief in accordance with Del. Super. Ct.

Civ. R. 107(h) (instead of a 6-page motion) does not affect the timing of its

briefing, does not grant Trustwave any further extension on its motion papers, and

does not otherwise obviate Trustwave’s obligation to file an opening brief with its

motion. See also CCLD Sample Case Management Order, paragraph VI. B. (“All

dispositive motions shall be accompanied with an opening brief supporting the

motion.”).

      3. Conclusion

      When Finjan consented to a 30-day extension of time for Trustwave to

respond to the Complaint, it certainly did not anticipate, and did not agree to, an

additional 30-day delay due to an unsupported motion to dismiss. Fifty-seven (57)

days after service should be more than sufficient time for Trustwave to draft an
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 40 of 624 PageID #: 46
YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable William C. Carpenter, Jr.
June 15, 2018
Page 5

opening brief in support of a motion to dismiss. Eighty-seven (87) days is not

warranted, and Trustwave should not be allowed to delay this case any longer.

Finjan respectfully submits that Trustwave should be ordered to file its opening

brief forthwith, with the answering and reply briefs to follow 30 and 15 days

thereafter. A proposed form of Order is attached hereto.

                                             Respectfully submitted,
                                             Karen L. Pascale
                                             Karen L. Pascale
                                             (DE I.D. #2903)

cc: Jack B. Blumenfeld, Esquire (via File & ServeXpress)


01:23325399.1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 41 of 624 PageID #: 47
                                               EFiled: Jun 15 2018 12:28PM EDT
                                               Transaction ID 62144183
                                               Case No. N18C-04-006 WCC CCLD




                  EXHIBIT 1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 42 of 624 PageID #: 48
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 43 of 624 PageID #: 49




                  EXHIBIT 2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 44 of 624 PageID #: 50
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 45 of 624 PageID #: 51




                  EXHIBIT 3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 46 of 624 PageID #: 52
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 47 of 624 PageID #: 53
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 48 of 624 PageID #: 54
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 49 of 624 PageID #: 55
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 50 of 624 PageID #: 56
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 51 of 624 PageID #: 57
                                               EFiled: Jun 15 2018 12:28PM EDT
                                               Transaction ID 62144183
                                               Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                 Plaintiff,

v.                                             C.A. No. N18C-04-006-WCC [CCLD]

TRUSTWAVE HOLDINGS, INC.,

                 Defendant.


                 [PROPOSED] ORDER GOVERNING BRIEFING
                   ON DEFENDANT’S MOTION TO DISMISS

      The Court, having considered the letter request of Defendant, Trustwave

Holdings, Inc. (“Trustwave”) seeking to extend the June 8, 2018 deadline to file its

brief in support of its Motion to Dismiss pursuant to Rule 12(b)(6) (“Motion”), and

the letter in opposition from Plaintiff, Finjan, Inc. (“Finjan”);

      IT IS HEREBY ORDERED this _______ day of _____________, 2018, as

follows:

      1.     Trustwave’s opening brief in support of its Motion was due on June 8,

2018, the same day it filed the Motion.

      2.     Trustwave shall file its opening brief within two (2) business days of

this issuance of this Order.

      3.     Finjan shall file its answering brief within 30 days after service of the

opening brief.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 52 of 624 PageID #: 58



      4.    Trustwave shall file its reply brief within 15 days after service of the

answering brief.

      5.    As soon as Trustwave files its reply brief, counsel for the parties shall

promptly contact the Court to request a date for oral argument on the Motion.



                                      ____________________________________
                                                JUDGE


                                      01:23325690.1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 53 of 624 PageID #: 59
                                               EFiled: Jun 19 2018 03:20PM EDT
                                               Transaction ID 62154387
                                               Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 54 of 624 PageID #: 60
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 55 of 624 PageID #: 61
                      So Ordered                 EFiled: Jun 19 2018 03:22PM EDT
           /s/ Carpenter, William C Jun 19, 2018 Transaction ID 62154437
                                                 Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         ) C.A. No. N18C-04-006-WCC [CCLD]
                   Defendant.            )


             [PROPOSED] ORDER GOVERNING BRIEFING ON
                        MOTION TO DISMISS

      WHEREAS, Plaintiff filed its Complaint on April 4, 2018;

      WHEREAS, Defendant filed a Motion to Dismiss pursuant to Rule 12(b)(6)

(the “Motion to Dismiss”) on June 8, 2018;

      IT IS HEREBY ORDERED this __ day of __________ 2018, that the

following schedule shall govern briefing on the Motion to Dismiss:

      1.     Defendant shall file its opening brief on or before June 29, 2018.

      2.     Plaintiff shall file its answering brief on or before July 30, 2018.

      3.     Defendant shall file its reply brief on or before August 13, 2018.

      4.     Counsel for the parties shall contact the Court to schedule oral

argument on the Motion to Dismiss after Plaintiff files its Answering Brief.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 56 of 624 PageID #: 62




     SO ORDERED this ____ day of June, 2018.



                                                     Judge Carpenter




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   Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 57 of 624 PageID #: 63




   File & Serve
Transaction ID: 62140037
  Current Date: Jun 19, 2018



/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 58 of 624 PageID #: 64
                                               EFiled: Jun 28 2018 12:35PM EDT
                                               Transaction ID 62184509
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                    Plaintiff,            )
                                          )
      v.                                  )
                                          )
TRUSTWAVE HOLDINGS, INC.,                 ) C.A. No. N18C-04-006 WCC CCLD
                                          )
                    Defendant.            )


                  MOTION FOR LEAVE TO FILE UNDER SEAL

             Defendant Trustwave Holdings, Inc. (“Trustwave”) respectfully

moves pursuant to Superior Court Civil Rule 5(g) for an order permitting the filing

of its briefing in support of its Motion to Dismiss Finjan, Inc.’s Complaint (the

“Motion to Dismiss”) and any related exhibits under seal.             The bases for

Trustwave’s motion are as follows:

             1.     Superior Court Rule 5(g)(2) states, in relevant part, “Court

Records or portions thereof shall not be placed under seal unless and except to the

extent that the person seeking the sealing thereof shall have first obtained, for good

cause shown, an order of this Court specifying those Court Records, categories of

Court Records, or portions thereof which shall be placed under seal[.]”

             2.     On April 3, 2018, this Court granted Plaintiff’s Motion for

Leave to File Complaint Under Seal, and Plaintiff subsequently filed its Complaint
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 59 of 624 PageID #: 65



under seal on April 4, 2018 (Trans. ID 61873810). Plaintiff filed a redacted public

version of its Complaint on April 5, 2018 (Trans. ID 61878611).

            3.     Similarly, the briefing on Trustwave’s Motion to Dismiss may

contain references to sensitive, non-public information, including financial and

business information that the parties will likely seek to designate as confidential

information. The disclosure of such information would result in material harm to

Trustwave. There will be no harm to the public because the information to be

redacted from public view is minimal.

            4.     Accordingly, Trustwave respectfully submits that good cause

exists for the sealing of the Motion to Dismiss briefing and related exhibit(s).

Trustwave intends to file a redacted public version of the Brief within thirty (30)

days in accordance with Superior Court Civil Rule 5(g)(2). For the foregoing

reasons, Trustwave respectfully requests that the Court grant it leave to file its

briefing on the Motion to Dismiss and related exhibit(s) under seal pursuant to

Superior Court Rule 5(g)(2).




                                        2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 60 of 624 PageID #: 66



                                      MORRIS, NICHOLS, ARSHT &
                                      TUNNELL LLP


OF COUNSEL:                           /s/ Alexandra M. Cumings
                                      Jack B. Blumenfeld (#1014)
John S. Letchinger                    Alexandra M. Cumings (#6146)
BAKER& HOSTETLER LLP                  1201 North Market Street
191 N. Wacker Drive                   P.O. Box 1347
Suite 3100                            Wilmington, DE 19899-1347
Chicago, IL 60606-1901                (302) 658-9200
(312) 416-6200                        Attorneys for Defendant

Jared A. Brandyberry
BAKER& HOSTETLER LLP
1801 California Street
Suite 4400
Denver, CO 80202
(303) 861-0600
June 28, 2018




                                     3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 61 of 624 PageID #: 67
                                               EFiled: Jun 28 2018 12:35PM EDT
                                               Transaction ID 62184509
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


                                NOTICE OF MOTION
             PLEASE TAKE NOTICE that the attached Defendant’s Motion for

Leave to File Under Seal will be presented at the convenience of the Court.

                                         Morris, Nichols, Arsht & Tunnell LLP

OF COUNSEL:
John S. Letchinger                       /s/ Alexandra M. Cumings
BAKER& HOSTETLER LLP                     Jack B. Blumenfeld (#1014)
191 N. Wacker Drive                      Alexandra M. Cumings (#6146)
Suite 3100                               1201 North Market Street
Chicago, IL 60606-1901                   P.O. Box 1347
(312) 416-6200                           Wilmington, DE 19899-1347
                                         (302) 658-9200
Jared A. Brandyberry                     Attorneys for Defendant
BAKER& HOSTETLER LLP
1801 California Street
Suite 4400
Denver, CO 80202
(303) 861-0600

June 28, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 62 of 624 PageID #: 68
                                               EFiled: Jun 28 2018 12:35PM EDT
                                               Transaction ID 62184509
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        ) C.A. No. N18C-04-006-WCC [CCLD]
                   Defendant.           )


                                [PROPOSED] ORDER

             Defendant Trustwave Holdings, Inc., having moved for leave to file

its briefing in support of its Motion to Dismiss Plaintiff’s Complaint and related

exhibit(s) under seal, and the Court having determined that good cause exists for

the requested relief, now, therefore:

             IT IS HEREBY ORDERED, this ___ day of __________, 2018, that

Defendant’s Motion is GRANTED.




                                         _________________________________
                                                  Judge Carpenter
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 63 of 624 PageID #: 69
                                               EFiled: Jun 28 2018 12:35PM EDT
                                               Transaction ID 62184509
                                               Case No. N18C-04-006 WCC CCLD
                         CERTIFICATE OF SERVICE

            I hereby certify that on June 28, 2018 the foregoing documents were

served upon all counsel of record via File & ServeXpress.




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 64 of 624 PageID #: 70
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                       Plaintiff,       )
                                        )
       v.                               )
                                        )
TRUSTWAVE HOLDINGS, INC.,               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
                       Defendant.       )


                  MOTION FOR ADMISSION PRO HAC VICE

              Alexandra M. Cumings, a member of the Delaware bar, pursuant to

Rule 90.1, moves the admission pro hac vice of John S. Letchinger to represent

Defendant. Movant certifies that she finds the applicant to be a reputable and

competent attorney, and that she is in a position to recommend the applicant’s

admission. The applicant is admitted, practicing and a member in good standing of

the bar of Illinois.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 65 of 624 PageID #: 71



                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                             /s/ Alexandra M. Cumings
                             Jack B. Blumenfeld (#1014)
                             Alexandra M. Cumings (#6146)
                             1201 North Market Street
                             P.O. Box 1347
                             Wilmington, DE 19899-1347
                             (302) 658-9200
                             Attorneys for Defendant


June 28, 2018




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 66 of 624 PageID #: 72



                         CERTIFICATE OF SERVICE

            I hereby certify that on June 28, 2018 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 67 of 624 PageID #: 73
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                       Plaintiff,       )
                                        )
       v.                               )
                                        )
TRUSTWAVE HOLDINGS, INC.,               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
                       Defendant.       )


                  MOTION FOR ADMISSION PRO HAC VICE

              Alexandra M. Cumings, a member of the Delaware bar, pursuant to

Rule 90.1, moves the admission pro hac vice of Matthew J. Caccamo to represent

Defendant. Movant certifies that she finds the applicant to be a reputable and

competent attorney, and that she is in a position to recommend the applicant’s

admission. The applicant is admitted, practicing and a member in good standing of

the bar of Illinois.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 68 of 624 PageID #: 74



                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                             /s/ Alexandra M. Cumings
                             Jack B. Blumenfeld (#1014)
                             Alexandra M. Cumings (#6146)
                             1201 North Market Street
                             P.O. Box 1347
                             Wilmington, DE 19899-1347
                             (302) 658-9200
                             Attorneys for Defendant


June 28, 2018




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 69 of 624 PageID #: 75



                         CERTIFICATE OF SERVICE

            I hereby certify that on June 28, 2018 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 70 of 624 PageID #: 76
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


                                NOTICE OF MOTION

             PLEASE TAKE NOTICE that the attached Motion for Admission Pro

Hac Vice has been filed with the Court and no presentation date will be held unless

the Court deems such hearing appropriate

                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                 /s/ Alexandra M. Cumings
                                 Jack B. Blumenfeld (#1014)
                                 Alexandra M. Cumings (#6146)
                                 1201 North Market Street
                                 P.O. Box 1347
                                 Wilmington, DE 19899-1347
                                 (302) 658-9200
                                 Attorneys for Defendant


June 28, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 71 of 624 PageID #: 77
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          )
      v.                                  )
                                          )
TRUSTWAVE HOLDINGS, INC.,                 ) C.A. No. N18C-04-006 WCC CCLD
                                          )
                   Defendant.             )


                                [PROPOSED] ORDER

             The motion of Alexandra M. Cumings for admission of John S.

Letchinger to practice in this action pro hac vice is hereby granted.

             IT IS SO ORDERED this ____ day of _________, 2018.




                                                             Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 72 of 624 PageID #: 78
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 73 of 624 PageID #: 79
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 74 of 624 PageID #: 80
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


                                NOTICE OF MOTION

             PLEASE TAKE NOTICE that the attached Motion for Admission Pro

Hac Vice has been filed with the Court and no presentation date will be held unless

the Court deems such hearing appropriate

                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                 /s/ Alexandra M. Cumings
                                 Jack B. Blumenfeld (#1014)
                                 Alexandra M. Cumings (#6146)
                                 1201 North Market Street
                                 P.O. Box 1347
                                 Wilmington, DE 19899-1347
                                 (302) 658-9200
                                 Attorneys for Defendant


June 28, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 75 of 624 PageID #: 81
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


                                [PROPOSED] ORDER

             The motion of Alexandra M. Cumings for admission of Matthew J.

Caccamo to practice in this action pro hac vice is hereby granted.

             IT IS SO ORDERED this ____ day of _________, 2018.




                                                            Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 76 of 624 PageID #: 82
                                               EFiled: Jun 28 2018 02:40PM EDT
                                               Transaction ID 62185389
                                               Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 77 of 624 PageID #: 83
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 78 of 624 PageID #: 84
                                               EFiled: Jun 28 2018 05:07PM EDT
                                               Transaction ID 62186612 WILMINGTON
                                               Case No. N18C-04-006 WCC   CCLD
                                                                       RODNEY SQUARE

                                                                                    NEW YORK
                                                                            ROCKEFELLER CENTER


                                                                                    Karen L. Pascale
                                                                                      P 302.571.5001
                                                                                      F 302.576.3516
                                                                                   kpascale@ycst.com



                                      June 28, 2018

Via E-Filing and Hand Delivery
The Honorable William C. Carpenter, Jr.
Superior Court of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801

      Re:     Finjan, Inc. v. Trustwave Holdings, Inc.,
              C.A. No. N18C-04-006-WCC [CCLD]

Dear Judge Carpenter:

      I write on behalf of Plaintiff Finjan, Inc. (“Finjan”) with respect to the

Motion for Leave to File Under Seal (“Motion”) filed today by Defendant

Trustwave Holdings, Inc. (“Trustwave”).

      Finjan does not oppose the Motion, provided that (1) Trustwave serves its

answering brief and related papers as scheduled on June 29, regardless of whether

leave to file under seal has yet been granted; and (2) Finjan is able to share the

answering brief and related papers with in-house counsel (or Trustwave provides

on June 29, along with the service copies, a version which redacts any Trustwave

highly confidential information, suitable for review by Finjan in-house counsel);

and (3) Trustwave provides to Finjan, at least five (5) business days prior to the

            Rodney Square ● 1000 North King Street ● Wilmington, DE 19801
               P   302.571.6600   F   302.571.1253    YoungConaway.com
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 79 of 624 PageID #: 85
YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable William C. Carpenter, Jr.
June 28, 2018
Page 2

filing of any redacted public version, a draft of said proposed public version for

review and comment.

                                              Respectfully submitted,
                                              Karen L. Pascale
                                              Karen L. Pascale
                                              (DE I.D. #2903)

cc: Jack B. Blumenfeld, Esquire (via File & ServeXpress)


01:23364115.1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 80 of 624 PageID #: 86
                       So Ordered                 EFiled: Jul 03 2018 08:34AM EDT
            /s/ Carpenter, William C Jul 03, 2018 Transaction ID 62198518
                                                  Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        ) C.A. No. N18C-04-006-WCC [CCLD]
                   Defendant.           )


                                [PROPOSED] ORDER

             Defendant Trustwave Holdings, Inc., having moved for leave to file

its briefing in support of its Motion to Dismiss Plaintiff’s Complaint and related

exhibit(s) under seal, and the Court having determined that good cause exists for

the requested relief, now, therefore:

             IT IS HEREBY ORDERED, this ___ day of __________, 2018, that

Defendant’s Motion is GRANTED.




                                         _________________________________
                                                  Judge Carpenter
   Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 81 of 624 PageID #: 87




            Court: DE Superior Court-New Castle County
            Judge: William C Carpenter
     File & Serve
  Transaction ID: 62184509
    Case Number: N18C-04-006 WCC CCLD
      Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.
Court Authorizer: Carpenter, William C



 Court Authorizer
      Comments:
So Ordered by Carpenter, J. on 7-2-2018.

/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 82 of 624 PageID #: 88
                       So Ordered                 EFiled: Jul 03 2018 08:37AM EDT
            /s/ Carpenter, William C Jul 03, 2018 Transaction ID 62198544
                                                  Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          )
      v.                                  )
                                          )
TRUSTWAVE HOLDINGS, INC.,                 ) C.A. No. N18C-04-006 WCC CCLD
                                          )
                   Defendant.             )


                                [PROPOSED] ORDER

             The motion of Alexandra M. Cumings for admission of John S.

Letchinger to practice in this action pro hac vice is hereby granted.

             IT IS SO ORDERED this ____ day of _________, 2018.




                                                             Judge
   Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 83 of 624 PageID #: 89




            Court: DE Superior Court-New Castle County
            Judge: William C Carpenter
     File & Serve
  Transaction ID: 62185389
    Case Number: N18C-04-006 WCC CCLD
      Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.
Court Authorizer: Carpenter, William C



 Court Authorizer
      Comments:
So Ordered by Carpenter, J. on 7-2-2018.

/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 84 of 624 PageID #: 90
                       So Ordered                 EFiled: Jul 03 2018 08:37AM EDT
            /s/ Carpenter, William C Jul 03, 2018 Transaction ID 62198544
                                                  Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                   Defendant.            )


                                [PROPOSED] ORDER

             The motion of Alexandra M. Cumings for admission of Matthew J.

Caccamo to practice in this action pro hac vice is hereby granted.

             IT IS SO ORDERED this ____ day of _________, 2018.




                                                            Judge
   Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 85 of 624 PageID #: 91




            Court: DE Superior Court-New Castle County
            Judge: William C Carpenter
     File & Serve
  Transaction ID: 62185389
    Case Number: N18C-04-006 WCC CCLD
      Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.
Court Authorizer: Carpenter, William C



 Court Authorizer
      Comments:
So Ordered by Carpenter, J. on 7-2-2018.

/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 86 of 624 PageID #: 92
                                               EFiled: Jul 30 2018 10:51AM EDT
                                               Transaction ID 62285368
                                               Case No. N18C-04-006 WCC CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                               C.A. No. N18C-04-006-WCC
                                                 (CCLD)
TRUSTWAVE HOLDINGS, INC.,

                Defendant.

                UNOPPOSED MOTION FOR LEAVE TO FILE
                   ANSWERING BRIEF UNDER SEAL
      Plaintiff, Finjan, Inc. (“Finjan”), by its undersigned counsel, respectfully

moves the Court, pursuant to Superior Court Civil Rule 5(g)(2) for an Order

authorizing Finjan to file its Answering Brief in Opposition to Defendant

Trustwave Holdings, Inc.’s Motion to Dismiss the Complaint (“Answering Brief”)

under seal. In support thereof, Finjan states as follows:

      1.     Superior Court Civil Rule 5(g)(2) authorizes the Court to permit filing

under seal for “good cause.”

      2.     Finjan’s claims in this litigation arise from an Amended and Restated

Patent License Agreement (“Agreement”).

      3.     Briefing on the Motion to Dismiss necessarily includes certain highly

confidential financial information relating to royalty rates and other terms of the

Agreement.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 87 of 624 PageID #: 93



        4.      The sensitive and confidential nature of the royalty rates, etc., cited in

the Answering Brief constitutes “good cause” to file the Answering Brief under

seal.

        5.      On the bases articulated above, this Court previously ordered that

Finjan’s Complaint (Dkt. No. 1) and the Opening Brief of Trustwave Holdings,

Inc. in Support of its Motion to Dismiss (Dkt. No. 17), to which the Answering

Brief will respond, could be filed under seal. (See Dkt. Nos. 1, 18.)

        6.      Finjan will file a public version of the Answering Brief, with all

confidential information redacted, according to the time periods set forth in

Superior Court Civil Rule 5(g)(2).

        7.      The undersigned counsel has conferred with Defendant’s counsel,

who do not oppose this request.

        WHEREFORE, for the foregoing reasons, Finjan respectfully requests that

the Court enter the attached Order permitting the filing of the Answering Brief

under seal.




01:23453096.1
                                            -2-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 88 of 624 PageID #: 94



Dated: July 30, 2018              YOUNG CONAWAY STARGATT & TAYLOR LLP

Of Counsel:                       /s/ Karen L. Pascale
                                  ______________________________________
John L. Cooper                    Karen L. Pascale (#2903)
Winston Liaw                      Mary F. Dugan (#4704)
FARELLA BRAUN + MARTEL LLP        1000 North King Street
235 Montgomery Street, 17th       Wilmington, DE 19801
Floor                             Telephone: (302) 571-6600
San Francisco, California 94104   kpascale@ycst.com
Telephone: (415) 954-4400         mdugan@ycst.com
                                  Attorneys for Plaintiff Finjan, Inc.




01:23453096.1
                                     -3-
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 89 of 624 PageID #: 95
                                               EFiled: Jul 30 2018 10:51AM EDT
                                               Transaction ID 62285368
                                               Case No. N18C-04-006 WCC CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                             C.A. No. N18C-04-006-WCC
                                               (CCLD)
TRUSTWAVE HOLDINGS, INC.,

                Defendant.

                             NOTICE OF MOTION

      PLEASE TAKE NOTICE that Finjan, Inc., through its undersigned counsel,

will present its Unopposed Motion for Leave to File Answering Brief Under Seal

at the convenience of the Court.

Dated: July 30, 2018               YOUNG CONAWAY STARGATT & TAYLOR LLP

Of Counsel:                        /s/ Karen L. Pascale
                                   ______________________________________
John L. Cooper                     Karen L. Pascale (#2903)
Winston Liaw                       Mary F. Dugan (#4704)
FARELLA BRAUN + MARTEL LLP         1000 North King Street
235 Montgomery Street, 17th        Wilmington, DE 19801
Floor                              Telephone: (302) 571-6600
San Francisco, California 94104    kpascale@ycst.com
Telephone: (415) 954-4400          mdugan@ycst.com
                                   Attorneys for Plaintiff Finjan, Inc.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 90 of 624 PageID #: 96
                                               EFiled: Jul 30 2018 10:51AM EDT
                                               Transaction ID 62285368
                                               Case No. N18C-04-006 WCC CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                           C.A. No. N18C-04-006-WCC
                                             (CCLD)
TRUSTWAVE HOLDINGS, INC.,

                Defendant.


                             [PROPOSED] ORDER

      The Court, having considered Plaintiff’s Unopposed Motion for Leave to

File Answering Brief Under Seal, and good cause having been shown, hereby

orders that the Motion is GRANTED, and Plaintiff’s Answering Brief in

Opposition to Defendant Trustwave Holdings, Inc.’s Motion to Dismiss the

Complaint may be filed under seal.


            IT IS SO ORDERED this _____ day of ________________, 2018.



                                     ____________________________________
                                     Judge William C. Carpenter
 Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 91 of 624 PageID #: 97
                                                EFiled: Jul 30 2018 10:51AM EDT
                                                Transaction ID 62285368
                                                Case No. N18C-04-006 WCC CCLD
                             CERTIFICATE OF SERVICE

          I, Karen L. Pascale, Esquire, hereby certify that on July 30, 2018, I caused

 true and correct copies of the foregoing document to be served upon the following

 counsel of record as indicated:

  For Defendant, Trustwave Holdings, Inc.:

  VIA FILE & SERVEXPRESS AND E-MAIL:

  Jack B. Blumenfeld                               jblumenfeld@mnat.com
  Alexandra M. Cumings                                acumings@mnat.com
  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
  1201 North Market Street
  P.O. Box 1347
  Wilmington, DE 19899-1347


  VIA E-MAIL:

  John S. Letchinger                          jletchinger@bakerlaw.com
  Matthew J. Caccamo                             mcaccamo@bakerlaw.com
  BAKER & HOSTETLER LLP
  191 N. Wacker Drive, Suite 3100
  Chicago, IL 60606-1901



                                      YOUNG CONAWAY STARGATT & TAYLOR, LLP

 July 30, 2018                         /s/ Karen L. Pascale
                                      Karen L. Pascale (#2903) [kpascale@ycst.com]
                                      Robert M. Vrana (# 5666) [rvrana@ycst.com]
                                      Rodney Square
                                      1000 North King Street
                                      Wilmington, DE 19801
                                      Telephone: (302) 571-6600
01:23460207.1
         Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 92 of 624 PageID #: 98



                                        Attorneys for Plaintiff,
                                        Finjan, Inc.




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                                               2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 93 of 624 PageID #: 99
                                               EFiled: Jul 30 2018 04:34PM EDT
                                               Transaction ID 62287951
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                           )
                                       )
                   Plaintiff,          )
                                       )
      v.                               )
                                       )
TRUSTWAVE HOLDINGS, INC.,              ) C.A. No. N18C-04-006 WCC CCLD
                                       )
                   Defendant.          )


                MOTION FOR ADMISSION PRO HAC VICE

             Alexandra M. Cumings, a member of the Delaware bar, pursuant to

Rule 90.1, moves the admission pro hac vice of Jared A. Brandyberry to represent

Defendant. Movant certifies that she finds the applicant to be a reputable and

competent attorney, and that she is in a position to recommend the applicant’s

admission. The applicant is admitted, practicing and a member in good standing of

the bar of Colorado.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 94 of 624 PageID #: 100



                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                              /s/ Alexandra M. Cumings
                              Jack B. Blumenfeld (#1014)
                              Alexandra M. Cumings (#6146)
                              1201 North Market Street
                              P.O. Box 1347
                              Wilmington, DE 19899-1347
                              (302) 658-9200
                              Attorneys for Defendant


July 30, 2018




                                      2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 95 of 624 PageID #: 101
                                               EFiled: Jul 30 2018 04:34PM EDT
                                               Transaction ID 62287951
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
                   Defendant.           )


                                NOTICE OF MOTION

             PLEASE TAKE NOTICE that the attached Motion for Admission Pro

Hac Vice has been filed with the Court and no presentation date will be held unless

the Court deems such hearing appropriate

                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                 /s/ Alexandra M. Cumings
                                 Jack B. Blumenfeld (#1014)
                                 Alexandra M. Cumings (#6146)
                                 1201 North Market Street
                                 P.O. Box 1347
                                 Wilmington, DE 19899-1347
                                 (302) 658-9200
                                 Attorneys for Defendant


July 30, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 96 of 624 PageID #: 102
                                               EFiled: Jul 30 2018 04:34PM EDT
                                               Transaction ID 62287951
                                               Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 97 of 624 PageID #: 103
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 98 of 624 PageID #: 104
                                               EFiled: Jul 30 2018 04:34PM EDT
                                               Transaction ID 62287951
                                               Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          )
      v.                                  )
                                          )
TRUSTWAVE HOLDINGS, INC.,                 ) C.A. No. N18C-04-006 WCC CCLD
                                          )
                   Defendant.             )


                                [PROPOSED] ORDER

             The motion of Alexandra M. Cumings for admission of Jared A.

Brandyberry to practice in this action pro hac vice is hereby granted.

             IT IS SO ORDERED this ____ day of _________, 2018.




                                                            Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 99 of 624 PageID #: 105
                                               EFiled: Jul 30 2018 04:34PM EDT
                                               Transaction ID 62287951
                                               Case No. N18C-04-006 WCC CCLD
                         CERTIFICATE OF SERVICE

            I hereby certify that on July 30, 2018 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

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                         1000 North King Street
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 100 of 624 PageID #: 106
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Cent. Mortg. Co. v. Morgan Stanley Mortg. Capital Holdings LLC
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Clinton v. Enter. Rent-A-Car Co.
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Eidos Communications, LLC v. Skype Technologies SA
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Fifth Market, Inc. v. CME Group, Inc.
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Finjan Inc. v. Symantec Corp
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Lagrone v. Am. Mortell Corp
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Medtronic, Inc. v. Mirowski Family Ventures, LLC
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Modern Telecom Systems, LLC v. TCL Corporation
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Narrowstep Inc., v Onstream Media Corp
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Newborn v. Christiana Psychiatric Servs., P.A.
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North Star Innovations, Inc. v. Micron Technology, Inc.
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Ondeo Nalco Co. v. EKA Chemicals, Inc.
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Seal-Flex, Inc. v. Athletic Track and Court Const
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SIPCO, LLC v. Streetline, Inc
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View Engineering, Inc. v. Robotic Vision Systems, Inc.
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 106 of 624 PageID #: 112



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0RUHRYHU WKH &RPSODLQW IDLOV WR DOOHJH DQ\WKLQJ DERXW ZKDW SURGXFWV DUH

SRWHQWLDOO\ UR\DOW\EHDULQJ ZKLFK QHFHVVDULO\ UHTXLUHV LGHQWLILFDWLRQ RI DQ

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
  )LQMDQ¶V VROH RSHUDWLYH DOOHJDWLRQ LV WKDW 6LQJWHO DFTXLUHG 7UXVWZDYH
DXWRPDWLFDOO\ FRQYHUWLQJ WKH RWKHUZLVH IXOO\ SDLGXS OLFHQVH LQWR D SRWHQWLDOO\
UR\DOW\EHDULQJ RQH  7UXVWZDYH GLVDJUHHV WKDW WKH 6LQJWHO DFTXLVLWLRQ WULJJHUV D
FRQYHUVLRQ WR D SRWHQWLDOO\ UR\DOW\EHDULQJ VLWXDWLRQ  7KH WUDQVIHUDFTXLVLWLRQ
SURYLVLRQV see ([KLELW$DW6HFWLRQVDQG DUHLQFOXGHGLQWKH$JUHHPHQWLQ
WKHHYHQWRIDPDWHULDOH[SDQVLRQRIWKHXVHRIWKH/LFHQVHG 3DWHQWVE\ZD\RI D
WUDQVDFWLRQ  7KDW W\SH RI H[SDQVLRQ²LQFRUSRUDWLQJ 7UXVWZDYH¶V SURGXFWV RU
WHFKQRORJ\LQWRWKHDFTXLUHU¶VSURGXFWV²KDVQRWRFFXUUHG(YHQDVVXPLQJ)LQMDQ
ZHUH FRUUHFW RQ WKLV SRLQW WKHUH UHPDLQ QRQHWKHOHVV LQGLVSXWDEOH FRQGLWLRQV WKDW
PXVWH[LVWZKLFKDUHLGHQWLILHGDWDKLJKOHYHORQWKHIDFHRIWKH,QVSHFWLRQ5HSRUW
VKRZQLQ([KLELW%IRUUR\DOWLHVWREHWULJJHUHG)LQMDQPDNHVQRDOOHJDWLRQVWKDW
DQ\RIWKHRFFXUUHQFHVRUFRQGLWLRQVKDYHEHHQVDWLVILHGWRSURPSWUR\DOW\SD\PHQW


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 107 of 624 PageID #: 113



DSSOLFDEOH YDOLG SDWHQW WKDW SXUSRUWV WR FRYHU WKH SURGXFW  7KH JURXQGV IRU

LQVSHFWLRQ LQ 6HFWLRQ  RI WKH $JUHHPHQW OLPLWV WKH LQVSHFWLRQ H[HUFLVH WR D

³«UHSRUW WR /LFHQVRU RQO\ ZLWK UHVSHFW WR WKH DFFXUDF\ RI 1HW 6DOHV FDOFXODWLRQV

DQG SD\PHQWV PDGH XQGHU WKH $JUHHPHQW´  See ([KLELW $ DW 6HFWLRQ   $V

GHWDLOHGEHORZWKHSDWKWRDGHWHUPLQDWLRQRI³1HW6DOHV´LVDORQJDQGFRQWLQJHQW

RQH )LQMDQ¶V &RPSODLQW GRHV QRW HYHQ DOOHJH 1HW 6DOHV DQG FHUWDLQO\ QRW RQ D

SURGXFW±E\SURGXFW EDVLV  )LQMDQ¶V DWWHPSW WR VXPPDULO\ FRQYHUW WKH ,QVSHFWLRQ

5HSRUWLQWRDGHWHUPLQDWLYHILQGLQJUHSRUWLQJDGHEWRZLQJILQGVQRVXSSRUWLQWKH

RSHUDWLYH$JUHHPHQWQRUWKHODZDQGVKRXOGEHUHMHFWHGE\WKLV&RXUW

           )LQMDQ¶V VWUDWHJ\ KHUH LV XQVXUSULVLQJ  7KH DOOHJDWLRQV LQ LWV &RPSODLQW

QRWZLWKVWDQGLQJ)LQMDQLVQRWDQRSHUDWLQJFRPSDQ\²LWVHOOVQRJRRGVRUVHUYLFHV

,QVWHDG )LQMDQ H[LVWV RQO\ WR PRQHWL]H LWV SDWHQW SRUWIROLR WKURXJK OLFHQVLQJ DQG

OLWLJDWLRQ$VLWUHODWHVWRWKHSUHVHQWGLVSXWH)LQMDQKDVEHHQFRPSHQVDWHGWZLFH²

RQFH LQ WKH RULJLQDO OLFHQVH WR 0 6HFXULW\ ,QF ³0´  DQG WKHQ DJDLQ ZKHQ

7UXVWZDYHDFTXLUHG0,I)LQMDQZDQWVWRDWWHPSWWRWULJJHUDGGLWLRQDOUR\DOWLHV

XQGHUWKH3DUWLHV¶IXOO\SDLGXS$JUHHPHQWLWPXVWDGHTXDWHO\SOHDGLWVFODLP




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REOLJDWLRQV,QVWHDGWKHDOOHJDWLRQVPDGHE\)LQMDQDUHDQLQDSSURSULDWHHIIRUWWR
VZD\WKLV&RXUWZLWKLQDGPLVVLEOHDQGPLVFKDUDFWHUL]HGFRPPXQLFDWLRQVEHWZHHQ
WKH3DUWLHV

  8QGHUVWDQGDEO\WKLVZRXOGEHEDVHGRQDSUHILOLQJJRRGIDLWKDQDO\VLV


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 108 of 624 PageID #: 114




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               D   )LQMDQLVD3DWHQW$VVHUWLRQ(QWLW\

       )LQMDQ¶V &RPSODLQW VXJJHVWV WKDW LW LV DQ RSHUDWLQJ FRPSDQ\ LQ WKH

F\EHUVHFXULW\LQGXVWU\ Vee &RPSODLQWDW ,QIDFW)LQMDQ¶VVROHSXUSRVHLVWR

H[WUDFWSDWHQWOLFHQVHIHHVIURPRSHUDWLQJFRPSDQLHVWKURXJKOLWLJDWLRQRUWKHWKUHDW

RIOLWLJDWLRQ

       /LFHQVLQJ DQG HQIRUFHPHQW RI WKH &RPSDQ\¶V F\EHUVHFXULW\ SDWHQW
       SRUWIROLR LV RSHUDWHG E\ LWV ZKROO\RZQHG VXEVLGLDU\ )LQMDQ ,QF
         ³)LQMDQ´ 
       
       «
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       7KURXJK )LQMDQ ZH JHQHUDWH UHYHQXHV DQG UHODWHG FDVK IORZV E\
       JUDQWLQJ LQWHOOHFWXDO SURSHUW\ OLFHQVHV IRU WKH XVH RI SDWHQWHG
       WHFKQRORJLHVWKDWZHRZQ:HDFWLYHO\OLFHQVHDQGHQIRUFHRXUSDWHQW
       ULJKWV DJDLQVW XQDXWKRUL]HG XVH RI RXU SDWHQWHG WHFKQRORJLHV i.e.
       SRWHQWLDOLQIULQJHUV 0DQ\RIRXUOLFHQVHDJUHHPHQWVZKHWKHUHQWHUHG
       LQWRYLDQHJRWLDWHGWUDQVDFWLRQV i.e.OLFHQVLQJWUDQVDFWLRQV RUWKURXJK
       D VHWWOHPHQW RU FRXUW RUGHUHG MXGJPHQW i.e. OLWLJDWLRQ DFWLRQ  RU
       RWKHUZLVHDUHVWUXFWXUHGRQDIXOO\SDLGXSEDVLV RIWHQUHIHUUHGWRDVD
       ³JOREDOSHDFHOLFHQVH´ 
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       
       :H GHULYH VXEVWDQWLDOO\ DOO RI RXU LQFRPH IURP D UHODWLYHO\ VPDOO
       QXPEHURISDWHQWHGWHFKQRORJLHV$VRI'HFHPEHURXUDVVHWV
       FRQVLVWHGSULPDULO\RI)LQMDQ¶V86DQGLQWHUQDWLRQDOSDWHQWV«
       )LQMDQ¶V FXUUHQW 86 LVVXHG SDWHQWV EHJDQ H[SLULQJ LQ  DQG ZH
       FXUUHQWO\ KDYH  86 SDWHQW DSSOLFDWLRQV DQG  LQWHUQDWLRQDO SDWHQW
       DSSOLFDWLRQSHQGLQJDVRIWKHGDWHRIWKHILOLQJRIWKLV$QQXDO5HSRUW
       RQ )RUP . $V QHZ WHFKQRORJLFDO DGYDQFHV RFFXU PDQ\ RI WKH
       SDWHQWHG WHFKQRORJLHV ZH RZQ WKURXJK )LQMDQ PD\ EHFRPH REVROHWH
       EHIRUHWKH\DUHFRPSOHWHO\PRQHWL]HG
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 109 of 624 PageID #: 115



See([KLELW& )LQMDQ+ROGLQJV,QF¶V.IRU)< DWSSDQG

            E    7KH3DWHQW/LFHQVH$JUHHPHQW

      ,Q0DUFK7UXVWZDYHDQG)LQMDQHQWHUHGLQWRDQ$PHQGHGDQG5HVWDWHG

3DWHQW/LFHQVH$JUHHPHQW WKH³$JUHHPHQW´ ZKHQ7UXVWZDYHDFTXLUHG0See

([KLELW$ WKH³$JUHHPHQW´ DWILUVWZKHUHDVFODXVH




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                  L     7KH6LQJWHO$FTXLVLWLRQ'LG1RW&RQYHUW7KH
                          $JUHHPHQWWR5R\DOW\%HDULQJ
      $OVR LQ VXPPDU\ IDVKLRQ )LQMDQ DOOHJHV LQ 3DUDJUDSKV  DQG  RI WKH

&RPSODLQW WKDW SXUVXDQW WR 6HFWLRQV   DQG  RI WKH $JUHHPHQW

7UXVWZDYH¶V DFTXLVLWLRQ E\ D WHOHFRPPXQLFDWLRQV FRPSDQ\ EDVHG LQ 6LQJDSRUH

WULJJHUHGDFRQYHUVLRQRIWKH$JUHHPHQWIURPIXOO\SDLGXSWRUR\DOW\EHDULQJIRU


                                          
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 110 of 624 PageID #: 116



UHOHYDQW VDOHV  See &RPSODLQW DW    :LWKRXW IXUWKHU DOOHJDWLRQV )LQMDQ

DWWHPSWV WR LQMHFW LQWR WKH SURFHHGLQJV D SXUSRUWHG HPDLO DV VRPHKRZ HQGLQJ WKH

LVVXHId. DW7KH$JUHHPHQWLVFOHDUWKDWWUDQVDFWLRQVWKDWGRQRWFRQWHPSODWH

DQ H[SDQVLRQ RI WKH XVH RI WKH /LFHQVHG 3DWHQWV GR QRW WULJJHU UR\DOW\ SD\PHQWV

$QG WKH $JUHHPHQW LV IXUWKHU FOHDU WKDW LQ WKH HYHQW RI VXFK D TXDOLI\LQJ

WUDQVDFWLRQWKHFRQGLWLRQDOUR\DOW\SD\PHQWVZRXOGEHDVVHVVHGRQO\RQVDOHVPDGH

RWKHUWKDQE\7UXVWZDYH DVWKHDFTXLUHGFRPSDQ\ )LQMDQPDNHVQRDOOHJDWLRQVLQ

VXSSRUW RI LWV FRQFOXVRU\ DOOHJDWLRQ WKDW WKH 6LQJWHO DFTXLVLWLRQ WULJJHUV UR\DOW\

SD\PHQWVXQGHUWKH$JUHHPHQW

                   LL     7KH/LFHQVH*UDQWHGE\)LQMDQWR7UXVWZDYH
       (YHQPRUHJODULQJDUHWKHSOHDGLQJGHILFLHQFLHVZLWKUHVSHFWWR7UXVWZDYH¶V

DOOHJHGUR\DOW\REOLJDWLRQVXQGHUWKH$JUHHPHQW$JDLQWKHVHUR\DOW\REOLJDWLRQV

DUH RQO\ DSSOLFDEOH LI )LQMDQ LV FRUUHFW FRQFHUQLQJ WKH QDWXUH RI WKH 6LQJWHO

DFTXLVLWLRQ7KHVFRSHRIWKHOLFHQVHJUDQWHGE\)LQMDQWR7UXVWZDYHLVGHILQHGLQ

SDUWE\WKHIROORZLQJSRUWLRQRI6HFWLRQRIWKH$JUHHPHQW



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See $JUHHPHQWDW6HFWLRQsee also &RPSODLQWDW




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 111 of 624 PageID #: 117



      $VVXFKWKHVFRSHRIWKHJUDQWWR7UXVWZDYHLVGHSHQGHQWRQWKHGHILQLWLRQRI

³/LFHQVHG 3URGXFWV DQG 6HUYLFHV´ DQG ³/LFHQVHG 3DWHQWV´  6HFWLRQ  RI WKH

$JUHHPHQWGHILQHV³/LFHQVHG3URGXFWVDQG6HUYLFHV´DVIROORZV




     
See $JUHHPHQW DW 6HFWLRQ  HPSKDVLV DGGHG   7KXV WR EH D SURGXFW OLFHQVHG

XQGHU WKH $JUHHPHQW WKDW SURGXFW PXVW LQIULQJH ³DW OHDVW RQH YDOLG FODLP RI D

/LFHQVHG 3DWHQW´  7KLV GHILQLWLRQ DQG LWV LPSDFW RQ KRZ RQH ZRXOG GHWHUPLQH

ZKHWKHU D SURGXFW LV FRYHUHG E\ WKH $JUHHPHQW DUH QRW DGGUHVVHG LQ )LQMDQ¶V

&RPSODLQW  )XUWKHUPRUH )LQMDQ¶V &RPSODLQW IDLOV WR LGHQWLI\ ZKDW 7UXVWZDYH

SURGXFWV DOOHJHGO\ VDWLVI\ WKHVH FRQWUDFWXDO TXDOLILFDWLRQV RU )LQMDQ¶V JRRG IDLWK

EHOLHIWKDWHDFKVXFKSURGXFWLQIULQJHVDYDOLG)LQMDQSDWHQWFODLPXQGHUWKHSDUWLHV¶

$JUHHPHQW



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  )LQMDQ PD\ DWWHPSW WR SRLQW WR SURGXFW FDWHJRULHV LGHQWLILHG RQ ([KLELW % DQG
DUJXH WKDW WKH SURGXFWV DUH VSHOOHG RXW  1RW VR  (YHQ D FXUVRU\ UHYLHZ RI WKH
IRRWQRWHV RQ ([KLELW % ZKLFK SXUSRUW WR GHOLQHDWH ZKDW HDFK FDWHJRU\ FRPSULVHV
GHPRQVWUDWHV D QHYHUHQGLQJ XQLYHUVH RI ³SRWHQWLDO´ 6.8V VWRFN NHHSLQJ XQLWV 
PDQ\ RI WKH UHIHUHQFHV EHLQJ PHUHO\ 6.8 SUHIL[HV  ([KLELW % SURYLGHV QR
JXLGDQFH DV WR ZKDW WKH ³DXGLWRU´ DFWXDOO\ LQFOXGHG LQ WKH EORDWHG XQLYHUVH RI
SURGXFWV  $QG WR VWDWH WKH REYLRXV WKH ,QVSHFWLRQ 5HSRUW GRHV QRW UHYHDO WKH
LGHQWLILFDWLRQ E\ WKH ³DXGLWRU´ RU )LQMDQ RI DQ\ DSSOLFDEOH SDWHQWV RU
DSSOLFDELOLW\FRYHUDJHFRQFHUQLQJDQ\RIWKHSURGXFWVFRXQWHGE\WKH³DXGLWRU´,Q
RWKHU ZRUGV WKH ,QVSHFWLRQ 5HSRUW GRHV QRW FODLP WKDW 7UXVWZDYH¶V SURGXFWV


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 112 of 624 PageID #: 118



       6HFWLRQRIWKH$JUHHPHQWGHILQHV³/LFHQVHG3DWHQWV´DVIROORZV




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$JUHHPHQW DW 6HFWLRQ   ([KLELW $ WR WKH $JUHHPHQW OLVWV VL[ 86 SDWHQWV EXW

)LQMDQ PDNHV QR DOOHJDWLRQV WKDW DQ\ YDOLG SDWHQW FODLP FRYHUV DQ\ 7UXVWZDYH

SURGXFW0RUHRYHURQLWVIDFH([KLELW$WRWKH$JUHHPHQWLVQRWDVWDWLFOLVWLQJ

EXWUDWKHUDIOXLGRQHZKLFKFDQLQFUHDVHDQGGHFUHDVH1RWRQO\GRHVWKHGHILQLWLRQ

RI/LFHQVHG3URGXFWVUHTXLUHFRYHUDJHE\DYDOLGSDWHQWEXWXQGHU6HFWLRQ

7UXVWZDYH¶V ULJKW WR GHIHQG D FODLP IRU EUHDFK RI WKH $JUHHPHQW ZLWK inter alia

WKHGHIHQVHRILQYDOLGLW\LVH[SUHVVO\UHVHUYHG)LQMDQ¶V&RPSODLQWIDLOVWRDGGUHVV

KRZLWVPRQHWL]DWLRQDFWLYLWLHVKDYHDIIHFWHGWKH³/LFHQVHG3DWHQWV´$UHYLHZRI

MXVWWKHVL[86SDWHQWVOLVWHGLQ([KLELW$WRWKH$JUHHPHQWVKRZVWKDWWKRVHVL[

SDWHQWV KDYH EHHQ DVVHUWHG LQ  GLIIHUHQW DFWLRQV LQ 86 'LVWULFW &RXUWV DQG WKH



LQIULQJH )LQMDQ¶V SDWHQW PDNLQJ WKHP /LFHQVHG 3URGXFWV DQG 6HUYLFHV XQGHU WKH
$JUHHPHQW  RU WKDW UR\DOWLHV DUH GXH RQ WKH 7UXVWZDYH SURGXFWV ZKLFK ZRXOG
PHDQ WKH SURGXFWV DUH FRYHUHG E\ OLFHQVH JUDQWHG LQ WKH $JUHHPHQW DQG DUH QRW
³([LVWLQJ%XVLQHVV´XQGHUWKHDJUHHPHQW 


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 113 of 624 PageID #: 119



8QLWHG6WDWHV3DWHQWDQG7UDGHPDUN2IILFHSee([KLELW'0DQ\RIWKHVHFDVHV

UHVXOWHG LQ RUGHUV RU MXU\ YHUGLFWV WKDW LPSDFW WKH VFRSH RI WKH SDWHQW FODLPV

                                                                                                

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       )RU H[DPSOH )LQMDQ¶V &RPSODLQW IDLOV WR GLVFORVH WKDW FODLPV RI WKH ILUVW

SDWHQWOLVWHGRQ([KLELW$WRWKH$JUHHPHQWZHUHIRXQGWREHLQYDOLGLQODWH

 RU KRZ WKDW LPSDFWV LWV SUHVHQW FODLPV DJDLQVW 7UXVWZDYH   See Finjan, Inc. v.

Symantec Corp:/DW  ''HO6HSW aff’d

) $SS[   )HG &LU    /LNHZLVH )LQMDQ¶V &RPSODLQW IDLOV WR

DFNQRZOHGJH WKDW WKH ILUVW WKUHH SDWHQWV OLVWHG RQ ([KLELW $ WR WKH $JUHHPHQW

H[SLUHG LQ   Cf  ([KLELW $ DW ([KLELW $ WR ([KLELW & DW S  ZKHUH ³ ´

LQGLFDWHVWKDWWKH)LQMDQSDWHQWH[SLUHGLQ 

       6LPSO\ VWDWHG )LQMDQ¶V &RPSODLQW GRHV QRW DGGUHVV KRZ WKHVH ³/LFHQVHG

3DWHQWV´UHODWHWRWKH³/LFHQVHG3URGXFWVDQG6HUYLFHV´²i.e.ZKLFK)LQMDQSDWHQWV

DUH LQIULQJHG E\ ZKLFK 7UXVWZDYH SURGXFWV  2Q WKDW EDVLV DORQH WKH &RPSODLQW

VKRXOGEHGLVPLVVHG

                   LLL     5R\DOWLHV2ZHGXQGHU$FTXLVLWLRQ&ODXVH
       $OWKRXJK 7UXVWZDYH GLVSXWHV WKDW WKH 6LQJWHO DFTXLVLWLRQ WULJJHUHG WKH

SD\PHQW RI UR\DOWLHV WKH $JUHHPHQW UHSHDWHGO\ FODULILHV WKDW HYHQ LQ VXFK FDVHV



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 114 of 624 PageID #: 120



UR\DOWLHVDUHQHYHUWULJJHUHGIRU/LFHQVHG3URGXFWVRU6HUYLFHVWKDWDUHDWWULEXWDEOH

WR³([LVWLQJ%XVLQHVV´See, e.g., $JUHHPHQWDW6HFWLRQ

      ³([LVWLQJ%XVLQHVV´LVGHILQHGLQ6HFWLRQRIWKH$JUHHPHQWDV                       

                                                                                                



             Id. DW 6HFWLRQ   7KH $JUHHPHQW UHSHDWHGO\ FODULILHV WKDW VDOHV

DWWULEXWDEOH WR ³([LVWLQJ %XVLQHVV´ DUH QRW VXEMHFW WR UR\DOW\ REOLJDWLRQV XQGHU

6HFWLRQ   7KH GHILQLWLRQ RI ³1HW 6DOHV´ ZKLFK LV XVHG LQ WKH UR\DOW\ FDOFXODWLRQ

XQGHU 6HFWLRQ  DQG WKH H[FOXVLYH PHWULF WR EH LQVSHFWHG E\ WKH DXGLWRU XQGHU

6HFWLRQ VWDWHV




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       
IdDW6HFWLRQ HPSKDVLVDGGHG /LNHZLVH6HFWLRQFRQILUPVWKDWUR\DOWLHVDUH

QRWRZHGRQ³([LVWLQJ%XVLQHVV´

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        
Id. DW 6HFWLRQ  HPSKDVLV DGGHG   )LQMDQ¶V &RPSODLQW IDLOV WR DGGUHVV KRZ WKH

³([LVWLQJ %XVLQHVV´ OLPLWDWLRQ DIIHFWV WKH UR\DOWLHV VRXJKW XQGHU LWV EUHDFK RI



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 115 of 624 PageID #: 121



FRQWUDFWFODLP/LNHZLVHWKH³DXGLWRU´QRWHVLQWKH,QVSHFWLRQ5HSRUWWKDWLWFRXOG

QRWDFFRXQWIRUWKH([LVWLQJ%XVLQHVVH[FHSWLRQ LPSURSHUO\EODPLQJ7UXVWZDYH 

                  LY       7KH3DUWLHV¶5XOH&RPPXQLFDWLRQVDQGWKH
                             'HILFLHQW³$XGLW´
       )LQMDQ¶V &RPSODLQW UHIHUHQFHV WKH ,QVSHFWLRQ 5HSRUW WKDW ZDV GRQH DW

)LQMDQ¶V UHTXHVW XQGHU 6HFWLRQ  RI WKH $JUHHPHQW  Id DW    )LQMDQ¶V

&RPSODLQWGRHVQRWGLVFORVHWKDWWKH³DXGLW´ZDVFRPSOHWHO\GHILFLHQWEHFDXVHWKH

³DXGLWRU´ FRXOG QRWGHWHUPLQH ZKLFK SURGXFWV ZHUH VXEMHFW WR UR\DOW\ REOLJDWLRQV

,QIDFWGXULQJWKH³DXGLW´7UXVWZDYH¶VSRVLWLRQZDVWKDWQRSURGXFWVZHUHVXEMHFW

WR UR\DOW\ REOLJDWLRQV  ,QVWHDG ZLWKRXW SURYLGLQJ DQ\ DQDO\VLV RI WKH SURGXFWV

DOOHJHGO\ FRYHUHG E\ WKH $JUHHPHQW DQG FHUWDLQO\ QR PHQWLRQ RI DQ\ SDWHQWV RU

VFLHQWLILFDQDO\VHV WKH³DXGLWRU´DW)LQMDQ¶VGLUHFWLRQDVVXPHGDOOSURGXFWVXQGHU

DOO SURGXFW FDWHJRULHV ZHUH VXEMHFW WR UR\DOW\ REOLJDWLRQV  Id DW )1   7KH

³DXGLWRU´ GLG QRW FRQGXFW DQ\ OHJDO DQDO\VLV LQ WKH ,QVSHFWLRQ 5HSRUW DV WR

LQIULQJHPHQWRI)LQMDQ¶VSDWHQWVE\7UXVWZDYH¶VSURGXFWVRUZKHWKHUWKHUR\DOWLHV

ZHUH RZHG XQGHU WKH SDUWLHV¶ $JUHHPHQW  5DWKHU WKH ,QVSHFWLRQ 5HSRUW ZDV

PHUHO\ D FDOFXODWLRQ RI         DDJDLQVW SURGXFW VDOHV WKDW )LQMDQ LQVWUXFWHG WKH

³DXGLWRU´ WR UHYLHZ  2Q LWV IDFH WKH ³DXGLW´ ZDV QRW LQGHSHQGHQW QRU GRHV LW



  )LQMDQ H[DFHUEDWHV LWV GHILFLHQFLHV ZLWK PLVFKDUDFWHUL]HG UHFRXQWV RI VHWWOHPHQW
FRPPXQLFDWLRQVLQDQHIIRUWWRVXJJHVWOLDELOLW\Seee.g.&RPSODLQWDW
DQG   7KHVH FRPPXQLFDWLRQV DUH LQ DQ\ HYHQW FOHDUO\ LQDGPLVVLEOH WR SURYH
OLDELOLW\XQGHU5XOHRIWKH'HODZDUH8QLIRUP5XOHVRI(YLGHQFH


                                             
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 116 of 624 PageID #: 122



SXUSRUW WR UHSRUW DQ\WKLQJ RWKHU WKDQ D K\SRWKHWLFDO PD[LPXP XQLYHUVH RI

SRWHQWLDOO\UHOHYDQWSURGXFWVDQGWKHUHVXOWLQJVDOHVDQGUR\DOWLHV

   ,9        /(*$/$1$/<6,6

               D   0RWLRQWR'LVPLVV6WDQGDUG

       8QGHU5XOH E  WKH&RPSODLQWPXVWEHGLVPLVVHGLILWDSSHDUV³ZLWK

UHDVRQDEOHFHUWDLQW\WKDWXQGHUDQ\VHWRIIDFWVWKDWFRXOGEHSURYHQWRVXSSRUWWKH

FODLPV DVVHUWHG WKH SODLQWLII ZRXOG QRW EH HQWLWOHG WR UHOLHI´ Clinton v. Enter.

Rent-A-Car Co.  $G   'HO   LQWHUQDO TXRWDWLRQ RPLWWHG 

$OWKRXJK D FRXUW PXVW ³DFFHSW DOO ZHOO SOHDGHG IDFWXDO DOOHJDWLRQV DV WUXH´ DQG

³GUDZDOOUHDVRQDEOHLQIHUHQFHVLQIDYRURIWKHQRQPRYLQJSDUW\´RQDPRWLRQWR

GLVPLVV Cent. Mortg. Co. v. Morgan Stanley Mortg. Capital Holdings LLC 

$G   'HO   LW LV QRW UHTXLUHG WR FUHGLW ³LQIHUHQFHV RU IDFWXDO

FRQFOXVLRQV XQVXSSRUWHG E\ VSHFLILF DOOHJDWLRQV RI IDFW´  Narrowstep Inc., v

Onstream Media Corp  :/  DW  'HO &K 6HSW    see

also Lagrone v. Am. Mortell Corp:/DW  'HO6XSHU&W6HSW

 

       ,Q DGGLWLRQ WR WKH DOOHJDWLRQV RI WKH &RPSODLQW WKH &RXUW PD\

FRQVLGHU H[WULQVLF GRFXPHQWV WKDW DUH ³LQWHJUDO WR D SODLQWLII¶V FODLP DQG   

LQFRUSRUDWHGLQWRWKHFRPSODLQWE\UHIHUHQFH´Newborn v. Christiana Psychiatric

Servs., P.A.:/DW  'HO6XSHU-DQ  7KH&RXUW³PD\



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 117 of 624 PageID #: 123



DOVRWDNHMXGLFLDOQRWLFHRIPDWWHUVWKDWDUHQRWVXEMHFWWRUHDVRQDEOHGLVSXWH´Id.

see 'HO5(YLG E  

              E    6WDQGDUGIRU3DWHQW,QIULQJHPHQW

       $ SDWHQW LQIULQJHPHQW DQDO\VLV EHJLQV ZLWK WKH FODLPV DW WKH HQG RI WKH

SDWHQW

      7KH SDWHQW FODLPV DUH WKH QXPEHUHG VHQWHQFHV DW WKH HQG RI HDFK
      SDWHQW7KHFODLPVDUHLPSRUWDQWEHFDXVHLWLVWKHZRUGVRIWKHFODLPV
      WKDWGHILQHZKDWDSDWHQWFRYHUV7KHILJXUHVDQGWH[WLQWKHUHVWRIWKH
      SDWHQW SURYLGH D GHVFULSWLRQ DQGRU H[DPSOHV RI WKH LQYHQWLRQ DQG
      SURYLGH D FRQWH[W IRU WKH FODLPV EXW LW LV WKH FODLPV WKDW GHILQH WKH
      EUHDGWKRIWKHSDWHQW¶VFRYHUDJH
      
      «
      
      $ FODLP VHWV IRUWK LQ ZRUGV D VHW RI UHTXLUHPHQWV (DFK FODLP VHWV
      IRUWK LWV UHTXLUHPHQWV LQ D VLQJOH VHQWHQFH ,I D GHYLFH RU D PHWKRG
      VDWLVILHVHDFKRIWKHVHUHTXLUHPHQWVWKHQLWLVFRYHUHGE\WKHFODLP
      
7KH )HGHUDO &LUFXLW %DU $VVRFLDWLRQ 0RGHO -XU\ ,QVWUXFWLRQV DWSS   

7KH DFWV FRQVWLWXWLQJ SDWHQW LQIULQJHPHQW DUH GHILQHG E\  86&   D 

³ZKRHYHU ZLWKRXW DXWKRULW\ PDNHV XVHV RIIHUV WR VHOO RU VHOOV DQ\ SDWHQWHG

LQYHQWLRQZLWKLQWKH8QLWHG6WDWHVRULPSRUWVLQWRWKH8QLWHG6WDWHV DQ\SDWHQWHG

LQYHQWLRQGXULQJWKHWHUPRIWKHSDWHQWWKHUHIRULQIULQJHVWKHSDWHQW´

       ³7R VKRZ LQIULQJHPHQW RI D SDWHQW D SDWHQWHH PXVW VXSSO\ VXIILFLHQW

HYLGHQFH WR SURYH WKDW WKH DFFXVHG SURGXFW RU SURFHVV FRQWDLQV HLWKHU OLWHUDOO\ RU

XQGHUWKHGRFWULQHRIHTXLYDOHQWVHYHU\OLPLWDWLRQRIWKHSURSHUO\FRQVWUXHGFODLP´

Seal-Flex, Inc. v. Athletic Track and Court Const  )G   )HG &LU


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 118 of 624 PageID #: 124



 7KHSDWHQWHHEHDUVWKHEXUGHQRISURYLQJLQIULQJHPHQWMedtronic, Inc. v.

Mirowski Family Ventures, LLC866&W   ³,W

LVZHOOHVWDEOLVKHGWKDWWKHEXUGHQRISURYLQJLQIULQJHPHQWJHQHUDOO\UHVWVXSRQWKH

SDWHQWHH´ 

       7KHSOHDGLQJVWDQGDUGIRUDOOHJLQJLQIULQJHPHQWRIDSDWHQWLQD86'LVWULFW

&RXUWUHTXLUHVDWDPLQLPXPWKDWWKHSDWHQWHHLGHQWLI\WKHSDWHQWDOOHJHGO\LQIULQJHG

DQG WKH DFFXVHG SURGXFW DOOHJHG WR LQIULQJH WKH SDWHQW  See Fifth Market, Inc. v.

CME Group, Inc.,  :/    ' 'HO   JUDQWLQJ PRWLRQ WR

GLVPLVV LQIULQJHPHQW FRPSODLQW EHFDXVH LW IDLOHG WR LGHQWLI\ DQ\ VSHFLILF DFFXVHG

SURGXFWV  Ondeo Nalco Co. v. EKA Chemicals, Inc.  :/   '

'HO   JUDQWLQJ 5XOH  E   PRWLRQ WR GLVPLVV SDWHQWHH V LQIULQJHPHQW

FRXQWHUFODLPEHFDXVHLWVSOHDGLQJVZHUH³WRRYDJXHWRSURYLGH>DFFXVHGLQIULQJHU@

ZLWK IDLU QRWLFH RI ZKLFK SURGXFWV DUH DFFXVHG RI LQIULQJLQJ GHIHQGDQW¶V SDWHQWV 

Eidos Communications, LLC v. Skype Technologies SA)6XSSG

 ' 'HO   RUGHULQJ SDWHQWHH WR DPHQG LWV FRPSODLQW DQG SURYLGH D PRUH

GHILQLWH VWDWHPHQW RI WKH SURGXFWV RU VHUYLFH LW ZDV DFFXVLQJ RI LQIULQJHPHQW DQG

UXOLQJ WKDW FRPSODLQW¶V LGHQWLILFDWLRQ RI WKH DFFXVHG SURGXFWV DV ³FRPPXQLFDWLRQ

V\VWHP SURGXFWV DQGRU PHWKRGRORJLHV WKDW LQIULQJH RQH RU PRUH FODLPV´ ZDV

LQVXIILFLHQW 




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 119 of 624 PageID #: 125



       'LVWULFW FRXUWV JHQHUDOO\ UHTXLUH HYHQ PRUH DW WKH SOHDGLQJ VWDJH LQVLVWLQJ

WKDW WKH SDWHQWHH LGHQWLI\ WKH VSHFLILF SDWHQW FODLPV DOOHJHGO\ LQIULQJHG DQG DOVR

GHVFULEH KRZ WKH DFFXVHG SURGXFW HPERGLHV WKH OLPLWDWLRQV RI VXFK FODLPV  See

e.g.Modern Telecom Systems, LLC v. TCL Corporation:/  

 ' 'HO   0DJLVWUDWH -XGJH UHFRPPHQGLQJ GLVPLVVDO RI GLUHFW LQIULQJHPHQW

FODLPV ZLWK OHDYH WR DPHQG DQG LQVWUXFWLQJ WKDW WR VXIILFLHQWO\ SOHDG D FRXQW RI

SDWHQW LQIULQJHPHQW D SDWHQWHH PXVW VSHFLILFDOO\ SOHDG IDFWV WR VKRZ KRZ DOO WKH

OLPLWDWLRQV RI DW OHDVW RQH DVVHUWHG FODLP RI WKH SDWHQW DUH PHW E\ WKH DFFXVHG

SURGXFW²³>W@KHUHQHHGVWREHVRPHIDFWVDOOHJHGWKDWDUWLFXODWHwhy it is plausible

WKDW WKH RWKHU SDUW\¶V SURGXFW LQIULQJHV WKDW SDWHQW FODLP²QRW MXVW WKH SDWHQWHH

DVVHUWLQJ LQ D WDNHP\ZRUGIRULW IDVKLRQ WKDW LW LV VR´  HPSKDVLV LQ RULJLQDO 

North Star Innovations, Inc. v. Micron Technology, Inc.:/  

 ' 'HO   ³,Q RUGHU WR DGHTXDWHO\ DOOHJH GLUHFW LQIULQJHPHQW KHUH 3ODLQWLII

QHHGV WR KDYH SOHDGHG IDFWV WKDW SODXVLEO\ LQGLFDWH WKDW 'HIHQGDQW¶V DFFXVHG

SURGXFWV SUDFWLFH HDFK RI WKH OLPLWDWLRQV IRXQG LQ WKH WZR DVVHUWHG FODLPV ZKLFK

KHUHDUHDSSDUDWXVFODLPV $IWHUDOOLILWLVQRWSODXVLEOHDIWHUUHDGLQJDFRPSODLQW

WKDWWKHDFFXVHGLQIULQJHU¶VSURGXFWUHDGVRQDOLPLWDWLRQLQWKHRQHDVVHUWHGFODLP

IURP D SDWHQWLQVXLW WKHQ LW LV QRW SODXVLEOH WKDW WKH DFFXVHG LQIULQJHU DFWXDOO\

LQIULQJHVWKHSDWHQWFODLP RUWKHSDWHQW ´ SIPCO, LLC v. Streetline, Inc)

6XSS G   ' 'HO   ³5LJKW QRZ 3ODLQWLII PDNHV WZR IDFWXDO



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 120 of 624 PageID #: 126



DOOHJDWLRQV2QHKHUHDUHWHQSDWHQWVZHRZQ7ZR\RXVHOOVRPHSURGXFWVZKLFK

ZH KDYH LGHQWLILHG 3ODLQWLII PDNHV D OHJDO FRQFOXVLRQ WR ZLW WKH VDOHV RI \RXU

SURGXFWV LQIULQJH RX>U@ SDWHQWV 7KLV LV LQVXIILFLHQW WR SODXVLEO\ DOOHJH SDWHQW

LQIULQJHPHQW´ 

       9             7+(&203/$,176+28/'%(',60,66('

           )LQMDQ¶V &RPSODLQW SOHDGV WKUHH FDXVHV RI DFWLRQ DOO IORZLQJ IURP WKH

GHILFLHQW FRQFOXVRU\ VHW RI DOOHJDWLRQV WKDW D UHOHYDQW DFTXLVLWLRQ RFFXUUHG DQ

LQVSHFWLRQZDVFRQGXFWHGDQG7UXVWZDYHVKRXOGWKHUHIRUHSD\$OOWKUHHFDXVHVRI

DFWLRQVKRXOGEHGLVPLVVHGIRUIDLOXUHWRVWDWHDFODLPEHFDXVH)LQMDQGRHVQRWSOHDG

WKHUHTXLVLWHIDFWVQHFHVVDU\WRHVWDEOLVKDEUHDFKRIWKHSDUWLHV¶$JUHHPHQW

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 3ODLQWLIIVLQSDWHQWFDVHVRIWHQPDNHDOOHJDWLRQVRQLQIRUPDWLRQDQGEHOLHIRUWKH
OLNHEHFDXVHWKHDOOHJHGO\LQIULQJLQJSURGXFWVDUHVRIWZDUHUHODWHGRURWKHUZLVHQRW
VXEMHFW WR DQDO\VLV ZLWKRXW WKH SURYLVLRQ RI LQIRUPDWLRQ RU DFFHVV IURP WKH
GHIHQGDQW  1R PDWWHU KRZ WKH &RXUW FRQVWUXHV WKH $JUHHPHQW WKHUH FDQ EH QR
DUJXPHQWWKDWLQRUGHUIRUUR\DOWLHVWREHSURPSWHGDQHOLJLEOH7UXVWZDYHSURGXFW
RUVHUYLFHPXVWEHFRYHUHGE\DYDOLG)LQMDQSDWHQW:HOOEHIRUH)LQMDQILOHGWKH
&RPSODLQW7UXVWZDYHRIIHUHG)LQMDQWKHRSSRUWXQLW\WRFRQGXFWDVFLHQWLILFUHYLHZ
RIDQ\SURGXFW)LQMDQZRXOGLGHQWLI\DVEHLQJFRYHUHGE\DYDOLGSDWHQWLQRUGHUWR
WU\ WR SXW WKLV PDWWHU WR UHVW  )LQMDQ ZDV QRW LQWHUHVWHG LQVWHDG DWWHPSWLQJ WR
IDVKLRQ LWV FDVH DV VRPHKRZ DOUHDG\ DGMXGLFDWHG E\ ZD\ RI WKH ,QVSHFWLRQ  $Q\
FODLPE\)LQMDQWKDWLWFDQQRWVSHFLILFDOO\LGHQWLI\EDVHGRQDVFLHQWLILFDQDO\VLV
SURGXFWV WKDW DUH FRYHUHG E\ D SDUWLFXODU SDWHQW ZLWKRXW GLVFRYHU\ RU WKH OLNH
VKRXOG EH UHMHFWHG  See View Engineering, Inc. v. Robotic Vision Systems, Inc.
 )G   )HG &LU   DIILUPLQJ DQ DZDUG RI DWWRUQH\¶V IHHV DQG
VWDWLQJ³>E@HIRUHILOLQJ>FODLPV@RISDWHQWLQIULQJHPHQW5XOHZHWKLQNPXVWEH
LQWHUSUHWHGWRUHTXLUHWKHODZILUPWRDWDEDUHPLQLPXPDSSO\WKHFODLPVRIHDFK
DQG HYHU\ SDWHQW WKDW LV EHLQJ EURXJKW LQWR WKH ODZVXLW WR DQ DFFXVHG GHYLFH DQG
FRQFOXGH WKDW WKHUH LV D UHDVRQDEOH EDVLV IRU D ILQGLQJ RI LQIULQJHPHQW RI DW OHDVW


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 121 of 624 PageID #: 127




                        D        7KH 6LQJWHO $FTXLVLWLRQ 'LG 1RW &RQYHUW 7KH $JUHHPHQW
                                   )URP3DLG8S

            $OOWKUHHFRXQWVVKRXOGEHGLVPLVVHGDVWKH$JUHHPHQWRQLWVIDFHLVDIXOO\

SDLGXS OLFHQVH DJUHHPHQW  7KURXJKRXW WKH $JUHHPHQW LQFOXGLQJ LQ 6HFWLRQV

DOOHJHGE\)LQMDQLQWKH&RPSODLQWDVJRYHUQLQJLWLVFOHDUWKDWHYHQLQWKHHYHQWRI

D TXDOLI\LQJ WUDQVDFWLRQ 7UXVWZDYH¶V FRQWLQXHG RSHUDWLRQV DUH QRW VXEMHFW WR

DOWHUDWLRQRILWVSDLGXSVWDWXV2QO\UHOHYDQWVDOHVRIWKHDFTXLUHUDQGLWVUHVSHFWLYH

DIILOLDWHV DUH LQ SOD\ DQG WKHQ RQO\ WR WKH H[WHQW WKH\ WDNH DQ H[SUHVV OLFHQVH DQG

SUDFWLFHWKH/LFHQVHG3DWHQWV)LQMDQDOOHJHVQRWKLQJLQLWV&RPSODLQWWRVXSSRUWD

FODLP WKDW WKH 6LQJWHO DFTXLVLWLRQ LV D TXDOLI\LQJ HYHQW WR FRQYHUW WKH $JUHHPHQW

IURP D IXOO\ SDLGXS OLFHQVH WR D UR\DOW\EHDULQJ RQH  $V VXFK HDFK RI )LQMDQ¶V

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RQH FODLP RI HDFK SDWHQW VR DVVHUWHG´ DQG QRWLQJ WKDW WKH GHILFLHQW LQYHVWLJDWLRQ
UHOLHG RQ WKH DFFXVHG LQIULQJHU¶V DGYHUWLVLQJ LQVWHDG RI DQDO\]LQJ WKH DFWXDO
SURGXFWV  see also Judin v. United States  )G   )HG &LU  
 ILQGLQJ WKDW WKH GLVWULFW FRXUW DEXVHG LWV GLVFUHWLRQ E\ QRW DZDUGLQJ IHHV XQGHU
5XOH  DQG VWDWLQJ WKDW ³>Q@R DGHTXDWH H[SODQDWLRQ ZDV RIIHUHG IRU ZK\ >WKH
SDWHQWHHDQGLWVFRXQVHO@IDLOHGWRREWDLQRUDWWHPSWHGWRREWDLQDVDPSOHRIWKH
DFFXVHG GHYLFH IURP WKH 3RVWDO 6HUYLFH RU D YHQGRU VR WKDW LWV DFWXDO GHVLJQ DQG
IXQFWLRQLQJ FRXOG EH FRPSDUHG ZLWK WKH FODLPV RI WKH SDWHQW 8QGHU WKHVH
FLUFXPVWDQFHV WKHUH LV QR GRXEW WKDW >WKH SDWHQWHH@ IDLOHG WR PHHW WKH PLQLPXP
VWDQGDUGVLPSRVHGE\5XOHDQGKLVDWWRUQH\DFWHGXQUHDVRQDEO\LQJLYLQJEOLQG
GHIHUHQFHWRKLVFOLHQWDQGDVVXPLQJKLVFOLHQWKDGNQRZOHGJHQRWGLVFORVHGWRWKH
DWWRUQH\´ 


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 122 of 624 PageID #: 128




              E    )LQMDQ )DLOV 7R 3OHDG 6XIILFLHQW )DFWV 7R 6XVWDLQ ,WV
                     &RPSODLQW (YHQ ,I $Q $UJXPHQW &DQ %H 0DGH 7KDW 7KH
                     6LQJWHO $FTXLVLWLRQ 3URPSWV 5R\DOW\ 3D\PHQWV )RU
                     5HOHYDQW3URGXFWV
       (YHQLIWKH&RXUWVKRXOGILQGWKDW)LQMDQKDVDGHTXDWHO\SOHDGHGWKH6LQJWHO

DFTXLVLWLRQ DV D SRWHQWLDOO\ TXDOLI\LQJ HYHQW WR FRQYHUW WKH $JUHHPHQW WR UR\DOW\

EHDULQJ DV WR UHOHYDQW 7UXVWZDYH SURGXFWV )LQMDQ¶V &RPSODLQW UHPDLQV ZRHIXOO\

GHILFLHQW)LQMDQDOOHJHVEUHDFKRIFRQWUDFWIRUIDLOXUHWRSD\UR\DOWLHVRQVDOHVRI

7UXVWZDYH SURGXFWV FRYHUHG E\ WKH SDUWLHV¶ $JUHHPHQW EXW )LQMDQ GRHV VR LQ D

FRQFOXVRU\ IDVKLRQ WKDW IDLOV WR DFFRXQW IRU KRZ WKH $JUHHPHQW GHILQHV VXFK

SURGXFWV  (YHQ LI arguendo, WKH 6LQJWHO DFTXLVLWLRQ LV D TXDOLI\LQJ WUDQVDFWLRQ

UHTXLULQJ 7UXVWZDYH WR SD\ UR\DOWLHV RQ DQ\ SURGXFWV DQ\ SRWHQWLDOO\ UHOHYDQW

SURGXFW PXVW LQIULQJH D YDOLG FODLP RI D )LQMDQ /LFHQVHG 3DWHQW i.e.Ü RQH RI WKH

SDWHQWV GHWDLOHG LQ ([KLELW $ WR WKH $JUHHPHQW DQG UHODWHG SDWHQWV   7KXV WR

VXIILFLHQWO\ DOOHJH EUHDFK RI FRQWUDFW XQGHU WKH EHVW OLJKW IRU )LQMDQ )LQMDQ PXVW

VXIILFLHQWO\ SOHDG LQIULQJHPHQW RI LWV /LFHQVHG 3DWHQWV E\ 7UXVWZDYH¶V SURGXFWV

)LQMDQFRQVSLFXRXVO\VLGHVWHSVDQ\DWWHPSWWRFRPSO\ZLWKWKLVUHTXLUHPHQW

       )LQMDQ¶V&RPSODLQWDOOHJHVWZRIDFWVWRVXSSRUWLWVILUVWFDXVHRIDFWLRQ)LUVW

WKDW WKH 6LQJWHO DFTXLVLWLRQ RI 7UXVWZDYH UHTXLUHV D UR\DOW\ SD\PHQW RQ ³DQ\

SURGXFWVDQGVHUYLFHVRWKHUWKDQWKH/LFHQVHG3URGXFWVDQG6HUYLFHVDQG,QWHJUDWHG

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 123 of 624 PageID #: 129



   $QG VHFRQG WKDW WKH DXGLW ³FRQFOXGHG WKDW DW OHDVW  LQ

DGGLWLRQDO UR\DOWLHV ZHUH RZHG E\ 7UXVWZDYH WR )LQMDQ EDVHG RQ WKH DYDLODEOH

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       )LQMDQ¶V IDLOXUH WR LGHQWLI\ WKH ³/LFHQVHG 3URGXFWV DQG 6HUYLFHV´²i.e.

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RULQGXFHWKHLQIULQJHPHQWRIDWOHDVWRQHYDOLGFODLPRID/LFHQVHG3DWHQW´²LVD

IDWDO GHILFLHQF\  7KH RQO\ ZD\ 7UXVWZDYH FRXOG KDYH FRQFHLYDEO\ EUHDFKHG WKH

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UHOHYDQW7UXVWZDYHSURGXFWVLQIULQJHDWOHDVWRQHYDOLGFODLPRID/LFHQVHG3DWHQW

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SDWHQW FODLPV WKDW DUH LQIULQJHG E\ VXFK 7UXVWZDYH SURGXFWV RU SURYLGH DQ\

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SDWHQW LQIULQJHPHQW DQDO\VLV RI DQ\ /LFHQVHG 3DWHQW DV LW UHODWHV WR DQ\ UHOHYDQW

SURGXFW  0RUHRYHU WKH ³([LVWLQJ %XVLQHVV´ H[FHSWLRQ LV ZKROO\ LJQRUHG RWKHU

WKDQ LQ WKH ,QVSHFWLRQ 5HSRUW ZKHUH WKH ³DXGLWRU´ FRQFHGHV WKDW LW XQGHUWRRN QR




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 124 of 624 PageID #: 130



UHYLHZ RI WKH LVVXH DQG WUHDWHG DOO FRXQWHG 6.8V DV QRW TXDOLI\LQJ DV ³([LVWLQJ

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SHUPLWV )LQMDQ OHDYH WR ILOH DQ DPHQGHG FRPSODLQW )LQMDQ VKRXOG EH UHTXLUHG WR

DOOHJH DW D PLQLPXP    HDFK DQG HYHU\ 6.8 LW FRQWHQGV LV UR\DOW\EHDULQJ DQG

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VXFK6.8  WKDWLWFRQGXFWHGDQGFDQHYLGHQFHDSUHILOLQJUHDVRQHGDQDO\VLVRI

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ZK\ D SURGXFW RU SURFHVV  LQIULQJHV D FODLP RI WKDW SDWHQW´   7KLV LQIRUPDWLRQ

VKRXOGKDYHEHHQSURYLGHGORQJDJRLQRUGHUWRFRQGXFWDSURSHULQVSHFWLRQXQGHU

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 125 of 624 PageID #: 131




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            7UXVWZDYH UHVSHFWIXOO\ UHTXHVWV WKDW )LQMDQ¶V &RPSODLQW EH GLVPLVVHG IRU

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2)&2816(/                                         /s/ Jack B. Blumenfeld
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 126 of 624 PageID #: 132



                         CERTIFICATE OF SERVICE

            I hereby certify that on July 30, 2018 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 127 of 624 PageID #: 133
                        So Ordered                 EFiled: Jul 31 2018 04:48PM EDT
             /s/ Carpenter, William C Jul 31, 2018 Transaction ID 62293014
                                                   Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                            C.A. No. N18C-04-006-WCC
                                              (CCLD)
TRUSTWAVE HOLDINGS, INC.,

                Defendant.


                             [PROPOSED] ORDER

       The Court, having considered Plaintiff’s Unopposed Motion for Leave to

File Answering Brief Under Seal, and good cause having been shown, hereby

orders that the Motion is GRANTED, and Plaintiff’s Answering Brief in

Opposition to Defendant Trustwave Holdings, Inc.’s Motion to Dismiss the

Complaint may be filed under seal.


             IT IS SO ORDERED this _____ day of ________________, 2018.



                                     ____________________________________
                                     Judge William C. Carpenter
 Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 128 of 624 PageID #: 134




   File & Serve
Transaction ID: 62285368
  Current Date: Jul 31, 2018



/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 129 of 624 PageID #: 135
                        So Ordered                 EFiled: Aug 02 2018 12:22PM EDT
             /s/ Carpenter, William C Aug 02, 2018 Transaction ID 62299965
                                                   Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 FINJAN, INC.                              )
                                           )
                    Plaintiff,             )
                                           )
       v.                                  )
                                           )
 TRUSTWAVE HOLDINGS, INC.,                 ) C.A. No. N18C-04-006 WCC CCLD
                                           )
                    Defendant.             )


                                 [PROPOSED] ORDER

              The motion of Alexandra M. Cumings for admission of Jared A.

 Brandyberry to practice in this action pro hac vice is hereby granted.

              IT IS SO ORDERED this ____ day of _________, 2018.




                                                             Judge
 Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 130 of 624 PageID #: 136




   File & Serve
Transaction ID: 62287951
  Current Date: Aug 02, 2018



/s/ Judge Carpenter, William C
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 131 of 624 PageID #: 137
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                                C.A. No. N18C-04-006-WCC
                                                          (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                      MOTION FOR ADMISSION
                                  PRO HAC VICE OF JOHN L. COOPER

                Mary F. Dugan (“Movant”), a member of the Delaware bar, pursuant to

        Delaware Superior Court Civil Rule 90.1, hereby moves the admission pro hac vice

        of John L. Cooper (“Applicant”) of Farella Braun + Martel LLP, 235 Montgomery

        Street, 17th Floor, San Francisco, CA 94104, to represent Plaintiff Finjan, Inc. in this

        action. Movant certifies that she finds Applicant to be a reputable and competent

        attorney, and that Movant is in a position to recommend Applicant’s admission pro

        hac vice. The Applicant is admitted, practicing, and in good standing in the States of

        California and Colorado.

                                                YOUNG CONAWAY STARGATT &
                                                TAYLOR, LLP
                                                Mary F. Dugan
        Dated: August 3, 2018                   Karen L. Pascale (No. 2903)
                                                Mary F. Dugan (No. 4704)
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                (302) 571-5028
                                                kpascale@ycst.com
                                                mdugan@ycst.com

                                                Attorneys for Finjan, Inc.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 132 of 624 PageID #: 138
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                                C.A. No. N18C-04-006-WCC
                                                          (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                         MOTION FOR ADMISSION
                                      PRO HAC VICE OF WINSTON LIAW

                Mary F. Dugan (“Movant”), a member of the Delaware bar, pursuant to

        Delaware Superior Court Civil Rule 90.1, hereby moves the admission pro hac vice

        of Winston Liaw (“Applicant”) of Farella Braun + Martel LLP, 235 Montgomery

        Street, 17th Floor, San Francisco, CA 94104, to represent Plaintiff Finjan, Inc. in this

        action. Movant certifies that she finds Applicant to be a reputable and competent

        attorney, and that Movant is in a position to recommend Applicant’s admission pro

        hac vice. The Applicant is admitted, practicing, and in good standing in the State of

        California.

                                                YOUNG CONAWAY STARGATT &
                                                TAYLOR, LLP
                                                Mary F. Dugan
        Dated: August 3, 2018                   Karen L. Pascale (No. 2903)
                                                Mary F. Dugan (No. 4704)
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                (302) 571-5028
                                                kpascale@ycst.com
                                                mdugan@ycst.com

                                                Attorneys for Finjan, Inc.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 133 of 624 PageID #: 139
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                             C.A. No. N18C-04-006-WCC
                                                       (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                             NOTICE OF MOTION FOR ADMISSION
                              PRO HAC VICE OF JOHN L. COOPER

        TO: Jack B. Blumenfeld, Esq.
            Alexandra M. Cumings, Esq.
            Morris, Nichols, Arsht & Tunnell LLP
            1201 N. Market Street
            Wilmington, DE 19899-1347

                 PLEASE TAKE NOTICE that the undersigned will present the attached

        Motion for Admission Pro Hac Vice of John L. Cooper at the convenience of the

        Court.

                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP
                                              Mary F. Dugan
        Dated: August 3, 2018                 Karen L. Pascale (No. 2903)
                                              Mary F. Dugan (No. 4704)
                                              1000 North King Street
                                              Wilmington, Delaware 19801
                                              (302) 571-5028
                                              kpascale@ycst.com
                                              mdugan@ycst.com

                                              Attorneys for Finjan, Inc.




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 134 of 624 PageID #: 140
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                               C.A. No. N18C-04-006-WCC
                                                         (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                       [PROPOSED] ORDER

                The foregoing application of John L. Cooper for admission pro hac vice in this

        action is hereby granted.

                SO ORDERED this __day of _________, 2018.



                                                      _____________________________
                                                      Hon. William C. Carpenter, Jr.




01:23470054.1
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 135 of 624 PageID #: 141
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                               CERTIFICATE OF SERVICE   Case No. N18C-04-006 WCC CCLD

                    I, Mary F. Dugan, Esquire, hereby certify that on August 3, 2018, I

        caused a copy of the foregoing document to be served on the following counsel in

        the manner indicated below:

        BY FILE & SERVEXPRESS

        Jack B. Blumenfeld, Esq.                     jblumenfeld@mnat.com
        Alexandra M. Cumings, Esq.                   acumings@mnat.com
        Morris, Nichols, Arsht & Tunnell LLP
        1201 N. Market Street
        Wilmington, DE 19899-1347

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                                       /s/ Mary F. Dugan
                                       _______________________________________
                                       Mary F. Dugan (No. 4704)




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 136 of 624 PageID #: 142
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                             C.A. No. N18C-04-006-WCC
                                                       (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                             NOTICE OF MOTION FOR ADMISSION
                              PRO HAC VICE OF WINSTON LIAW

        TO: Jack B. Blumenfeld, Esq.
            Alexandra M. Cumings, Esq.
            Morris, Nichols, Arsht & Tunnell LLP
            1201 N. Market Street
            Wilmington, DE 19899-1347

                 PLEASE TAKE NOTICE that the undersigned will present the attached

        Motion for Admission Pro Hac Vice of Winston Liaw at the convenience of the

        Court.

                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP
                                              Mary F. Dugan
        Dated: August 3, 2018                 Karen L. Pascale (No. 2903)
                                              Mary F. Dugan (No. 4704)
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 137 of 624 PageID #: 143
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                IN THE SUPERIOR COURT OF THE STATE          OF DELAWARE
                                                        Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                              C.A. No. N18C-04-006-WCC
                                                        (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                       [PROPOSED] ORDER

                The foregoing application of Winston Liaw for admission pro hac vice in this

        action is hereby granted.

                SO ORDERED this __day of _________, 2018.



                                                     _____________________________
                                                     Hon. William C. Carpenter, Jr.




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 138 of 624 PageID #: 144
                                                        EFiled: Aug 03 2018 06:00PM EDT
                                                        Transaction ID 62307876
                               CERTIFICATE OF SERVICE   Case No. N18C-04-006 WCC CCLD

                    I, Mary F. Dugan, Esquire, hereby certify that on August 3, 2018, I

        caused a copy of the foregoing document to be served on the following counsel in

        the manner indicated below:

        BY FILE & SERVEXPRESS AND E-MAIL

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                                       /s/ Mary F. Dugan
                                       _______________________________________
                                       Mary F. Dugan (No. 4704)




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 139 of 624 PageID #: 145
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                                                        Transaction ID 62343742
                                                        Case No. N18C-04-006 WCC CCLD
                        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

          FINJAN, INC.,

                             Plaintiff,

          v.                                                   C.A. No. N18C-04-006-WCC
                                                               (CCLD)
          TRUSTWAVE HOLDINGS, INC.,

                             Defendant.

                                  CERTIFICATION PURSUANT TO
                                SUPERIOR COURT CIVIL RULE 90.1(B)

          I, John L. Cooper, hereby certify that:

                   1.     I am a member in good standing of the Bars of the States of California

          and Colorado.

                   2.     I agree that I shall be bound by the Delaware Lawyers’ Rules of

          Professional Conduct and have reviewed the Statement of Principles of Lawyer

          Conduct.

                   3.     I agree that I and all attorneys of my firm who directly or indirectly

         provide services to the party or cause at issue shall be bound by all Rules of the

          Court.

                   4.     I consent to the appointment of the Prothonotary as agent upon whom

          service of process may be made for all actions, including disciplinary actions, that

         may arise out of the practice of law under this rule and activities related thereto.


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       Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 140 of 624 PageID #: 146




                5.    In the preceding twelve (12) months, I have not been admitted to

         practice pro hac vice in a Delaware court.

                6.    Payment to the Prothonotary for the pro hac vice application

         assessment in the amount of four hundred and seven dollars ($407.00) is attached

         for deposit pursuant to Superior Court Civil Rule 90.1.

                7.    I have not been disbarred or suspended and I am not the object of any

         disciplinary proceedings in any jurisdiction where I have been admitted generally,

         pro hac vice, or in any other way.

                8.    I have been admitted generally to the Bars of the following states or

         other jurisdictions: U.S. Supreme Court, State of California, State of Colorado,

         U.S. Court of Appeals for the Fifth Circuit, U.S. Court of Appeals for the Seventh

         Circuit, U.S. Court of Appeals for the Ninth Circuit, U.S. Court of Appeals for the

         Eleventh Circuit, U.S. District Court for the District of Colorado, U.S. District

         Court for the Northern District of California, U.S. District Court for the Northern

         District of Georgia.

                9.    I do not maintain an office in the State of Delaware.

         Dated: August 13, 2018
                                                                                /

                                                          SL
                                                        ohn/L. Cooper




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 141 of 624 PageID #: 147
                                                        EFiled: Aug 14 2018 10:21AM EDT
                                                        Transaction ID 62343742
                                                        Case No. N18C-04-006 WCC CCLD
                       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

         FINJAN, INC.,

                            Plaintiff,

         v.                                                  C.A. No. N18C-04-006-WCC
                                                             (CCLD)
         TRUSTWAVE HOLDINGS, INC.,

                            Defendant.

                                 CERTIFICATION PURSUANT TO
                               SUPERIOR COURT CIVIL RULE 90.1(B)

         I, Winston Liaw, hereby certify that:

                  1.     I am a member in good standing of the Bar of the State of California.

                  2.     I agree that I shall be bound by the Delaware Lawyers’ Rules of

         Professional Conduct and have reviewed the Statement of Principles of Lawyer

         Conduct.

                  3.     I agree that I and all attorneys of my firm who directly or indirectly

         provide services to the party or cause at issue shall be bound by all Rules of the

         Court.

                  4.     I consent to the appointment of the Prothonotary as agent upon whom

         service of process may be made for all actions, including disciplinary actions, that

         may arise out of the practice of law under this rule and activities related thereto.




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 142 of 624 PageID #: 148



                5.    In the preceding twelve (12) months, I have appeared in the following

         cases in the U.S. District Court for the District of Delaware, in which I was

         admitted pro hac vice: TQ Delta, LLC v. Zhone Technologies, Inc., C.A. No. 13-

         1836-RGA; Flexible Technologies Inc. v. SharkNinja Operating LLC, et al., C.A.

         No. 1:18-cv-00348-GMS.

                6.    Payment to the Prothonotary for the pro hac vice application

         assessment in the amount of four hundred and seven dollars ($407.00) is attached

         for deposit pursuant to Superior Court Civil Rule 90.1.

                7.    I have not been disbarred or suspended and I am not the object of any

         disciplinary proceedings in any jurisdiction where I have been admitted generally,

         pro hac vice, or in any other way.

                8.    I have been admitted generally to the Bars of the following states or

         other jurisdictions: State of California, U.S. District Court for the Northern

         District of California, U.S. District Court for the Southern District of California,

         U.S. District Court for the Eastern District of Texas, U.S. District Court for the

         Northern District of Texas.

                9.    I do not maintain an office in the State of Delaware.



         Dated: August 13, 2018
                                                        Winston Liaw


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 143 of 624 PageID #: 149
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                                                Transaction ID 62426967
                                                Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                           C.A. No. N18C-04-006-WCC
                                             (CCLD)
TRUSTWAVE HOLDINGS, INC.,
                                              PUBLIC VERSION
                Defendant.


       ANSWERING BRIEF OF FINJAN, INC. IN OPPOSITION TO
        TRUSTWAVE HOLDINGS, INC.’S MOTION TO DISMISS




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                                     STARGATT & TAYLOR LLP
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Dated: July 30, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 144 of 624 PageID #: 150



                                         TABLE OF CONTENTS

                                                                                                                    Page
NATURE OF PROCEEDINGS ................................................................................. 1

COUNTERSTATEMENT OF FACTS ..................................................................... 5

QUESTION PRESENTED ........................................................................................8
ARGUMENT .............................................................................................................9

         I.       Legal Standards .....................................................................................9
                  A.       12(b)(6) Motion to Dismiss ........................................................ 9

                  B.       Breach of Contract under Delaware Law .................................11

                  C.       Federal Pleading Standards .......................................................12
         II.      Finjan’s Complaint States a Claim for Breach of Contract for
                  Trustwave’s Failure to Pay Royalties, for Trustwave’s
                  Noncompliance with a Contractually-Agreed-Upon Audit, and
                  for Trustwave’s Failure to Reimburse Finjan for the Costs of
                  the Audit ..............................................................................................14

                  A.       The Complaint States a Claim Against Trustwave for
                           Breach of Contract Based on Trustwave’s Failure to Pay
                           Royalties....................................................................................14

                  B.       The Complaint States a Claim Against Trustwave for
                           Breach of Contract Based on Trustwave’s
                           Noncompliance with the Audit .................................................17
                  C.       The Complaint States a Claim Against Trustwave for
                           Breach of Contract Based on Trustwave’s Failure to
                           Reimburse Finjan for the Cost of the Contractually-
                           Permitted Audit .........................................................................19
         III.     The “Standard for Patent Infringement” Is Inapplicable to
                  Finjan’s Breach of Contract Action ....................................................22

 CONCLUSION ........................................................................................................25


                                                            i
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 145 of 624 PageID #: 151




                                   TABLE OF AUTHORITIES
CASES                                                                                                 Page(s)
In re Benzene Litig.,
    2007 WL 625054 (Del. Super. Feb. 26, 2007) ..................................................... 9
Cambium Ltd. v. Trilantic Capital Partners III, L.P.,
  36 A.3d 348 (Del. 2012) ...............................................................................13, 22
Cent. Mortg. Co. v. Morgan Stanley Mortg. Capital Holdings LLC,
  27 A.3d 531 (Del. 2011) ..............................................................................passim

Costello v. Cording,
  91 A.2d 182 (Del. 1952) .....................................................................................11
Doe 30’s Mother v. Bradley,
  58 A.3d 429 (Del. Super. 2012) ............................................................................9
Furman v. Del. Dept. of Transportation,
  30 A.3d 771 (Del. 2011) .....................................................................................10
Interim Healthcare, Inc. v. Spherion Corp.,
   884 A.2d 513 (Del. Super. 2005), aff’d, 886 A.2d 1278 (Del. 2005) ..........11, 14

Klein v. Sunbeam Corp.,
   94 A.2d 385 (Del. 1952) .................................................................................6, 19

Markow v. Synageva Biopharma Corp.,
  2016 WL 1613419 (Del. Super. Mar. 3, 2016).............................................11, 22

NewYork.Com Internet Holdings, Inc. v. Entm’t Benefits Group, LLC,
  2015 WL 4126653 (Del. Ch. July 8, 2015) .......................................................... 9

VLIW Tech., Inc. v. Hewlett-Packard Co.,
  840 A.2d 606 (Del. 2003) .............................................................................10, 12

Winshall v. Viacom Intern., Inc.,
  76 A.3d 808 (Del. 2013) ...............................................................................13, 22




                                                       ii
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 146 of 624 PageID #: 152



STATUTES
28 U.S.C. § 1338(a) ...................................................................................................3

28 U.S.C. § 1446 ......................................................................................................22

RULES
Super. Ct. Civ. R. 8 ............................................................................................10, 11

Super. Ct. Civ. R. 12(b)(1) .......................................................................................23

Super. Ct. Civ. R. 12(b)(6) ................................................................................passim




                                                           iii
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 147 of 624 PageID #: 153



      Plaintiff Finjan, Inc. (“Finjan” or “Plaintiff”) hereby opposes the Motion to

Dismiss of Defendant Trustwave Holdings, Inc. (“Trustwave” or “Defendant”). In

opposition thereto, Finjan respectfully states as follows:

                          NATURE OF PROCEEDINGS
      Finjan filed its Complaint on April 4, 2018, alleging three causes of action,

each one articulating a separate basis by which Trustwave breached an Amended

and Restated Patent Licensing Agreement (the “Agreement”) between Finjan and

Trustwave. (Dkt. No. 1) Finjan’s Complaint seeks over $1.5 million, plus pre- and

post-judgment interest and attorneys’ fees. (Id.)

      The Complaint was served by the Sheriff on Trustwave’s registered agent on

April 19, 2018. (Dkt. No. 4) Trustwave requested an extension of time to respond,

and the parties stipulated to the date—June 8, 2018—by which Trustwave would

move, answer, or otherwise plead in response to the Complaint. (Dkt. Nos. 6, 7)

On June 8, 2018, Trustwave moved to dismiss pursuant to Superior Court Civil

Rule 12(b)(6) but failed to file its opening brief. (Dkt. Nos. 8, 10) Finjan pressed

Trustwave several times for its missing opening brief, and in response, on June 15,

2018, Trustwave sought a retroactive extension of an additional 21 days beyond

the agreed-upon date of June 8 to file its opening brief. (Dkt. No. 9) On June 19,

2018, the Court granted Trustwave’s request. (Dkt. No. 12) Trustwave finally




                                          1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 148 of 624 PageID #: 154



filed its Opening Brief on June 29, 2018. (Dkt. No. 17) This is Finjan’s

Answering Brief in Opposition to Trustwave’s Motion to Dismiss.

      In its Opening Brief, Trustwave agrees or does not dispute:

      1) that a valid and enforceable agreement exists between the parties;

      2) that Trustwave has failed to pay the royalties sought by Finjan’s first

          cause of action;

      3) that Trustwave has failed to comply with the requested audit as pleaded

          in Finjan’s second cause of action; and

      4) that Trustwave has failed to pay the costs of the audit as pleaded in

          Finjan’s third cause of action.

      Despite all of this, Trustwave argues that Finjan has failed to state a claim

for which relief can be granted, because, according to Trustwave, Finjan’s

allegations are “summary,” “conclusory,” “deficient,” and/or “inadmissible,” and

do not meet the federal standard for pleading patent infringement (though

Trustwave does not explain how or why federal precedent is binding on this Court

for this breach of contract case). Putting aside Trustwave’s improper invocation of

federal patent law and the pleading requirements thereto, Trustwave’s argument

amounts to many fact-dependent defenses, most of which rely on direct

contradictions of the detailed facts alleged in Finjan’s Complaint. In short, by

explaining in detail why it believes Finjan is not entitled to any relief, Trustwave’s



                                            2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 149 of 624 PageID #: 155



arguments make clear that Trustwave is on notice of precisely what Finjan seeks in

its Complaint. Trustwave’s brief effectively supports Finjan’s case as to why the

Complaint is legally sufficient, and why Trustwave’s motion should be denied.

      Finjan did not file a lawsuit alleging patent infringement, nor could in do so

in this Court. See 28 U.S.C. § 1338(a) (“The district courts shall have exclusive

jurisdiction or any civil action arising under any Act of Congress relating to patents

. . . .”). Trustwave fails to show why Finjan must allege patent infringement in a

simple breach of contract case. Trustwave spills more (virtual) ink explaining the

(inapplicable) “Standard for Patent Infringement” than it does to acknowledge the

well-established standard for a motion to dismiss pursuant to Superior Court Civil

Rule 12(b)(6) or the required elements for pleading breach of contract. Applying

the correct standard here leads to the inexorable conclusion that Finjan’s

Complaint must survive Trustwave’s motion.

      Trustwave has appended to its Opening Brief copies of the Agreement (Dkt.

No. 17 at Exhibit A) and the Finjan Royalty Inspection Report of Trustwave (the

“Royalty Inspection Report”) (Dkt. No. 17 at Exhibit B), insinuating that Finjan

has sought to distance itself from these documents (Op. Br. at 1-2), and claiming

that the plain language of these documents may be interpreted, as a matter of law,

to foreclose Finjan’s entitlement to any relief. Id. But neither proposition is true.

First, Finjan embraces both documents, because they form the basis for Finjan’s



                                          3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 150 of 624 PageID #: 156



claims against Trustwave. (See Compl. at ¶¶ 23-26, 30-31, 35-37.) Second, on a

motion to dismiss, the Court must accept as true all well-pled factual allegations,

and draw all reasonable inferences in the non-moving party’s favor. Trustwave’s

argument is premised on urging the Court to reject Finjan’s well-pled factual

allegations, and to draw inferences against Finjan. That is not the standard, and

Trustwave’s attempt to argue otherwise should be rejected.

      For these reasons, as set forth in more detail below, Finjan respectfully

requests that the Court deny Trustwave’s Motion to Dismiss.




                                          4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 151 of 624 PageID #: 157



                      COUNTERSTATEMENT OF FACTS
      As set forth in the Complaint, Finjan and Trustwave entered into the

Agreement, “which is a binding contract supported by offer, acceptance, and

mutual consideration.” Compl. ¶ 6. The Agreement “SHALL BE GOVERNED

BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE

STATE OF DELAWARE APPLICABLE TO CONTRACTS MADE AND

PERFORMED IN SUCH STATE.” Dkt. No. 17, Ex. A (Agreement) § 6.6

(capitalization in original). The Agreement contains a Delaware venue provision

specifically noting that the parties “irrevocably submit to the exclusive jurisdiction

of any federal or state court located within the State of Delaware over any dispute

arising out of or relating to this Agreement and each party hereby irrevocably

agrees that all claims in respect of such dispute or any suit, action proceeding

related thereto may be heard and determined in such courts.” Id. at § 6.4.1.

      The Agreement granted Trustwave per se a license to certain Finjan patents.

Id. However, Section 2.5 of the Agreement entitled Finjan to certain royalties in

the event Trustwave was acquired. Compl. ¶ 7.

      In 2015, Trustwave informed Finjan that it was in the process of being

acquired by Singtel. Compl. ¶ 9. Specifically, in a July 22, 2015 email, Trustwave

informed Finjan that it agreed that Section 2.5 applied to the acquisition of

Trustwave by Singtel. Compl. ¶ 10. In the fall of 2015, Trustwave and Finjan



                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 152 of 624 PageID #: 158



were nearing agreement regarding royalties, when Trustwave, without warning,

stopped responding to Finjan’s emails, refusing to negotiate with Finjan any

further. Compl. ¶ 11. Finjan informed Trustwave on November 16, 2015, and

December 30, 2015, that Trustwave was in breach of the Agreement. Compl. ¶ 12.

      Six months later, on June 22, 2016, Finjan requested an audit pursuant to

Section 3.4 of the Agreement. 1 Compl. ¶ 13. The language of Section 3.4 gives

the mutually agreed-upon auditor the ability to “determine the royalties paid

hereunder.” Compl. ¶ 13. Finjan proposed an auditor who specialized in

intellectual property audits; however, Trustwave rejected Finjan’s choice and

insisted on an auditor from one of the “big four” accounting firms. Trustwave

suggested KPMG as a potential independent auditor. Compl. ¶ 13. Finjan agreed,

and pursuant to Section 3.4 of the Agreement, paid for that independent audit.

Compl. ¶ 13.




      1
        Trustwave complains about Finjan’s recitation of the sequence of events
that lead to the filing of Finjan’s Complaint to vindicate its rights against
Trustwave as “mischaracterized,” and “clearly inadmissible.” Op. Br. at 12, fn. 4.
That Trustwave does not agree with the statements in Paragraphs 10, 11, 12 and 16
of the Complaint is irrelevant on a motion to dismiss. Trustwave has invoked the
Rule 12(b)(6) standard, which entitles Finjan to the assumption that these
allegations—and all reasonable inferences flowing from them—are true. On a
motion to dismiss, it is also irrelevant that Trustwave believes these allegations to
be inadmissible at trial. See Klein v. Sunbeam Corp., 94 A.2d 385, 391 (Del.
1952). Trustwave has cited no case—because there is none—to the contrary.


                                          6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 153 of 624 PageID #: 159



      KPMG attempted to perform its audit, but, in violation of Section 3.4 of the

Agreement, Trustwave refused to provide KPMG information, including certain

sales and technical information. Compl. ¶ 14. The auditor made two calculations

of the amount owed by Trustwave: First, using Trustwave’s definition of what

products were within the scope of the Agreement, KPMG concluded that an

additional $160,524.91 was due. Second, based on KPMG’s analysis and with

input from Finjan, KPMG determined that $1,526,445.95 was due. See Compl. ¶

15; Dkt. No. 17, Ex. B. Further, due to the amount of the underpayment,

Trustwave was also required under the Agreement to reimburse Finjan for the

audit, in the amount of $50,654.67. Compl. ¶ 15. Trustwave refused to pay any of

it. Compl. ¶ 15.

      On March 6, 2018, Finjan reiterated its request for Trustwave to pay the

amount determined by KPMG. Compl. ¶ 16. Trustwave instead suggested a

“CEO-to-CEO conversation,” to which Finjan promptly agreed and provided its

CEO’s contact information. Compl. ¶ 16. Trustwave never reached out to Finjan’s

CEO. Compl. ¶ 16. This lawsuit followed.




                                        7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 154 of 624 PageID #: 160



                             QUESTION PRESENTED
      Whether Finjan’s Complaint, which alleges breaches of contract by

Trustwave for 1) failure to pay royalties required under the parties’ Agreement;

2) noncompliance with the Agreement for failing to provide information for the

audit; and 3) failure to reimburse Finjan for the costs of the audit, is susceptible to

dismissal, where it more than complies with the applicable Delaware law, but

where Trustwave argues it is subject to Trustwave’s interpretation of the federal

standard for alleging patent infringement.




                                           8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 155 of 624 PageID #: 161



                                   ARGUMENT

I.    Legal Standards

      A.     12(b)(6) Motion to Dismiss
      In Delaware, motions to dismiss pursuant to Rule 12(b)(6) are governed by a

“reasonable conceivability” pleading standard. NewYork.Com Internet Holdings,

Inc. v. Entm’t Benefits Group, LLC, 2015 WL 4126653, *5 (Del. Ch. July 8, 2015).

Under this standard, the court “should accept all well-pleaded factual allegations in

the Complaint as true, accept even vague allegations in the Complaint as well-

pleaded if they provide the defendant notice of the claim, draw all reasonable

inferences in favor of the plaintiff, and deny the motion to dismiss unless the

plaintiff could not recover under any reasonably conceivable set of circumstances.

. . .” Cent. Mortg. Co. v. Morgan Stanley Mortg. Capital Holdings LLC, 27 A.3d

531, 536 (Del. 2011); see also Doe 30’s Mother v. Bradley, 58 A.3d 429, 443 (Del.

Super. 2012) (“When considering a motion to dismiss, the Court must read the

complaint generously, accept all of the well-plead allegations contained therein as

true, and draw all reasonable inferences in a light most favorable to the non-

moving party.”) (internal quotations and citations omitted). Plaintiff’s burden is

“minimal.” Cent. Mortg. Co., 27 A.3d at 536. Dismissal is inappropriate where

there is even a “possibility of recovery.” NewYork.Com Internet Holdings, Inc.,

2015 WL 4126653, at *5; see also In re Benzene Litig., 2007 WL 625054 at *5



                                          9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 156 of 624 PageID #: 162



(Del. Super. Feb. 26, 2007) quoting Costello v. Cording, 91 A.2d 182, 184 (Del.

1952) (“[A]s then Judge Terry recognized in one of the first decisions to interpret

Delaware’s newly adopted Rule 8: ‘the pleader is not required in a statement of

claim to narrate facts sufficient to constitute a cause of action, nor is he required to

spell out the definite verbiage of the wrongs complained of if the missing elements,

or element, follow, or may reasonably be inferred from the facts that are alleged.’

The Court must view the complaint as an integrated document—all of the

allegations must be considered when determining whether the complaint provides

fair notice of the claims.”).

      On a 12(b)(6) motion, the Court may consider documents integral to and

referenced in the pleadings without converting a motion to dismiss to a motion for

summary judgment. Furman v. Del. Dept. of Transportation, 30 A.3d 771, 774

(Del. 2011) (“We held that there were only two exceptions to the general rule

prohibiting consideration of such extrinsic material on a motion to dismiss: (1)

where an extrinsic document is integral to a plaintiff’s claim and is incorporated

into the complaint by reference, and (ii) where the document is not being relied

upon to provide the truth of its contents.”) (internal citations omitted). But, it is

not within the scope of a 12(b)(6) motion for the Court to make factual findings or

to determine the admissibility of any fact or circumstance pleaded in the

Complaint. See VLIW Tech., 840 A.2d at 611, quoting Klein, 94 A.2d at391 (“A



                                           10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 157 of 624 PageID #: 163



complaint that gives fair notice ‘shifts to the defendant the burden to determine the

details of the cause of action by way of discovery for the purpose of raising legal

defenses.’ Accordingly, under Delaware’s judicial system of notice pleading, a

plaintiff need not plead evidence. Rather, the plaintiff need only allege facts that,

if true, state a claim upon which relief can be granted.”); Costello v. Cording, 91

A.2d 182, 184 (Del. 1952) (“The theory in part in adopting our new rules of civil

procedure was to discard the niceties and technicalities of pleading, that theretofore

prevailed, by doing away with the troublesome burden of revealing the facts and

settling the issues in dispute. These functions are now disposed of by the

deposition-discovery procedure and pre-trial hearings. Thus, the underlying

purpose of Rule 8(a) is to give the adverse party a clear indication of the precise

nature of the pleader’s claim in simple, plain, and understandable language.”).

      B.     Breach of Contract under Delaware Law
      “Under Delaware law, the elements of a breach of contract claim are: (1) a

contractual obligation; (2) a breach of that obligation; and (3) resulting damages.”

Interim Healthcare, Inc. v. Spherion Corp., 884 A.2d 513, 548 (Del. Super. 2005),

aff’d, 886 A.2d 1278 (Del. 2005). “To survive a motion to dismiss for failure to

state a breach of contract claim, a plaintiff must allege (1) the existence of a

contract; (2) the breach of an obligation imposed by that contract; and (3) resulting

damage.” Markow v. Synageva Biopharma Corp., 2016 WL 1613419, at *4 (Del.



                                          11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 158 of 624 PageID #: 164



Super. Mar. 3, 2016) (citing VLIW Tech., Inc. v. Hewlett-Packard Co., 840 A.2d

606, 612 (Del. 2003). While this Court may interpret the terms of contract on a

motion to dismiss, dismissal is proper only if “allegations in the complaint or in the

exhibits incorporated into the complaint effectively negate the claim as a matter of

law,” and “if the defendants’ interpretation is the only reasonable construction as a

matter of law.” VLIW Tech., 840 A.2d at 612 (citing Malpiede v. Townson, 780

A.2d 1075, 1083 (Del. 2001) and Vanderbilt Income and Growth Associates,

L.L.C. v. Arvida/JMG Managers, Inc., 691 A.2d 609, 613 (Del. 1996)) (emphasis

in original).

       C.       Federal Pleading Standards
       While Trustwave attempts to morph Finjan’s breach of contract case into a

patent infringement case, it has not cited a single case applying the “Standard for

Patent Infringement” to modify the elements required to be plead for a breach of

contract case in Delaware state court, or a single case requiring a plaintiff to plead

patent infringement for a breach of contract case in Delaware state court. Federal

pleading standards are inapplicable unless the Delaware Supreme Court rules

otherwise. See, e.g., Cent. Mortg. Co., 27 A.3d at 537 (“Since the Supreme Court

decided Twombly in 2007, various members of the Court of Chancery have cited

the Twombly-Iqbal ‘plausibility’ standard with approval when adjudicating

motions to dismiss. We have not had occasion yet to address the impact, if any,



                                          12
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 159 of 624 PageID #: 165



that the United States Supreme Court’s holdings in Twombly and Iqbal should have

on the Delaware standard. [. . .] We decline to use this case as the vehicle to

address whether the Twombly-Iqbal holdings affect our governing standard,

considering that the parties have not fully and fairly litigated the issue before either

the Vice Chancellor or this Court. Instead, we emphasize that, until this Court

decides otherwise or a change is duly effected through the Civil Rules process, the

governing pleading standard in Delaware to survive a motion to dismiss is

reasonable ‘conceivability.’”); Winshall v. Viacom Intern., Inc., 76 A.3d 808, 813

fn 12 (Del. 2013); Cambium Ltd. v. Trilantic Capital Partners III, L.P., 36 A.3d

348 (Del. 2012).2




      2
        Trustwave’s attempt at invoking Rule 11 for a purported failure to adhere
to inapplicable federal pleading standards is without merit, to say the least.


                                           13
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 160 of 624 PageID #: 166



II.   Finjan’s Complaint States a Claim for Breach of Contract for
      Trustwave’s Failure to Pay Royalties, for Trustwave’s Noncompliance
      with a Contractually-Agreed-Upon Audit, and for Trustwave’s Failure
      to Reimburse Finjan for the Costs of the Audit
      The parties contracted that the Agreement “shall be governed by and

construed in accordance with the laws of the State of Delaware applicable to

contracts made and performed in such state.” Dkt. No. 17, Ex. A (Agreement)

§ 6.6 (emphasis supplied). Finjan has alleged three breaches of contract by

Trustwave that entitle Finjan to damages. For each of these three breaches of

contract, the Complaint sets forth the required elements under “the laws of the

State of Delaware applicable to contracts made and performed in such state”:

                      (1) a contractual obligation;
                      (2) a breach of that obligation; and
                      (3) resulting damages.

Interim Healthcare, Inc. v. Spherion Corp., 884 A.2d 513, 548 (Del. Super. 2005),

aff’d, 886 A.2d 1278 (Del. 2005). Contrary to Trustwave’s contentions, Delaware

contract law does not contemplate a heightened pleading standard by which federal

patent law applies.

      A.     The Complaint States a Claim Against Trustwave for
             Breach of Contract Based on Trustwave’s Failure to
             Pay Royalties
      The Complaint more than meets the “reasonable conceivability” standard for

its breach of contract claim against Trustwave for failing to pay royalties required

under the Agreement. The language of the Complaint is clear, and assuming all


                                            14
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 161 of 624 PageID #: 167



facts as true, and drawing all inferences in Plaintiff’s favor, the Complaint entitles

Finjan to the relief it has sought.

      The Complaint alleges that Finjan and Trustwave entered into the

Agreement. Compl. at ¶ 24. The Complaint alleges that the Agreement permits

an auditor to determine what additional royalties, if any, are owed in the event of

an acquisition. Compl. ¶¶ 24-25. The Complaint alleges that KPMG “concluded

that at least $1,526,445.95 in additional royalties were owed by Trustwave to

Finjan, based on available information.” Compl. ¶ 25. The Complaint alleges that

Trustwave continues to refuse to pay those owed royalties. Compl. ¶ 25. Finally,

the Complaint alleges damages as a result of Trustwave’s breach. Specifically, as

alleged in Finjan’s complaint, as determined by KPMG (the auditor selected by

Trustwave), Finjan “has suffered damages, in the amount of at least $1,526,445.95

for the period of January 1, 2014 through December 31, 2016, based on the

information made available to Finjan.” Compl. ¶ 28.

      Trustwave does not dispute the existence of the Agreement. Op. Br. at 6.

But, Trustwave disputes the allegations pleaded in Paragraphs 24-25 of the

Complaint, contending instead that “the Parties certainly did not delegate any

decision making power to the ‘auditor’” and that “the Inspection section confers a

limited accounting role to a third-party to verify the volume of specific

sales/revenues.” Op. Br. at 2-3. Trustwave disputes that KPMG “had [the] power



                                          15
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 162 of 624 PageID #: 168



to adjudicate” and “did not adjudicate in any way, whether certain products were

covered by the agreement or whether royalties are due and owing on such

products[.]” Op. Br. at 2. And, Trustwave claims—in contradiction of the

Complaint and the Royalty Inspection Report, attached as Exhibit B to its Opening

Brief3—that KPMG “analyzed no products or patents and made no assessments

concerning the applicability of various contractual provisions.”4 Op. Br. at 3; see

also Op. Br. at 12. On a motion to dismiss, Trustwave cannot prevail by

contradicting the factual allegations pleaded in the Complaint. Cent. Mortg. Co.,

27 A.3d at 535. And, for those contentions that are anything less than a direct

contradiction of the Complaint, it is not the law that Trustwave—rather than

Finjan—is entitled to inferences drawn in its favor. Id.. If Trustwave wanted to

deny and contradict each and every allegation in the Complaint (other than what it

describes as the “sole operative allegation” (see Op. Br. at 3, fn. 1) it should have

filed an Answer articulating its denials.




      3
        The Royalty Inspection Report notes that “KPMG identified royalty
bearing products based on its own web research as well as direction from Finajn
[sic].” Dkt. No. 17, Ex. B. at fn. 2 (emphasis added).
      4
        Trustwave’s claim that it “offered Finjan the opportunity to conduct a
scientific review of any product Finjan would identify as being covered by a valid
patent” is disingenuous, as Trustwave only made this offer after the conclusion of
the audit, after it spend months hiding and refusing to provide information to
KPMG.


                                            16
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 163 of 624 PageID #: 169



      B.     The Complaint States a Claim Against Trustwave for
             Breach of Contract Based on Trustwave’s
             Noncompliance with the Audit
      Likewise, the Complaint more than meets the pleading standard to establish

Finjan’s entitlement to relief on its second cause of action related to Trustwave’s

noncompliance with the audit.

      The Complaint alleges that Finjan and Trustwave entered into the

Agreement. Compl. ¶ 24. The Agreement requires that Trustwave shall “permit

such of their books and records necessary to determine the royalties paid

hereunder, to be examined by an auditor or independent accounting firm mutually

selected by Licensor and Licensee.” Compl. ¶ 13; see also Compl. ¶ 31 (“The

Agreement allows for audits of Trustwave to determine whether additional

royalties are due. In the event of such an audit, Trustwave is required to permit[]

its books and records to be examined by an auditor.”). The Complaint alleges that,

even though the Agreement obligated Trustwave to provide KPMG with its books

and records necessary to determine the appropriate royalty, KPMG “was denied

various information by Trustwave, in violation of Section 3.4 of the Agreement.”

Compl. ¶ 14. “Among other things, Trustwave refused to provide sales and

technical information on products Trustwave did not believe were within the scope

of the Agreement, unilaterally dictating the terms of KPMG’s audit, and violating

the Agreement.” Compl. ¶ 14. The Complaint alleges that as a result of



                                         17
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 164 of 624 PageID #: 170



Trustwave’s breach of the Agreement, Finjan has suffered damages in an amount

to be determined at trial. Compl. ¶ 33. Assuming the truth of each of these

allegations, Finjan’s second cause of action states a claim and survives a motion to

dismiss. Cent. Mortg. Co., 27 A.3d at 535.

      Trustwave does not dispute—or even address—these allegations. In fact,

one of the documents on which Trustwave relies, the Royalty Inspection Report,

buttresses the allegations in the Complaint because it makes clear that Trustwave

breached its obligations by failing to comply with the audit. See Dkt. No. 17 at Ex.

B (Royalty Inspection Report). Footnotes 1 and 2 of the Royalty Inspection Report

state (emphasis added):

             As no version or product creation information was
             provided by Trustwave, KPMG’s calculation is based on
             all identified SKUs as being royalty bearing and not
             qualifying as ‘Existing Business’.

             -and-

             Trustwave identified specific product SKUs as using
             Finjan technology, but their position is no royalties are
             owed on these products as they are ‘Existing Business’ as
             defined under the license agreement.

             -and-

             Trustwave only provided access to product engineering
             employees in the SWG and SEG product group area for
             those SKUs they deemed relevant to the Finjan patent.




                                         18
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 165 of 624 PageID #: 171



      Trustwave wishes to incorporate by reference the Royalty Inspection Report

into the record on its Motion to Dismiss (Op. Br. at 2); Finjan agrees. There is no

question that the Complaint sufficiently pleads a breach of Trustwave’s obligation

to comply with the audit, and the Royalty Inspection Report establishes additional

facts in support thereof. To the extent Trustwave disputes KPMG’s royalty

determination, that is an issue of fact to be resolved at trial following discovery. It

is not susceptible to dismissal on the 12(b)(6) standard. Klein, 47 Del. at 537

(explaining that once a plaintiff has given fair notice of the cause of action

asserted, the burden shifts to the defendant “to determine the details of the cause of

action by way of discovery for the purpose of raising legal defenses.”).

      C.     The Complaint States a Claim Against Trustwave for
             Breach of Contract Based on Trustwave’s Failure to
             Reimburse Finjan for the Cost of the Contractually-
             Permitted Audit
      Similarly, Finjan has more than met the bar to allege its third cause of action

relating to Trustwave’s breach of its obligation to reimburse Finjan for the cost of

the contractually-permitted audit per the terms of the Agreement.

      The Complaint alleges that Finjan and Trustwave entered into the

Agreement. Compl. ¶ 24. The Complaint alleges that the Agreement states that

“those audit fees could be shifted to Trustwave if the audit revealed an

underpayment of a certain amount.” Compl. ¶ 13; see also Compl. ¶ 36 (“[I]f the

audit reveals an underpayment in excess of the greater of       or           then


                                          19
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 166 of 624 PageID #: 172



Licensee shall, within 30 days, reimburse Licensor for the costs of such audit.”).

The Complaint alleges that even though KPMG’s audit determined that Trustwave

was in underpayment in excess of the greater of          or           “Trustwave

refuses to pay that amount.” Compl. ¶ 37. The Complaint alleges that Finjan has

suffered damages of “at least $50,654,67 for the cost of the audit.” Compl. ¶ 15.

       As with Finjan’s second cause of action, Trustwave does not dispute—or

even address—these allegations. Instead, Trustwave argues, without any citation

to a provision of the Agreement or to any case law, that Finjan’s second and third

causes of action should be dismissed because Singtel’s acquisition of Trustwave

needed to have been pleaded as a “qualifying event to convert the Agreement from

a fully paid-up license to a royalty-bearing one.” Op. Br. at 18 (“it is clear that

even in the event of a qualifying transaction, Trustwave’s continued operations are

not subject to alteration of its paid-up status.”); see also Op. Br. at 3, fn. 1; at 6; at

10 (“Although Trustwave disputes that the Singtel acquisition triggered the

payment of royalties…”).

       First of all, Finjan does not agree with Trustwave’s contention that the

Complaint does not allege “a qualifying event to convert the Agreement from a

fully paid-up license to a royalty-bearing one.” See Op. Br. at 19. To the contrary,

Finjan has alleged a qualifying event: that upon acquisition, pursuant to Sections

1.13, 2.4, and 2.5, the Agreement would impose a royalty on Trustwave products.



                                            20
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 167 of 624 PageID #: 173



Compl. ¶¶ 9-10. Indeed, the Complaint alleges that Trustwave agreed that Section

2.5 applied to the acquisition of Trustwave by Singtel (Compl. ¶ 10), thereby

effectively conceding the occurrence of a qualifying event that triggered additional

royalties. Trustwave is on notice of exactly what Finjan is seeking, and why.

      Second, Finjan’s second and third causes of action arise out of the audit

rights set forth in Section 3.4 of the Agreement, which have nothing to do with

whether Trustwave was acquired. See Dkt. No. 17, Ex. A (Agreement) at 3.4. The

Agreement allows for audits of Trustwave, period. Id. (“Licensee further agrees

to permit its books and records…to be examined by an auditor or independent

accounting firm mutually selected by Licensor and Licensee from time-to-time

during regular business hours, but not more than once a year.”). Therefore, with

respect to Finjan’s second and third causes of action specifically, nothing related to

Singtel’s acquisition is relevant at all, and need not be pleaded.

      Third, Trustwave’s argument here only serves to highlight the dispute

between the parties regarding whether the Singtel acquisition converted the

Agreement from a paid-up license. Trustwave summarizes the dispute itself when

it states that “these royalty obligations are only applicable if Finjan is correct

concerning the nature of the Singtel acquisition.” Op. Br. at 7 (emphasis added).

This is exactly the sort of dispute between the parties that, at the motion to dismiss




                                           21
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 168 of 624 PageID #: 174



stage, is presumed to be resolved in Finjan’s favor. Markow, 2016 WL 1613419,

at *5.

III.     The “Standard for Patent Infringement” Is Inapplicable to Finjan’s
         Breach of Contract Action
         There is not a single case, nor has Trustwave cited one,5 to support its

contention that Finjan’s Complaint is subject to any federal pleading standards, let

alone the pleading standard for patent infringement. Federal pleading standards

are not applicable in Delaware state courts unless the Delaware Supreme Court

says they are. Cent. Mortg. Co, 27 A.3d at 537. The Delaware Supreme Court has

reiterated, time and again, that the standard on a 12(b)(6) motion to dismiss is

reasonable conceivability. Id.; Winshall, 76 A.3d at 813 fn 12 (Del. 2013) (“But,

and to reiterate our holding in Central Mortgage, until this Court is persuaded of

that in a fully litigated case, or until the current standard is changed by an

appropriate procedural rule amendment, reasonable conceivability is the Rule

12(b)(6) pleading standard in Delaware.”); Cambium Ltd., 36 A.3d at 348.

         Finjan did not file a claim for patent infringement. If Trustwave actually

believed Finjan’s Complaint to be one for patent infringement masquerading as a

breach of contract claim (see Op. Br. at 1), Trustwave could have removed this

case to the District of Delaware. 28 U.S.C. § 1446. Trustwave did not remove.

         5
       Of the 17 cases Trustwave cites in its Opening Brief, only 5 are Delaware
cases. The remaining 12 are (inapplicable) federal cases.


                                            22
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 169 of 624 PageID #: 175



Or, Trustwave could have filed a motion to dismiss based on lack of subject matter

jurisdiction of the Delaware court to address the purported patent infringement

claims. See Del. Super. Civ. R. 12(b)(1). Trustwave did not so move.

      Furthermore, Trustwave’s position makes little sense: If Finjan had to plead

patent infringement to collect royalties under the Agreement, the Agreement itself

would be superfluous, because Finjan does not need such an agreement with

Trustwave to bring patent infringement claims against Trustwave for royalties.

Rather, the Agreement is intended to address such disputes and contemplates that

an auditor shall determine the royalty amount. See Compl. ¶¶ 13, 24, 25; see also

Dkt. No. 17, Ex. A (Agreement) at Section 3.4. There is no requirement under

Delaware law to plead either patent infringement or patent validity.

      The Agreement does not contain a provision requiring Finjan to plead patent

infringement (by identifying products, patents, or otherwise) in order to enforce its

rights to collect royalty payments due and owing, nor does Trustwave cite to one.

Op. Br. at 19. To the contrary, the Agreement states that it “shall be governed by

and construed in accordance with the laws of the State of Delaware applicable to

contracts made and performed in such state.” Dkt. No. 17, Ex. A (Agreement)

§ 6.6 (emphasis supplied). Thus, the parties’ choice of law provision specifically

invokes the Delaware law of contracts (and not the federal law of patent

infringement).



                                         23
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 170 of 624 PageID #: 176



      Trustwave’s assertion in its Opening Brief that it cannot owe any royalties

absent a showing of patent infringement is also belied by Trustwave’s course of

conduct prior to the point at which the dispute at issue in this lawsuit arose.

Specifically, pursuant to the Agreement, Trustwave identified what it conceded

were covered products and services (i.e., “identified specific product SKUs as

using Finjan technology”), though it claimed that those products were “Existing

Business.” Dkt. No. 17, Ex. B (Royalty Inspection Report) at fn. 1. In other

words, Trustwave conceded that certain products were covered by the Agreement,

such that KPMG, even under Trustwave’s own self-serving definition of products,

concluded that $160,524.91 was still owed to Finjan. Compl. ¶ 15; see also Dkt.

No. 17, Ex. B (concluding $160,524.91 as “Potential Royalties Due for Royalty

Bearing Products identified by Trustwave.”). Accordingly, there is no dispute that

at least some Trustwave products are covered by the Agreement, and the full scope

of covered products will be an issue for the finder of fact to determine.




                                          24
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 171 of 624 PageID #: 177



                                  CONCLUSION
      For the foregoing reasons, Plaintiff Finjan, Inc. respectfully requests that this

Court deny the Motion to Dismiss of Defendant Trustwave Holdings, Inc., and

award Finjan any other relief the Court deems appropriate.


Dated: July 30, 2018                 YOUNG CONAWAY STARGATT & TAYLOR LLP

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                                          25
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 172 of 624 PageID #: 178



       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                            C.A. No. N18C-04-006-WCC
                                              (CCLD)
TRUSTWAVE HOLDINGS, INC.,

                Defendant.


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               AND TYPE-VOLUME LIMITATION

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 173 of 624 PageID #: 179



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 174 of 624 PageID #: 180
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                                                Case No. N18C-04-006 WCC CCLD
                            CERTIFICATE OF SERVICE

          I, Mary F. Dugan, Esquire, hereby certify that on September 7, 2018, I

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 175 of 624 PageID #: 181



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                                               2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 176 of 624 PageID #: 182
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                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                          )
                                      )
                  Plaintiff,          )
                                      )
      v.                              ) C.A. No. N18C-04-006 WCC CCLD
                                      )
TRUSTWAVE HOLDINGS, INC.,             ) PUBLIC VERSION
                                      ) EFILED AUGUST 13, 2018
                  Defendant.          )


    DEFENDANT TRUSTWAVE HOLDINGS, INC.’S REPLY BRIEF IN
       SUPPORT OF MOTION TO DISMISS THE COMPLAINT


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                                     ii
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 177 of 624 PageID #: 183



                                     TABLE OF CONTENTS

                                                                                                             Page

I.     INTRODUCTION ...........................................................................................1
II.    ARGUMENT ...................................................................................................3

       A.       Finjan Fails to Address Any Trustwave Products Allegedly At Issue..3

       B.       Finjan’s Misplaced Reliance on the Inspection Report Does Not
                Remedy the Otherwise Deficient Complaint…………………………5

       C.       A Claim for Breach of a Patent License Agreement Necessarily
                Entails Analysis of the Underlying Patents and, Ultimately, Proof of
                Infringement of a Valid Licensed Patent for Each Alleged Licensed
                Product …………………………………………………….….…...…8

       D.       Finjan’s Complaint Fails to Sufficiently Plead the Requisite
                Occurrences to Trigger Royalty Payment Obligations…………...…11

       E.       Finjan Has Not Adequately Plead That Trustwave Failed to Comply
                with Section 3.4 of the Agreement………………………….………12

       F.       Finjan’s Improper Jury Demand……………………………….....…14

III.   CONCLUSION..............................................................................................14




                                                       iii
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 178 of 624 PageID #: 184




                                     TABLE OF AUTHORITIES
                                                                                                          Page(s)
Cases
Am. Home Products Corp. v. Norden Laboratories, Inc.,
  1992 WL 368604 (Del. Ch. Dec. 11, 1992) .........................................................9

Boyce Thompson Inst. v. MedImmune, Inc.,
  2009 WL 1482237 (Del. Super. Ct. May 19, 2009 ............................................11

Christianson v. Colt Industries Operating Corp.,
  486 U.S. 800 (1988) ..............................................................................................9

Gantler v. Stephens,
  965 A.2d 695 (Del. 2009) ...................................................................................13

H-M Wexford LLC v. Encorp, Inc.,
  832 A.2d 129 (Del. Ch. 2003) ..............................................................................8

Interim Healthcare, Inc. v. Spherion Corp.,
   884 A.2d 513 (Del. Super. 2005), aff’d, 886 A.2d 1278 (Del. 2005) ................. .1

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  780 A.2d 1075 (Del. 2001). ................................................................................13

U.S. Valves, Inc. v. Dray,
   212 F.3d 1368 (Fed. Cir. 2000) ..........................................................................10

Veloric v. J.G. Wentworth, Inc.,
   2014 WL 4639217 (Del. Ch. Sept. 18, 2014) ................................................5, 12

VLIW Tech., LLC v. Hewlett-Packard Co.,
  840 A.2d 606 (Del. 2003) ....................................................................................2

Rules and Statutes
Superior Court Civil Rule 12(b)(6) ..................................................................1, 3, 14



                                                         iv
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 179 of 624 PageID #: 185



      Pursuant to Superior Court Civil Rule 12(b)(6), Defendant Trustwave

Holdings, Inc. (“Trustwave”) respectfully submits this Reply Brief in support of its

Motion to Dismiss the Complaint (“Complaint”) filed by Plaintiff Finjan, Inc.

(“Finjan”) and in Response to Finjan’s Answering Brief.

     I.      INTRODUCTION

      Remarkably, Finjan persists in its protests that this breach of patent license

dispute does not implicate patents, products, or the patent laws. This contradicts the

pleading standard advanced by Finjan, citing Interim Healthcare, under which

Finjan must properly plead “the breach of an obligation imposed by the contract.”

Answering Br. at p. 11. Instead, in conclusory fashion, Finjan’s Complaint merely

pleads underpayment of “royalties.” Viewing all legal arguments in the most

favorable light to Finjan, the only potential basis for its claim for royalties would

flow exclusively from revenues generated by products or services



                                                   Op. Br., Ex. A (the “Agreement”)

at Section 1.8 (defining “Licensed Products and Services”). Yet, Finjan stands

firm that it need not allege a single valid patent claim or identify a single product

that it contends infringes such valid claim. As every cause of action in Finjan’s

Complaint flows from Trustwave’s alleged failure to pay royalties on Licensed

                                           1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 180 of 624 PageID #: 186



Products and Services under the Agreement, Finjan fails to plead the requisite

obligation imposed by the Agreement and thereby fails to state a claim under any

pleading standard.1

      As with its Complaint, Finjan’s Answering Brief ignores the language of the

contract in dispute and fails to address critical provisions that affect the

fundamental issues in this litigation. First, as detailed above, Finjan holds firm that

its mere references to a contract, an audit, and a breach are sufficient under this

Court’s pleading standard. Further, it ignores its failure to sufficiently plead the

occurrence of requisite, contractual thresholds necessary to trigger a conversion of

this otherwise paid-up license into a royalty-bearing one. Further yet, in its

continued effort to avoid any reference to patents, products, or the patent laws,

Finjan suggests that a routine accounting “audit” conducted pursuant to Section 3.4

“Inspection” of the License Agreement is somehow dispositive of the parties’

disputes. In essence, Finjan urges this Court to treat this case as if it were a mere




1
  “In order to survive a motion to dismiss for failure to state a breach of contract
claim, the plaintiff must demonstrate: first, the existence of the contract, whether
express or implied; second, the breach of an obligation imposed by that contract;
and third, the resultant damage to the plaintiff.” VLIW Tech., LLC v. Hewlett-
Packard Co., 840 A.2d 606, 612 (Del. 2003).

                                            2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 181 of 624 PageID #: 187



collection matter rather than a complex patent license dispute that requires analysis

of issues under federal patent law.

      All else aside, without providing a blueprint for the foundation of each of its

claims—i.e., the underlying identification of Licensed Patents and Licensed

Products and Services—Finjan’s case should not be permitted to break ground. It is

unclear why Finjan has elected to read out and refuse to plead the underlying patent

principals integral to the parties’ Agreement and this dispute, but it is fatal to

Finjan’s Complaint.

      Trustwave respectfully requests that Finjan’s Complaint be dismissed for

failure to state a claim under Rule 12(b)(6).

    II.      ARGUMENT

      Instead of focusing on the dispute at issue—i.e., the deficiencies in Finjan’s

Complaint—Finjan elected to spend the introduction of its Answering Brief

rehashing a procedural dispute that has already been resolved by the Court. See

Dkt. No. 12. Trustwave confines its Reply Brief to Finjan’s pleading deficiencies.

      A.     Finjan Fails to Address Any Trustwave Products Allegedly At
             Issue

      As with Finjan’s Complaint and the Inspection Report, Finjan’s Answering

Brief contains no analysis whatsoever as to the products it contends are covered by

the parties’ Agreement or whether those products constitute “Existing Business”
                                            3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 182 of 624 PageID #: 188



under the Agreement. Even assuming that the Singtel acquisition was a triggering

event2, royalty obligations are only applicable if Trustwave is selling “Licensed

Products and Services under the Licensed Patents”:




2
 In like fashion, Finjan glosses over this dispositive issue by simply arguing that it
need only allege an acquisition. Under the terms of the Agreement, Trustwave’s
payment is fully paid-up. In exchange for a fully paid-up license,

                See Op. Br. at p. 6. For the Agreement to convert to a royalty-
bearing agreement and provide even more compensation to Finjan under the
parties’ Agreement, there are specific contractual requirements that Finjan failed to
plead. Ultimately, if Finjan fails to prove the requisite triggering events and
consideration (also never mentioned in Finjan’s Complaint), necessary to convert
this otherwise fully paid-up license, there can be no claim for royalties here. This
critical contractual interpretation issue, if resolved in Trustwave’s favor, is
dispositive.

                                          4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 183 of 624 PageID #: 189



      Both Finjan’s Complaint and its Answering Brief fail to identify a single

allegedly valid Licensed Patent3 or Licensed Product, let alone provide any analysis

of infringement of a valid claim by a Trustwave product during the relevant time

period. Finjan instead rests solely on its reference to the “Inspection Report.”




                               See Op. Br., Ex. B (the “Inspection Report”) at FN 2.

As such, review of the non-independent Inspection Report further reveals that it is

dispositive of nothing and provides no cover for Finjan’s defective Complaint.4

      B.     Finjan’s Misplaced Reliance on the Inspection Report Does Not
             Remedy the Otherwise Deficient Complaint

      Finjan ignores the language of the Agreement’s Section 3.4 Inspection

provision and the “substance” of the Inspection Report in continued effort to



3
  Pursuant to Section 5 of the Patent License Agreement, Finjan must have
minimally plead the existence of at least one unexpired and valid Licensed Patent
to establish a valid agreement. Its refusal to do so translates into a failure to plead
even the most basic element of its claims. This failure in itself is grounds for
dismissal. Veloric v. J.G. Wentworth, Inc., 2014 WL 4639217, at *8 (Del. Ch.
Sept. 18, 2014) (“The failure to plead an element of a claim warrants dismissal
under Rule 12(b)(6).”).
4
 As noted in Trustwave’s Opening Brief, Finjan elected not to attach this allegedly
core document to its Complaint.
                                      5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 184 of 624 PageID #: 190



summarily argue that its bare allegations of 1) contract, 2) inspection, and 3)

failure to pay (or, provide certain information as the case may be) suffice.




                                        6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 185 of 624 PageID #: 191




                              Thus, Finjan’s allegations notwithstanding, KPMG

reports that Trustwave provided the sales data KPMG requested.

      The Inspection Report constitutes nothing more than a multiplication

exercise, whereby KPMG multiplied a royalty rate against product sales that Finjan

instructed KPMG to count. On its face, the Inspection Report represents nothing

more than, at best, a hypothetical accounting exercise with no legal analysis or

justification for why royalties were triggered, how products were selected, or why

royalties were applied to the unidentified, selected products. This fatally flawed




5
  The Agreement is silent as to any notion of using anything other than the court
system for resolution of disputes; to the contrary, Section 6.4.1 of the Agreement
(featured by Finjan in its Answering Brief) confirms the parties’ express intent to
submit all disputes exclusively to the federal or state courts within the State of
Delaware. As such, KPMG certainly has no authority to “arbitrate” the parties’
disputes. See, e.g., James & Jackson, LLC v. Willie Gary, LLC, 906 A.2d 76, 79-
80 (Del. 2006). KPMG, frankly, suggests nothing to the contrary in the Inspection
Report.
                                           7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 186 of 624 PageID #: 192



and non-independent Inspection Report does nothing to bolster Finjan’s otherwise

insufficient Complaint.

      In support of its conclusory references to the Inspection Report, Finjan

argues that “[o]n a motion to dismiss, Trustwave cannot prevail by contradicting

the factual allegations pleaded in the Complaint.” Answering Brief at p. 16.

Although generally true, “[u]nder Rule 12(b)(6), a complaint may, despite

allegations to the contrary, be dismissed where the unambiguous language of

documents upon which the claims are based contradict the complaint’s

allegations.” H-M Wexford LLC v. Encorp, Inc., 832 A.2d 129, 39 (Del. Ch.

2003). Finjan’s thin allegation that in the event of an acquisition, “certain royalties

would be due on certain products” (see Compl. at ¶ 7) is inadequate, and reference

to the Inspection Report is unavailing to remedy Finjan’s calculated vague and

minimal pleading approach.

      C.     A Claim for Breach of a Patent License Agreement Necessarily
             Entails Analysis of the Underlying Patents and, Ultimately, Proof
             of Infringement of a Valid Licensed Patent for Each Alleged
             Licensed Product

      Finjan’s Answering Brief is a 25-page effort to decouple its breach of

contract claims from the intertwined patent infringement analysis necessary to

prove its claims.    Finjan states that “it did not file a lawsuit alleging patent

infringement,” and that “Trustwave attempts to morph Finjan’s breach of contract
                                          8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 187 of 624 PageID #: 193



case into a patent infringement case.” Answering Br. at pp. 3, 23. Finjan alleges

that neither Delaware law nor the parties’ Agreement requires Finjan to plead

patent infringement or patent validity to establish its breach of contract claim.

Answering Br. at p. 23. This is not so, however, and Finjan’s stubborn refusal to

discuss the patents—i.e., the subject matter of the parties’ patent license agreement

at issue here—and the products allegedly prompting royalties infects all of Finjan’s

claims.

      “In making the determination of whether patent law is a necessary element

of a well-pleaded claim, a court is not bound by the form of the pleadings.” Am.

Home Products Corp. v. Norden Laboratories, Inc., 1992 WL 368604, at *4 (Del.

Ch. Dec. 11, 1992). The Supreme Court observed that:

      [M]erely because a claim makes no reference to federal patent law
      does not necessarily mean the claim does not “arise under” patent
      law.... [A] plaintiff may not defeat § 1338 jurisdiction by omitting to
      plead necessary federal patent-law questions.

Id. (quoting Christianson v. Colt Industries Operating Corp., 486 U.S. 800, 809

(1988).6 Patent law jurisdiction extends to claims where “plaintiff’s right to relief



6
  In many of the cases cited in this section, the courts determined that federal courts
had exclusive subject matter jurisdiction over certain claims due to their
intersection with federal patent law. Trustwave acknowledges that Finjan’s claims
necessarily include analysis of federal patent law, leading to a significant subject
matter jurisdiction question; on the other hand, prior to and without reliance on
                                           9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 188 of 624 PageID #: 194



necessarily depends on resolution of a substantial question of federal patent law . . .

.” U.S. Valves, Inc. v. Dray, 212 F.3d 1368 (Fed. Cir. 2000). In Valves, the

Seventh Circuit found that patent law was a necessary element of plaintiff’s breach

of contract claim:

      U.S. Valves claimed that Dray sold valves in contravention of the
      license agreement. However, Dray sold more than one type of valve.
      The Seventh Circuit reasoned that U.S. Valves’ claim required a
      showing that Dray sold valves covered by the licensed patents.
      Therefore, the claim required a determination of whether Dray's
      valves infringed the patents, and patent law was a necessary element
      of U.S. Valves’ breach of contract claim.

Id. at 1372. A judge on this Court has expressed similar views.              In Boyce

Thompson Inst. v. MedImmune, Inc., Judge Slights reasoned that:

      On their face, BTI's claims are state-law contract and tort causes of
      action that are not created or governed by federal patent law.
      Accordingly, exclusive federal jurisdiction would exist only if BTI's
      “right to relief necessarily depends on resolution of a substantial
      question of federal patent law, in that patent law is a necessary
      element of” BTI's claims.” Counts I–III, V, and VII–X each, in
      various ways, depend upon proof that the Agreement was breached.
      BTI must allege facts that show—under any reasonably conceivable
      set of circumstances susceptible of proof under the complaint—that
      MedImmune breached the Agreement. If, as defendants contend, the
      proper construction of the Agreement would require the finder of fact
      to determine whether either of the defendants infringed a BTI patent
      in order to determine that Cervarix® is a Licensed Product, such that


federal law, the dispositive contractual issue of whether the Singtel acquisition, in
itself, failed to trigger royalty obligations can be resolved by this Court. Finjan
does not contest that its claims are necessarily premised on this issue.
                                            10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 189 of 624 PageID #: 195



      MedImmune breached the Agreement by not paying royalties on net
      sales of Cervarix®, it would be difficult to escape the conclusion that
      patent law had become a “necessary element” of BTI's breach claim.

Boyce Thompson Inst. v. MedImmune, Inc., 2009 WL 1482237, at *11 (Del. Super.

Ct. May 19, 2009).

      Finjan has chosen to ignore completely the underlying foundational subject

matter of the parties’ patent license agreement—its patents. Under Delaware law,

though, Finjan’s breach of patent license claims clearly implicate and are governed

by federal patent laws, notwithstanding Finjan’s attempt to plead around them with

semantical gymnastics. Although Trustwave agrees that any analysis of Finjan’s

claims must begin with the Agreement, and that Finjan need not and cannot bring a

claim for patent infringement, Finjan must plead and prove infringement of one or

more valid Licensed Patents as an element of its contract claims to prevail on any

of its counts. Thus, the sufficiency of Finjan’s Complaint is properly judged by

application of Delaware contract law and federal patent law. Finjan’s failure to

satisfy the fundamental pleading requirements for, inter alia, patent infringement

renders its breach of contract claims woefully deficient.

      D.     Finjan’s Complaint Fails to Sufficiently Plead the Requisite
             Occurrences to Trigger Royalty Payment Obligations

      In addition to the underlying patent analysis to determine which Trustwave

products, if any, are covered by the parties’ Agreement, this action is first
                                          11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 190 of 624 PageID #: 196



conditioned on the occurrence of triggering events that create a contractual

obligation for Trustwave to breach. In other words, Finjan must establish that a

qualifying merger, and subsequent transfer and licensing activity, occurred, before

any royalty obligations could have been triggered. Its failure to even allege the

elements required to demonstrate a triggering of royalty obligations is fatal to all of

its claims. See Veloric v. J.G. Wentworth, Inc., 2014 WL 4639217, at *18 (Del.

Ch. Sept. 18, 2014) (“Because Plaintiffs failed to state a claim that Wentworth is in

breach of the TRA for failing to make payments to them (since there is no well-

pled Change of Control alleged in the Amended Complaint), there was no

contractual requirement that Holdco could have breached. Thus, Count III is

dismissed for failure to state a claim for breach of contract.”). Here, Finjan’s

Complaint and its Answering Brief simply allege that Singtel’s acquisition of

Trustwave was a triggering event.         Finjan does not, and cannot, plead the

occurrence of the balance of the requisite elements. As in Veloric, this deficiency

renders Finjan’s Complaint deficient.

      E.     Finjan Has Not Adequately Plead That Trustwave Failed to
             Comply with Section 3.4 of the Agreement

      Finjan alleges that Trustwave “refused to provide certain information on

products that it contends are not within the scope of the Agreement,” thereby

preventing the audit to be performed in accordance with Section 3.4 and breaching
                                          12
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 191 of 624 PageID #: 197



the Agreement. Complaint at ¶ 31. However, Finjan again mischaracterizes the

express language of the Agreement. Section 3.4 requires only that Trustwave

maintain and make available to the auditor accurate and complete records



                                                               Agreement at Section

3.4. Section 3.4 does not require that Trustwave maintain and make available all

records relating to any of its products at the unfettered discretion of the auditor or

Finjan.

      Finjan’s vague, speculative allegation in Count II that Trustwave withheld

some unidentified records is not sufficient to state a claim. See, e.g., Gantler v.

Stephens, 965 A.2d 695, 704 (Del. 2009) (The courts will not “blindly accept

conclusory allegations unsupported by specific facts” nor will they draw

unreasonable inferences in the plaintiff’s favor). Moreover, on the face of the

Inspection Report, KPMG notes that Trustwave supplied all of the requested sales

data to generate the hypothetical sales figures. Inspection Report at FN 1. Finjan

relies on same in attempting to plead breach in Count I.          As such, Finjan’s

allegations in the first and second causes of action necessarily negate each other,

warranting dismissal of both incongruous counts. See Malpiede v. Townson, 780

A.2d 1075, 1083 (Del. 2001) (finding dismissal warranted where “allegations in

                                         13
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 192 of 624 PageID #: 198



the complaint or in the exhibits incorporated into the complaint effectively negate

the claim as a matter of law.”).

      F.     Finjan’s Improper Jury Demand

      Finjan’s Answering Brief fails to address the improper jury demand in its

Complaint. Finjan’s Complaint includes a demand for jury trial (see Complaint at

p. 13) notwithstanding that Section 6.4.2 of the parties’ Agreement provides:

“EACH OF THE PARTIES HERETO ACKNOWLEDGES AND AGREES

THAT       ANY    CONTROVERSY            THAT     MAY    ARISE    UNDER      THIS

AGREEMENT IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT

ISSUES,     AND      THEREFORE           IT     HEREBY   IRREVOCABLY         AND

UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL

BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY

ARISING OUT OF OR RELATING TO THIS AGREEMENT.” Finjan’s jury

demand should, therefore, be stricken.

   III.      CONCLUSION

      Trustwave respectfully requests that Finjan’s Complaint be dismissed for

failure to state a claim under Rule 12(b)(6).




                                          14
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 193 of 624 PageID #: 199



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August 13, 2018




                                      15
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 194 of 624 PageID #: 200
                                                EFiled: Sep 13 2018 08:56PM EDT
                                                Transaction ID 62451717
                                                Case No. N18C-04-006 WCC CCLD
                         CERTIFICATE OF SERVICE

            I hereby certify that on September 13, 2018 the foregoing document

was served upon all counsel of record via File & ServeXpress.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 195 of 624 PageID #: 201
                                So Ordered                 EFiled: Nov 09 2018 12:52PM EST
                     /s/ Carpenter, William C Nov 09, 2018 Transaction ID 62654680
                IN THE SUPERIOR COURT OF THE STATE             OF DELAWARE
                                                           Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                               C.A. No. N18C-04-006-WCC
                                                         (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                       [PROPOSED] ORDER

                The foregoing application of John L. Cooper for admission pro hac vice in this

        action is hereby granted.

                SO ORDERED this __day of _________, 2018.



                                                      _____________________________
                                                      Hon. William C. Carpenter, Jr.




01:23470054.1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 196 of 624 PageID #: 202




           Court: DE Superior Court-New Castle County

           Judge: William C Carpenter

    File & Serve
 Transaction ID: 62307876

   Case Number: N18C-04-006 WCC CCLD

      Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.



Court Authorizer
     Comments:

So Ordered on 11-8-18 by Carpenter, J.

/s/ Judge Carpenter, William C
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 197 of 624 PageID #: 203
                                So Ordered                 EFiled: Nov 09 2018 12:52PM EST
                     /s/ Carpenter, William C Nov 09, 2018 Transaction ID 62654680
                IN THE SUPERIOR COURT OF THE STATE             OF DELAWARE
                                                           Case No. N18C-04-006 WCC CCLD

        FINJAN, INC.,

                         Plaintiff,
        v.                                              C.A. No. N18C-04-006-WCC
                                                        (CCLD)
        TRUSTWAVE HOLDINGS, INC.,

                         Defendant.

                                       [PROPOSED] ORDER

                The foregoing application of Winston Liaw for admission pro hac vice in this

        action is hereby granted.

                SO ORDERED this __day of _________, 2018.



                                                     _____________________________
                                                     Hon. William C. Carpenter, Jr.




01:23470150.1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 198 of 624 PageID #: 204




         Court: DE Superior Court-New Castle County

         Judge: William C Carpenter

   File & Serve
Transaction ID: 62307876

 Case Number: N18C-04-006 WCC CCLD

    Case Name: Finjan, Inc. v. Trustwave Holdings, Inc.



/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 199 of 624 PageID #: 205
                                                EFiled: Nov 13 2018 09:35AM EST
                                                Transaction ID 62661682
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                          )
                                      )
                  Plaintiff,          )
                                      )
      v.                              )
                                      )
TRUSTWAVE HOLDINGS, INC.,             ) C.A. No. N18C-04-006 WCC CCLD
                                      )
                  Defendant.          )

                  RE-NOTICE OF MOTION TO DISMISS
             PLEASE TAKE NOTICE that Defendant Trustwave Holdings, Inc.’s

Motion to Dismiss the Complaint will be presented to the Court on November 19,

2018 at 10:00 A.M.

                                  MORRIS, NICHOLS, ARSHT & TUNNELL
                                  LLP

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November 13, 2018
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 200 of 624 PageID #: 206



                        CERTIFICATE OF SERVICE

            I hereby certify that on November 13, 2018 the foregoing documents

were served upon all counsel of record via File & ServeXpress.

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                         Wilmington, DE 19801




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 201 of 624 PageID #: 207
                                                EFiled: Nov 19 2018 12:03PM EST
                                                Transaction ID 62680607
                                                Case No. N18C-04-006 WCC CCLD
      SUPERIOR COURT PROCEEDING SHEET
Date: November 19, 2018                                 Time: 9:15 am
Judge: William C. Carpenter                              CA No: N18C-04-006 WCC


Type of Hearing:        Defendant’s Motion to Dismiss

Plaintiff’s Counsel:    Mary Dugan, Esq., Karen Pascale, Esq., John Cooper

Defense Counsel:        Jack Blumenfeld, Esq., John Letchinger, Esq.

Brief Caption:           Finjan, Inc.

                         v.

                        Trustwave Holdings, Inc.



Decision:               Reserved Decision.




Court Clerk:            Nancy Hernandez-Becerra
Court Reporter:         Karen Siedlecki
Courtroom:              8C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 202 of 624 PageID #: 208
                                                EFiled: Feb 11 2019 04:22PM EST
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                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 203 of 624 PageID #: 209
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 204 of 624 PageID #: 210
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 205 of 624 PageID #: 211
                                                EFiled: Feb 19 2019 04:35PM EST
                                                Transaction ID 62983727
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                    Plaintiff,          )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        ) C.A. No. N18C-04-006-WCC [CCLD]
                    Defendant.          )



                  MOTION FOR LEAVE TO FILE UNDER SEAL

             Defendant Trustwave Holdings, Inc. (“Trustwave”) respectfully

moves pursuant to Superior Court Civil Rule 5(g) for an order permitting the filing

of its Answer to Finjan, Inc.’s Complaint (the “Answer”) under seal. The bases for

Trustwave’s motion are as follows:

             1.     Superior Court Rule 5(g)(2) states, in relevant part, “Court

Records or portions thereof shall not be placed under seal unless and except to the

extent that the person seeking the sealing thereof shall have first obtained, for good

cause shown, an order of this Court specifying those Court Records, categories of

Court Records, or portions thereof which shall be placed under seal[.]”

             2.     On April 3, 2018, this Court granted Plaintiff’s Motion for

Leave to File Complaint Under Seal, and Plaintiff subsequently filed its Complaint
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 206 of 624 PageID #: 212



under seal on April 4, 2018 (Trans. ID 61873810). Plaintiff filed a redacted public

version of its Complaint on April 5, 2018 (Trans. ID 61878611).

             3.    Similarly, Trustwave’s Answer may contain references to

sensitive, non-public information, including financial and business information that

the parties will likely seek to designate as confidential information. The disclosure

of such information would result in material harm to Trustwave. There will be no

harm to the public because the information to be redacted from public view is

minimal.

             4.    Accordingly, Trustwave respectfully submits that good cause

exists for the sealing of the Answer. Trustwave intends to file a redacted public

version of the Answer within thirty (30) days in accordance with Superior Court

Civil Rule 5(g)(2). For the foregoing reasons, Trustwave respectfully requests that

the Court grant it leave to file its Answer under seal pursuant to Superior Court

Rule 5(g)(2).




                                         2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 207 of 624 PageID #: 213



                                       MORRIS, NICHOLS, ARSHT &
                                       TUNNELL LLP


OF COUNSEL:                            /s/ Alexandra M. Cumings
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John S. Letchinger                     Alexandra M. Cumings (#6146)
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Jared A. Brandyberry
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February 19, 2019




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 208 of 624 PageID #: 214
                                                EFiled: Feb 19 2019 04:35PM EST
                                                Transaction ID 62983727
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                    Defendant.           )


                                 NOTICE OF MOTION
             PLEASE TAKE NOTICE that the attached Defendant’s Motion for

Leave to File Under Seal will be presented at the convenience of the Court.

                                         MORRIS, NICHOLS, ARSHT &
                                            TUNNELL LLP
OF COUNSEL:
John S. Letchinger
BAKER& HOSTETLER LLP                     /s/ Alexandra M. Cumings
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February 19, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 209 of 624 PageID #: 215
                                                EFiled: Feb 19 2019 04:35PM EST
                                                Transaction ID 62983727
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                             )
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         ) C.A. No. N18C-04-006-WCC [CCLD]
                    Defendant.           )


                                 [PROPOSED] ORDER

             Defendant Trustwave Holdings, Inc., having moved for leave to file

its Answer to Plaintiff’s Complaint under seal, and the Court having determined

that good cause exists for the requested relief, now, therefore:

             IT IS HEREBY ORDERED, this ___ day of __________, 2019, that

Defendant’s Motion is GRANTED.




                                           _________________________________
                                                    Judge Carpenter
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 210 of 624 PageID #: 216
                                                EFiled: Feb 19 2019 04:35PM EST
                                                Transaction ID 62983727
                                                Case No. N18C-04-006 WCC CCLD
                        CERTIFICATE OF SERVICE

            I hereby certify that on February 19, 2019 the foregoing documents

were served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 211 of 624 PageID #: 217
                        So Ordered                 EFiled: Feb 22 2019 11:23AM EST
             /s/ Carpenter, William C Feb 22, 2019 Transaction ID 62994385
                                                   Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                             )
                                         )
                    Plaintiff,           )
                                         )
       v.                                )
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         ) C.A. No. N18C-04-006-WCC [CCLD]
                    Defendant.           )


                                 [PROPOSED] ORDER

              Defendant Trustwave Holdings, Inc., having moved for leave to file

its Answer to Plaintiff’s Complaint under seal, and the Court having determined

that good cause exists for the requested relief, now, therefore:

              IT IS HEREBY ORDERED, this ___ day of __________, 2019, that

Defendant’s Motion is GRANTED.




                                           _________________________________
                                                    Judge Carpenter
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 212 of 624 PageID #: 218




   File & Serve
Transaction ID: 62983727

  Current Date: Feb 22, 2019



/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 213 of 624 PageID #: 219
                                                EFiled: Mar 12 2019 08:27PM EDT
                                                Transaction ID 63060188
                                                Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,
v.                                           C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                Defendant.

                             NOTICE OF SERVICE

             The undersigned hereby certifies that copies of 1) Plaintiff’s First Set

of Interrogatories Directed to Defendant; 2) Plaintiff’s First Set of Requests for

Production Directed to Defendant; and 3) this Notice were caused to be served on

March 12, 2019 upon the following counsel of record in the manner indicated:

BY FILE & SERVEXPRESS:

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 214 of 624 PageID #: 220



Dated: March 12, 2019             YOUNG CONAWAY STARGATT & TAYLOR LLP
                                  /s/ Mary F. Dugan
Of Counsel:
                                  ______________________________________
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                                  Attorneys for Plaintiff Finjan, Inc.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 215 of 624 PageID #: 221
                                                EFiled: Mar 15 2019 11:38AM EDT
                                                Transaction ID 63070862
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          )
      v.                                  ) C.A. No. N18C-04-006 WCC CCLD
                                          )
TRUSTWAVE HOLDINGS, INC.,                 ) PUBLIC VERSION
                                          ) filed March 15, 2019
                   Defendant.             )


      DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFF’S COMPLAINT

      Defendant Trustwave Holdings, Inc. (“Trustwave”), by and through its

undersigned counsel, answers Plaintiff Finjan, Inc.’s (“Finjan”) Complaint as

follows:

                                NATURE OF ACTION
      1.     This is a complaint for breach of contract.

      ANSWER: Trustwave admits that the complaint purports to state an action

for breach of contract, but Trustwave denies all remaining allegations in Paragraph

1.



                                     PARTIES
      2.     Finjan is a Delaware corporation with a principal place of business at

2000 University Avenue, Suite 600, Palo Alto, California, 94303.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 216 of 624 PageID #: 222



      ANSWER: Trustwave lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 2 and, therefore, denies those

allegations.



      3.       On information and belief, Defendant Trustwave Holdings, Inc.

("Trustwave") is a Delaware corporation with a principal place of business in 70

W. Madison St., Suite 600, Chicago, IL 60602. On information and belief,

Trustwave makes, uses, sells, and/or offers to sell in the United States, or imports

into the United States, including in this judicial district, cybersecurity products or

processes that practice the inventions claimed in Finjan's patents.

      ANSWER: Trustwave admits that it is a Delaware corporation with a

principal place of business in 70 W. Madison St., Suite 600, Chicago, IL 60602.

Trustwave lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in Paragraph 3 and, therefore, denies those allegations.



                            FINJAN'S INNOVATIONS

      4.       Finjan was founded in 1997 as a wholly-owned subsidiary of Finjan

Software Ltd., an Israeli corporation. In 1998, Finjan moved its headquarters to

San Jose, California. Finjan was a pioneer in developing proactive security


                                           2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 217 of 624 PageID #: 223



technologies capable of detecting previously unknown and emerging on line

security threats, recognized today under the umbrella term "malware." These

technologies protect networks and endpoints by identifying suspicious patterns and

behaviors of content delivered over the Internet. Finjan has been awarded, and

continues to prosecute, numerous patents covering innovations in the United States

and around the world resulting directly from Finjan's more than decades-long

research and development efforts, supported by a dozen inventors and over $65

million in R&D investments.

      ANSWER: Trustwave lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 4 and, therefore, denies those

allegations.



      5.       Finjan built and sold software, including application program

interfaces (APis) and appliances for network security, using these patented

technologies. These products and related customers continue to be supported by

Finjan's licensing partners. At its height, Finjan employed nearly 150 employees

around the world building and selling security products and operating the

Malicious Code Research Center, through which it frequently published research

regarding network security and current threats on the Internet. Finjan's pioneering

                                           3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 218 of 624 PageID #: 224



approach to online security drew equity investments from two major software and

technology companies, the first in 2005 followed by the second in 2006. Finjan

generated millions of dollars in product sales and related services and support

revenues through 2009, when it spun off certain hardware and technology assets in

a merger. Pursuant to this merger, Finjan was bound to a non-compete and

confidentiality agreement, under which it could not make or sell a competing

product or disclose the existence of the non-compete clause. Finjan became a

publicly traded company in June 2013, capitalized with $30 million. After Finjan's

obligations under the non-compete and confidentiality agreement expired in March

2015, Finjan re-entered the development and production sector of secure mobile

products for the consumer market.

      ANSWER: Trustwave lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 5 and, therefore, denies those

allegations.



                TRUSTWAVE LICENSES FINJAN'S PATENTS
      6.       Finjan and Trustwave entered into an Amended and Restated Patent

License Agreement (the "Agreement"), which is a binding contract supported by

offer, acceptance and mutual consideration. Among other things, under Section


                                         4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 219 of 624 PageID #: 225



2.1.1 of the Agreement, Finjan granted ''to Licensee a limited, non-exclusive

(without the right to assign except as provided in Sections 2.4 or 6.9 below), fully

paid up, worldwide right and license, to:

      "(a) make, have made, use, import, sell and offer for sale (directly or
      indirectly, via one_or more tiers of distribution channels) the-
      Licensed Products and Services under the Licensed Patents;

      ANSWER: Trustwave admits that Finjan and Trustwave entered the

Agreement and that the Agreement is a binding contract supported by offer,

acceptance, and mutual consideration. Trustwave admits that Section 2.1.1 of the

Agreement in its entirety states as follows:

      2.1.1. For good and valuable consideration, the receipt of which is
      hereby acknowledged, and subject to and limited by all other terms
      hereof including without limitation, pursuant to Section 5 below,
      Licensor hereby grants to Licensee a limited, non-exclusive (without
      the right to assign except as provided in Sections 2.4 or 6.9 below),
      fully paid up, worldwide right and license, to: (a) make, have made,
      use, import, sell and offer for sale (directly or indirectly, via one or
      more tiers of distribution channels) the Licensed Products and
      Services under the Licensed Patents; and


                                                                              f




                                            5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 220 of 624 PageID #: 226




Trustwave denies all remaining allegations in Paragraph 6.



      7.     Under the Agreement, in the event Trustwave was acquired, certain

royalties would be due on certain products. Specifically, Section 2.5 of the

Agreement states:

      "Acquiring Parties. In the event of an Acquisition of Licensee, all the
      provisions of this Agreement applicable to Licensee ( except as
      related to Section 3 ), shall be deemed to apply to the Acquirer, and its
      respective Affiliates that are licensed hereunder, and the royalties that
                                         6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 221 of 624 PageID #: 227



      apply under Section 3 to Permitted Transferees shall apply (from the
      effective date of such Acquisition) to all Licensed Products and
      Services sold and licensed by the Acquirer and its Affiliates licensed
      hereunder that are not attributable to the Existing Business."


Section 3.2.1 of the Agreement, which provides the applicable royalty, states:

      "in respect of Permitted Transferees, and OEMs which are Excluded
      Persons and not Threshold Value OEMs exceeding the Net Sales
      Threshold, the then-prevailing royalty rate to be determined and
      agreed in good faith by Licensor and Licensee and reviewed annually
      if requested by Licensor based on then current royalty rates in the
      enterprise software market for customers of equivalent size for similar
      products, and, in the absence of such agreed prevailing rate provided
      such absence of agreement is not due to a lack of good faith on
      Licensor's part,

Pursuant to Sections 2.5 and 3.2.1 of the Agreement, a       royalty would be due on

"any products and services other than the Licensed Products and Services and

Integrated Licensed Products and Services as actually offered and distributed by

the Licensee and their Affiliates at the time of the Transfer ("Existing Business.")."

Further, under Section 3.3 of the Agreement, interest at the rate of "     per

annum" would also be due on such royalties.

      ANSWER: Trustwave admits that the Agreement contains Sections 2.5 and

3.2.1 as stated in Paragraph 7, but Trustwave denies all remaining allegations in

Paragraph 7.




                                          7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 222 of 624 PageID #: 228




      SINGTEL ACQUIRES TRUSTWAVE, TRIGGERING ROYALTY
                 CLAUSES IN THE AGREEMENT
      8.     Singtel publicly announced its offer to acquire Trustwave no later than

April 7, 2015. Trustwave announced on August 31, 2015, that Singtel had

completed its acquisition of Trustwave, including the Trustwave products and

services that are the subject of the Agreement that is at issue in this dispute. On

information and belief, Singtel now wholly owns Trustwave.

      ANSWER: Trustwave admits that Singtel publicly announced its offer to

acquire Trustwave no later than April 7, 2015, that Trustwave announced on

August 31, 2015 that Singtel had completed its acquisition of Trustwave, and that

Singtel now wholly owns Trustwave. Trustwave denies the remaining allegations

in Paragraph 8.



      9.     In 2015, Trustwave informed Finjan that Singtel was in the process of

acquiring Trustwave. By mid-2015, Finjan began negotiations with Trustwave

regarding the royalties due under the Agreement. Finjan explained that pursuant to

Sections 1.13, 2.4 and 2.5, a     royalty would be owed on products not

attributable to "Existing Business," as defined by the Agreement. Finjan also

explained that Section 1.4 and Exhibit B of the Agreement imposed a          royalty

on relevant sales.

                                           8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 223 of 624 PageID #: 229



      ANSWER: Trustwave admits that in 2015 Trustwave informed Finjan that

Singtel was in the process of acquiring Trustwave.           Trustwave denies the

remaining allegations in Paragraph 9.



      10.    In a July 22, 2015 email, Trustwave informed Finjan that it agreed

that section 2.5 applied to the acquisition of Trustwave by Singtel.

      ANSWER: Trustwave denies the allegations in Paragraph 10.



      11.    By the fall of 2015, the parties were nearing an agreement regarding

additional royalties, when Trustwave suddenly, and without explanation, stopped

responding to Finjan's emails, and thus refused to deal with Finjan.

      ANSWER: Trustwave denies the allegations in Paragraph 11.



      12.    After Trustwave withdrew from negotiations, on November 16, 2015,

Finjan notified Trustwave that it was in breach of the Agreement. On December

30, 2015, Finjan reiterated to Trustwave that it was in breach of the Agreement,

stating that "Trustwave/SingTel is in breach of the license to the Finjan patents and

is on notice for lack of compliance."




                                          9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 224 of 624 PageID #: 230



      ANSWER: Trustwave admits that Finjan sent Trustwave an email on

December 30, 2015 stating "Trustwave/SingTel is in breach of the license to the

Finjan patents and is on notice for lack of compliance." Trustwave denies the

remaining allegations in Paragraph 12.



      13.    On June 22, 2016 of 2016, Finjan requested an audit pursuant to

Section 3.4 of the Agreement for an accounting of the royalties resulting from

Singtel's acquisition of Trustwave. Section 3.4 of the Agreement states:

      Licensee further agrees to permit its books and records, and to require
      any of its Affiliates licensed hereunder or OEMs, as the case may be,
      to permit such of their books and records necessary to determine the
      royalties paid hereunder, to be examined by an auditor or independent
      accounting firm mutually selected by Licensor and Licensee from
      time-to-time during regular business hours, but not more than once a
      year."

Finjan proposed Connor Consulting to perform the audit, as Connor Consulting

came highly recommended, specialized in performing royalty audits, and would

cost less than other auditors. But Trustwave rejected Finjan's proposed and instead

suggested either KPMG or Ernst & Young to perform the audit. Finjan looked into

having Ernst & Young perform the audit, but discovered that it had an engagement

with Singtel and thus could not perform the audit due to a conflict. Finjan then

retained KPMG, the other auditor suggested by Trustwave, to perform the audit.

                                         10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 225 of 624 PageID #: 231



Pursuant to the Agreement, Finjan initially paid for the audit. Under Section 3.4,

those audit fees could be shifted to Trustwave if the audit revealed an

underpayment of a certain amount.

      ANSWER: Trustwave admits that the Agreement contains Section 3.4,

which states in its entirety:

      3.4.

                                                                             e



      Licensee further agrees to permit its books and records, and to require
      any of its Affiliates licensed hereunder or OEMs, as the case may be,
      to permit such of their books and records necessary to determine the
      royalties paid hereunder, to be examined by an auditor or independent
      accounting firm mutually selected by Licensor and Licensee from
      time-to-time during regular business hours, but not more than once a
      year.




                                         11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 226 of 624 PageID #: 232



Trustwave admits that Finjan engaged KPMG to conduct an inspection under

Section 3.4. Trustwave denies that the inspection was proper under the Agreement

and Trustwave denies the remaining allegations in Paragraph 13.



      14.   KPMG attempted to perform its audit, but was denied various

information by Trustwave, in violation of Section 3.4 of the Agreement. Among

other things, Trustwave refused to provide sales and technical information on

products that Trustwave did not believe were within the scope of the Agreement,

unilaterally dictating the terms of KPMG's audit, and violating the Agreement.

      ANSWER: Trustwave denies the allegations in Paragraph 14.



      15.   Based on Trustwave's definition of what products were within the

scope of the agreement, KPMG concluded that an additional $160,524.91 was due

under the Agreement. However, based on KPMG's own analysis of what products

were within the scope of the agreement, KPMG determined that an additional

$1,526,445.95 was due under the Agreement. Due to the amount by which

Trustwave was in underpayment, it was also required to pay for the audit, in the

amount of $50,654.67. On October 1, 2017, Finjan requested payment of those fees




                                        12
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 227 of 624 PageID #: 233



and the cost of the audit, and asked that Trustwave advise whether it would pay by

October 18, 2017. Trustwave declined to pay.

      ANSWER: Trustwave denies the allegations in Paragraph 15.



      16.    On March 6, 2018, Finjan again reached out to Trustwave to request

payment of the fees and the cost of the audit. Over one week later, Trustwave's

counsel responded on March 14 to request a CEO-to-CEO conversation to resolve

this dispute. Finjan promptly agreed to that request, and on March 16 provided

Trustwave's counsel with the direct contact information of Finjan's CEO. To date,

Trustwave has not reached out to Finjan or its CEO, despite its request.

      ANSWER: Trustwave denies the allegations in Paragraph 16.



                         JURISDICTION AND VENUE

      17.    The Court has subject matter jurisdiction and personal jurisdiction

over Trustwave at least by virtue of Section 6.4.1 of the Agreement, which states

that "[t]he parties hereto hereby irrevocably submit to the exclusive jurisdiction of

any federal or state court located within the State of Delaware over any dispute

arising out of or relating to this Agreement and each party hereby irrevocably

agrees that all claims in respect of such dispute or any suit, action proceeding


                                         13
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 228 of 624 PageID #: 234



related thereto may be heard and determined in such courts." This dispute arises of

and relates to the Agreement by virtue of Trustwave's breach of various provisions,

described above and detailed further below.

          ANSWER: The allegations in Paragraph 17 regarding whether this Court

has subject matter jurisdiction and personal jurisdiction over Trustwave are

allegations that assert legal conclusions to which no response is required.

Trustwave admits that the Agreement contains Section 6.4.1, which in its entirety

states:

          6.4.1. The parties hereto hereby irrevocably submit to the exclusive
          jurisdiction of any federal or state court located within the State of
          Delaware over any dispute arising out of or relating to this Agreement
          and each party hereby irrevocably agrees that all claims in respect of
          such dispute or any suit, action proceeding related thereto may be
          heard and determined in such courts.




Trustwave denies the remaining allegations in Paragraph 17.
                                           14
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 229 of 624 PageID #: 235




      18.    The Court also has personal jurisdiction over Trustwave because

Plaintiffs claims against each of them arises out of or relate to each of their

purposeful contacts with Delaware, and the exercise of personal jurisdiction over

each Trustwave in this particular case would comport with principles of fair play

and substantial justice.

      ANSWER: The allegation in Paragraph 18 regarding whether this Court has

personal jurisdiction over Trustwave is an allegation that asserts a legal conclusion

to which no response is required. Trustwave denies the remaining allegations in

Paragraph 18.



      19.    This Court also has personal jurisdiction over each Trustwave because

it has engaged in systematic and continuous contacts with this State and this

district by, inter alia, regularly conducting and soliciting business in this State and

this district, and deriving substantial revenue from products and/or services

provided to persons in this State and this district. For example and without

limitation, as noted above, Trustwave is a Delaware corporation. As another

example without limitations, Trustwave offers for sale and on information and

belief has sold its products and services to residents on this State.

                                          15
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 230 of 624 PageID #: 236



      ANSWER: The allegation in Paragraph 19 regarding whether this Court has

personal jurisdiction over Trustwave is an allegation that asserts a legal conclusion

to which no response is required. Trustwave denies the remaining allegations in

Paragraph 19.



      20.    Venue is proper in this Court at least by virtue of Section 6.4.1 of the

Agreement, which, in addition to stating that "[t]he parties hereto hereby

irrevocably submit to the exclusive jurisdiction of any federal or state court located

within the State of Delaware over any dispute arising out of or relating to this

Agreement," further states that "[t]he parties hereby irrevocably waive, to the

fullest extent permitted by applicable law, any objection which they may now or

hereafter have to the laying of venue of any such dispute brought in such court or

any defense of inconvenient forum for the maintenance of such dispute."

      ANSWER: The allegation in Paragraph 20 regarding whether venue is

proper in this Court is an allegation that asserts a legal conclusion to which no

response is required. Trustwave admits that the Agreement contains Section 6.4.1,

the entirety of which is provided in Trustwave’s answer to Paragraph 17.

Trustwave denies the remaining allegations in Paragraph 20.




                                         16
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 231 of 624 PageID #: 237



      21.    Venue is further proper in this State because Trustwave is

incorporated here, and a substantial part of the events or omissions giving rise to

the claims alleged herein occurred in this district, and because Trustwave is subject

to this Court's personal jurisdiction with respect to the claims alleged herein.

      ANSWER: The allegation in Paragraph 21 regarding whether venue is

proper in this Court is an allegation that asserts a legal conclusion to which no

response is required. Trustwave denies the remaining allegations in Paragraph 21.



                           FIRST CAUSE OF ACTION

                 (Breach of Contract- Failure to Pay Royalties)

      22.    Finjan incorporates paragraphs 1 through 21 herein by reference.

      ANSWER: Trustwave repeats the answers to the allegations in the

preceding paragraphs.



      23.    Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration. Trustwave was acquired by Singtel no later than August 31, 2015.

      ANSWER: Trustwave admits the allegations in Paragraph 23.




                                          17
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 232 of 624 PageID #: 238



      24.    The Agreement provides that, in the event of an acquisition of

Trustwave, at least a     royalty on "any products and services other than the

Licensed Products and Services and Integrated Licensed Products and Services as

actually offered and distributed by the Licensee and their Affiliates at the time of

the Transfer ('Existing Business.')" are due. Accordingly, additional royalties are

due under the Agreement.

      ANSWER: Trustwave denies the allegations in Paragraph 24.



      25.    Further, Finjan commenced an audit pursuant to Section 3.4 of the

Agreement. The independent auditor, KPMG, concluded that at least

$1,526,445.95 in additional royalties were owed by Trustwave to Finjan, based on

the available information. Despite Finjan's repeated requests, Trustwave refuses to

pay that amount.

      ANSWER: Trustwave denies the allegations in Paragraph 25.



      26.    Accordingly, Trustwave has breached the Agreement by failing to pay

the royalties.

      ANSWER: Trustwave denies the allegations in Paragraph 26.




                                          18
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 233 of 624 PageID #: 239



      27.   Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave's breaches thereof.

      ANSWER: Trustwave denies the allegations in Paragraph 27.



      28.   As a direct and proximate result of Trustwave's breach of the

Agreement, Finjan has suffered damages, in the amount of at least $1,526,445.95

for the period of January 1, 2014 through December 31, 2016, based on the

information made available to Finjan.

      ANSWER: Trustwave denies the allegations in Paragraph 28.




                        SECOND CAUSE OF ACTION

               (Breach of Contract - Noncompliance with Audit)

      29.   Finjan incorporates paragraphs 1 through 21 herein by reference.

      ANSWER: Trustwave repeats the answers to the allegations in the

preceding paragraphs.




                                        19
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 234 of 624 PageID #: 240



      30.    Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration.

      ANSWER: Trustwave admits the allegations in Paragraph 30.



      31.    The Agreement allows for audits of Trustwave to determine whether

additional royalties are due. In the event of such an audit, Trustwave is required to

permits its books and records to be examined by an auditor. Trustwave refused to

provide certain information on products that it contends are not within the scope of

the Agreement. But the Agreement does not allow Trustwave to limit what books

or records are examined by the auditor. Accordingly, Trustwave interfered with the

requested audit, preventing it to be performed in accordance with Section 3 .4 of

the Agreement. Trustwave has violated Section 3 .4 of the Agreement, and has thus

breached the Agreement.

      ANSWER: Trustwave denies the allegations in Paragraph 31. Trustwave

      respectfully refers the Court to the Agreement for its complete and full

      contents.




                                         20
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 235 of 624 PageID #: 241



      32.   Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave's breaches thereof.

      ANSWER: Trustwave denies the allegations in Paragraph 32.



      33.   As a direct and proximate result of Trustwave's breach of the

Agreement, Finjan has suffered damages, in an amount to be determined at trial.

      ANSWER: Trustwave denies the allegations in Paragraph 33.




                           THIRD CAUSE OF ACTION

                        (Breach of Contract - Cost of Audit)

      34.   Finjan incorporates paragraphs 1 through 21 herein by reference.

      ANSWER: Trustwave repeats the answers to the allegations in the

preceding paragraphs.



      35.   Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration.

      ANSWER: Trustwave admits the allegations in Paragraph 35.

                                        21
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 236 of 624 PageID #: 242




      36.    Section 3.4 of the Agreement states:

      "Licensor shall bear the cost of the audit, provided, however, that if
      the audit reveals an underpayment in excess of the greater of      or
                then Licensee shall, within 30 days, reimburse Licensor for
      the costs of such audit."

      ANSWER: Trustwave admits that the Agreement contains Section 3.4,

which is provided in its entirety in Trustwave’s answer to Paragraph 13 above.



      37.    KPMG, the independent auditor mutually agreed upon by the parties

to perform an audit pursuant to the Agreement, determined that $1,526,445.95 in

additional royalties were owed by Trustwave to Finjan. This amount is in excess of

the greater of              . Accordingly, pursuant to Section 3.4 of the

Agreement, Trustwave is required to bear the cost of the audit, $50,654.67.

Trustwave refuses to pay that amount, in violation of the Agreement. Accordingly,

Trustwave has breached the Agreement by failing to pay for the audit fees.

      ANSWER: Trustwave denies the allegations in Paragraph 37.



      38.    Finjan has fully performed its obligations under the Agreement to the

extent those obligations were not excused by Trustwave's breaches thereof.

      ANSWER: Trustwave denies the allegations in Paragraph 38.
                                        22
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 237 of 624 PageID #: 243




      39.     As a direct and proximate result of Trustwave's breach of the

Agreement, Finjan has suffered damages, in the amount of at least $50,654.67 for

the cost of the audit.

      ANSWER: Trustwave denies the allegations in Paragraph 39.



            FINJAN’S DEMAND FOR JURY TRIAL IS IMPROPER

      Pursuant to Section 6.4.2 of the Agreement, Finjan’s demand for Jury Trial

is improper and in breach of the parties’ agreement.



                   AFFIRMATIVE AND OTHER DEFENSES

      Further answering the Complaint, Trustwave asserts the following defenses,

undertaking the burden of proof on such defenses only to the extent required by

law. Trustwave reserves its right to amend its Answer with additional defenses as

more information is obtained.

                                 FIRST DEFENSE

      The complaint fails to state a claim against Trustwave upon which relief can

be granted.




                                         23
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 238 of 624 PageID #: 244




                               SECOND DEFENSE

      Pursuant to this Court’s February 11, 2019 Order “Finjan's suit for breach of

contract may proceed, but only to determine whether or not Singtel is actually

using the patent technology that would trigger royalty payments under the

Agreement. The cost obligations alleged in Counts Two and Three of the

Complaint will await the outcome of the discovery which the Court has

authorized.” Therefore, this action is currently limited to determining Singtel’s use

of the patent technology.

                             PRAYER FOR RELIEF

      WHEREFORE, Trustwave respectfully requests that this Court:


      A.     Enter judgment against Plaintiff and in favor of Trustwave;


      B.     Dismiss the Complaint with prejudice;


      C.     Award Trustwave its reasonable costs and expenses, including

reasonable attorney’s fees, incurred in connection with this Action; and

      D.     Grant Trustwave such other and further relief as this Court may deem

just and proper.




                                         24
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 239 of 624 PageID #: 245




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                                          TUNNELL LLP

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February 19, 2019




                                      25
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 240 of 624 PageID #: 246



                         CERTIFICATE OF SERVICE

            I hereby certify that on March 15, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

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                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                      /s/ Alexandra M. Cumings
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 241 of 624 PageID #: 247
                                                EFiled: Mar 15 2019 03:31PM EDT
                                                Transaction ID 63072416
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                            )
                                        )
                  Plaintiff,            )
                                        )
      v.                                ) C.A. No. N18C-04-006 WCC CCLD
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        )
                  Defendant.            )



                               NOTICE OF SERVICE

             PLEASE TAKE NOTICE that on March 15, 2019, copies of

1) Defendant Trustwave Holdings, Inc.’s First Set of Interrogatories; and 2)

Defendant Trustwave Holdings, Inc.’s First Requests for Production of Documents

were served via File & ServeXpress on the following attorneys of record:

                         Karen L. Pascale, Esquire
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                         Wilmington, DE 19801
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 242 of 624 PageID #: 248



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March 15, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 243 of 624 PageID #: 249



                         CERTIFICATE OF SERVICE

            I hereby certify that on March 15, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

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                         Wilmington, DE 19801




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 244 of 624 PageID #: 250
                                                EFiled: Apr 12 2019 06:23PM EDT
                                                Transaction ID 63166790
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 ) C.A. No. N18C-04-006 WCC CCLD
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         )
                   Defendant.            )


                                NOTICE OF SERVICE


             PLEASE TAKE NOTICE that on April 12, 2019 true and correct

copies of (1) Defendant's Objections and Responses to Plaintiff's First Set of

Interrogatories (Nos. 1 - 46), (2) Defendant's Objections and Responses to

Plaintiff's First Set of Requests for Production (Nos. 1-42), and (3) this Notice of

Service were electronically served upon all counsel of record via File &

ServeXpress.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 245 of 624 PageID #: 251



                                       MORRIS, NICHOLS, ARSHT &
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April 12, 2019




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 246 of 624 PageID #: 252
                                                EFiled: Apr 15 2019 05:11PM EDT
                                                Transaction ID 63171298
                                                Case No. N18C-04-006 WCC CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,
v.                                           C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                Defendant.

                             NOTICE OF SERVICE

            The undersigned hereby certifies that copies of 1) Plaintiff’s

Responses and Objections to Defendant’s First Set of Interrogatories; 2) Plaintiff’s

Responses and Objections to Defendant’s First Set of Requests for Production; and

3) this Notice were caused to be served on April 15, 2019 upon the following

counsel of record in the manner indicated:

BY FILE & SERVEXPRESS:

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 247 of 624 PageID #: 253



Dated: April 15, 2019             YOUNG CONAWAY STARGATT & TAYLOR LLP
                                  /s/ Mary F. Dugan
Of Counsel:
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 248 of 624 PageID #: 254
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
              IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                                    )
                                                )
                       Plaintiff,               )
                                                )
         v.                                     ) C.A. No. N18C-04-006 WCC CCLD
                                                )
TRUSTWAVE HOLDINGS, INC.,                       )
                                                )
                       Defendant.               )

         DEFENDANT TRUSTWAVE HOLDINGS, INC.’S MOTION FOR
                       PROTECTIVE ORDER
         Defendant Trustwave Holdings, Inc. (“Trustwave”) respectfully moves this

Court pursuant to Delaware Superior Court Civil Rule 26(c) for a protective order

limiting the scope of Plaintiff Finjan, Inc.’s (“Finjan”) First Set of Interrogatories

(“Interrogatories”) and First Set of Requests for Production (“Document

Requests”)1 to the scope of discovery set by the Court’s February 11, 2019 Letter

Opinion (“Order”) – namely, “whether or not Singtel is actually using the patent

technology that would trigger royalty payments under the Agreement”.

    I.   INTRODUCTION

         In its Order, this Court denied Trustwave’s Motion to Dismiss, but narrowly

defined the sole issue in dispute and corresponding scope of discovery accordingly:

         As a result, Finjan’s suit for breach of contract may proceed, but only
         to determine whether or not Singtel is actually using the patent
         technology that would trigger royalty payments under the Agreement.
1
     The Interrogatories and Document Requests are attached as Exhibits A and B, respectively.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 249 of 624 PageID #: 255



       The cost obligations alleged in Counts Two and Three of the
       Complaint will await the outcome of the discovery which the Court
       has authorized.

Order at p.2. Finjan’s recent discovery requests, 46 interrogatories and 42 requests

for production, show that it has categorically disregarded this Court’s Order. 2 In

fact, Finjan’s discovery requests almost exclusively seek discovery on topics

specifically excluded by this Court’s Order, such as (1) Trustwave cybersecurity

sales unrelated to Singtel, (2) Singtel cybersecurity sales unconnected to

Trustwave, and (3) Finjan’s Counts Two and Three regarding a prior audit.3

Trustwave, accordingly, seeks a protective order limiting Finjan’s discovery to the

scope set forth by this Court in its Order.

       This is a breach of contract suit based on a March 2012 license agreement

between Plaintiff Finjan and Defendant Trustwave (“Agreement”, as defined by

the Court in its Order).        At the Hearing, the Court’s questioning led to the

following exchanges concerning what might trigger royalty obligations:

       COURT: What I think I’ve done here is at least set forth: This is what
       everyone agrees the dispute is about. The dispute is about whether the

2
    At the November 19, 2018 hearing concerning Trustwave’s motion to dismiss (“Hearing”),
    the Court strongly encouraged representatives from Trustwave and Finjan to seek a business
    resolution of this dispute. See Hearing Transcript at 36:6-38:25. Accordingly, Trustwave’s
    General Counsel, Joel Smith, spoke with Finjan’s Chief Intellectual Property Officer and
    Vice President of Legal Operations, Julie Mar-Spinola and offered to voluntarily provide
    information that Trustwave believed would help resolve this matter, but Ms. Mar-Spinola
    failed to provide a material response. See Smith Decl. ¶¶ 3-11.
3
    Counsel for the parties met and conferred regarding the motion, but were unable to reach a
    resolution on the scope of discovery. See Rule 37(e)(1) Certification attached hereto.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 250 of 624 PageID #: 256



       acquiring company is now using your product. Period. They’re not
       using your product, Trustwave doesn't owe you anything.

See Hearing Transcript (“Hearing Transcript”) at 42:18-43:4; see also Order at p.

2. Based on the Court’s Order, Trustwave expected that discovery would target: (i)

licensing activity from Trustwave to Singtel concerning the License Agreement,

(ii) Trustwave’s transfer of cybersecurity technology or proprietary know-how to

Singtel and/or (iii) Trustwave’s sales to Singtel of cybersecurity products covered

by the License4. Consistent with the Order, Trustwave has confirmed via sworn

declaration (and in its discovery responses) that none of the activity covered by

topics (i) and (ii) above has occurred and has agreed to provide the sales data under

category iii. See Declaration of J. Lawrence Podmolik.

       Simply put, Finjan’s discovery requests ignore this Court’s Order. Instead

of abiding by the limitations in the Order, Finjan served 46 interrogatories and 42

requests for production seeking wide-ranging discovery on all Trustwave and


4
    A significant number of Finjan’s discovery requests leverage historical public statements,
    including press releases, that proclaim the hope of expanding Trustwave’s sales via Singtel’s
    acquisition of Trustwave (i.e., where Trustwave could expand its reaches through Singtel as a
    reseller of Trustwave’s products). Most recently, Finjan cites a December 2018 press release
    concerning corporate restructuring in which cybersecurity subsidiaries will operate
    worldwide under the Trustwave brand.            This corporate reconfiguration will allow
    management to track the performance of all cybersecurity operations, while leveraging the
    Trustwave brand. From the acquisition on August 31, 2015 to present, however, other than
    sales in the ordinary course of products and software as would be made to other re-sellers,
    Trustwave has not transferred to, or shared with, Singtel any cybersecurity technology or
    proprietary know-how relating to any products it has sold commercially or offered for sale.
    In order to comply with the Court’s Order, as detailed in its responses to the Interrogatories
    and Document Requests, Trustwave is endeavoring to supply data on all post-acquisition
    sales of products from Trustwave to Singtel and other Singtel subsidiaries.

                                                3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 251 of 624 PageID #: 257



Singtel activities related to cybersecurity software as well as that related to Counts

Two and Three of Finjan’s Complaint.                    This Court specifically noted that

Trustwave is fully-paid up and owes nothing for its ongoing business (see generally

Hearing Transcript at 22:15-36:4), yet Finjan’s requests seek wide-ranging

information and documents concerning all of Trustwave’s sales of cybersecurity

products since January 1, 2013. See Ex. A at Interrogatories Nos. 2-9, 19, 21-24;

Ex. B at Requests for Production Nos. 2-9, 19, 21-24, 28-35. As the definition of

“TRUSTWAVE’S CYBERSECURITY PRODUCTS” in Finjan’s requests shows,

Finjan’s requests are neither limited to sales of Trustwave products to Singtel nor

even temporally limited consistent with the Singtel acquisition date:

       “TRUSTWAVE’S CYBERSECURITY PRODUCTS” means
       cybersecurity products, services, and/or subscriptions, including
       hardware, software, and/or any combination of hardware and
       software, used to protect, defect, or remedy, cybersecurity issues such
       as viruses, worms, malware, denial of service attacks, and/or other
       cybersecurity issues, manufactured, used, sold, and/or offered by
       TRUSTWAVE since January 1, 2013.

Id. at p. 2.

       Likewise, the Court specifically noted that Singtel is not a party to this case

and Singtel sales unconnected to Trustwave products are not governed by this

action5. Yet, as the definition of “SINGTEL’S CYBERSECURITY PRODUCTS”


5
    See, e.g., Hearing Transcript at 38:14-18 (“THE COURT: And if you want to sue Singtel
    because they’re using your patent now inappropriately, go for it. District court is up the street
    two blocks. That’s the patent infringement world.”).

                                                 4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 252 of 624 PageID #: 258



shows, Finjan’s requests seek wide-ranging information and documents concerning

all of Singtel’s sales of cybersecurity products:

       “SINGTEL’S         CYBERSECURITY             PRODUCTS”           means
       cybersecurity products, services, and/or subscriptions, including
       hardware, software, and/or any combination of hardware and
       software, used to protect, defect, or remedy, cybersecurity issues such
       as viruses, worms, malware, denial of service attacks, and/or other
       cybersecurity issues, manufactured, used, sold, and/or offered by
       SINGTEL since January 1, 2013.

See Ex. A at pp. 1-2; see also Interrogatories Nos. 10-18, 20, 25-28; Ex. B at

Requests for Production Nos. 10-18, 20, 25-28, 31-35. Finjan not only seeks

documents that well precede the date of the Singtel acquisition (August 31, 2015),

but also seeks discovery concerning every sale by Singtel of third-party products

(i.e., purchased from independent third-parties such as Microsoft and having

nothing to do with Trustwave whatsoever). Not only does Trustwave, of course,

not have any information concerning these transactions6, but they are not

transactions that could in any way trigger royalties under the Agreement.

       Finjan’s requests clearly ignore this Court’s Order specifically delineating

the one substantive issue in the case and the limitations on discovery. Trustwave,



6
    Trustwave is one of dozens of Singtel’s subsidiaries. Singtel is not a named Defendant, and,
    naturally, Trustwave does not have access to Singtel’s internal accounting systems and
    documents (no more than Dairy Queen (a wholly owned subsidiary of Berkshire Hathaway)
    would have the ability to access Berkshire Hathaway’s internal accounting systems,
    transaction data and reports). See Michelle McLachlan Decl.; see also Theravectys SA v.
    Immune Design Corp., 2014 WL 5500506, at *2 (Del. Ch. Oct. 31, 2014).


                                               5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 253 of 624 PageID #: 259



thus, respectfully requests that this Court issue a protective order limiting the scope

of the Interrogatories and Document Requests consistent with the Court’s Order.

 II.   ARGUMENT 7

       Finjan’s improper requests fall into three categories: (1) requests regarding

Trustwave cybersecurity sales unrelated to Singtel and otherwise made in

Trustwave’s own business, (2) requests regarding Singtel cybersecurity sales

unconnected to Trustwave—i.e. Singtel’s business activity prior to the Trustwave

acquisition or otherwise having nothing to do with Trustwave, and (3) requests

relating to Finjan’s Counts Two and Three.

           a. Improper Requests Seeking Documents and Information
              Regarding Trustwave Cybersecurity Sales Unrelated to Singtel
              Activity – Specifically Excluded by the Court’s Order

       At the Hearing, Finjan’s counsel agreed that Trustwave’s post-acquisition

sales unrelated to Singtel could not trigger royalties under the Agreement:

       COURT: What I think I've done here is at least set forth: This is what
       everyone agrees the dispute is about. The dispute is about whether
       the acquiring company is now using your product. Period. They're
       not using your product, Trustwave doesn't owe you anything. If
       Singtel is using your product, they now have an obligation to tell you
       and to pay royalties on it. I don't think that's -- that's not complicated.
       How you figure that out, how do you come to that conclusion? How
       do you know? I don't know. I mean, and you want me to let you to
7
    This Court may enter a protective order “to protect a party or person from annoyance,
    embarrassment, oppression, or undue burden or expense . . .” Super. Ct. Civ. R. 26(c). The
    scope of discovery is limited to information “reasonably calculated to lead to admissible
    evidence,” Crowhorn v. Nationwide Mut. Ins. Co., 2002 WL 1767529, at *5 (Del. Super. Ct.
    July 10, 2002), and discovery “shall be limited by the Court” if it is unreasonably cumulative
    or duplicative or unduly burdensome or expensive, Super. Ct. Civ. R. 26(b)(1).

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 254 of 624 PageID #: 260



      continue discovery so you can find that out. They say the suit's against
      Trustwave and not Singtel. And if it's a patent infringement, go to the
      district court and file a patent infringement.

      MR. COOPER: Well, I think Your Honor has it exactly right. The
      only thing that I would ask is that we get the kind of information from
      Trustwave that is set forth in 3.4. And then we can resolve it. We can
      do exactly what Your Honor said, the businessmen can go resolve it.

Transcript at 42:18-43:17 (emphasis added). This understanding was confirmed in

the Court’s Order:

      The parties appear to agree that if Singtel, as the acquiring company,
      is now using the patent information in its business, additional royalties
      are required. They also reluctantly agree that if Singtel is not using
      the patent information and it is only being used for Trustwave's
      existing business, no additional royalties are required.

Order at p. 2 (emphasis added). With its discovery requests, however, Finjan

ignores the Court’s directives, as illustrated in the following example:

      INTERROGATORY NO. 3:
      Identify and describe the products, services, and/or subscriptions
      comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS,
      including providing a list of all models, stock keeping units (SKUs),
      version numbers, and release dates.

See Ex. A at p. 8. This request concerns all Trustwave cybersecurity products and

is not limited to products arguably covered by the parties’ Agreement, let alone

products sold to Singtel since the acquisition. It seeks the same information

(though, with no time limitations) that was the subject of the KPMG Inspection,

which this Court noted at the Hearing was irrelevant to the extent it related to

Trustwave’s own business. Hearing Transcript at 28:22-29:9 and 34:12-15.

                                          7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 255 of 624 PageID #: 261



       Finjan’s Interrogatories Nos. 2-9, 19, 21-24 and Requests for Production

Nos. 2-9, 19, 21-24, 28-35, likewise, improperly seek documents and information

concerning Trustwave cybersecurity sales unrelated to Singtel activity. For all of

these requests, Trustwave has agreed to provide documents and information in

Trustwave’s possession concerning Trustwave’s sales of products to Singtel since

the September 1, 2015 acquisition. 8 In accordance with the Order, Trustwave

requests that the Court impose a protective order that limits Finjan’s requests to

documents and information in Trustwave’s possession concerning Trustwave’s

sales of cybersecurity products to Singtel since the August 31, 2015 acquisition.

           b. Improper Requests Seeking Documents and Information
              Regarding Singtel Cybersecurity Sales Unconnected to Trustwave

       At the Hearing, the Court made it clear that Singtel activities unconnected to

Trustwave are outside the bounds of this action:

       COURT: And if you want to sue Singtel because they're using your
       patent now inappropriately, go for it. District court is up the street two
       blocks. That's the patent infringement world.

Hearing Transcript at 38:14-17. Again, this was confirmed in the Court’s Order:

       Finjan's suit for breach of contract may proceed, but only to determine
       whether or not Singtel is actually using the patent technology that
       would trigger royalty payments under the Agreement.



8
    Trustwave has agreed to provide information regarding the complete universe of its
    product/software sales to Singtel after the 2015 acquisition and to follow-up with information
    relevant to whether some of the sales could arguably trigger royalties under the Agreement.

                                                8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 256 of 624 PageID #: 262



Order at p. 2. Nonetheless, Finjan seeks discovery into all Singtel cybersecurity

products sold at anytime, anywhere in the world. For example, Finjan seeks:

       INTERROGATORY NO. 10:
       Identify and describe the products, services, and/or subscriptions
       comprising SINGTEL’S CYBERSECURITY PRODUCTS, including
       providing a list of all models, stock keeping units (SKUs), version
       numbers, and release dates.

Ex. A at p. 9. Singtel is not a party to this suit. The Agreement in dispute is

between Finjan and Trustwave. Finjan alleges Trustwave owes royalties for sales

of its products through Singtel.          Thus, the only arguably proper discovery is

directed to materials in Trustwave’s possession concerning Trustwave sales of

cybersecurity products to Singtel, which Trustwave agreed to provide. Finjan,

though, does not limit its requests to Trustwave-connected activities but, instead,

seeks information on all Singtel cybersecurity products sold at anytime, anywhere,

regardless of whether they could possibly be covered by the Agreement. 9

       Finjan’s Interrogatories Nos. 10-18, 20, 25-28 and Requests for Production

Nos. 10-18, 20, 25-28, 31-35, likewise, improperly seek information and

documents concerning Singtel cybersecurity sales unconnected to Trustwave. For

all of these requests Trustwave has agreed to provide documents and information


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    Elaborating further on this point, Finjan seeks information and documents related to every
    sale by Singtel of non-Trustwave products and otherwise having nothing to do with
    Trustwave. Not only is Finjan plainly ignoring the Court’s Order, but it further ignores that
    the License does not cover any Singapore patents and Finjan does not own a patent in
    Singapore. All else aside, these sales are completely unrelated to Trustwave and the
    Agreement and, as such, are incapable of triggering royalties under the Agreement.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 257 of 624 PageID #: 263



in Trustwave’s possession concerning Trustwave’s cybersecurity products sold to

Singtel since the August 31, 2015 acquisition. Trustwave respectfully requests that

the Court impose a protective order that limits Finjan’s requests accordingly.

            c. Improper Requests Seeking Documents and Information Related
               to Finjan’s Counts Two and Three regarding the Prior Audit

        The Court’s Order made it clear that all discovery on Counts Two and Three

concerning a prior audit Finjan sought (citing the Agreement) was stayed:

        The cost obligations alleged in Counts Two and Three of the
        Complaint will await the outcome of the discovery which the Court
        has authorized.

Order at p. 2.10 Yet, Interrogatory No. 41 and Requests for Production Nos. 38-40

seek information concerning Section 3.4 of the Agreement, which covers the

inspection/audit provision that forms the basis for Finjan’s Count Two and Three.

III.    CONCLUSION

        Trustwave respectfully requests that the Court grant this Motion and issue a

protective order limiting the scope of Finjan’s First Set of Interrogatories and First

Set of Requests for Production to the scope of discovery set by the Court’s Order.




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     This Court has questioned the value of the prior audit performed by Finjan’s auditors. See
     Order at p. 2 (“it appears the Plaintiff was requesting an audit of matters that may not be
     required under the Agreement”); Hearing Transcript at 34:12-15 (“THE COURT: To me, the
     audit is simply a red herring thrown out there. Yeah, because your real dispute supposedly is
     that another company acquired Trustwave.”).

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 258 of 624 PageID #: 264




                                       MORRIS, NICHOLS, ARSHT &
                                       TUNNELL LLP


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May 29, 2019




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 259 of 624 PageID #: 265



                         CERTIFICATE OF SERVICE

            I hereby certify that on May 29, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 260 of 624 PageID #: 266
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 261 of 624 PageID #: 267
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 262 of 624 PageID #: 268



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 263 of 624 PageID #: 269
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 264 of 624 PageID #: 270
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 265 of 624 PageID #: 271
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 266 of 624 PageID #: 272



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 267 of 624 PageID #: 273
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 268 of 624 PageID #: 274
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 269 of 624 PageID #: 275



                         CERTIFICATE OF SERVICE

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served upon all counsel of record via File & ServeXpress.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 270 of 624 PageID #: 276
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                )
                                        )
TRUSTWAVE HOLDINGS, INC.,               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
                   Defendant.           )


                                NOTICE OF MOTION

             PLEASE TAKE NOTICE that the attached Motion for Protective

Order will be presented to the Court on June 12, 2019.

                                        MORRIS, NICHOLS, ARSHT &
                                        TUNNELL LLP


OF COUNSEL:                             /s/ Alexandra M. Cumings
                                        Jack B. Blumenfeld (#1014)
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 271 of 624 PageID #: 277
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         ) C.A. No. N18C-04-006 WCC CCLD
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         )
                   Defendant.            )


                                [PROPOSED] ORDER

             Upon consideration of Defendant Trustwave Holdings, Inc.’s

(“Trustwave”) Motion for Protective Order (the “Motion”),

             IT IS HEREBY ORDERED that:

             1.    The Motion to Dismiss is GRANTED;

             2.    Defendant need not respond to discovery requests on any of the

following topics: (1) requests regarding Trustwave cybersecurity sales unrelated to

Singtel and otherwise made in Trustwave’s own business; (2) requests regarding

Singtel cybersecurity sales unconnected to Trustwave, and (3) requests relating to

Counts Two and Three of the Complaint.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 272 of 624 PageID #: 278



            IT IS SO ORDERED, this ____ day of ______________, 2019.




                                                   Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 273 of 624 PageID #: 279
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD




         EXHIBIT A
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 274 of 624 PageID #: 280
                                                                                                  63060166
                                                                                                 Mar 12 2019
                                                                                                  08:18PM


                     IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

         FINJAN, INC.,

                          Plaintiff,

         v.                                            C.A. No. N18C-04-006-WCC (CCLD)

         TRUSTWAVE HOLDINGS, INC.,

                          Defendant.

                        PLAINTIFF’S FIRST SET OF INTERROGATORIES
                                DIRECTED TO DEFENDANT

                Pursuant to Delaware Superior Court Civil Rules 26 and 33, Plaintiff Finjan,
         Inc. (“Finjan”) hereby requests that Defendant Trustwave Holdings, Inc.
         (“Trustwave”) answer the following Interrogatories under oath within thirty (30)
         days from service. Finjan does not waive any claims or causes of action it may
         have against Trustwave and/or Singapore Telecommunications Limited and
         reserves all rights.
                                            DEFINITIONS
                The following definitions apply to this first set of interrogatories:
                1.     “SINGTEL” includes Singapore Telecommunications Limited, and its
         subsidiaries, business units, divisions, departments, brands, or other organizational
         entity, including without limitation Optus, Trustwave, and NCS and any person or
         entity with actual or apparent authority to act on its behalf.
                2.     “SINGTEL’S CYBERSECURITY PRODUCTS” means
         cybersecurity products, services, and/or subscriptions, including hardware,
         software, and/or any combination of hardware and software, used to protect,
         defect, or remedy, cybersecurity issues such as viruses, worms, malware, denial of

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 275 of 624 PageID #: 281




         service attacks, and/or other cybersecurity issues, manufactured, used, sold, and/or
         offered by SINGTEL since January 1, 2013.
                3.     “TRUSTWAVE,” “YOU,” and “YOUR” each refers to Defendant
         Trustwave Holdings, Inc., both before and after its acquisition by SINGTEL, and
         any person or entity with actual or apparent authority to act on its behalf.
                4.     “TRUSTWAVE’S CYBERSECURITY PRODUCTS” means
         cybersecurity products, services, and/or subscriptions, including hardware,
         software, and/or any combination of hardware and software, used to protect,
         defect, or remedy, cybersecurity issues such as viruses, worms, malware, denial of
         service attacks, and/or other cybersecurity issues, manufactured, used, sold, and/or
         offered by TRUSTWAVE since January 1, 2013.
                5.     “AGREEMENT” means the Amended and Restated Patent License
         Agreement between Finjan, Inc. and Trustwave Holdings, Inc. attached as
         Exhibit A to Trustwave’s Opening Brief in Support of Motion to Dismiss the
         Complaint (Dkt. No. 17).
                6.     “COMPLAINT” means the complaint filed on April 4, 2018 by Finjan
         in this lawsuit.
                7.     “COMMUNICATION(S)” shall be construed broadly and means any
         transmittal or receipt of information in the form of facts, ideas, inquiries, or
         otherwise, and includes memoranda, correspondence, electronic mail, instant
         messages, text messages, all attachments and enclosures thereto, computer discs,
         computer drives, recordings of any other type in any medium of written or oral
         communications, phone logs, call logs, message logs, and notes and memoranda
         of, or referring or relating to, written or oral communications. A
         COMMUNICATION is responsive for purposes of these Interrogatories regardless
         of the sender and recipients of the Communication.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 276 of 624 PageID #: 282




                8.    When used in reference to any PERSON, “DESCRIPTION,”
         “DESCRIBE,” “IDENTIFICATION,” “IDENTIFY” or “IDENTITY” as used
         herein separately or collectively, means to state, to the extent known:
                      a.   The PERSON’S full name;
                      b.   The PERSON’S present or last known address;
                      c.   The PERSON’S present or last known home telephone number;
                      d.   The PERSON’S present or last known business address;
                      e.   The PERSON’S present or last known business telephone
                           number;
                      f.   The PERSON’S present or last known employer or affiliation;
                      g.   The PERSON’S present or last known title or position with, at or
                           for Trustwave;
                      h.   The PERSON’S present or last known job description with, at or
                           for Trustwave; and
                      i.   The dates on which such PERSON held such PERSON’S last
                           known title or position with, at or for Trustwave.
                9.    When used in reference to any product, service, or subscription,
         “DESCRIPTION,” “DESCRIBE,” “IDENTIFICATION,” “IDENTIFY” or
         “IDENTITY” as used herein separately or collectively, means to state, to the extent
         known:
                      a.   The product, service, or subscription’s name(s);
                      b.   The product, service, or subscription’s model name and/or
                           number(s);
                      c.   The product, service, or subscription’s stock keeping units
                           (SKUs) number(s);
                      d.   The product, service, or subscription’s version number(s);
                      e.   The product, service, or subscription’s release date(s);
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 277 of 624 PageID #: 283




                      f.   The product, service, or subscription’s identifier(s), unique or
                           otherwise;
                10.   When used in reference to an oral or written COMMUNICATION of
         any nature whatsoever, “DESCRIPTION,” “DESCRIBE,” “IDENTIFICATION,”
         “IDENTIFY” or “IDENTITY” as used herein separately or collectively, means to
         set forth the identity of the PERSON by whom, and each PERSON to whom, each
         such COMMUNICATION was made and all PERSONS present at the time; and:
                      a.   The date it was made;
                      b.   The place at which it was made;
                      c.   The means by which it was made;
                      d.   The substance thereof; and
                      e.   A description of each DOCUMENT reflecting or relating to any
                           of the above.
                11.   The term “DOCUMENT” means any written, printed, typed,
         recorded, filmed or other graphic matter of any kind or nature however written or
         produced, by hand or reproduced by any process, and whether or not claimed to be
         privileged against discovery on any ground, and whether an original or copy,
         including, but not limited to: agreements, correspondence, telexes and faxes, tape
         recordings, and/or transcripts of the same, notes, memoranda (including internal
         memoranda), summaries and recordings, records, ledgers, contracts, bills, invoices,
         bills of lading, expense reports, inventories, financial data, wills, other writings,
         formal or informal in nature, accounting and financial records, diaries, statements,
         work papers or accountant work papers, paper and magnetic tapes, charts,
         printouts, electronically or magnetically stored information or data, minutes,
         publications, calendars, telephone pads, bulletins, directives, logs and listings, real
         estate valuations or appraisals, and any other information containing paper, writing
         or physical things, in the possession, custody, and/or control of YOU, YOUR
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                                                    4
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 278 of 624 PageID #: 284




         employees, directors, officers, shareholders, agents, or attorneys, and all drafts,
         notes or preparatory material concerned with said documents where such copy
         contained any commentary, notation or other change whatsoever that does not
         appear in the original or other copy of the document produced. The term
         “DOCUMENT” includes any and all electronically created or stored information
         as well as any summary of a document or documents called for hereinafter and any
         computer program, directory, file, database, or software application, generated,
         produced, or stored by computer or other data processing and/or data generating
         machinery.
                12.   “EXISTING BUSINESS” means TRUSTWAVE’S
         CYBERSECURITY PRODUCTS as actually offered at the TIME OF
         ACQUISITION.
                13.   “PERSON” means any natural person, or any non-natural person,
         including but not limited to any corporation, company, trust, partnership, limited
         partnership, sole proprietorship, association, institute, joint venture, firm,
         governmental body, or other entity, for profit or not for profit, whether privately or
         publicly owned or controlled or partially or fully government owned or controlled.
                14.   “PERTAIN” or “PERTAINING” means evidencing, memorializing,
         referring to, constituting, containing, discussing, describing, embodying, reflecting,
         identifying, mentioning, stating, or otherwise relating to or regarding in any way,
         in whole or in part, the subject matter referred to in the Interrogatory, Request for
         Production, or Request for Admission.
                15.   “TIME OF ACQUISITION” means the date of SINGTEL’s
         acquisition of TRUSTWAVE.
                                           INSTRUCTIONS
                1.    Please answer each Interrogatory separately and fully. If for any
         reason YOU cannot answer any Interrogatory or part thereof in full, please answer
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 279 of 624 PageID #: 285




         to the extent possible, and state the reasons for YOUR inability to provide a
         complete answer. If YOU cannot provide the exact information requested, please
         provide YOUR best approximation of the information requested. If YOU cannot
         provide all of the information requested in any Interrogatory because such
         information is not yet fully developed or cannot be ascertained at this time, please
         answer each such Interrogatory with all the information currently available, and
         specifically indicate that additional responses will later be developed and provided.
                2.    In responding to these Interrogatories, please furnish all information
         available to YOU. In addition, please furnish all information available to
         PERSONS acting on YOUR behalf, including, but not limited to, employees,
         officers, directors, shareholders, agents, representatives, and consultants.
                3.    When an Interrogatory asks for specific information, such as a date,
         and the specific information requested is not known to YOU, such Interrogatory
         shall be deemed to ask YOU (a) to approximate the information requested as best
         YOU can, provided that YOU indicate in YOUR response that the information
         being provided is an approximation or is incomplete in certain specific respects,
         and (b) to describe all efforts made by YOU to obtain the information necessary to
         answer the Interrogatory.
                4.    If any information called for by an Interrogatory is withheld on the
         basis of a claim of privilege, attorney work-product, or other protection from
         discovery, the claimed basis for withholding the information and the nature of the
         information withheld shall be set forth, together with a statement of all of the
         circumstances relied upon to support such claim, including the date the information
         was conveyed, the form of the information, the identity of the PERSONS who have
         knowledge of the privileged communications, the business relationship of each to
         YOU, and, in the case of information withheld on the grounds of attorney work-
         product, the identity of the attorney for whom the privilege is claimed, the nature
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 280 of 624 PageID #: 286




         of the work-product, and the litigation in anticipation of which the work was
         prepared.
                  5.    If YOU object to any part of these Interrogatories and refuse to
         answer, please state YOUR objection(s) and answer the remaining portion of that
         particular Interrogatory. If YOU object to the scope or time period of an
         Interrogatory and refuse to answer for that scope or time period, please state
         YOUR objection and answer the Interrogatory for the scope or time period that
         YOU believe is appropriate.
                  6.    Whenever a date, amount, computation, or figure is requested, please
         state the exact date, amount, computation, or figure unless it is unknown. If such
         information is unknown, please state as such and provide an approximate or best
         estimate for that date, amount, computation, or figure.
                  7.    Pursuant to Superior Court Rule 26(e), these Interrogatories are
         continuing in nature and require further and supplemental responses if YOU
         discover or receive additional responsive information between when the
         Interrogatories are received and the completion of this Litigation.
                  8.    “And” as well as “or” shall be construed either disjunctively or
         conjunctively as necessary to bring within the scope of these Interrogatories any
         information that might otherwise be construed to be outside their scope.
                  9.    The use of the singular tense will be deemed to include the plural and
         vice versa, and the use of the masculine pronoun will be deemed to include all
         genders, as necessary, to bring within the scope of these Interrogatories all
         DOCUMENTS and responses that might otherwise be construed to be outside their
         scope.
                  10.   All words, terms, and phrases not specifically defined herein are to be
         given their normal and customary meaning in the context in which they are used in
         these Interrogatories.
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 281 of 624 PageID #: 287




                                       INTERROGATORIES

         INTERROGATORY NO. 1:
                Identify the TIME OF ACQUISITION.
         INTERROGATORY NO. 2:
                Identify and describe the products, services, and/or subscriptions comprising
         the EXISTING BUSINESS, including providing a list of all models, stock keeping
         units (SKUs), version numbers, and release dates.
         INTERROGATORY NO. 3:
                Identify and describe the products, services, and/or subscriptions comprising
         TRUSTWAVE’S CYBERSECURITY PRODUCTS, including providing a list of
         all models, stock keeping units (SKUs), version numbers, and release dates.
         INTERROGATORY NO. 4:
                Identify and describe the products, services, and/or subscriptions comprising
         TRUSTWAVE’S CYBERSECURITY PRODUCTS other than the EXISTING
         BUSINESS, including providing a list of all models, stock keeping units (SKUs),
         version numbers, and release dates.
         INTERROGATORY NO. 5:
                For each product, service, and/or subscription comprising TRUSTWAVE’S
         CYBERSECURITY PRODUCTS, list and describe all updates and their respective
         release dates.
         INTERROGATORY NO. 6:
                For each product, service, and/or subscription comprising TRUSTWAVE’S
         CYBERSECURITY PRODUCTS, list and describe the differences between all
         models, stock keeping units (SKUs), and versions.




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 282 of 624 PageID #: 288




         INTERROGATORY NO. 7:
                For each product, service, and/or subscription comprising TRUSTWAVE’S
         CYBERSECURITY PRODUCTS, describe the relationship, if any, to the
         EXISTING BUSINESS, including any lineage, incorporation, integration, or
         derivation.
         INTERROGATORY NO. 8:
                Identify and describe which products, services, and/or subscriptions
         comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS into which
         EXISTING BUSINESS have been integrated, and describe such integration,
         including any sharing of source code, technology, know-how, or other knowledge
         from the EXISTING BUSINESS.
         INTERROGATORY NO. 9:
                For each product, service, and/or subscription comprising TRUSTWAVE’S
         CYBERSECURITY PRODUCTS, list by quarter worldwide revenues, numbers of
         units, subscriptions, and/or licenses sold, and the price for each unit, subscription,
         and/or license sold, since the TIME OF ACQUISITION.
         INTERROGATORY NO. 10:
                Identify and describe the products, services, and/or subscriptions comprising
         SINGTEL’S CYBERSECURITY PRODUCTS, including providing a list of all
         models, stock keeping units (SKUs), version numbers, and release dates.
         INTERROGATORY NO. 11:
                Identify and describe the products, services, and/or subscriptions comprising
         SINGTEL’S CYBERSECURITY PRODUCTS other than the EXISTING
         BUSINESS, including providing a list of all models, stock keeping units (SKUs),
         version numbers, and release dates.



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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 283 of 624 PageID #: 289




         INTERROGATORY NO. 12:
                For each product, service, and/or subscription comprising SINGTEL’S
         CYBERSECURITY PRODUCTS, list and describe all updates and their respective
         release dates.
         INTERROGATORY NO. 13:
                For each product, service, and/or subscription comprising SINGTEL’S
         CYBERSECURITY PRODUCTS, list and describe the differences between all
         models, stock keeping units (SKUs), and versions.
         INTERROGATORY NO. 14:
                For each product, service, and/or subscription comprising SINGTEL’S
         CYBERSECURITY PRODUCTS, describe the relationship, if any, to the
         EXISTING BUSINESS, including any lineage, incorporation, integration, or
         derivation.
         INTERROGATORY NO. 15:
                For each product, service, and/or subscription comprising SINGTEL’S
         CYBERSECURITY PRODUCTS, describe the relationship, if any, to the
         TRUSTWAVE’S CYBERSECURITY PRODUCTS, including any lineage,
         integration, or derivation.
         INTERROGATORY NO. 16:
                Identify and describe which products, services, and/or subscriptions
         comprising SINGTEL’S CYBERSECURITY PRODUCTS into which EXISTING
         BUSINESS have been integrated, and describe such integration, including any
         sharing of source code, technology, know-how, or other knowledge from the
         EXISTING BUSINESS.
         INTERROGATORY NO. 17:
                Identify and describe which products, services, and/or subscriptions
         comprising SINGTEL’S CYBERSECURITY PRODUCTS into which
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 284 of 624 PageID #: 290




         TRUSTWAVE’S CYBERSECURITY PRODUCTS have been integrated, and
         describe such integration, including any sharing of source code, technology, know-
         how, or other knowledge from TRUSTWAVE’S CYBERSECURITY
         PRODUCTS.
         INTERROGATORY NO. 18:
                For each product, service, and/or subscription comprising SINGTEL’S
         CYBERSECURITY PRODUCTS, list by quarter worldwide revenues, numbers of
         units, subscriptions, and/or licenses sold, and the price for each unit, subscription,
         and/or license sold, since the TIME OF ACQUISITION.
         INTERROGATORY NO. 19:
                Identify and describe all products, services, and/or subscriptions that have
         been transferred or “pooled” under the Trustwave brand, as described in the
         Trustwave article found at https://www.trustwave.com/en-
         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-
         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A,
         including providing a list of all models, stock keeping units (SKUs), version
         numbers, and release dates.
         INTERROGATORY NO. 20:
                Identify and describe all products, services, and/or subscriptions comprising
         “Singtel’s global cybersecurity assets,” as described in the Trustwave article found
         at https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-
         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-
         powerhouse/, attached as Exhibit A, including providing a list of all models, stock
         keeping units (SKUs), version numbers, and release dates.
         INTERROGATORY NO. 21:
                For each product, service, and/or subscription described in response to
         Interrogatory No. 19, describe the relationship, if any, to the EXISTING
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 285 of 624 PageID #: 291




         BUSINESS, including describing any lineage, incorporation, integration, or
         derivation.
         INTERROGATORY NO. 22:
                For each product, service, and/or subscription described in response to
         Interrogatory No. 19, describe the relationship, if any, to the TRUSTWAVE’S
         CYBERSECURITY PRODUCTS, including describing any lineage, incorporation,
         integration, or derivation.
         INTERROGATORY NO. 23:
                Identify and describe which products, services, and/or subscriptions
         described in response to Interrogatory No. 19 into which EXISTING BUSINESS
         have been integrated, and describe such integration, including any sharing of
         source code, technology, know-how, or other knowledge from the EXISTING
         BUSINESS.
         INTERROGATORY NO. 24:
                Identify and describe which products, services, and/or subscriptions
         described in response to Interrogatory No. 19 into which TRUSTWAVE’S
         CYBERSECURITY PRODUCTS have been integrated, and describe such
         integration, including any sharing of source code, technology, know-how, or other
         knowledge from TRUSTWAVE’S CYBERSECURITY PRODUCTS.
         INTERROGATORY NO. 25:
                For each product, service, and/or subscription described in response to
         Interrogatory No. 20, describe the relationship, if any, to the EXISTING
         BUSINESS, including describing any lineage, incorporation, integration, or
         derivation.
         INTERROGATORY NO. 26:
                For each product, service, and/or subscription described in response to
         Interrogatory No. 20, describe the relationship, if any, to TRUSTWAVE’S
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 286 of 624 PageID #: 292




         CYBERSECURITY PRODUCTS, including describing any lineage, incorporation,
         integration, or derivation.
         INTERROGATORY NO. 27:
                Identify and describe which products, services, and/or subscriptions
         described in response to Interrogatory No. 20 into which EXISTING BUSINESS
         have been integrated, and describe such integration, including any sharing of
         source code, technology, know-how, or other knowledge from the EXISTING
         BUSINESS.
         INTERROGATORY NO. 28:
                Identify and describe which products, services, and/or subscriptions
         described in response to Interrogatory No. 20 into which TRUSTWAVE’S
         CYBERSECURITY PRODUCTS have been integrated, and describe such
         integration, including any sharing of source code, technology, know-how, or other
         knowledge from TRUSTWAVE’S CYBERSECURITY PRODUCTS.
         INTERROGATORY NO. 29:
                Explain and describe how “[b]eing acquired by Singtel will help bolster
         [Trustwave’s] ability to expand, grow and continue delivering industry-leading
         managed security services and technologies,” as stated by Robert J. McCullen,
         “Trustwave’s chairman and CEO,” in the article found at
         https://www.bankinfosecurity.com/singtel-to-acquire-trustwave-a-8088, attached
         as Exhibit B.
         INTERROGATORY NO. 30:
                Explain and describe how “[Singtel’s] extensive customer reach and strong
         suite of ICT [information and communications technology] services, together with
         Trustwave’s deep cybersecurity capabilities, will create a powerful combination
         and allow Singtel to capture global opportunities in the cybersecurity space,” as
         stated by Chua Sock Koong, “Singtel Group CEO,” in the article found at
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 287 of 624 PageID #: 293




         https://www.bankinfosecurity.com/singtel-to-acquire-trustwave-a-8088, attached
         as Exhibit B.
         INTERROGATORY NO. 31:
                Explain and describe how Trustwave “will tap [Singtel’s] assets and market
         presence to expand its portfolio and address market opportunities in the Asia-
         Pacific region,” as stated in the article found at
         https://www.zdnet.com/article/singtel-acquires-trustwave-in-810m-security-
         services-deal/, attached as Exhibit C.
         INTERROGATORY NO. 32:
                Explain and describe how the purchase of Trustwave “will expand
         [Singtel’s] current cloud-based offerings and footprint in the managed services
         market,” as stated in the article found at https://www.zdnet.com/article/singtel-
         acquires-trustwave-in-810m-security-services-deal/, attached as Exhibit C.
         INTERROGATORY NO. 33:
                Explain and describe how “the new Trustwave can harness the synergies and
         strengths of Singtel’s global cybersecurity business, revenue, capabilities and
         teams across the Americas, Europe and Asia Pacific,” as stated in the Trustwave
         press release found at https://www.trustwave.com/en-
         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-
         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A.
         INTERROGATORY NO. 34:
                Explain and describe how “Trustwave is well-positioned to further its role as
         a recognized leader in cybersecurity and managed security services, areas vital for
         effective security programs as enterprises accelerate their digital transformation,”
         as stated by Arthur Wong, “Chief Executive Officer at Trustwave,” in the
         Trustwave press release found at https://www.trustwave.com/en-

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 288 of 624 PageID #: 294




         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-
         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A.
         INTERROGATORY NO. 35:
                Explain and describe how “[c]ustomers benefit by having a trusted security
         partner with true global reach and intelligence, offering around-the-clock
         monitoring, detection and eradication of threats in addition to deep regional
         security expertise necessary for successfully addressing global threats and
         localized attack campaigns,” as stated by Arthur Wong, “Chief Executive Officer
         at Trustwave,” in the Trustwave press release found at
         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-
         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-
         powerhouse/, attached as Exhibit A.
         INTERROGATORY NO. 36:
                Explain and describe what “technologies…from third parties” Trustwave
         “will continue to offer,” as stated in the Trustwave press release found at
         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-
         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-
         powerhouse/, attached as Exhibit A.
         INTERROGATORY NO. 37:
                Explain and describe how “Trustwave has added and will continue to add
         more industry-leading third-party technologies that are integrated or wrapped with
         its managed security and consulting services to offer even more compelling
         solutions that solve cybersecurity problems and challenges,” as stated in the
         Trustwave press release found at https://www.trustwave.com/en-
         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-
         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 289 of 624 PageID #: 295




         INTERROGATORY NO. 38:
                Explain and describe how Trustwave “leverage[s] [Singtel’s] global
         presence and resources to accelerate worldwide adoption of our security solutions,”
         as stated by Robert J. McCullen, “Trustwave Chairman, Chief Executive Officer
         and President,” in the Trustwave press release found at
         https://www.trustwave.com/en-us/company/newsroom/news/singtel-to-acquire-
         trustwave-to-bolster-global-cyber-security-capabilities/, attached as Exhibit D.
         INTERROGATORY NO. 39:
                Describe the TRUSTWAVE and SINGTEL organizational hierarchy,
         including listing any subsidiaries, affiliates, parent organizations, or other
         organizational relationships.
         INTERROGATORY NO. 40:
                Describe any and all name changes for TRUSTWAVE and SINGTEL since
         January 1, 2013.
         INTERROGATORY NO. 41:
                Identify and describe all “books and records necessary to determine the
         royalties” owed pursuant to Section 3.4 of the AGREEMENT.
         INTERROGATORY NO. 42:
                Identify and describe all books and records necessary to determine “whether
         or not SINGTEL is actually using Finjan’s patent technology that would trigger
         royalty payments under the [AGREEMENT],” as set forth in the Court’s February
         11, 2019 Order.
         INTERROGATORY NO. 43:
                Identify the individual(s) most knowledgeable about each of the topics listed
         herein.



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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 290 of 624 PageID #: 296




         INTERROGATORY NO. 44:
                Identify the individuals most knowledgeable about each of the following
         topics:
                   a. TRUSTWAVE’S and SINGTEL’S royalty reporting process and
                      systems;
                   b. TRUSTWAVE’s and SINGTEL’S products using Finjan intellectual
                      property
                   c. TRUSTWAVE’S and SINGTEL’S accounting process and systems
                   d. TRUSTWAVE’S and SINGTEL’S ERP systems
                   e. How TRUSTWAVE’S and SINGTEL’S products, services, and/or
                      subscriptions are sold worldwide, including which channels are used by
                      country and entity (TRUSTWAVE and SINGTEL)
         INTERROGATORY NO. 45:
                Identify all individual(s) who are in possession, custody, or control of
         DOCUMENTS or other information relevant to the subject matter of each of the
         Interrogatories above.
         INTERROGATORY NO. 46:
                Identify all individual(s) who assisted in the preparation of the responses to
         these Interrogatories and/or provided information for the purpose of preparing the
         responses.




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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 291 of 624 PageID #: 297



         Dated: March 12, 2019                YOUNG CONAWAY
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 292 of 624 PageID #: 298



                                  CERTIFICATE OF SERVICE

                I, Mary F. Dugan, Esquire, hereby certify that on March 12, 2019, I caused

         true and correct copies of the foregoing document to be served upon the following

         counsel of record as indicated:



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                      EXHIBIT A
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                                                                    NEWSROOM




                         Our latest announcements and media mentions, keeping you up to date on what we're up to.




            December 04, 2018



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       Trustwave Becomes One of the Industry’s Most Comprehensive Security Companies Poised to Confront Growing Cyber Threats
                                                                      Head On


      CHICAGO, SINGAPORE and SYDNEY – December 4, 2018 – Singtel today announced it has pooled the cybersecurity
      capabilities, technologies and resources of Singtel, Optus, Trustwave and NCS, into a single global corporate identity
      operating under the Trustwave brand. The strategic measure forms one of the industry’s most comprehensive global
      cybersecurity companies offering a complete range of managed security services (/en-us/services/managed-security/),
      consulting, education and leading-edge technologies to help organizations worldwide contend with rapidly evolving external
      and internal threats.


      Through the integration, the new Trustwave can harness the synergies and strengths of Singtel’s global cybersecurity
      business, revenue, capabilities and teams across the Americas, Europe and Asia Paci c. Trustwave’s global cyber business
      now has about 2,000 security employees, a global network of ten connected Advanced Security Operations Centers (/en-
      us/company/about-us/advanced-security-operations-centers/) (ASOCs) supported by its elite Trustwave SpiderLabs (/en-
      us/company/about-us/spiderlabs/) security team, millions of businesses enrolled in its cloud-based security platform, more
      than 10,000 managed security services customers, and nearly 1,000 channel partners and numerous technology partners
      worldwide. The Trustwave portfolio includes many services and technologies recognized as industry-leading by analysts.


      “Uniting the security assets and deep expertise of Singtel, Optus, Trustwave and NCS under one brand and single vision –
      what we call the new Trustwave – is a pivotal milestone for our customers, partners, employees and company,” said Arthur
      Wong, Chief Executive O cer at Trustwave. “Trustwave is well-positioned to further its role as a recognized leader in
      cybersecurity and managed security services, areas vital for effective security programs as enterprises accelerate their digital
      transformation. Customers bene t by having a trusted security partner with true global reach and intelligence, offering
      around-the-clock monitoring, detection and eradication of threats in addition to deep regional security expertise necessary for
      successfully addressing global threats and localized attack campaigns.”




https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   1/4
3/12/2019              Singtel Integrates Global
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      As part of the integration, Trustwave has re-designed its logo, giving it a bold modern look with new brand identity and color
   scheme, and launched a new corporate website at www.trustwave.com (http://www.trustwave.com).
                                                                          (/en-us/)
                                                                                                  The website serves as 
      the digital hub showcasing all Trustwave offerings, including those from Singtel, Optus and NCS.


      Bene ts of the integration include:
            Broader security services portfolio – The new Trustwave portfolio includes managed security services, security testing,
            consulting, technology solutions and cybersecurity education. The integration provides Trustwave with additional
            managed security services, third-party technology solutions and cybersecurity education and training services like the
            Cyber Security Institute in Singapore.

            Increased focus on industry-leading technologies – Trustwave will continue to offer both its own technologies and those
            from third parties. Trustwave has added and will continue to add more industry-leading third-party technologies that are
            integrated or wrapped with its managed security and consulting services to offer even more compelling solutions that
            solve cybersecurity problems and challenges.

            More cybersecurity resources and talent – Through the integration of Singtel’s global cybersecurity assets under
            Trustwave, the company has added more resources, employees and services to help customers protect their data and
            reduce risk. At a time when there is a world-wide security skills shortage, the company has about 2,000 security
            professionals worldwide delivering, selling, marketing and supporting Trustwave cybersecurity solutions and managed
            security services. The added personnel complements ten interlinked Advanced Security Operations Centers responsible
            for delivering continuous threat monitoring, detection and threat elimination along with threat intelligence to ensure
            organizations are continuously protected regardless of location.

            Advanced security training and continued education – Trustwave has combined the training and continued education
            assets from Singtel’s cybersecurity businesses including Trustwave Academy and the Cyber Security Institute into a
            comprehensive program delivered on-premises and remotely. Cybersecurity education has become paramount to
            addressing the threat landscape through knowledge and best practices. Customers, partners and employees can learn the
            latest techniques for detecting threats, defending networks, protecting data and optimizing technologies from many of the
            world’s top minds in cybersecurity. Options for earning industry recognized certi cations and accreditation in penetration
            testing, data forensics, incident response and other elds are offered.

            Separate business unit focused on compliance – Trustwave has created a separate global Payment Card Industry (PCI)
            compliance and risk management arm (https://www.trustwavecompliance.com/) to help organizations achieve and
            maintain regulatory compliance. The division represents a continued commitment to focus on compliance, risk and data
            privacy customer challenges while building upon Trustwave’s foundation as a payment card industry data security
            standard (PCI DSS) pioneer.


      Industry Recognition Demonstrates Trustwave Momentum and Leadership
      In 2018, renowned industry analysts worldwide recognized Trustwave for its leadership in cybersecurity and managed
      security services.


      Gartner, Inc., a leading information and technology and advisory company, placed Trustwave in the Leaders quadrant in the
      2018 Gartner Magic Quadrant for Managed Security Services, Worldwide.i


      International Data Corporation (IDC) named Trustwave a Leader in the IDC MarketScape U.S. Incident Readiness, Response,
      and Resiliency Services 2018 Vendor Assessment - Beyond the Big 5 Consultancies.ii IDC also named Trustwave a Leader in
      the IDC MarketScape: Asia/Paci c Managed Security Services 2018.iii Additionally, IDC named Trustwave a Leader in the IDC
      MarketScape: Canadian Security Services Providers, 2018 Vendor Assessment.iv

https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   2/4
3/12/2019                Singtel Integrates Global
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      Most recently, Frost & Sullivan presented Trustwave with the prestigious 2018 Singapore and Southeast Asia Managed
   Security Service Provider of the Year award.                                 (/en-us/)
                                                                                                                                                
      About Trustwave
      Trustwave is a leading cybersecurity and managed security services provider that helps businesses ght cybercrime, protect
      data and reduce security risk. Offering a comprehensive portfolio of managed security services, security testing, consulting,
      technology solutions and cybersecurity education, Trustwave helps businesses embrace digital transformation securely.
      Trustwave is a Singtel company and the global security arm of Singtel, Optus and NCS, with customers in 96 countries. For
      more information about Trustwave, visit https://www.trustwave.com (https://www.trustwave.com).


      About Singtel
      Singtel is Asia's leading communications technology group, providing a portfolio of services from next-generation
      communication, technology services to infotainment to both consumers and businesses. For consumers, Singtel delivers a
      complete and integrated suite of services, including mobile, broadband and TV. For businesses, Singtel offers a
      complementary array of workforce mobility solutions, data hosting, cloud, network infrastructure, analytics and cyber-security
      capabilities. The Group has presence in Asia, Australia and Africa and reaches over 700 million mobile customers in 21
      countries. Its infrastructure and technology services for businesses span 21 countries, with more than 428 direct points of
      presence in 362 cities. For more information, visit www.singtel.com (http://www.singtel.com). Follow us on Twitter at
      www.twitter.com/SingtelNews (http://www.twitter.com/SingtelNews).




      i
            Source: Gartner, "Magic Quadrant for Managed Security Services, Worldwide" by Toby Bussa, Kelly M. Kavanagh, Pete
      Shoard, Sid Deshpande, February 27, 2018.
      ii
            Source: IDC MarketScape: IDC MarketScape U.S. Incident Readiness, Response, and Resiliency Services 2018 Vendor
      Assessment - Beyond the Big 5 Consultancies, (IDC# US44257117, October 2018).
      iii
            Source: IDC MarketScape: Asia/Paci c Managed Security Services 2018, (IDC# AP42609818, June 2018).
      iv
            Source: IDC MarketScape: Canadian Security Services Providers, 2018 Vendor Assessment (IDC# CA3005218, March 2018).




   (https://www.linkedin.com/company/trustwave)
                                  (https://twitter.com/Trustwave)            (https://www.facebook.com/Trustwave/)
                                                                                                           (https://www.youtube.com/chan
   SERVICES (/EN-US/SERVICES/)                                                CAPABILITIES (/EN-US/CAPABILITIES/)
   Managed Security (/en-us/services/managed-security/)                       By Topic (/en-us/capabilities/by-topic/)
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   Technology (/en-us/services/technology/)
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   Consulting (/en-us/services/consulting/)
   Education (/en-us/services/education/)

   RESOURCES (/EN-US/RESOURCES/)                                               COMPANY (/EN-US/COMPANY/)
   Blogs & Stories (/en-us/resources/blogs/)                                   About Trustwave (/en-us/company/about-us/)
   Resource Library (/en-us/resources/library/)                                Newsroom (/en-us/company/newsroom/)
   Security Resources (/en-us/resources/security-resources/)                   Contact (/en-us/company/contact/)
   Events & Webinars (/en-us/resources/upcoming/)                              Support (/en-us/company/support/)



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   No spam, unsubscribe at any time.




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https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   4/4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 298 of 624 PageID #: 304




                            EXHIBIT B
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 299 of 624 PageID #: 305
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 300 of 624 PageID #: 306
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 301 of 624 PageID #: 307
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 302 of 624 PageID #: 308




                            EXHIBIT C
3/12/2019                           Singtel acquires
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         MUST READ:         Microsoft to start nagging users in April about the January 2020 Windows 7
                                                end-of-support deadline


Singtel acquires Trustwave in $810M security services deal
Singapore telco buys a 98 percent stake in U.S. managed security services
provider, Trustwave, as part of eﬀorts to beef up its cloud oﬀerings.

            By Eileen Yu for By The Way | April 8, 2015 -- 03:23 GMT (20:23 PDT) | Topic: Security




Singtel has inked a deal to acquire a 98 percent equity interest in Trustwave for an estimated
US$810 million, as the Singapore carrier looks to beef up its cloud and managed services portfolio.


Headquartered in Chicago, U.S.A, Trustwave oﬀers hosted                                                  LATEST NEWS ON ASIA

services in threat, vulnerability, and compliance                                          India 'anti-colonial' to its economic
                                                                                           detriment: Marc Andreessen in
management, and has more than three million business
                                                                                           incoherent Twitter rant
subscribers. It has presence in 26 countries across North                                  (https://www.zdnet.com/article/india-
                                                                                           anti-colonial-to-its-economic-detriment-
America, Europe, and the Asia-Paciﬁc region, with a global
                                                                                           marc-andreessen-in-incoherent-twitter-
headcount of 1,200 that includes security professionals in                                 rant/)
its forensic and threat research security unit, SpiderLabs. It
                                                                                           LG Pay will be a no show at MWC:
operates ﬁve security operation centers and nine                                           Report
                                                                                           (https://www.zdnet.com/article/lg-pay-
engineering centers.
                                                                                           will-be-a-no-show-at-mwc-report/)

Trustwave Chairman and CEO Robert J. McCullen will retain                                  Singtel shrinks net proﬁt by
                                                                                           SG$16m
the remaining 2 percent stake in the company.
                                                                                           (https://www.zdnet.com/article/singtel-
                                                                                           shrinks-net-proﬁt-by-sg16m/)
According to Singtel, Trustwave will continue to operate
                                                                                           Facebook withdraws Free Basics
independently as a separate business unit after the                                        project in India
acquisition has been ﬁnalized, but will tap the telco's assets                             (https://www.zdnet.com/article/facebook-
                                                                                           withdraws-free-basics-project-in-india/)
and market presence to expand its portfolio and address
market opportunities in the Asia-Paciﬁc region.                                            Samsung to provide public safety
                                                                                           network in South Korea
                                                                                           (https://www.zdnet.com/article/samsung-
On its end, Singtel said the purchase will expand its current
                                                                                           to-provide-public-safety-network-in-south-
cloud-based oﬀerings and footprint in the managed                                          korea/)

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services market.


The estimated US$810 million deal excludes net debt and is subject to the necessary approvals
from regulatory authorities and other third parties, Singtel said. The transaction also is expected to
be EBITDA positive from the second year of acquisition and its earnings will be included in Singtel's
earnings from the third year, the telco said.


The acquisition is projected to complete in three to six months' time, it added.


In October last year, Singtel signed a ﬁve-year agreement with FireEye
(https://www.zdnet.com/article/singtel-ﬁreeye-to-invest-50m-in-security-centers/)                 to set up cybersecurity
monitoring facilities in Singapore and Sydney, as well as provide cloud data service for enterprises
looking to store their data locally. Worth US$50 million, the deal will fund infrastructure and
manpower resources for two Advanced Security Operation Centres (ASOCs).


That same month, the Singapore telco also inked a partnership with Microsoft
(https://www.zdnet.com/article/microsoft-ups-cloud-ante-with-azure-marketplace-singtel-partnership/)                to provide a
Cloud Operating System Network, which allows enterprises in Asia-Paciﬁc to move their data and
workload between various cloud environments, including public, private, and SingTel's own virtual
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            Case 1:20-cv-00372-MN Document       2-1Trustwave
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            Case 1:20-cv-00372-MN Document       2-1Trustwave
                                                       Filedin03/16/20
                                                               $810M securityPage
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                                                                                       deal |of
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                                                                                                624 PageID #: 319



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 314 of 624 PageID #: 320




                        EXHIBIT D
3/12/2019                       Singtel
            Case 1:20-cv-00372-MN       to Acquire Trustwave
                                     Document         2-1 toFiled
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                                                                     Global Cyber Security
                                                                                  Page Capabilities | Trustwave
                                                                                           315 of 624     PageID #: 321

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      Singtel to Acquire Trustwave to Bolster Global Cyber Security
      Capabilities

            April 07, 2015



                                        

      CHICAGO - April 7, 2015 - Trustwave® today announced that Singapore Telecommunications Limited (Singtel), Asia's leading
      communications company, has entered into a de nitive agreement to acquire Trustwave Holdings, Inc., a privately held
      information security company headquartered in Chicago. The acquisition strengthens Singtel's information security
      capabilities and bolsters Trustwave's ability to expand its leadership in managed security services (/Services/) globally.


      Trustwave Chairman, Chief Executive O cer and President Robert J. McCullen said: "We are excited to join Singtel and to
      leverage its global presence and resources to accelerate worldwide adoption of our security solutions. This strategic
      partnership creates an unparalleled opportunity to combine Singtel's robust information and communications solutions with
      Trustwave's industry-leading security technologies and managed services platform to deliver cutting-edge solutions that will
      enhance our customer experience. Singtel is the perfect partner for us as we continue to help businesses ght cybercrime,
      protect data and reduce security risk, and the Trustwave team is thrilled to become a part of such a prestigious and
      innovative organization."


      Following the close of the acquisition, Singtel plans to combine its state-of-the-art information and communications
      technology (ICT) with Trustwave's broad portfolio of managed security services. The acquisition will help expand Singtel's
      existing line-up of cloud-based solutions to encompass security services, to create an end-to-end ICT offering to business
      customers-bolstering Singtel's leadership position in the managed services market.



      Trustwave adds a number of cyber security assets and capabilities to Singtel including:


            More than three million business subscribers in 96 countries
            More than 1,200 security-focused employees located in 26 different countries
            Five global security operations centers (SOCs) (/Services/Managed-Security/Global-Security-Operations-Centers/) located
            in Chicago, Denver, Minneapolis, Manila and Warsaw
            The world-renowned Trustwave SpiderLabs® (/Company/SpiderLabs/) ethical hacking and threat research team
            A broad portfolio of security technologies and intellectual property with more than 56 patents either granted or pending

https://www.trustwave.com/en-us/company/newsroom/news/singtel-to-acquire-trustwave-to-bolster-global-cyber-security-capabilities/          1/4
3/12/2019                       Singtel
            Case 1:20-cv-00372-MN       to Acquire Trustwave
                                     Document         2-1 toFiled
                                                             Bolster03/16/20
                                                                     Global Cyber Security
                                                                                  Page Capabilities | Trustwave
                                                                                           316 of 624     PageID #: 322
            The uni ed, cloud-based TrustKeeper® portal (/Services/Managed-Security/Trustkeeper/) which is used to deliver
           Trustwave security and compliance services globally.
                                                                               (/en-us/)
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      Chua Sock Koong, Singtel Group CEO, said: "We aspire to be a global player in cyber security. We have established a strong
      security business in the region, both organically and through strategic partnerships with global technology leaders. Our
      extensive customer reach and strong suite of ICT services, together with Trustwave's deep cyber security capabilities, will
      create a powerful combination and allow Singtel to capture global opportunities in the cyber security space."


      The managed security services industry is expected to grow rapidly in the coming years due to the increasing frequency and
      complexity of cyber-attacks. The industry is estimated to reach approximately US$24 billion in 2018, up almost 75 percent
      from approximately US$14 billion in 2014, according to the 2014 Gartner Information Security Forecast report.i


      Trustwave has expanded its leadership in managed security services over the years, and was recently recognized by the
      industry's top industry analyst rms and media outlets. In December, IDC named Trustwave a "company to watch"
      (/Resources/Library/Documents/IDC-Private-Vendor-Watchlist-Pro le-on-Trustwave) in its pro le of the company. Forrester
      Research also named Trustwave a leader in "The Forrester Wave™: Managed Security Services: North America, Q4 2014,"
      (/Company/Newsroom/News/Trustwave-Named-a-Leader-in-Managed-Security-Services-by-Independent-Research-
      Firm/) published in November iii. SC Magazine also recently named Trustwave a nalist for best managed security service in
      both their upcoming U.S. and European awards programs.


      Post-acquisition, Trustwave will operate as a standalone business unit of Singtel. It will also strengthen its position in North
      America and Europe, while working closely with Singtel to broaden its overall security portfolio and to address the fast-
      growing emerging security market opportunity in the Asia Paci c region. Trustwave will continue to be headquartered in
      Chicago, and the current Trustwave management team will drive the operations and growth of the business.


      Trustwave received an early investment from FTV Capital, led by Richard Garman, Managing Partner and angel investor Dick
      Kiphart who is a Partner and Senior Advisor at William Blair & Company.


      The acquisition is subject to regulatory approvals and other customary closing conditions.



      About Singtel


      Singtel is Asia's leading communications group providing a portfolio of services including voice and data solutions over xed,
      wireless and Internet platforms as well as infocomm technology and pay TV. The Group has presence in Asia, Australia and
      Africa with over 500 million mobile customers in 25 countries, including Bangladesh, India, Indonesia, the Philippines and
      Thailand. It also has a vast network of o ces throughout Asia Paci c, Europe and the United States. More information can be
      found at www.singtel.com (http://www.singtel.com).



      About Trustwave


      Trustwave helps businesses ght cybercrime, protect data and reduce security risk. With cloud and managed security
      services, integrated technologies and a team of security experts, ethical hackers and researchers, Trustwave enables
      businesses to transform the way they manage their information security and compliance programs. More than three million
      businesses are enrolled in the Trustwave TrustKeeper® cloud platform, through which Trustwave delivers automated, e cient
      and cost-effective threat, vulnerability and compliance management. Trustwave is headquartered in Chicago, with customers
      in 96 countries. For more information about Trustwave, visit https://www.trustwave.com (/).

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3/12/2019                         Singtel
              Case 1:20-cv-00372-MN       to Acquire Trustwave
                                       Document         2-1 toFiled
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                                                                       Global Cyber Security
                                                                                    Page Capabilities | Trustwave
                                                                                             317 of 624     PageID #: 323

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      i
            Source: Gartner. Forecast: Information Security, Worldwide, 2012-2018, 2Q14 Update. Published: Aug. 2014. Analysts:
      Ruggero Contu, Christian Canales, Lawrence Pingree. ID: G00264279.

      ii
            Source: IDC. Trustwave Private Vendor Watchlist Pro le: Pure-Play Security Services. Published: Dec. 2014. Analysts:
      Christina Richmond, Petra Kacer. ID: 252959.

      iii
            The Forrester Wave™: Managed Security Services: North America, Q4 2014. The Forrester Wave is copyrighted by Forrester
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            Case 1:20-cv-00372-MN       to Acquire Trustwave
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 319 of 624 PageID #: 325




          EXHIBIT B
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 320 of 624 PageID #: 326
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                        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

         FINJAN, INC.,

                               Plaintiff,

         v.                                               C.A. No. N18C-04-006-WCC (CCLD)

         TRUSTWAVE HOLDINGS, INC.,

                               Defendant.

                   PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION
                                 DIRECTED TO DEFENDANT
                   Pursuant to Delaware Superior Court Civil Rules 26 and 34, Plaintiff Finjan,
         Inc. (“Finjan”) hereby seeks written responses and the production of documents
         from Defendant Trustwave Holdings, Inc. (“Trustwave”) within thirty (30) days
         from service. Finjan does not waive any claims or causes of action it may have
         against Trustwave and/or Singapore Telecommunications Limited and reserves all
         rights.
                                               DEFINITIONS
                   The following definitions apply to this first set of requests for production:
                   1.        “SINGTEL” includes Singapore Telecommunications Limited, and its
         subsidiaries, business units, divisions, departments, brands, or other organizational
         entity, including without limitation Optus, Trustwave, and NCS and any person or
         entity with actual or apparent authority to act on its behalf.
                   2.        “SINGTEL’S       CYBERSECURITY             PRODUCTS”           means
         cybersecurity products, services, and/or subscriptions, including hardware,
         software, and/or any combination of hardware and software, used to protect,
         defect, or remedy, cybersecurity issues such as viruses, worms, malware, denial of


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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 321 of 624 PageID #: 327




         service attacks, and/or other cybersecurity issues, manufactured, used, sold, and/or
         offered by SINGTEL since January 1, 2013.
                3.     “TRUSTWAVE,” “YOU,” and “YOUR” each refers to Defendant
         Trustwave Holdings, Inc., both before and after its acquisition by SINGTEL, and
         any person or entity with actual or apparent authority to act on its behalf.
                4.     “TRUSTWAVE’S          CYBERSECURITY            PRODUCTS”         means
         cybersecurity products, services, and/or subscriptions, including hardware,
         software, and/or any combination of hardware and software, used to protect,
         defect, or remedy, cybersecurity issues such as viruses, worms, malware, denial of
         service attacks, and/or other cybersecurity issues, manufactured, used, sold, and/or
         offered by TRUSTWAVE since January 1, 2013.
                5.     “AGREEMENT” means the Amended and Restated Patent License
         Agreement between Finjan, Inc. and Trustwave Holdings, Inc. attached as Exhibit
         A to Trustwave’s Opening Brief in Support of Motion to Dismiss the Complaint
         (Dkt. No. 17).
                6.     “COMPLAINT” means the complaint filed on April 4, 2018 by Finjan
         in this lawsuit.
                7.     “COMMUNICATION(S)” shall be construed broadly and means any
         transmittal or receipt of information in the form of facts, ideas, inquiries, or
         otherwise, and includes memoranda, correspondence, electronic mail, instant
         messages, text messages, all attachments and enclosures thereto, computer discs,
         computer drives, recordings of any other type in any medium of written or oral
         communications, phone logs, call logs, message logs, and notes and memoranda
         of, or referring or relating to, written or oral communications.                  A
         COMMUNICATION is responsive for purposes of these Interrogatories regardless
         of the sender and recipients of the Communication.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 322 of 624 PageID #: 328




                8.      When used in reference to any PERSON, “DESCRIPTION,”
         “DESCRIBE,” “IDENTIFICATION,” “IDENTIFY” or “IDENTITY” as used
         herein separately or collectively, means to state, to the extent known:
                     a. The PERSON’S full name;
                     b. The PERSON’S present or last known address;
                     c. The PERSON’S present or last known home telephone number;
                     d. The PERSON’S present or last known business address;
                     e. The PERSON’S present or last known business telephone number;
                     f. The PERSON’S present or last known employer or affiliation;
                     g. The PERSON’S present or last known title or position with, at or for
                        Trustwave;
                     h. The PERSON’S present or last known job description with, at or for
                        Trustwave; and
                     i. The dates on which such PERSON held such PERSON’S last known
                        title or position with, at or for Trustwave.
                9.      When used in reference to any product, service, or subscription,
         “DESCRIPTION,”          “DESCRIBE,”        “IDENTIFICATION,”        “IDENTIFY”   or
         “IDENTITY” as used herein separately or collectively, means to state, to the extent
         known:
                     a. The product, service, or subscription’s name(s);
                     b. The product, service, or subscription’s model name and/or number(s);
                     c. The product, service, or subscription’s stock keeping units (SKUs)
                        number(s);
                     d. The product, service, or subscription’s version number(s);
                     e. The product, service, or subscription’s release date(s);
                     f. The product, service, or subscription’s identifier(s), unique or
                        otherwise;
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 323 of 624 PageID #: 329




                10.      When used in reference to an oral or written COMMUNICATION of
         any nature whatsoever, “DESCRIPTION,” “DESCRIBE,” “IDENTIFICATION,”
         “IDENTIFY” or “IDENTITY” as used herein separately or collectively, means to
         set forth the identity of the PERSON by whom, and each PERSON to whom, each
         such COMMUNICATION was made and all PERSONS present at the time; and:
                      a. The date it was made;
                      b. The place at which it was made;
                      c. The means by which it was made;
                      d. The substance thereof; and
                      e. A description of each DOCUMENT reflecting or relating to any of the
                         above.
                11.      The term “DOCUMENT” means any written, printed, typed,
         recorded, filmed or other graphic matter of any kind or nature however written or
         produced, by hand or reproduced by any process, and whether or not claimed to be
         privileged against discovery on any ground, and whether an original or copy,
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         estate valuations or appraisals, and any other information containing paper, writing
         or physical things, in the possession, custody, and/or control of YOU, YOUR
         employees, directors, officers, shareholders, agents, or attorneys, and all drafts,
         notes or preparatory material concerned with said DOCUMENTS where such copy
01:23470365.1
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 324 of 624 PageID #: 330




         contained any commentary, notation or other change whatsoever that does not
         appear in the original or other copy of the DOCUMENT produced. The term
         “DOCUMENT” includes any and all electronically created or stored information
         as well as any summary of a DOCUMENT or DOCUMENTS called for
         hereinafter and any computer program, directory, file, database, or software
         application, generated, produced, or stored by computer or other data processing
         and/or data generating machinery.
                12.   “EXISTING           BUSINESS”            means        TRUSTWAVE’S
         CYBERSECURITY PRODUCTS as actually offered at the TIME OF
         ACQUISITION.
                13.   “PERSON” means any natural person, or any non-natural person,
         including but not limited to any corporation, company, trust, partnership, limited
         partnership, sole proprietorship, association, institute, joint venture, firm,
         governmental body, or other entity, for profit or not for profit, whether privately or
         publicly owned or controlled or partially or fully government owned or controlled.
                14.   “PERTAIN” or “PERTAINING” means evidencing, memorializing,
         referring to, constituting, containing, discussing, describing, embodying, reflecting,
         identifying, mentioning, stating, or otherwise relating to or regarding in any way,
         in whole or in part, the subject matter referred to in the Interrogatory, Request for
         Production, or Request for Admission.
                15.   “TIME OF ACQUISITION” means the date of SINGTEL’s
         acquisition of TRUSTWAVE.
                                          INSTRUCTIONS


                1.    In responding to the Requests, please furnish all DOCUMENTS in
         your possession, custody, or control, regardless of whether the DOCUMENT is
         possessed physically by you or whether the DOCUMENT is possessed physically
01:23470365.1
                                                   5
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 325 of 624 PageID #: 331




         by any of your subsidiaries, successors, assigns, agents, brokers, accountants,
         employees, experts, directors, representatives, attorneys, consultants, auditors, or
         other Persons acting on their behalf or under their direction and/or the direction of
         their agents or representatives.
                2.    Unless otherwise stated, the time period applicable to each request for
         production shall be from January 1, 2013 to present.
                3.    All DOCUMENTS produced pursuant to these Requests shall be
         produced as they are kept in the usual course of business. The titles or other
         descriptions on the boxes, file folders, bindings, or other containers in which
         tangible things are kept are to be left intact.
                4.    All electronically stored information (a/k/a ESI) (with the exception
         of those files listed in Instruction No. 5) should be produced in single page .tiff
         image format, with the below metadata fields provided and full text extracted to a
         linked electronic file. The extracted text should be produced on the DOCUMENT
         level. The metadata fields should include the following:
                     a. BegBates
                     b. EndBates
                     c. BegAttach
                     d. EndAttach
                     e. File Name
                     f. Native File Path
                     g. MD5 Hash
                     h. From
                     i. To
                     j. CC
                     k. BCC
                     l. Subject
                     m. Message Sent Date/Time
                     n. Message Received Date/Time
                     o. File Extension
                     p. File Size
                     q. Created Date/Time

01:23470365.1
                                                     6
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 326 of 624 PageID #: 332



                      r.   Last Modified Date/Time
                      s.   Title
                      t.   Author
                      u.   Custodian
                      v.   Extracted Text
                      w.   Confidentiality designation field
                      x.   Has Redactions

                5.    In addition, we request that the following ESI be produced in Native
         File Format instead of .tiff format: spreadsheets and other such file types that when
         converted to image format take on an appearance noticeably different from the one
         the running native File took when viewed on a computer screen, such as an Excel
         spreadsheet with its columns and cells running over multiple .tiff images. A .tiff
         slip sheet should also be produced for these DOCUMENTS that links to the native
         File and reads “Produced in Native Format.”
                6.    Responsive DOCUMENTS shall be produced to counsel for Plaintiff
         at the offices of YOUNG CONAWAY STARGATT & TAYLOR, LLP, Rodney
         Square, 1000 North King Street, Wilmington, Delaware, within thirty (30) days
         after service hereof or at such other time and place as the Parties may agree or as
         ordered by the Court.
                7.    If any portion of any DOCUMENT is responsive to a Request, the
         entire DOCUMENT shall be produced.
                8.    If there is no DOCUMENT responsive to any particular Request or
         category, you shall so state in writing.
                9.    Notwithstanding the assertion of any objections, any purportedly
         privileged DOCUMENTS containing non-privileged matters or information must
         be disclosed, with the purportedly privileged portion redacted.
                10.   If you cannot produce all DOCUMENTS responsive to a Request for
         Production after exercising due diligence to secure them, please state as such and

01:23470365.1
                                                    7
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 327 of 624 PageID #: 333




         furnish DOCUMENTS to the extent possible, specifying your inability to furnish
         the remainder and stating whatever information you have concerning the
         unavailable DOCUMENTS. If your response is qualified in any manner, please set
         forth the details of such qualification.
                11.   If you object to any part of a Request for Production and refuse to
         furnish DOCUMENTS and information responsive to that part, please state your
         objection(s) and furnish DOCUMENTS responsive to the remaining portion of that
         particular request. If you object to the scope or time period of a request and refuse
         to produce DOCUMENTS and information for that scope or time period, please
         state your objection(s) and furnish DOCUMENTS and information responsive to
         the request for the scope or time period that you contend is appropriate.
                12.   In the event that YOU wishes to assert the attorney-client privilege,
         the work product doctrine, or any other privilege as to any DOCUMENT requested
         by any of the following requests, for each such assertion, please provide a privilege
         log identifying the DOCUMENT or copy thereof, the nature of the privilege
         claimed, and the facts or grounds supporting the claim of privilege in such detail to
         permit the Court to reach a determination as to the propriety of such assertion.
                11.   If any DOCUMENT described herein was, but no longer is, within
         YOUR possession, custody, or control or that of a PERSON acting on YOUR
         behalf, please state in detail: (a) a summary of the contents of the DOCUMENTS;
         (b) what disposition was made of it; (c) the date of such disposition; (d) the reason
         for such disposition; (e) whether the original or a copy thereof is within the
         possession, custody, or control of any other PERSON; and (f) if the answer to (e) is
         affirmative, the identify of that PERSON.
                12.   The fact that a DOCUMENT has been or shall be produced by any
         other PERSON does not relieve you from the obligation to produce your copy of

01:23470365.1
                                                    8
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 328 of 624 PageID #: 334




         the same DOCUMENT, even if the two DOCUMENTS are identical in all
         respects.
                13.   The specificity of any Request herein shall not be construed to limit
         the generality or scope of any other Request herein.
                14.   “And” as well as “or” shall be construed either disjunctively or
         conjunctively as necessary to bring within the scope of these Requests any
         information that might otherwise be construed to be outside their scope.
                15.   Use of the singular tense will be deemed to include the plural and vice
         versa, and the use of the masculine pronoun will be deemed to include all genders,
         as necessary, to bring within the scope of these Requests all DOCUMENTS and
         responses that might otherwise be construed to be outside their scope.
                13.   All words, terms, and phrases not specifically defined herein are to be
         given their normal and customary meaning in the context in which they are used in
         these Requests.
                14.   Pursuant to Superior Court Rule 26(e), the Requests are continuing in
         nature and require further and supplemental production if you discover or receive
         additional responsive DOCUMENTS between when the Request is received and
         the completion of this Litigation.

                               DOCUMENTS TO BE PRODUCED
                1.    All DOCUMENTS and COMMUNICATIONS describing the TIME

         OF ACQUISITION.

                2.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising the



01:23470365.1
                                                  9
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 329 of 624 PageID #: 335



         EXISTING BUSINESS, including all models, stock keeping units (SKUs), version

         numbers, and release dates.

                3.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising

         TRUSTWAVE’S CYBERSECURITY PRODUCTS, including all models, stock

         keeping units (SKUs), version numbers, and release dates.

                4.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising

         TRUSTWAVE’S CYBERSECURITY PRODUCTS other than the EXISTING

         BUSINESS, including all models, stock keeping units (SKUs), version numbers,

         and release dates.

                5.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all updates for TRUSTWAVE’S SECURITY PRODUCTS,

         including their respective release dates.

                6.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the differences between any and all models, stock keeping units

         (SKUs), and versions of TRUSTWAVE’S SECURITY PRODUCTS.

                7.    All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products, services, and/or subscriptions



01:23470365.1
                                                     10
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 330 of 624 PageID #: 336



         comprising TRUSTWAVE’S SECURITY PRODUCTS and the EXISTING

         BUSINESS, including any lineage, incorporation, integration, or derivation.

                8.    All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising the EXISTING BUSINESS into TRUSTWAVE’S CYBERSECURITY

         PRODUCTS, including any sharing of source code, technology, know-how, or

         other knowledge from the EXISTING BUSINESS.

                9.    All DOCUMENTS and COMMUNICATIONS describing the

         worldwide revenues, including by worldwide revenues by quarter, numbers of

         units, subscriptions, and/or licenses sold, and price for each unit, subscription, and/

         or license, since the TIME OF ACQUISITION, for each product, service, and/or

         subscription comprising TRUSTWAVE’S SECURITY PRODUCTS.

                10.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising

         SINGTEL’S CYBERSECURITY PRODUCTS, including all models, stock

         keeping units (SKUs), version numbers, and release dates.

                11.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising

         SINGTEL’S CYBERSECURITY PRODUCTS other than the EXISTING



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                                                   11
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 331 of 624 PageID #: 337



         BUSINESS, including all models, stock keeping units (SKUs), version numbers,

         and release dates.

                12.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all updates for SINGTEL’S SECURITY PRODUCTS,

         including their respective release dates.

                13.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the differences between any and all models, stock keeping units

         (SKUs), and versions of SINGTEL’S SECURITY PRODUCTS.

                14.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products, services, and/or subscriptions

         comprising SINGTEL’S SECURITY PRODUCTS and the EXISTING

         BUSINESS, including any lineage, incorporation, integration, or derivation.

                15.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products, services, and/or subscriptions

         comprising SINGTEL’S SECURITY PRODUCTS and TRUSTWAVE’S

         CYBERSECURITY PRODUCTS, including any lineage, incorporation,

         integration, or derivation.

                16.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising the EXISTING BUSINESS into SINGTEL’S CYBERSECURITY

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                                                     12
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 332 of 624 PageID #: 338



         PRODUCTS, including any sharing of source code, technology, know-how, or

         other knowledge from the EXISTING BUSINESS.

                17.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS into SINGTEL’S

         CYBERSECURITY PRODUCTS, including any sharing of source code,

         technology, know-how, or other knowledge from the EXISTING BUSINESS.

                18.   All DOCUMENTS and COMMUNICATIONS describing the

         worldwide revenues, including by worldwide revenues by quarter, numbers of

         units, subscriptions, and/or licenses sold, and price for each unit, subscription, and/

         or license, since the TIME OF ACQUISITION, for each product, service, and/or

         subscription comprising SINGTEL’S SECURITY PRODUCTS.

                19.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions that have been

         transferred or “pooled” under the Trustwave brand, as described in the Trustwave

         article found at https://www.trustwave.com/en-

         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-

         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A.

                20.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing any and all products, services, and/or subscriptions comprising

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 333 of 624 PageID #: 339



         “Singtel’s global cybersecurity assets,” as described in the Trustwave article found

         at https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, including providing a list of all models, stock

         keeping units (SKUs), version numbers, and release dates.

                21.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products that have been transferred or “pooled”

         under the Trustwave brand, as described in the Trustwave article found at

         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, and the EXISTING BUSINESS, including any

         lineage, incorporation, integration, or derivation.

                22.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products that have been transferred or “pooled”

         under the Trustwave brand, as described in the Trustwave article found at

         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, and TRUSTWAVE’S CYBERSECURITY

         PRODUCTS, including any lineage, incorporation, integration, or derivation.



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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 334 of 624 PageID #: 340



                23.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising the EXISTING BUSINESS into the products, services, and/ or

         subscriptions that have been transferred or “pooled” under the Trustwave brand, as

         described in the Trustwave article found at https://www.trustwave.com/en-

         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-

         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A,

         including any sharing of source code, technology, know-how, or other knowledge

         from the EXISTING BUSINESS.

                24.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising the TRUSTWAVE’S CYBERSECURITY PRODUCTS into the

         products, services, and/ or subscriptions that have been transferred or “pooled”

         under the Trustwave brand, as described in the Trustwave article found at

         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, including any sharing of source code,

         technology, know-how, or other knowledge from the TRUSTWAVE’S

         CYBERSECURITY PRODUCTS.



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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 335 of 624 PageID #: 341



                25.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products comprising “Singtel’s global

         cybersecurity assets,” as described in the Trustwave article found at

         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, and the EXISTING BUSINESS, including any

         lineage, incorporation, integration, or derivation.

                26.   All DOCUMENTS and COMMUNICATIONS describing the

         relationship between any and all products comprising “Singtel’s global

         cybersecurity assets,” as described in the Trustwave article found at

         https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-

         global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-

         powerhouse/, attached as Exhibit A, and TRUSTWAVE’S CYBERSECURITY

         PRODUCTS, including any lineage, incorporation, integration, or derivation.

                27.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising the EXISTING BUSINESS into the products, services, and/ or

         subscriptions comprising “Singtel’s global cybersecurity assets,” as described in

         the Trustwave article found at https://www.trustwave.com/en-

         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-

01:23470365.1
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 336 of 624 PageID #: 342



         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A,

         including any sharing of source code, technology, know-how, or other knowledge

         from the EXISTING BUSINESS.

                28.   All DOCUMENTS and COMMUNICATIONS identifying and/or

         describing the integration of any and all products, services, and/or subscriptions

         comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS into the products,

         services, and/ or subscriptions comprising “Singtel’s global cybersecurity assets,”

         as described in the Trustwave article found at https://www.trustwave.com/en-

         us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-

         under-trustwave-to-create-an-industry-powerhouse/, attached as Exhibit A,

         including any sharing of source code, technology, know-how, or other knowledge

         from TRUSTWAVE’S CYBERSECURITY PRODUCTS.

                29.   All copies of royalty statements as submitted to Finjan.

                30.   All supporting documentation used for royalty calculations by

         TRUSTWAVE to create the Finjan royalty statements;

                31.   Copies of all checks and wire transfer confirmations for royalty

         payments from TRUSTWAVE AND SINGTEL.

                32.   Audited annual financial statements for TRUSTWAVE and

         SINGTEL for each year since January 1, 2013.



01:23470365.1
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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 337 of 624 PageID #: 343



                33.      All Management Reports which show annual and/or quarterly revenue

         by product, services, and/or subscription, for TRSTUWAVE AND SINGTEL.

                34.      All DOCUMENTS and COMMUNICATIONS reflecting line-item

         transaction-level sales data, including sales, inter-company sales, returns,

         discounts, and applicable deductions per Section 1.9 of the AGREEMENT (if any),

         including records from accounting systems for TRUSTWAVE and SINGTEL,

         including the following fields:

                      a. Invoice date;

                      b. Invoice number;

                      c. Document type (debit/credit);

                      d. Attributed legal entity;

                      e. Model/item/SKU number/version number;

                      f. Model/item/SKU number/version description;

                      g. Model/item/SKU number/version family/type;

                      h. Credit memo reason (e.g., discount, price adjustment, etc.);

                      i. Customer name;

                      j. Country of sale;

                      k. Sales or order type (i.e., internal v. external);

                      l. Units sold;

                      m. Local currency type;

01:23470365.1
                                                       18
        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 338 of 624 PageID #: 344



                      n. Gross amount in local currency;

                      o. Gross amount in reporting currency;

                      p. Gross to net deduction amount (if any);

                      q. Gross to net deduction description (if any);

                      r. Net sales amount in local currency;

                      s. Net sales amount in reporting currency.

                35.      All DOCUMENTS sufficient to list all products and services sold

         (royalty bearing and non-royalty bearing) by TRUSTWAVE or SINGTEL,

         including the following fields:

                      a. Item number;

                      b. Item description;

                      c. Item type and/or service category;

                      d. Quantity sold;

                      e. Revenue;

                      f. Whether the item uses any Finjan intellectual property;

                36.      TRUSTWAVE and SINGTEL organization charts, including those

         showing subsidiaries, affiliates, and parent organization.

                37.      Time lines showing name changes since January 1, 2013.

                38.      All DOCUMENTS and COMMUNICATIONS requested by KPMG

         in the course of KPMG’s audit, pursuant to Section 3.4 of the AGREEMENT.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 339 of 624 PageID #: 345



                39.    All DOCUMENTS and COMMUNICATIONS responsive to

         KPMG’s audit requests pursuant to Section 3.4 of the AGREEMENT.

                40.    All DOCUMENTS and COMMUNICATIONS, including all “books

         and records,” “necessary to determine the royalties” owed pursuant to Section 3.4

         of the AGREEMENT.

                41.    All DOCUMENTS and COMMUNICATIONS necessary to

         determine “whether or not SINGTEL is actually using Finjan’s patent technology

         that would trigger royalty payments under the [AGREEMENT],” as set forth in the

         Court’s February 11, 2019 Order.

                42.    All DOCUMENTS and COMMUNICATIONS, to the extent not

         otherwise responsive to the foregoing Requests, that Defendants may seek to

         introduce at trial or refer to in any motion or opposition to any motion filed in this

         Action.

         Dated: March 12, 2019                     YOUNG CONAWAY
                                                   STARGATT & TAYLOR, LLP
         Of Counsel:
                                                   /s/ Mary F. Dugan
                                                   _______________________
         John L. Cooper
                                                   Karen L. Pascale (#2903)
         Winston Liaw
                                                   Mary F. Dugan (#4704)
         FARELLA BRAUN + MARTEL LLP
                                                   1000 North King Street
         235 Montgomery Street, 17th Floor
                                                   Wilmington, DE 19801
         San Francisco, California 94104
                                                   Telephone: (302) 571-6600
         Telephone: (415) 954-4400
                                                   kpascale@ycst.com
                                                   mdugan@ycst.com
                                                   Attorneys for Plaintiff Finjan, Inc.

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        Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 340 of 624 PageID #: 346



                                  CERTIFICATE OF SERVICE

                I, Mary F. Dugan, Esquire, hereby certify that on March 12, 2019, I caused

         true and correct copies of the foregoing document to be served upon the following

         counsel of record as indicated:



         VIA FILE & SERVEXPRESS AND EMAIL:

         Jack B. Blumenfeld                                     jblumenfeld@mnat.com
         Alexandra M. Cumings                                   acumings@mnat.com
         MORRIS NICHOLS ARSHT & TUNNELL LLP
         1201 North Market Street
         P.O. Box 1347
         Wilmington, DE 19899-1347

         VIA EMAIL:

         John S. Letchinger                                     jletchinger@bakerlaw.com
         Matthew J. Caccamo                                     mcaccamo@bakerlaw.com
         Baker & Hostetler LLP
         191 N. Wacker Drive, Suite 3100
         Chicago, IL 60606-1901


                                           YOUNG CONAWAY STARGATT & TAYLOR, LLP

         March 12, 2019                    /s/ Mary F. Dugan
                                           ____________________________________
                                           Karen L. Pascale (#2903)
                                           Mary F. Dugan (#4704)
                                           1000 North King Street
                                           Wilmington, DE 19801
                                           Telephone: (302) 571-6600

                                           Attorneys for Plaintiff Finjan, Inc.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 341 of 624 PageID #: 347
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                      EXHIBIT A
3/12/2019              Singtel Integrates Global
            Case 1:20-cv-00372-MN                Cybersecurity
                                            Document        2-1Capabilities
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                         Our latest announcements and media mentions, keeping you up to date on what we're up to.




            December 04, 2018



                                        

       Trustwave Becomes One of the Industry’s Most Comprehensive Security Companies Poised to Confront Growing Cyber Threats
                                                                      Head On


      CHICAGO, SINGAPORE and SYDNEY – December 4, 2018 – Singtel today announced it has pooled the cybersecurity
      capabilities, technologies and resources of Singtel, Optus, Trustwave and NCS, into a single global corporate identity
      operating under the Trustwave brand. The strategic measure forms one of the industry’s most comprehensive global
      cybersecurity companies offering a complete range of managed security services (/en-us/services/managed-security/),
      consulting, education and leading-edge technologies to help organizations worldwide contend with rapidly evolving external
      and internal threats.


      Through the integration, the new Trustwave can harness the synergies and strengths of Singtel’s global cybersecurity
      business, revenue, capabilities and teams across the Americas, Europe and Asia Paci c. Trustwave’s global cyber business
      now has about 2,000 security employees, a global network of ten connected Advanced Security Operations Centers (/en-
      us/company/about-us/advanced-security-operations-centers/) (ASOCs) supported by its elite Trustwave SpiderLabs (/en-
      us/company/about-us/spiderlabs/) security team, millions of businesses enrolled in its cloud-based security platform, more
      than 10,000 managed security services customers, and nearly 1,000 channel partners and numerous technology partners
      worldwide. The Trustwave portfolio includes many services and technologies recognized as industry-leading by analysts.


      “Uniting the security assets and deep expertise of Singtel, Optus, Trustwave and NCS under one brand and single vision –
      what we call the new Trustwave – is a pivotal milestone for our customers, partners, employees and company,” said Arthur
      Wong, Chief Executive O cer at Trustwave. “Trustwave is well-positioned to further its role as a recognized leader in
      cybersecurity and managed security services, areas vital for effective security programs as enterprises accelerate their digital
      transformation. Customers bene t by having a trusted security partner with true global reach and intelligence, offering
      around-the-clock monitoring, detection and eradication of threats in addition to deep regional security expertise necessary for
      successfully addressing global threats and localized attack campaigns.”




https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   1/4
3/12/2019              Singtel Integrates Global
            Case 1:20-cv-00372-MN                Cybersecurity
                                            Document        2-1Capabilities
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                                                                                                                          #: 349
      As part of the integration, Trustwave has re-designed its logo, giving it a bold modern look with new brand identity and color
   scheme, and launched a new corporate website at www.trustwave.com (http://www.trustwave.com).
                                                                          (/en-us/)
                                                                                                  The website serves as 
      the digital hub showcasing all Trustwave offerings, including those from Singtel, Optus and NCS.


      Bene ts of the integration include:
            Broader security services portfolio – The new Trustwave portfolio includes managed security services, security testing,
            consulting, technology solutions and cybersecurity education. The integration provides Trustwave with additional
            managed security services, third-party technology solutions and cybersecurity education and training services like the
            Cyber Security Institute in Singapore.

            Increased focus on industry-leading technologies – Trustwave will continue to offer both its own technologies and those
            from third parties. Trustwave has added and will continue to add more industry-leading third-party technologies that are
            integrated or wrapped with its managed security and consulting services to offer even more compelling solutions that
            solve cybersecurity problems and challenges.

            More cybersecurity resources and talent – Through the integration of Singtel’s global cybersecurity assets under
            Trustwave, the company has added more resources, employees and services to help customers protect their data and
            reduce risk. At a time when there is a world-wide security skills shortage, the company has about 2,000 security
            professionals worldwide delivering, selling, marketing and supporting Trustwave cybersecurity solutions and managed
            security services. The added personnel complements ten interlinked Advanced Security Operations Centers responsible
            for delivering continuous threat monitoring, detection and threat elimination along with threat intelligence to ensure
            organizations are continuously protected regardless of location.

            Advanced security training and continued education – Trustwave has combined the training and continued education
            assets from Singtel’s cybersecurity businesses including Trustwave Academy and the Cyber Security Institute into a
            comprehensive program delivered on-premises and remotely. Cybersecurity education has become paramount to
            addressing the threat landscape through knowledge and best practices. Customers, partners and employees can learn the
            latest techniques for detecting threats, defending networks, protecting data and optimizing technologies from many of the
            world’s top minds in cybersecurity. Options for earning industry recognized certi cations and accreditation in penetration
            testing, data forensics, incident response and other elds are offered.

            Separate business unit focused on compliance – Trustwave has created a separate global Payment Card Industry (PCI)
            compliance and risk management arm (https://www.trustwavecompliance.com/) to help organizations achieve and
            maintain regulatory compliance. The division represents a continued commitment to focus on compliance, risk and data
            privacy customer challenges while building upon Trustwave’s foundation as a payment card industry data security
            standard (PCI DSS) pioneer.


      Industry Recognition Demonstrates Trustwave Momentum and Leadership
      In 2018, renowned industry analysts worldwide recognized Trustwave for its leadership in cybersecurity and managed
      security services.


      Gartner, Inc., a leading information and technology and advisory company, placed Trustwave in the Leaders quadrant in the
      2018 Gartner Magic Quadrant for Managed Security Services, Worldwide.i


      International Data Corporation (IDC) named Trustwave a Leader in the IDC MarketScape U.S. Incident Readiness, Response,
      and Resiliency Services 2018 Vendor Assessment - Beyond the Big 5 Consultancies.ii IDC also named Trustwave a Leader in
      the IDC MarketScape: Asia/Paci c Managed Security Services 2018.iii Additionally, IDC named Trustwave a Leader in the IDC
      MarketScape: Canadian Security Services Providers, 2018 Vendor Assessment.iv

https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   2/4
3/12/2019                Singtel Integrates Global
              Case 1:20-cv-00372-MN                Cybersecurity
                                              Document        2-1Capabilities
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      Most recently, Frost & Sullivan presented Trustwave with the prestigious 2018 Singapore and Southeast Asia Managed
   Security Service Provider of the Year award.                                 (/en-us/)
                                                                                                                                                
      About Trustwave
      Trustwave is a leading cybersecurity and managed security services provider that helps businesses ght cybercrime, protect
      data and reduce security risk. Offering a comprehensive portfolio of managed security services, security testing, consulting,
      technology solutions and cybersecurity education, Trustwave helps businesses embrace digital transformation securely.
      Trustwave is a Singtel company and the global security arm of Singtel, Optus and NCS, with customers in 96 countries. For
      more information about Trustwave, visit https://www.trustwave.com (https://www.trustwave.com).


      About Singtel
      Singtel is Asia's leading communications technology group, providing a portfolio of services from next-generation
      communication, technology services to infotainment to both consumers and businesses. For consumers, Singtel delivers a
      complete and integrated suite of services, including mobile, broadband and TV. For businesses, Singtel offers a
      complementary array of workforce mobility solutions, data hosting, cloud, network infrastructure, analytics and cyber-security
      capabilities. The Group has presence in Asia, Australia and Africa and reaches over 700 million mobile customers in 21
      countries. Its infrastructure and technology services for businesses span 21 countries, with more than 428 direct points of
      presence in 362 cities. For more information, visit www.singtel.com (http://www.singtel.com). Follow us on Twitter at
      www.twitter.com/SingtelNews (http://www.twitter.com/SingtelNews).




      i
            Source: Gartner, "Magic Quadrant for Managed Security Services, Worldwide" by Toby Bussa, Kelly M. Kavanagh, Pete
      Shoard, Sid Deshpande, February 27, 2018.
      ii
            Source: IDC MarketScape: IDC MarketScape U.S. Incident Readiness, Response, and Resiliency Services 2018 Vendor
      Assessment - Beyond the Big 5 Consultancies, (IDC# US44257117, October 2018).
      iii
            Source: IDC MarketScape: Asia/Paci c Managed Security Services 2018, (IDC# AP42609818, June 2018).
      iv
            Source: IDC MarketScape: Canadian Security Services Providers, 2018 Vendor Assessment (IDC# CA3005218, March 2018).




   (https://www.linkedin.com/company/trustwave)
                                  (https://twitter.com/Trustwave)            (https://www.facebook.com/Trustwave/)
                                                                                                           (https://www.youtube.com/chan
   SERVICES (/EN-US/SERVICES/)                                                CAPABILITIES (/EN-US/CAPABILITIES/)
   Managed Security (/en-us/services/managed-security/)                       By Topic (/en-us/capabilities/by-topic/)
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https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   3/4
3/12/2019              Singtel Integrates Global
            Case 1:20-cv-00372-MN                Cybersecurity
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   Security Testing (/en-us/services/security-testing/)                        By Industry (/en-us/capabilities/by-industry/)
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   Technology (/en-us/services/technology/)
                                                                                         (/en-us/)
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   Consulting (/en-us/services/consulting/)
   Education (/en-us/services/education/)

   RESOURCES (/EN-US/RESOURCES/)                                               COMPANY (/EN-US/COMPANY/)
   Blogs & Stories (/en-us/resources/blogs/)                                   About Trustwave (/en-us/company/about-us/)
   Resource Library (/en-us/resources/library/)                                Newsroom (/en-us/company/newsroom/)
   Security Resources (/en-us/resources/security-resources/)                   Contact (/en-us/company/contact/)
   Events & Webinars (/en-us/resources/upcoming/)                              Support (/en-us/company/support/)



   STAY INFORMED
   Sign up to receive the latest security news and trends from Trustwave.


       email@example.com                                                                                                         SUBSCRIBE

   No spam, unsubscribe at any time.




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https://www.trustwave.com/en-us/company/newsroom/news/singtel-integrates-global-cybersecurity-capabilities-under-trustwave-to-create-an-industry-…   4/4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 346 of 624 PageID #: 352
                                                EFiled: May 29 2019 05:12PM EDT
                                                Transaction ID 63305179
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                               )
                                           )
                    Plaintiff,             )
                                           ) C.A. No. N18C-04-006 WCC CCLD
      v.                                   )
                                           )
TRUSTWAVE HOLDINGS, INC.,                  )
                                           )
                    Defendant.             )

               RULE 37(e)(1) CERTIFICATION IN SUPPORT
           OF DEFENDANT’S MOTION FOR PROTECTIVE ORDER

      Alexandra M. Cumings hereby certifies:

      1.      I am a member of the Bar of this Court and an attorney at Morris,

Nichols, Arsht & Tunnell LLP (“MNAT”), attorneys for Defendant Trustwave

Holdings, Inc. (“Trustwave”). I have knowledge of the facts set forth in this

Certification, which I make on behalf of Trustwave.

      2.      Through its Motion for Protective Order (the “Motion”), Trustwave

seeks an order precluding discovery into topics beyond what the Court identified as

the proper scope of discovery in its February 11, 2019 Letter Opinion (the

“Opinion”).

      3.      Plaintiff Finjan, Inc. (“Finjan”) served its First Set of Interrogatories

(“Interrogatories”) and First Set of Requests for Production (“Document

Requests”) on March 13, 2019.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 347 of 624 PageID #: 353



      4.     On April 9, 2019, counsel for Trustwave informed counsel for Finjan

that the scope of the discovery requests exceeded the permissible scope of

discovery pursuant to the Letter Opinion and requested to meet and confer.

      5.     Counsel for Finjan agreed to meet and confer after Trustwave served

its responses and objections to the discovery requests. Trustwave agreed, and by

email on April 12, 2019, counsel for Trustwave further explained its position on

the overbreadth of the discovery responses.

      6.     Trustwave served its responses and objections to the Interrogatories

and Document Requests on April 12, 2019.

      7.     On April 15, 2019, counsel for the parties met and conferred on the

scope of Finjan’s discovery requests.         As a result of the meet and confer,

Trustwave agreed to continue further discussions to attempt to reach a resolution.

      8.     On April 23, 2019, counsel for the parties met and conferred a second

time on the scope of Finjan’s discovery requests, and each side agreed to follow up

on several questions that arose during the call.

      9.     On April 30, 2019 by email, counsel for Trustwave followed up on the

outstanding issues by providing counsel for Finjan certain additional information.

As of the date of filing the Motion, counsel for Finjan has not followed up with

Trustwave on the issues raised on the call.




                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 348 of 624 PageID #: 354



      10.    On May 7 and 8, counsel for the parties exchanged emails regarding

scheduling a hearing for Trustwave’s forthcoming motion for protective order. In

those emails, counsel for Trustwave expressed its willingness to continue to

engage in discussions to attempt to resolve or narrow the discovery issues

described in the Motion. Counsel for Finjan stated that it would confer with its

client on the scope of the discovery requests and then respond to Trustwave’s

position as to the scope of Finjan’s discovery requests. As of the date of the

Motion, counsel for Finjan has not followed up with Trustwave on the scope of

discovery or otherwise agreed to modify its requests in any way.

      11.    In sum, before filing the Motion, Trustwave identified the issue with

the scope of Finjan’s discovery requests and offered Finjan the opportunity to

correct those issues or provide additional information. Finjan chose not to do so.

                                          MORRIS, NICHOLS, ARSHT &
                                          TUNNELL LLP
OF COUNSEL:
John S. Letchinger
BAKER& HOSTETLER LLP                      /s/ Alexandra M. Cumings
191 N. Wacker Drive, Suite 3100           Jack B. Blumenfeld (#1014)
Chicago, IL 60606-1901                    Alexandra M. Cumings (#6146)
(312) 416-6200                            1201 North Market Street
                                          P.O. Box 1347
Jared A. Brandyberry                      Wilmington, DE 19899-1347
BAKER& HOSTETLER LLP                      (302) 658-9200
1801 California Street, Suite 4400        Attorneys for Defendant
Denver, CO 80202                          Trustwave Holdings, Inc.
(303) 764-4072

May 29, 2019
                                         3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 349 of 624 PageID #: 355
                                                EFiled: Jun 05 2019 04:41PM EDT
                                                Transaction ID 63327242
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )
                                         )
TRUSTWAVE HOLDINGS, INC.,                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
                    Defendant.           )


                            RE-NOTICE OF MOTION

               PLEASE TAKE NOTICE that Trustwave Holdings, Inc.’s Motion for

Protective Order (Dkt. 48) will be presented to the Court on June 19, 2019.

                                         MORRIS, NICHOLS, ARSHT &
                                         TUNNELL LLP


OF COUNSEL:                              /s/ Alexandra M. Cumings
                                         Jack B. Blumenfeld (#1014)
John S. Letchinger                       Alexandra M. Cumings (#6146)
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(312) 416-6200                           (302) 658-9200
                                         Attorneys for Defendant
Jared A. Brandyberry
BAKER& HOSTETLER LLP
1801 California Street, Suite 4400
Denver, CO 80202
(303) 764-4072
June 5, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 350 of 624 PageID #: 356



                         CERTIFICATE OF SERVICE

            I hereby certify that on June 5, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                      /s/ Alexandra M. Cumings
                                      Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 351 of 624 PageID #: 357
                                                          EFiled: Jun 06 2019 03:55PM EDT
                M O R R I S , N I C H O L S , A R S H T & Transaction
                                                          T U N N E L L LIDL P63333604
                                                          Case No. N18C-04-006 WCC CCLD
                                      1201 N ORTH M ARKET S TREET
                                             P.O. B OX 1347
                                  W ILMINGTON , D ELAWARE 19899-1347

                                             (302) 658-9200
                                          (302) 658-3989 FAX

 ALEXANDRA M. CUMINGS
 (302) 351-9248
 (302) 425-3012 FAX
 acumings@mnat.com




                                               June 6, 2019

 BY E-FILING AND HAND DELIVERY

 The Honorable William C. Carpenter, Jr.
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

                      Re:   Finjan, Inc. v. Trustwave Holdings, Inc.,
                            C.A. No. N18C-04-006-WCC [CCLD

 Dear Judge Carpenter:

                      I write on behalf of Defendant Trustwave Holdings, Inc.

 (“Trustwave”) regarding Trustwave’s Motion for Protective Order (the “Motion”),

 filed May 29, 2019 (Dkt. 48), which was originally scheduled for oral argument on

 the Court’s routine motion calendar for June 12, 2019.                 After being advised

 yesterday that Finjan does not wish to proceed with the hearing on June 12 as

 noticed because it intends to engage new counsel, Trustwave re-noticed the Motion

 for hearing on June 19, 2019.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 352 of 624 PageID #: 358
The Honorable William C. Carpenter, Jr.
June 6, 2019
Page 2

            Approximately two months ago, on April 9, 2019, Trustwave first

raised its concerns with opposing counsel that Plaintiff Finjan, Inc.’s (“Finjan”)

discovery requests far exceed the permissible scope of discovery in this action,

especially following this Court’s February 11, 2019 Letter Opinion (“Order”).

After several discussions and email exchanges, Trustwave repeatedly delayed

filing the Motion based on Finjan’s representations that it would engage in good

faith negotiations to attempt to bring discovery in line with the Court’s Order in

order to resolve the discovery dispute. Despite agreeing to provide substantive

responses to Trustwave’s concerns, Finjan went silent for three weeks, and thus

Trustwave filed the Motion on May 29, 2019, to be heard on June 12.

            On June 5, 2019, Trustwave was informed that Finjan could not

proceed with the June 12th hearing because it anticipated retaining new counsel.

Finjan was not able to provide a date by when it could proceed with the hearing on

Trustwave’s Motion. Because counsel for Trustwave has significant scheduling

restrictions in the last week of June and most of July (and Trustwave is cognizant

that the Court may not hear argument in August pursuant to the Delaware Supreme

Court’s Work-Life Balance Order), Trustwave has re-noticed the Motion for June

19, 2019. Finjan’s current Delaware counsel, Mary Dugan, promptly contacted our

office about the change of counsel issue. We have not been contacted by lead
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 353 of 624 PageID #: 359
The Honorable William C. Carpenter, Jr.
June 6, 2019
Page 3

counsel and it is not clear whether or not Finjan is engaging substitute lead counsel

in addition to Delaware counsel.

             Trustwave recognizes that Finjan ultimately may not be able to go

forward with a hearing on June 19 given the impending change in counsel, but

Trustwave has noticed the Motion for that day to reserve its rights, as it advised

Ms. Dugan.     Trustwave already delayed filing the Motion for weeks and is

concerned that Finjan will attempt to re-open issues resolved by the Order and

otherwise continue to pursue grossly overbroad discovery. While Trustwave will,

of course, work with anticipated new counsel to arrive at a reasonable schedule, it

believed it important to advise the Court of the current status of the matter.

             Should Your Honor have any questions, the parties are available at the

Court’s convenience.

                                        Respectfully,

                                        /s/ Alexandra M. Cumings

                                        Alexandra M. Cumings (#6146)


cc:   Karen L. Pascale, Esquire (via File & ServeXpress)
      Mary F. Dugan (Via File & ServeXpress)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 354 of 624 PageID #: 360
                                                          EFiled: Jun 13 2019 11:56AM EDT
                M O R R I S , N I C H O L S , A R S H T & Transaction
                                                          T U N N E L L LIDL P63359540
                                                          Case No. N18C-04-006 WCC CCLD
                                      1201 N ORTH M ARKET S TREET
                                             P.O. B OX 1347
                                  W ILMINGTON , D ELAWARE 19899-1347

                                             (302) 658-9200
                                          (302) 658-3989 FAX

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 (302) 425-3012 FAX
 acumings@mnat.com




                                               June 13, 2019

 BY E-FILING AND HAND DELIVERY

 The Honorable William C. Carpenter, Jr.
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

                      Re:   Finjan, Inc. v. Trustwave Holdings, Inc.,
                            C.A. No. N18C-04-006-WCC [CCLD

 Dear Judge Carpenter:

                      I write on behalf of Defendant Trustwave Holdings, Inc.

 (“Trustwave”) regarding Trustwave’s Motion for Protective Order (the “Motion”),

 filed May 29, 2019 (Dkt. 48), which was re-noticed for oral argument as a routine

 motion on June 19, 2019. Following our letter of June 6, 2019 (Dkt. 53), we were

 contacted by Karen Keller of Shaw Keller LLP and Bijal Vakil of White & Case

 LLP, who advise that they will be substituting in for current counsel in this matter

 on behalf of Plaintiff Finjan, Inc. At their request and subject to written agreement
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 355 of 624 PageID #: 361
The Honorable William C. Carpenter, Jr.
June 13, 2019
Page 2

between the parties, Trustwave has agreed to withdraw the June 19, 2019 hearing

date for its Motion for Protective Order. It is the parties’ collective hope that it

will be unnecessary for Trustwave to re-notice the Motion.

            Should Your Honor have any questions, the parties are available at the

Court’s convenience.

                                      Respectfully,

                                      /s/ Alexandra M. Cumings

                                      Alexandra M. Cumings (#6146)


cc:   Karen L. Pascale, Esquire (via File & ServeXpress)
      Mary F. Dugan (via File & ServeXpress)
      Karen Keller (via e-mail)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 356 of 624 PageID #: 362
                                                EFiled: Jun 13 2019 12:11PM EDT
                                                Transaction ID 63359584
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                             )
                                           )
                Plaintiff,                 )
                                           )
   v.                                      ) C.A. No. 18C-04-006-WCC-CCLD
                                           )
 TRUSTWAVE HOLDINGS, INC.,                 )
                                           )
                Defendant.                 )


                  NOTICE OF SUBSTITUTION OF COUNSEL
                      FOR PLAINTIFF FINJAN, INC.

        Plaintiff Finjan, Inc. (“Finjan”) hereby notifies the Court that Karen L.

Pascale, Esquire, and Mary F. Dugan, Esquire of Young Conaway Stargatt & Taylor,

LLP hereby withdraw their appearance for Finjan in this action.

        Please enter the appearance of Karen E. Keller of the law firm of Shaw Keller

LLP as counsel for Finjan.

 /s/ Mary F. Dugan                         /s/ Karen E. Keller
 Karen L. Pascale (#2903)                  Karen E. Keller (#4489)
 Mary F. Dugan (#4704)                     SHAW KELLER LLP
 YOUNG CONAWAY STARGATT &                  I.M. Pei Building
 TAYLOR LLP                                1105 North Market Street, 12th
 1000 North King Street                    Floor Wilmington, DE 19801
 Wilmington, DE 19801                      (302) 298-0700
 (302) 571-6600                            kkeller@shawkeller.com
 kpascale@ycst.com                         Attorney for Plaintiff
 mdugan@ycst.com                           Finjan, Inc.
 Attorneys for Plaintiff Finjan, Inc.

 Dated: June 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 357 of 624 PageID #: 363
                                                EFiled: Jun 13 2019 12:11PM EDT
                                                Transaction ID 63359584
                                                Case No. N18C-04-006 WCC CCLD
                         CERTIFICATE OF SERVICE

      I, Karen E. Keller, hereby certify that on June 13, 2019, this document was

served on the persons listed below in the manner indicated:

       BY LEXIS NEXIS FILE &
        SERVE XPRESS AND EMAIL
       Jack B. Blumenfeld                    Jared A. Brandyberry
       Alexandra M. Cumings                  BAKER & HOSTETLER LLP
       MORRIS, NICHOLS, ARSHT                1801 California Street
        & TUNNELL LLP                        Suite 4400
       1201 North Market Street              Denver, CO 80202
       P.O. Box 1347                         (303) 861-0600
       Wilmington, DE 19899                  jbrandyberry@bakerlaw.com
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       John S. Letchinger
       Matthew J. Caccamo
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       Suite 4500
       Chicago, IL 60606
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       jletchinger@bakerlaw.com
       mcaccamo@bakerlaw.com

                                              /s/ Karen E. Keller
                                              Karen E. Keller (No. 4489)
                                              SHAW KELLER LLP
                                              I.M. Pei Building
                                              1105 North Market Street, 12th Floor
                                              Wilmington, DE 19801
                                              (302) 298-0700
                                              kkeller@shawkeller.com
                                              Attorneys for Plaintiff
 Dated: June 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 358 of 624 PageID #: 364
                                                EFiled: Jun 13 2019 12:24PM EDT
                                                Transaction ID 63359675
                                                Case No. N18C-04-006 WCC CCLD


         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                             )
                                           )
               Plaintiff,                  )
                                           )
   v.                                      ) C.A. No. 18C-04-006-WCC-CCLD
                                           )
 TRUSTWAVE HOLDINGS, INC.,                 )
                                           )
               Defendant.                  )


                 MOTION FOR ADMISSION PRO HAC VICE

        I, Karen E. Keller, a member of the Delaware bar, pursuant to Rule 90.1

hereby move for the admission pro hac vice of Bijal Vakil of White & Case LLP,

3000 El Camino Real, Palo Alto, CA 94306, to represent Finjan, Inc. in this action.

I certify that I maintain an office in Delaware and find the applicant to be a

reputable and competent attorney and am in a position to recommend the

applicant’s admission. The applicant is admitted, practicing and in good standing

in the state of California.

                                              /s/ Karen E. Keller
                                              Karen E. Keller (No. 4489)
                                              SHAW KELLER LLP
                                              I.M. Pei Building
                                              1105 North Market Street, 12th Floor
                                              Wilmington, DE 19801
                                              (302) 298-0700
                                              kkeller@shawkeller.com
                                              Attorneys for Plaintiff
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 359 of 624 PageID #: 365




 OF COUNSEL:
 Bijal Vakil
 WHITE & CASE LLP
 3000 El Camino Real
 2 Palo Alto Square, Suite 900
 Palo Alto, CA 94306
 (650) 213-0300


 Dated: June 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 360 of 624 PageID #: 366
                                                EFiled: Jun 13 2019 12:24PM EDT
                                                Transaction ID 63359675
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                           )
                                         )
               Plaintiff,                )
                                         )
   v.                                    ) C.A. No. 18C-04-006-WCC-CCLD
                                         )
 TRUSTWAVE HOLDINGS, INC.,               )
                                         )
               Defendant.                )


                             NOTICE OF MOTION

        PLEASE TAKE NOTICE that the attached Motion and Order for Admission

Pro Hac Vice of Bijal Vakil will be heard at the convenience of the Court.

                                             /s/ Karen E. Keller
                                             Karen E. Keller (No. 4489)
                                             SHAW KELLER LLP
                                             I.M. Pei Building
                                             1105 North Market Street, 12th Floor
                                             Wilmington, DE 19801
 OF COUNSEL:                                 (302) 298-0700
 Bijal Vakil                                 kkeller@shawkeller.com
 WHITE & CASE LLP                            Attorneys for Plaintiff
 3000 El Camino Real
 2 Palo Alto Square, Suite 900
 Palo Alto, CA 94306
 (650) 213-0300



 Dated: June 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 361 of 624 PageID #: 367
                                                EFiled: Jun 13 2019 12:24PM EDT
                                                Transaction ID 63359675
                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 362 of 624 PageID #: 368
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 363 of 624 PageID #: 369
                                                EFiled: Jun 13 2019 12:24PM EDT
                                                Transaction ID 63359675
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                             )
                                           )
                Plaintiff,                 )
                                           )
   v.                                      ) C.A. No. 18C-04-006-WCC-CCLD
                                           )
 TRUSTWAVE HOLDINGS, INC.,                 )
                                           )
                Defendant.                 )


                                      ORDER


        The foregoing application of Bijal Vakil for admission pro hac vice is

hereby GRANTED.

        IT IS ORDERED this ______day of ________________, 2019.



                                 J.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 364 of 624 PageID #: 370
                                                EFiled: Jun 13 2019 12:24PM EDT
                                                Transaction ID 63359675
                                                Case No. N18C-04-006 WCC CCLD
                         CERTIFICATE OF SERVICE

      I, Karen E. Keller, hereby certify that on June 13, 2019, this document was

served on the persons listed below in the manner indicated:

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        SERVE XPRESS AND EMAIL
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                                              Karen E. Keller (No. 4489)
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                                              kkeller@shawkeller.com
                                              Attorneys for Plaintiff
 Dated: June 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 365 of 624 PageID #: 371
                        So Ordered                 EFiled: Jun 17 2019 02:30PM EDT
             /s/ Carpenter, William C Jun 17, 2019 Transaction ID 63369923
                                                   Case No. N18C-04-006 WCC CCLD
          IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                              )
                                            )
                 Plaintiff,                 )
                                            )
    v.                                      ) C.A. No. 18C-04-006-WCC-CCLD
                                            )
 TRUSTWAVE HOLDINGS, INC.,                  )
                                            )
                 Defendant.                 )


                                       ORDER


         The foregoing application of Bijal Vakil for admission pro hac vice is

hereby GRANTED.

         IT IS ORDERED this ______day of ________________, 2019.



                                  J.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 366 of 624 PageID #: 372
                                                EFiled: Aug 22 2019 10:18AM EDT
                                                Transaction ID 64120707
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                                           )
FINJAN, INC.,                              )
                                           )
                Plaintiff,
                                           )
                                           )    C.A. No. N18C-04-006 WCC CCLD
      v.
                                           )
TRUSTWAVE HOLDINGS, INC.,                  )
                                           )
                Defendant.                 )
                                           )

       PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

      Plaintiff Finjan, Inc. (“Finjan”) respectfully moves pursuant to Superior

Court Rule 5(g) for an order permitting the filing of its Motion to Compel under

seal. The bases for Finjan’s motion are as follows:

      1.     Superior Court Rule 5(g)(2) states, in relevant part, “Court Records or

portions thereof shall not be placed under seal unless and except to the extent that

the person seeking the sealing thereof shall have first obtained, for good cause

shown, an order of this court specifying those Court records, categories of Court

records, or portions thereof which shall be placed under seal[.]”

      2.     Finjan’s Motion to Compel contains references to sensitive, non-

public information, including the terms of contractual obligations between the

parties which are highly confidential and contain financial and business

information that the parties will likely seek to designate as confidential or highly

confidential information. The disclosure of such information would result in



                                          1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 367 of 624 PageID #: 373




material harm to Finjan. There will be no harm to the public because the

information to be redacted from public view will be minimal.

      3.     Documents may be filed under seal “for good cause shown.” Super.

Ct. Civ. R. 5(g)(2). “[D]ocuments containing information about trade secrets,

third-party confidential material, or nonpublic financial information provides good

cause for sealing of records because such documents contain highly confidential

information.” State v Wright, No. 0310003717, 2009 De. Super. LEXIS 384, at

*2-3 (Super. Ct. Sept. 28, 2009).

      4.     Public disclosure of the information contained in the Motion to

Compel would result in harm to both parties and as such, good cause has been

presented in support of filing the Motion to Compel under seal.

      5.     Accordingly, Finjan respectfully submits that good cause exists for

sealing of the Motion to Compel. Finjan expects to file a redacted public version

within thirty (30) days in accordance with Superior Court Rule 5(g)(2). For the

foregoing reasons, Finjan respectfully requests that the Court grant it leave to file

its Motion to Compel under seal pursuant to Superior Court Rule 5(g)(2).




                                           2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 368 of 624 PageID #: 374




                                       Respectfully submitted,

                                          /s/ Karen S. Keller
                                          Karen E. Keller (No. 4489)
                                          SHAW KELLER LLP
                                          I.M. Pei Building
 OF COUNSEL:                              1105 North Market Street, 12th Floor
 Bijal V. Vakil                           Wilmington, DE 19801
 WHITE & CASE LLP                         (302) 298-0700
 3000 El Camino Real                      kkeller@shawkeller.com
 2 Palo Alto Square, Suite 900            Attorneys for Plaintiff
 Palo Alto, CA 94306
 (650) 213-0300

 Dated: August 22, 2019




                                      3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 369 of 624 PageID #: 375
                                                EFiled: Aug 22 2019 10:18AM EDT
                                                Transaction ID 64120707
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                                       )
FINJAN, INC.,                          )
                                       )
                Plaintiff,
                                       )
                                       )      C.A. No. N18C-04-006 WCC CCLD
      v.
                                       )
TRUSTWAVE HOLDINGS, INC.,              )
                                       )
                Defendant.             )
                                       )

        NOTICE OF PLAINTIFF’S MOTION FOR LEAVE TO FILE
                MOTION TO COMPEL UNDER SEAL

      PLEASE TAKE NOTICE of Plaintiff Finjan, Inc.’s Motion for Leave to File

Motion to Compel Under Seal, which will be heard at the Court’s convenience.


                                       Respectfully submitted,

                                           /s/ Karen S. Keller
                                           Karen E. Keller (No. 4489)
                                           SHAW KELLER LLP
                                           I.M. Pei Building
 OF COUNSEL:                               1105 North Market Street, 12th Floor
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 Palo Alto, CA 94306
 (650) 213-0300

 Dated: August 22, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 370 of 624 PageID #: 376
                                                EFiled: Aug 22 2019 10:18AM EDT
                                                Transaction ID 64120707
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                                        )
FINJAN, INC.,                           )
                                        )
                Plaintiff,
                                        )
                                        )    C.A. No. N18C-04-006 WCC CCLD
      v.
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        )
                Defendant.              )
                                        )

 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
          TO FILE MOTION TO COMPEL UNDER SEAL

      At Wilmington this ____ day of ______, 2019, having considered Plaintiff

Finjan, Inc.’s Motion for Leave to File Motion to Compel Under Seal;

      IT IS HEREBY ORDERED that the motion is GRANTED.




                               _____________________________
                               The Honorable William C. Carpenter
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 371 of 624 PageID #: 377
                                                EFiled: Aug 22 2019 10:18AM EDT
                                                Transaction ID 64120707
                                                Case No. N18C-04-006 WCC CCLD
                        CERTIFICATE OF SERVICE

       I, Karen E. Keller, hereby certify that on August 22, 2019, this document

 was served on the persons listed below in the manner indicated:

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 Alexandra M. Cumings                     BAKER & HOSTETLER LLP
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 mcaccamo@bakerlaw.com


                                          /s/ Karen E. Keller
                                          Karen E. Keller (No. 4489)
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                                          (302) 298-0700
                                          kkeller@shawkeller.com
                                          Attorneys for Plaintiff
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 372 of 624 PageID #: 378
                        So Ordered                 EFiled: Aug 23 2019 01:50PM EDT
             /s/ Carpenter, William C Aug 23, 2019 Transaction ID 64126786
                                                   Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                                         )
FINJAN, INC.,                            )
                                         )
                 Plaintiff,
                                         )
                                         )   C.A. No. N18C-04-006 WCC CCLD
       v.
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         )
                 Defendant.              )
                                         )

 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
          TO FILE MOTION TO COMPEL UNDER SEAL

       At Wilmington this ____ day of ______, 2019, having considered Plaintiff

Finjan, Inc.’s Motion for Leave to File Motion to Compel Under Seal;

       IT IS HEREBY ORDERED that the motion is GRANTED.




                               _____________________________
                               The Honorable William C. Carpenter
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 373 of 624 PageID #: 379
                                                EFiled: Aug 26 2019 10:46AM EDT
                                                Transaction ID 64129478
                                                Case No. N18C-04-006 WCC CCLD
                                                                   Karen E. Keller
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                                                                   Wilmington, DE 19801
                                                                   (302) 298-0702
                                                                   kkeller@shawkeller.com



                                August 26, 2019

BY CM/ECF & HAND DELIVERY
The Honorable William C. Carpenter
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801
(302) 255-0800

            Re:   Finjan, Inc. v. Trustwave Holdings, Inc.,
                  C.A. No. N18C-04-006 WCC CCLD

Dear Judge Carpenter:

            Enclosed are courtesy copies of Plaintiffs’ Motion to Compel and

supporting papers filed under seal on August 23, 2019.



                                         Respectfully submitted,

                                         /s/ Karen E. Keller

                                         Karen E. Keller (No. 4489)

Enclosure
cc: Clerk of the Court (via Hand Delivery)
      All Counsel of Record (via CM/ECF)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 374 of 624 PageID #: 380
                                                EFiled: Sep 03 2019 11:49AM EDT
                                                Transaction ID 64151452
                                                Case No. N18C-04-006 WCC CCLD
                                                                    Karen E. Keller
                                                                    I.M. Pei Building
                                                                    1105 North Market Street, 12th Floor
                                                                    Wilmington, DE 19801
                                                                    (302) 298-0702
                                                                    kkeller@shawkeller.com



                               September 3, 2019

BY CM/ECF & HAND DELIVERY
The Honorable William C. Carpenter
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801
(302) 255-0800

            Re:   Finjan, Inc. v. Trustwave Holdings, Inc.,
                  C.A. No. N18C-04-006 WCC CCLD

Dear Judge Carpenter:

            Enclosed are courtesy copies of Plaintiffs’ Corrected Motion to

Compel and supporting papers filed under seal on August 30, 2019.



                                        Respectfully submitted,

                                        /s/ Karen E. Keller

                                        Karen E. Keller (No. 4489)

Enclosure
cc: Clerk of the Court (via Hand Delivery)
      All Counsel of Record (via CM/ECF)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 375 of 624 PageID #: 381
                                                EFiled: Sep 13 2019 12:24PM EDT
                                                Transaction ID 64202131
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                            )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     ) C.A. No. 18C-04-006-WCC-CCLD
                                          )
 TRUSTWAVE HOLDINGS, INC.,                )
                                          )
               Defendant.                 )

                        REVISED NOTICE OF MOTION

        PLEASE TAKE NOTICE that Finjan, Inc.’s Motion to Compel Discovery

(D.I. 64) will be presented on October 16, 2019 at 9:15 a.m.

                                          Respectfully submitted,

                                          /s/ David M. Fry
                                          Karen E. Keller (No. 4489)
                                          David M. Fry (No. 5486)
                                          SHAW KELLER LLP
                                          I.M. Pei Building
 OF COUNSEL:                              1105 North Market Street, 12th Floor
 Bijal Vakil                              Wilmington, DE 19801
 WHITE & CASE LLP                         (302) 298-0700
 3000 El Camino Real                      kkeller@shawkeller.com
 2 Palo Alto Square, Suite 900            dfry@shawkeller.com
 Palo Alto, CA 94306                      Attorneys for Plaintiff
 (650) 213-0300

 Dated: September 13, 2019
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 376 of 624 PageID #: 382
                                                EFiled: Sep 13 2019 03:02PM EDT
                                                Transaction ID 64203683
                                                Case No. N18C-04-006 WCC CCLD
                        CERTIFICATE OF SERVICE

       I, David M. Fry, hereby certify that on September 13, 2019, this document

 was served on the persons listed below in the manner indicated:

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 Wilmington, DE 19899                     jbrandyberry@bakerlaw.com
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 Matthew J. Caccamo
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 Suite 4500
 Chicago, IL 60606
 (312) 416-6200
 jletchinger@bakerlaw.com
 mcaccamo@bakerlaw.com
                                          /s/ David M. Fry
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                                          David M. Fry (No. 5486)
                                          SHAW KELLER LLP
                                          I.M. Pei Building
                                          1105 North Market Street, 12th Floor
                                          Wilmington, DE 19801
                                          (302) 298-0700
                                          kkeller@shawkeller.com
                                          dfry@shawkeller.com
                                          Attorneys for Plaintiff
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 377 of 624 PageID #: 383
                                                EFiled: Sep 30 2019 04:28PM EDT
                                                Transaction ID 64256220
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                              ) Public Version - Filed: September 30, 2019
                                            )
               Plaintiff,                   )
   v.                                       ) C.A. No. 18C-04-006-WCC-CCLD
                                            )
 TRUSTWAVE HOLDINGS, INC.,                  )
         Defendant.                         )

             CORRECTED MOTION TO COMPEL DISCOVERY
        Plaintiff Finjan, Inc. (“Finjan”) respectfully moves to compel discovery

against Defendant Trustwave Holdings, Inc. (“Trustwave”) pursuant to Superior

Court Civil Rule 37(a) with regards to Finjan’s First Set of Interrogatories Nos. 2-

38 and 41-42 and First Set of Requests for Production Nos. 2-35 and 38-41.

                                INTRODUCTION
        This case arises out of a contract dispute between Trustwave and Finjan

following Trustwave’s acquisition by Singapore Telecommunications Limited

(“Singtel”) in August 2015. Prior to Trustwave’s acquisition, Trustwave and Finjan

entered into a licensing agreement (“Agreement”) in March 2012, with Finjan

granting Trustwave a limited, nonexclusive license to a series of patents. See Compl.

at 3-4. This Agreement included a provision concerning acquisition of Trustwave

in Section 2.5, stating that in the event of Trustwave’s acquisition, the agreement

will “[a]pply to the Acquirer, and its respective Affiliates that are licensed hereunder,

and the royalties that apply under Section 3 to Permitted Transferees shall apply . . .

to all Licensed Products and Services sold and licensed by the Acquirer and its

                                           1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 378 of 624 PageID #: 384



Affiliates licensed hereunder that are not attributable to the Existing Business.”

Agreement at § 2.5.

      Following Trustwave’s acquisition and its withdrawal from negotiations with

Finjan over royalties under Section 2.5, Finjan commenced an audit pursuant to

Section 3.4 of the Agreement to determine whether post-acquisition activity

triggered the royalty clause. See Compl. at 5-6. An independent auditor ultimately

determined that Trustwave owed additional fees under Section 2.5, which Trustwave

refused to pay. Id. at 6-7. Ultimately, Finjan brought three breach of contract claims

for refusal to pay royalties under Section 2.5 (Count One), noncompliance with the

audit (Count Two), and for the cost of the audit (Count Three).

      This Court denied Trustwave’s Motion to Dismiss, ultimately holding that

“Finjan’s suit for breach of contract may proceed” to “determine whether or not

Singtel is actually using the patent technology that would trigger the royalty

payments under the Agreement.” February 11, 2019 Letter Opinion (“Order”) at 2.

In an attempt to gain relevant information, Finjan served a First Set of Interrogatories

(“Interrogatories”) and First Set of Requests for Production (“Requests for

Production”) on March 12, 2019. Unfortunately, Trustwave did not produce any

information. On May 29, 2019, Trustwave filed a motion for protective order

seeking to limit the scope of Finjan’s discovery. See generally, Mot. Protective

Order. Trustwave withdrew its motion in part because of Finjan’s substitution of


                                           2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 379 of 624 PageID #: 385



counsel. Since that withdrawal, Finjan has been diligently working to resolve and/or

narrow any outstanding discovery issues. To assist in that effort, on June 21, 2019,

Finjan provided Trustwave with a detailed letter highlighting Finjan’s positions on

discovery. Since that time, there have been a couple of phone calls but no firm

agreement to produce any information from Trustwave. Ultimately, Finjan brings

this motion seeking highly relevant documents that will help determine whether

Trustwave and Singtel have engaged in behavior triggering a royalty payment to

Finjan. This information is pertinent and tailored to the scope that this Court set out

in its Order, and, as such, this Court should compel discovery.

                                ARGUMENT
      A party “may obtain discovery regarding any matter, not privileged, which is

relevant to the subject matter involved in the pending action.” Super. Ct. Civ. R.

26(b)(1). “[R]elevancy must be viewed liberally and if there is any possibility that

the discovery will lead to relevant evidence it should be permitted.” Powell v.

AmGUARD Ins. Co., 2019 Del. Super. LEXIS 235, at *8 (Del. Super. May 14, 2019)

(emphasis in original); Incyte Corp. v. Flexus Biosciences, Inc., 2017 Del. Super.

LEXIS 617, at *4 (Del. Super. Oct. 27, 2017). “The scope of discovery has been

consistently described by Delaware courts as ‘broad and far reaching.’” Powell,

2019 Del. Super. LEXIS 235, at *8.

      “Because of the breadth of discoverable materials, objections to discovery



                                          3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 380 of 624 PageID #: 386



requests, in general, will not be allowed unless there have been clear abuses of the

process which would result in great and needless expense and time consumption.”

Grace Bros. v. Siena Hldgs, Inc., 2009 Del. Ch. LEXIS 240, at *2 (Del. Ch. June 2,

2009) (citation omitted). Consistent with that policy, “[t]he burden is on the

objecting party to show why the requested information is improperly requested.”

JPMorgan Chase & Co. v. Am. Century Cos., 2013 Del. Ch. LEXIS 101, at *5 (Del.

Ch. Apr. 18, 2013) (citation omitted). Trustwave cannot meet its burden to bar

discovery.

      Finjan’s discovery requests are relevant and within the scope of the Court’s

Order because the requested documents will shed light on whether Singtel uses the

licensed technology outside of Trustwave’s “Existing Business.” Trustwave has the

mistaken impression that the Agreement between Finjan and Trustwave does not

apply to any cybersecurity products and sales by Singtel or Trustwave unless related

to both entities. As Trustwave has already acknowledged in its Answer, Section 2.5

of the Agreement explicitly states that “[i]n the event of an Acquisition of Licensee

. . . royalties that apply under Section 3 to Permitted Transferees shall apply . . . to

all Licensed Products and Services sold and licensed by the Acquirer and its

Affiliates licensed hereunder that are not attributable to the Existing Business.”

Mar. 19, 2018 Trustwave Answer (emphasis added). “Existing Business” refers to




                                           4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 381 of 624 PageID #: 387



such licensed products/services offered and distributed by the Licensee and

Affiliates at time of transfer. Agreement § 2.4.

            Finjan’s Requests Regarding Trustwave’s Cybersecurity Products
            are Relevant and within the Scope of Discovery Set by the Court’s
            Order
      This Court should compel discovery on Interrogatories Nos. 2-9, 19, 21-24

and Requests for Production Nos. 2-9, 19, 21-24, 28-35 because they are relevant to

determine whether Singtel uses the Licensed Patents outside of Trustwave’s

“existing business.” The Court’s Order provides the following:

      The parties appear to agree that if Singtel, as the acquiring company, is
      now using the patent information in its business, additional royalties are
      required. They also reluctantly agree that if Singtel is not using the
      patent information and it is only being used for Trustwave’s existing
      business, no additional royalties are required.
Order at 2 (emphasis added). Trustwave incorrectly concludes that information and

documents relating to Trustwave’s cybersecurity products are irrelevant to the issue

of whether Singtel is using the Licensed Patents, which would trigger royalty

payments. As confirmed by the Court, whether royalty payments are required

depends on Trustwave’s “existing business.” Finjan requires discovery relating to

Trustwave’s cybersecurity products prior to the time of the acquisition to determine

whether Singtel is using the patents only for Trustwave’s existing business, post-

acquisition. See Agreement § 2.4.

      Finjan’s requests are narrowly tailored limiting the time frame of its discovery

requests to “products, services, and/or subscriptions . . . manufactured, used, sold,


                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 382 of 624 PageID #: 388



and/or offered by Trustwave since January 1, 2013.”           Plaintiff’s First Set of

Interrogatories at 2.     Information and documents relating to Trustwave’s

cybersecurity products prior to the acquisition date are relevant for determining

Trustwave’s existing business at the time of the transfer and whether any post-

acquisition activities require a royalty payment. As such, this Court should compel

discovery on these requests.

            Finjan’s Requests Regarding Singtel Cybersecurity Products,
            including the Trustwave Integrated Cybersecurity Products, are
            Relevant and within the Scope of Discovery Set by the Court’s
            Order
      This Court should compel discovery on Finjan’s Interrogatories Nos. 10-18,

20, 25-38, and 42 and Requests for Production Nos. 10-18, 20, 25-28, 31-35, and 41

because they are relevant to determine whether Singtel uses the Licensed Patents.

The Court observed that “if Singtel, as the acquiring company, is now using the

patent information in its business, additional royalties are required.” Order at 2

(emphasis added). Consistent with this observation, Finjan’s request is relevant and

appropriately tailored. Finjan seeks discovery on Singtel’s cybersecurity products

since January 1, 2013 to determine whether Singtel uses the patented technology

beyond Trustwave’s existing business (in whole or in part).           The Agreement

provides for additional royalties if Singtel uses the licensed patents in its business.

Because Singtel has a global presence, Finjan’s request for information about




                                          6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 383 of 624 PageID #: 389



Singtel’s product offerings worldwide is relevant to determine whether Singtel uses

the patented technology.

      Additionally, Singtel’s status as a non-party does not preclude Finjan from

seeking discovery since the information and documents that Finjan seeks are within

the custody and control of Trustwave within the meaning of Rule 34. “Delaware

Superior Court Civil Rule 34 requires the production of all relevant, non-privileged

documents ‘which are in the possession, custody or control of the party upon which

the request is served.’” Nat’l Union Fire Ins. Co. v. Rhone-Poulenc Basis Chems.

Co., 1992 Del. Super. LEXIS 591, at *9 (Del. Super. Aug. 7, 1992). “Under Rule

34, the requirement that documents be under the control of a party has been

construed ‘very broadly.’ The inquiry under the control test is not whether the party

actually possesses the documents but whether it has ‘the legal right to obtain the

documents requested on demand.’” Id. (citations omitted).

      In determining “custody or control,” courts look at the “nature of the

relationship” between the litigating party and the nonparty with possession of the

information/documents.1 Three factors to consider are (1) corporate structures; (2)

connection to transaction; and (3) benefit of award. Afros S.P.A. v. Krauss-Maffei

Corp., 113 F.R.D. 127, 130-31 (D. Del. Nov. 24, 1986); see also Nat’l Union Fire



1
 The Delaware Superior Court rule tracks Federal Rule of Civil Procedure 34(a).
See, e.g., Nat’l Union Fire Ins. Co. v. Rhone-Poulenc Basic Chems. Co., 1992 Del.
Super. LEXIS 591, at *9 (Del. Super. Aug. 7, 1992) (citing federal law).
                                         7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 384 of 624 PageID #: 390
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 385 of 624 PageID #: 391



The issue is not limited to products that Trustwave sold to Singtel, but rather to

whether Trustwave’s products offered prior to the acquisition differ from the

products offered by Singtel post-acquisition, which integrates its products and

services with Trustwave’s cyber security assets. If the products sold prior to

acquisition are different than those sold post-acquisition, then sections 2.4 and 2.5

are triggered and Finjan is entitled to additional royalties. As such, Finjan’s requests

regarding Singtel’s cybersecurity products are relevant and this Court should grant

this motion.

             Finjan’s Requests Relating to Counts Two and Three are Relevant
             and within the Scope of Discovery Set by the Court’s Order
       This Court should compel discovery on Finjan’s Interrogatory No. 41 and

Requests for Productions Nos. 38-40 because these requests are relevant to

determining whether Singtel uses the patented technology. The Court authorized

discovery “to determine whether or not Singtel is actually using the patented

technology that would trigger royalty payments under the Agreement.” Order at 2.

       Finjan’s discovery requests are relevant because they relate to documents and

communications requested by KPMG in the course of the audit pursuant to Section

3.4.   KPMG attempted to perform its audit and was denied information by

Trustwave. KPMG’s requests are within the ordinary and customary practice of the

industry, which requires sufficient relevant data for an auditor to form a reasonable

basis for his/her conclusions. See, e.g., AICPA Code of Professional Conduct §


                                           9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 386 of 624 PageID #: 392



1.300.001(d). Further, these requests are relevant to determine which products

trigger the royalty provision, and address the central dispute of whether Singtel uses

the patented technology. See National Union Fire Ins. Co. v. Stauffer Chemical Co.,

1990 Del. Super. LEXIS 402, at *3 (Del. Super. Nov. 9, 1990) (“[The] requirement

of relevancy should be construed liberally and with common sense, rather than in

terms of narrow legalisms.”) (citations omitted).       Therefore, because Finjan’s

requests seek relevant materials, this Court should compel discovery on these

requests.

                                    CONCLUSION
      In view of the recent trial settling and the Court’s order to produce information

to discover if royalties are due, this Court should grant Finjan’s motion to compel

Trustwave to comply with the narrowly, tailored discovery requests.

                                            /s/ Karen S. Keller
                                            Karen E. Keller (No. 4489)
                                            SHAW KELLER LLP
 OF COUNSEL:                                I.M. Pei Building
 Bijal V. Vakil                             1105 North Market Street, 12th Floor
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 3000 El Camino Real                        (302) 298-0700
 2 Palo Alto Square, Suite 900              kkeller@shawkeller.com
 Palo Alto, CA 94306                        Attorneys for Plaintiff
 (650) 213-0300

 Dated: August 30, 2019




                                         10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 387 of 624 PageID #: 393



                        CERTIFICATE OF SERVICE

       I, Karen E. Keller, hereby certify that on September 30, 2019, this

 document was served on the persons listed below in the manner indicated:

 BY FILE & SERVE XPRESS
  AND EMAIL
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 388 of 624 PageID #: 394
                                                EFiled: Oct 02 2019 01:09PM EDT
                                                Transaction ID 64265318
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          )
      v.                                  ) C.A. No. N18C-04-006 WCC CCLD
                                          )
TRUSTWAVE HOLDINGS, INC.,                 )
                                          )
                   Defendant.             )


                    DEFENDANT’S MOTION FOR LEAVE
                      TO FILE MOTION UNDER SEAL

             Defendant Trustwave Holdings, Inc. (“Defendant”) respectfully

moves pursuant to Superior Court Rule 5(g) for leave to file its Motion for Leave

to File Counterclaim and certain exhibits thereto (the “Motion”) under seal. The

bases for Defendant’s motion are as follows:

             1.    Superior Court Rule 5(g)(2) states, in relevant part, “Court

Records or portions thereof shall not be placed under seal unless and except to the

extent that the person seeking the sealing thereof shall have first obtained, for good

cause shown, an order of this Court specifying those Court Records, categories of

Court Records, or portions thereof which shall be placed under seal[.]”

             2.    Defendant respectfully submits that good cause exists for the

submission of the Motion under seal. Defendant’s Motion contains references to

non-public and confidential business and financial information. There will be no
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 389 of 624 PageID #: 395



harm to the public because the information to be redacted from public view will be

minimal.

            3.     Accordingly, Defendant respectfully submits that good cause

exists for the sealing of the Motion. Defendant intends to file a redacted public

version of the Motion within thirty (30) days in accordance with Superior Court

Civil Rule 5(g)(2). For the foregoing reasons, Defendant respectfully requests that

the Court grant it leave to file its Motion under seal pursuant to Superior Court

Rule 5(g)(2).



                                         MORRIS, NICHOLS, ARSHT &
                                         TUNNELL LLP

OF COUNSEL:
John S. Letchinger                       /s/ Alexandra M. Cumings
BAKER& HOSTETLER LLP                     Jack B. Blumenfeld (#1014)
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Chicago, IL 60606-1901                   1201 North Market Street
(312) 416-6200                           P.O. Box 1347
                                         Wilmington, DE 19899-1347
Jared A. Brandyberry                     (302) 658-9200
BAKER& HOSTETLER LLP                     Attorneys for Defendant
1801 California Street, Suite 4400       Trustwave Holdings, Inc.
Denver, CO 80202
(303) 764-4072

October 2, 2019




                                        2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 390 of 624 PageID #: 396



                         CERTIFICATE OF SERVICE

            I hereby certify that on October 2, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                      /s/ Alexandra M. Cumings
                                      Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 391 of 624 PageID #: 397
                                                EFiled: Oct 02 2019 01:09PM EDT
                                                Transaction ID 64265318
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                ) C.A. No. N18C-04-006 WCC CCLD
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        )
                   Defendant.           )


           NOTICE OF MOTION FOR DEFENDANT’S MOTION FOR
                 LEAVE TO FILE MOTION UNDER SEAL

             PLEASE TAKE NOTICE that Defendant’s Motion for Leave to File

Motion Under Seal will be presented at the convenience of the Court.

                                         MORRIS, NICHOLS, ARSHT &
                                         TUNNELL LLP


OF COUNSEL:                              /s/ Alexandra M. Cumings
John S. Letchinger                       Jack B. Blumenfeld (#1014)
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 392 of 624 PageID #: 398
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                                                Transaction ID 64265318
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                            )
                                        )
                  Plaintiff,            )
                                        )
      v.                                ) C.A. No. N18C-04-006 WCC CCLD
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        )
                  Defendant.            )


                               [PROPOSED] ORDER

             Defendant Trustwave Holdings, Inc., having moved for an order

permitting the filing of its Motion for Leave to File Counterclaim (“Motion”) in

this action under seal, and the Court having considered such motion and good

cause having been shown,

             IT IS HEREBY ORDERED this ___ day of __________, 2019, that:

             1.   Defendant may file its Motion under seal;

             2.   Defendant will file a redacted version of the Complaint within

30 days in accordance with Superior Court Rule 5(g)(2); and

             3.   All filings made pursuant to this Order shall contain the

following language in the footer of each page: “THIS DOCUMENT IS

CONFIDENTIAL AND FILED UNDER SEAL. REVIEW AND ACCESS TO

THIS DOCUMENT IS PROHIBITED EXCEPT BY PRIOR COURT ORDER.”

                                           ____________________________
                                                       Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 393 of 624 PageID #: 399
                                                EFiled: Oct 02 2019 06:00PM EDT
                                                Transaction ID 64267849
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                              )
                                            )
                Plaintiff,                  )
                                            )
   v.                                       ) C.A. No. 18C-04-006-WCC-CCLD
                                            )
 TRUSTWAVE HOLDINGS, INC.,                  )
                                            )
                Defendant.                  )


     STIPULATION AND [PROPOSED] ORDER GOVERNING THE
   DESIGNATION AND HANDLING OF CONFIDENTIAL MATERIALS

        To expedite the flow of discovery material, to facilitate the prompt

resolution of disputes over confidentiality of discovery materials, to adequately

protect information the parties are entitled to keep confidential, to ensure that only

materials the parties are entitled to keep confidential are subject to such treatment,

and to ensure that the parties are permitted reasonably necessary uses of such

materials in preparation for and in the conduct of trial, it is hereby ORDERED

THAT:

        1.    DEFINITIONS. The terms defined in this Section 1 and

parenthetically elsewhere shall, throughout this Order, have the meanings

provided. Defined terms may be used in the singular or plural.

              1.1    The “Action” means the above-captioned litigation.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 394 of 624 PageID #: 400




             1.2   “Party” means a party to the Action, including all of its officers,

directors, employees, consultants, retained experts, and outside counsel (and their

support staff).

             1.3   “Material” means all information, documents, testimony, and

things produced, served or otherwise provided in this action by any Party or by any

non-party.

             1.4   “Designated Material” means any Material that is designated

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”, and/or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” under this Order.

Designated Material shall not include advertising or other materials that have been

actually published or publicly disseminated.

             1.5    “Designating Party” means a Party or non-party that designates

any Material in productions, in disclosures, or in responses to discovery as

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”, and/or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.”

             1.6   “Producing Party” means any Party or non-party that discloses

or produces Material in this Action.

             1.7   “Receiving Party” means any Party receiving production or

disclosure of Material in this Action.




                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 395 of 624 PageID #: 401




             1.8    “Confidential Material” means information, documents, and

things the Designating Party believes in good faith constitutes trade secret or other

confidential research, development, or commercial information that is maintained

in confidence by the Designating Party and not generally known to others.

             1.9    “Confidential – Outside Counsel Only Material” means

Confidential Material that the Designating Party believes in good faith has

significant competitive value such that unrestricted disclosure to others would

create a substantial risk of serious injury.

             1.10 “Restricted Confidential – Source Code Material” means

extremely sensitive “Confidential Material” representing “Source Code,” (defined

below), disclosure of which to another Party or Non-Party would create a

substantial risk of serious harm that could not be avoided by less restrictive means.

             1.11 “Source Code” means computer instructions and data

definitions expressed in a form suitable for input to an assembler or compiler and

associated comments and revision histories to the extent such comments and

revision histories are contained within the source code itself.

             1.12 “Counsel of Record” means (i) outside counsel who has entered

an appearance as counsel for a Party and has not subsequently withdrawn, and (ii)

partners, principals, counsel, associates, employees and contract attorneys of such

outside counsel to whom it is reasonably necessary to disclose the information for


                                               3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 396 of 624 PageID #: 402




this Action, including supporting personnel employed by the attorneys, such as

paralegals, legal translators, legal secretaries, legal clerks and shorthand reporters.

             1.13 “Outside Consultant” means any person with specialized

knowledge or experience in a matter pertinent to this Action who has been retained

by Counsel of Record to serve as an expert witness, or as a consultant in this

Action, and who is not a current employee of a Party or of a competitor of a Party

and who, at the time of retention, is not anticipated to become an employee of a

Party or of a competitor of a Party.

             1.14 “Professional Vendors” means any persons or entities that

provide litigation support services and their employees and subcontractors who

have been retained or directed by Counsel of Record in this action, and who are not

current employees of a Party or of a competitor of a Party and who, at the time of

retention, are not anticipated to become employees of a Party or of a competitor of

a Party. Litigation support services include but are not limited to: photocopying;

videotaping; translating; designing and preparing exhibits, graphics, or

demonstrations; organizing, storing, retrieving data in any form or medium; etc.

Professional Vendors include ESI vendors and professional jury or trial consultants

retained in connection with this litigation. Professional Vendors do not include

consultants who fall within the definition of Outside Consultant.




                                           4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 397 of 624 PageID #: 403




             1.15 “Termination” means the dismissal of the Action (whether

through settlement or otherwise), or the entry of final judgment and expiration of

all periods to appeal or to seek judicial review of such judgment or dismissal.

             1.16 “Affiliate” shall mean, with respect to any Party, any other

entity controlling, controlled by, or under common control with that Party. As

used in this definition, the term “control” means the ownership of more than fifty

percent (50%) of the ownership or equity interests of such entity.

      2.     SCOPE

             2.1   The protections conferred by this Order cover not only

Designated Material (as defined above), but also any information copied or

extracted therefrom, as well as all copies, excerpts, summaries, or compilations

thereof. Nothing herein shall alter or change in any way the discovery provisions

of the Delaware Superior Court Civil Rules of Procedure, or the Court’s deadlines

provided in any scheduling order or case management order issued by the Court.

Identification of any individual pursuant to this Order does not make that

individual available for deposition, or any other form of discovery outside of the

restrictions and procedures of the Delaware Superior Court Civil Rules of

Procedure, and the Court’s deadlines provided in any scheduling order or case

management order issued by the Court.




                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 398 of 624 PageID #: 404




             2.2    Nothing in this Order shall prevent or restrict a Producing

Party’s own disclosure or use of its own Designated Material for any purpose, and

nothing in this Order shall preclude any Producing Party from showing its

Designated Material to an individual who prepared the Designated Material.

             2.3    Nothing in this Order shall be construed to prejudice any

Party’s right to use any Designated Material in court or in any court filing with the

consent of the Producing Party or by order of the Court.

      3.     MATERIAL DESIGNATED “CONFIDENTIAL.” Any

Designating Party may designate as “CONFIDENTIAL” any Material that the

party believes in good faith constitutes Confidential Material. Unless otherwise

ordered by the Court or permitted in writing by the Designating Party, a Receiving

Party may disclose any Material designated “CONFIDENTIAL” only to:

             (a)    Persons who appear on the face of the Designated Material as

an author, addressee, or recipient thereof;

             (b)    Up to three (3) in-house employees of a Receiving Party

(including a parent or affiliate of a Receiving Party), and necessary secretarial

staff, who are responsible for providing oversight of or assistance in the litigation,

provided that any such employee or staff has signed the “Acknowledgement and

Agreement To Be Bound By Order” attached hereto as Exhibit A, and provided an

executed copy to the Producing Party prior to receiving any Designated Material;


                                           6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 399 of 624 PageID #: 405




             (c)    Counsel of Record for the Designating Party or the Receiving

Party;

             (d)    Outside Consultants of the Receiving Party (including

necessary employees of the Outside Consultants) provided that disclosure is only

to the extent necessary to perform such work; and provided that: (a) such expert or

consultant has agreed to be bound by the provisions of this Order by signing a copy

of the “Acknowledgement and Agreement To Be Bound By Order Governing the

Designation and Handling of Confidential Materials” attached hereto as Exhibit A,

and the “Certification Of Consultant” attached hereto as Exhibit B, with the

provisions of Section 6 being complied with prior to receiving any Designated

Material; (b) such expert or consultant is not a current officer, director, or

employee of a Party or of a competitor of a Party, nor anticipated at the time of

retention to become an officer, director or employee of a Party or of a competitor

of a Party; and (c) no unresolved objections to such disclosure exist after proper

notice has been given to all Parties as set forth in Section 6 below;

             (e)    Witnesses at deposition and/or trial consistent with the

provisions of Section 7 below, provided that such witnesses may not retain copies

of Designated Material unless permitted by other provisions of this Order;

             (f)    The Court and its personnel, any technical advisor that the

Court may appoint, and any Jury impaneled in the Action;


                                           7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 400 of 624 PageID #: 406




             (g)    Any designated arbitrator or mediator who is assigned to hear

this matter, or who has been selected by the Parties, and his or her staff;

             (h)    Court reporters and videographers employed in connection with

this case;

             (i)    Professional Vendors to whom disclosure is reasonably

necessary for this Action;

             (j)    Jury consultants, trial consultants, or mock jurors selected by

counsel in preparation for trial, provided they have signed the “Acknowledgement

and Agreement To Be Bound By Order Governing the Designation and Handling

of Confidential Materials” attached hereto as Exhibit A; and

             (k)    Any other person authorized by written agreement of the

Producing Party and the Receiving Party or by order of the Court.

      4.     MATERIAL DESIGNATED “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY.” Any Designating Party may designate as

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY” any Material that the party

believes in good faith constitutes Confidential – Outside Counsel Only Material.

Unless otherwise ordered by the Court or permitted in writing by the Designating

Party, Material designated as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”

shall be treated as Material designated as “CONFIDENTIAL” with the further




                                           8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 401 of 624 PageID #: 407




restriction that it shall not be disclosed to any person identified in Section 3(b)

above.

      Notwithstanding the foregoing, each Receiving Party predesignates its

General Counsel, listed below, as well as his or her secretarial and clerical

employees, to review damages discovery responses, damages disclosures and

damages expert reports (together, “Damages Materials”), to be used for the sole

purpose of more meaningful participation in settlement discussions, provided that

the designated employee has signed the “Acknowledgement and Agreement To Be

Bound By Order Governing the Designation and Handling of Confidential

Materials” attached hereto as Exhibit A, and provided an executed copy to the

Producing Party prior to receiving any such Damages Materials.”

      For Finjan, Inc.
      Julie Mar-Spinola

      For Trustwave Holdings, Inc.
      Joel Smith

      5.     MATERIAL DESIGNATED “RESTRICTED CONFIDENTIAL

– SOURCE CODE.” Any Designating Party may designate as “RESTRICTED

CONFIDENTIAL – SOURCE CODE” any Material that the party believes in good

faith constitutes Restricted Confidential – Source Code Material. Unless otherwise

ordered by the Court or permitted in writing by the Designating Party, Material

designated as “RESTRICTED CONFIDENTIAL – SOURCE CODE” shall be


                                           9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 402 of 624 PageID #: 408




treated as Material designated as “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” with the further restriction that (i) it shall not be disclosed to any person

identified in Sections 3(b), 3(g), 3(i) or 3(j) above; and (ii) such Material is subject

to the provisions of Section 8 of this Order. Inclusion of this designation in this

order by no means constitutes an agreement that the inspection or production of

source code material is necessary or justified in this Action and by no means

waives any objection to another Parties’ request for production or request to

inspect such source code material.

      6.     DISCLOSURE TO OUTSIDE CONSULTANTS. No disclosure of

Designated Material to Outside Consultants shall occur until the notice and

resolution of objection procedures of this Section are followed.

             6.1    Notice. If a Receiving Party wishes to disclose another Party’s

Designated Material to any Outside Consultant, such Receiving Party must provide

notice to counsel for the Designating Party, which notice shall include: (a) the

individual’s name and business title; (b) business address; (c) business or

profession; (d) the individual’s CV; (e) any previous or current relationship

(personal or professional) with any of the Parties or any entity that the either

Receiving Party or the Outside Consultant has reason to believe is an Affiliate of

any of the Parties; (f) a list of other cases in which the individual has testified (at

trial or by deposition) within the last four years; (g) a list of all companies with


                                           10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 403 of 624 PageID #: 409




which the individual has consulted or by which the individual has been employed

within the last four years; and (h) a signed copy of the “Acknowledgement and

Agreement To Be Bound By Order Governing the Designation and Handling of

Confidential Materials” attached as Exhibit A, and the “Certification Of

Consultant” attached hereto as Exhibit B. Notice of information under (a)-(h)

above shall in no way waive any limitation on discovery imposed or objection

provided by Delaware Superior Court Civil Rule of Procedure 26(b)(3)-(6).

             6.2   Objections. The Designating Party shall have five (5) business

days from receipt of the notice specified in Section 6.1 to object in writing to such

disclosure. Any such objection must set forth in detail the grounds on which it is

based. After the expiration of the 5-day period, if no objection has been asserted,

then Designated Material may be disclosed to the Outside Consultant pursuant to

the terms of this Order. However, if the Designating Party objects within the 5-day

period, the Receiving Party may not disclose Designated Material to the challenged

individual absent resolution of the dispute or Court Order. In the event the

Designating Party makes a timely objection, the parties shall promptly meet and

confer to try to resolve the matter by agreement. If the parties cannot reach an

agreement, the Objecting Party may, within three (3) business days following the

meet and confer, file a motion for a protective order preventing disclosure of

Designated Material to the Outside Consultant, and notice the motion to be heard


                                         11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 404 of 624 PageID #: 410




on the Court’s next routine motions calendar at least 10 business days following

the filing the motion. If the Objecting Party files a timely motion for a protective

order, Designated Material shall not be disclosed to the challenged individual until

and unless a final ruling allowing such disclosure is made by this Court, or by the

consent of the Objecting Party, whichever occurs first. If the Objecting Party fails

to file a motion for a protective order within the prescribed period the Designated

Material may thereafter be disclosed to such individual.

         7.   USE AT DEPOSITION

              7.1   A present director, officer, agent, employee, designated Rule

30(b)(6) witness, and/or Outside Consultant of a Producing Party may be shown at

deposition and examined on all Designated Material that has been produced by that

Party;

              7.2   A former director, officer, agent and/or employee of a

Producing Party may be shown at deposition and examined on all Designated

Material that has been produced by that Party and that the Receiving Party’s

Outside Counsel reasonably and in good faith believes to have been received by

the witness previously or that refers to matters within the witness’s personal

knowledge pertaining to the period or periods of his or her employment,

engagement, or relationship with the Producing Party;




                                          12
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 405 of 624 PageID #: 411




             7.3    Non-parties may be shown at deposition and examined on any

document containing Designated Material of a Producing Party that appears on its

face, or which the Receiving Party’s Outside Counsel reasonably and in good faith

believes based on other documents or testimony, to have been received from or

communicated to the non-party. Any person other than the witness, his or her

attorney(s), and any person qualified to receive Designated Material under this

Order, shall be excluded from the portion of the examination concerning such

information, unless the Producing Party consents to persons other than qualified

recipients being present at the examination. If the witness is represented by an

attorney who is not qualified under this Order to receive such information, then

prior to the examination, the attorney shall be requested to sign the

“Acknowledgement and Agreement To Be Bound By Order Governing the

Designation and Handling of Confidential Materials” attached as Exhibit A. In the

event that such attorney declines to sign the Acknowledgement and Agreement To

Be Bound By Order Governing the Designation and Handling of Confidential

Materials prior to the examination, the parties, by their attorneys, shall jointly seek

a protective order from the Court prohibiting such attorney from disclosing such

Designated Material.

             7.4    A witness who previously had access to a document designated

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or


                                          13
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 406 of 624 PageID #: 412




“RESTRICTED CONFIDENTIAL – SOURCE CODE” but who is not under a

present non-disclosure agreement with the Producing Party that covers that

document, may be shown the document at deposition if the witness is advised on

the record of the existence of the Order Governing the Designation and Handling

of Confidential Materials and that the Order requires the parties to keep

confidential any questions, testimony or documents that are designated as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.” The witnesses may not

copy, take notes on or retain copies of any Designated Material used or reviewed at

the deposition. The witness may not take out of the deposition room any exhibit

that is marked “CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” or “RESTRICTED CONFIDENTIAL – SOURCE CODE”. The

Producing Party of any Designated Material used at the deposition may also

require that the transcript and exhibits not be copied by a witness who is not

subject to this Order or his counsel who is not subject to this Order, that no notes

may be made of the transcript or the exhibits, and that the transcript and exhibits

may only be reviewed by the witness in the offices of one of the counsel

representing a party in this case (or another firm acting for one of the counsel

representing a party in this case and under the supervision of one of the lawyers

who is bound by the terms of this Order).


                                          14
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 407 of 624 PageID #: 413




             7.5   Except as may be otherwise ordered by the Court, and without

limitation as to any of the other provisions of this section, any person may be

examined as a witness by deposition, and may testify concerning all Designated

Material of which such person has prior knowledge.

             7.6   Notwithstanding any sub-Section of this Section 7, no copies of

Designated Material may be provided to any deponent or trial witness other than

for purposes of the examination without the written consent of the Producing Party.

      8.     PRODUCTION OF SOURCE CODE. This Section shall govern

the production of Source Code in this Action.

             8.1   Source Code designated as “RESTRICTED CONFIDENTIAL

– SOURCE CODE” shall be made available for the Receiving Party’s inspection,

only by outside Counsel of Record representing the Receiving Party and Outside

Consultants retained by the Receiving Party who have been approved under

Section 6 of this Order.

             (a)   Source Code designated as “RESTRICTED CONFIDENTIAL

– SOURCE CODE” shall be maintained by the Producing Party and made

available for inspection by the Receiving Party on a stand-alone computer (that is,

a computer not connected to any network, the Internet, or any peripheral device

other than a keyboard, mouse, and monitor) in electronic and searchable form in a

manner consistent with how the code being made available for inspection is


                                         15
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 408 of 624 PageID #: 414




maintained in the ordinary course of business (e.g. with folder hierarchies

preserved).

              (b)   The stand-alone computer shall be maintained in a secured

location at the offices of the Producing Party’s outside counsel or at the offices of

the Producing Party, access to which shall be controlled by reasonable physical

(e.g., locked doors) and electronic (e.g., password or other access provisions)

security measures. Use of any input/output device (e.g., USB memory stick, CDs,

floppy disk, portable hard drive, etc.) is prohibited while accessing the computer

containing the Source Code, and the Receiving Party shall not attempt to use any

peripheral device of any kind (other than the keyboard, mouse, and monitor

provided by the Producing Party) with the stand-alone computers, nor shall the

Receiving Party attempt to install any software on the stand-alone computer. No

person other than the Producing Party may alter, dismantle, disassemble, or modify

the Standalone Computer in any way, or attempt to circumvent any security feature

of the Standalone Computer.

              (c)   The Receiving Party’s outside counsel and/or experts may

request that commercially available software tools for viewing and searching

Source Code be installed on the secured computer, provided, however, that (i) the

Receiving Party provides such software tools (or links to such software tools) to

the Producing Party at least ten (5) business days in advance of the date upon


                                          16
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 409 of 624 PageID #: 415




which the Receiving Party wishes to have the software tool(s) available for use on

the standalone computer; (ii) the Receiving Party possesses an appropriate license

to such software tools; (iii) the Producing Party approves such software tools (such

approval shall not be unreasonably withheld); and (iv) such other software tools

are reasonably necessary for the Receiving Party to perform its review of the

Source Code consistent with all of the protections herein.

             8.2   The Receiving Party shall make any request to inspect the

Producing Party’s Source Code a reasonable time in advance of its desired

inspection, and in no event less than five (5) business days’ notice. Inspection of

Source Code shall be permitted during regular business hours (i.e, 9:00 a.m. –

6:00 p.m.), although the Parties will be reasonable in accommodating requests to

conduct inspections at other times. The Receiving Party shall be given access to

the Source Code Computers through the close of expert discovery in this Action, as

requested.

             8.3   At the Producing Party’s selection, the secure location will be at

an office of the Producing Party’s Counsel of Record or at the offices of the

Producing Party. The Producing Party will endeavor to make a separate, private

room available for the Receiving Party to confer or talk on the phone.

             8.4   No person shall copy, e-mail, transmit, upload, download, print,

photograph, or otherwise duplicate any portion of Source Code, or documents or


                                         17
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 410 of 624 PageID #: 416




things designated “RESTRICTED CONFIDENTIAL – SOURCE CODE,” except

as follows:

              (a)   The stand-alone computer may be connected to a print driver

capable of printing electronic copies (e.g., an Adobe print driver capable of

creating PDF files) for temporary storage on the “stand-alone” computer for

subsequent printing by the Producing Party for the limited purposes set forth

herein. The Receiving Party may request printouts of limited portions of Source

Code that are reasonably necessary for the preparation of court filings, pleadings,

expert reports, or other papers, or for deposition or trial, but shall not request paper

copies for the purposes of reviewing the Source Code other than electronically.

The Receiving Party shall be permitted to request printouts that do not exceed (1)

600 total pages of the Producing Party’s Source Code; or (2) twenty (20) or more

pages of a continuous block of Source Code. The Producing Party shall provide all

such Source Code in paper form including bates numbers and the label

“RESTRICTED CONFIDENTIAL – SOURCE CODE” within three (3) business

days of the Receiving Party’s request, subject to subsection (b), below. Each

printed document shall indicate the full path and file name of the printed file, and

each line of the source code listing shall be separately numbered, provided that the

Receiving Party has supplied a software tool for viewing and searching Source

Code pursuant to Section 8.1(c) that includes such information on print outs.


                                           18
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 411 of 624 PageID #: 417




             (b)    If the Producing Party has any objection to the print-outs, the

Producing Party must object in writing within three (3) business days from the

request for print-outs from the Receiving Party. The Parties shall meet and confer

in an attempt to reach a resolution within four (4) business days of the Receiving

Party’s objection. If no resolution can be reached, the Producing Party must file a

motion for protective order with the Court no later than five (5) business days from

the Parties reaching an impasse.

             (c)    The Receiving Party shall not make any electronic copies or

images, nor more than three (3) additional paper copies, of any printed pages of

Source Code or other documents or things designated as “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” without the agreement of the Producing

Party or further order of the Court. Notwithstanding the foregoing, nothing in this

sub-Paragraph shall prevent a Party from making such additional hard or electronic

copies or images of limited excerpts necessary to prepare as exhibits to or include

in depositions, expert reports, court filings, or court presentations.

             (d)    For any RESTRICTED CONFIDENTIAL – SOURCE CODE

material used as a deposition exhibit, the exhibit shall be identified on the record,

by Bates number or otherwise. The Receiving Party shall retain the original of any

such exhibit and shall provide a copy of the original exhibit to the Producing Party

at the deposition. No source code Exhibits shall be retained by the Court reporter


                                           19
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 412 of 624 PageID #: 418




at the conclusion of the deposition or appended to the transcript by the Court

Reporter. At the conclusion of the deposition, the Producing Party will collect and

shred any other copies of the source code that may have been distributed at the

deposition, with the exception of the Parties’ working copy(ies).

             (e)   A Receiving Party that wants to file or otherwise submit any

Source Code, or other documents or things designated as “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” to the Court in connection with a filing

may make only as many copies, and only of the specific pages as needed, for

submission to the Court and shall file any and all such copies of the materials with

an application to file under seal. Unless agreed to by the Producing Party, images

or copies of source code shall not be included in correspondence between the

parties.

             8.5   No devices with network or recording functionality or a camera

are permitted in the secure room containing the stand-alone Computer, so long as

the Receiving Party is provided a separate secure room to store such devices during

the review. During its review of Source Code made available for inspection, the

Receiving Party may take notes. To the extent the Receiving Party desires to take

notes electronically, it may do so using a computer not connected to any network,

the Internet, or any peripheral device other than a keyboard, mouse, and monitor,

consistent with all of the protections herein. Any notes (whether electronic or non-


                                         20
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 413 of 624 PageID #: 419




electronic) shall not include copies or reproductions of portions of the source code,

but may contain filenames, directory names, module names, class names,

parameter names, variable names, function names, method names, or procedure

names. The Producing Party may not inspect or review the notes of the Receiving

Party or its consultants.

             8.6    Any paper copies, documents, or things designated

“RESTRICTED CONFIDENTIAL – SOURCE CODE” shall be stored or viewed

only at (i) the offices of Counsel of Record for the Receiving Party; (ii) the offices

of Outside Consultants who have been approved to access “RESTRICTED

CONFIDENTIAL – SOURCE CODE” materials; (iii) the site where any

deposition is taken; (iv) the Court; or (v) any intermediate location necessary to

transport the information to a hearing, trial, or deposition. Paper copies stored in

locations (i) and (ii) shall be maintained at all times in a locked and secure area.

             8.7    No Party shall physically, magnetically, digitally, optically, or

otherwise copy by any means, any Source Code, or documents or things that

another Party has designated “RESTRICTED CONFIDENTIAL – SOURCE

CODE,” subject to the exceptions enumerated above.

             8.8    Within 60 days of final termination of the suit as to the

Producing Party, the Receiving Party shall return all hard (non-electronic) copies




                                          21
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 414 of 624 PageID #: 420




of Source Code or certify through counsel with personal knowledge that all such

copies have been destroyed.

      9.     PROCEDURE FOR DESIGNATING MATERIAL. Subject to the

limitations set forth in this Order, a Designating Party may: designate as

“CONFIDENTIAL” information that the Designating Party believes, in good faith,

meets the definition of Confidential Material set forth in Section 1.8 above;

designate as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” information that

it believes, in good faith, meets the definition of Confidential – Outside Counsel

Only Material set forth in Section 1.9 above; and designate as “RESTRICTED

CONFIDENTIAL – SOURCE CODE” information that it believes, in good faith,

meets the definition of Restricted Confidential – Source Code Material set forth in

Section 1.10 above.

             9.1   Except as provided above in Section 8 with respect to

“RESTRICTED CONFIDENTIAL – SOURCE CODE” Material, any Material

(including physical objects) made available for inspection by counsel for the

Receiving Party prior to producing copies of selected items shall initially be

considered, as a whole, to constitute “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” information, and shall be subject to this Order. Thereafter, the Producing

Party shall have ten (10) calendar days from the inspection to review and designate




                                         22
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 415 of 624 PageID #: 421




the appropriate documents as “CONFIDENTIAL” or “CONFIDENTIAL –

OUTSIDE COUNSEL ONLY” prior to furnishing copies to the Receiving Party.

             9.2    Except as otherwise provided in this Order or as otherwise

stipulated or ordered, Material that qualifies for protection under this Order must

be designated in accordance with this Section before the Material is disclosed or

produced. In addition to the marking of documents and things with the appropriate

level of confidentiality as provided in this Order, all documents and things

produced by a Producing Party shall be Bates numbered.

             9.3    Designation in conformity with this Order shall be made as

follows:

             (a)    For information in documentary form (apart from transcripts of

depositions, or other pretrial or trial proceedings), the Producing Party shall affix

the legend “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE” on each page

that contains Designated Material.

             (b)    For testimony given in deposition, the Designating Party shall

specify any portions of the testimony that it wishes to designate as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.” In the case of depositions,

the Designating Party may also designate any portion of a deposition transcript as


                                          23
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 416 of 624 PageID #: 422




“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” by informing the reporter,

and opposing Parties, in writing within thirty (30) calendar days of completion of

the deposition of the designations to be applied. All deposition transcripts not

marked at least “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” during the

deposition will nonetheless be treated as “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY” until the thirty (30) day period has expired. Transcript pages

containing Designated Material must be separately bound by the court reporter,

who must affix to the top of each such page the legend “CONFIDENTIAL,”

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE” as instructed by the Designating Party.

             (c)   For information produced in some form other than

documentary, and for any other tangible items, the Producing Party shall affix in a

prominent place on the exterior of the container or containers in which the

information or thing is stored the legend “CONFIDENTIAL”, “CONFIDENTIAL

– OUTSIDE COUNSEL ONLY” or “RESTRICTED CONFIDENTIAL –

SOURCE CODE” to the extent reasonably practical.

             (d)   The provisions of this Sub-Section 9.3 do not apply to

documents produced in native format. Documents produced in native format will




                                         24
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 417 of 624 PageID #: 423




have their respective confidentiality designation and Bates number identified in the

filename of the native file.

             9.4    In the event that a Producing Party mistakenly or inadvertently

fails to stamp or otherwise designate a document or other information as

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” at the time of its

production, it may be corrected by written notification to counsel for the Receiving

Party, and the Receiving Party must make reasonable efforts to assure that the

material is treated in accordance with the terms of this Order. The Receiving Party

and other authorized recipients of such documents or information shall not be

responsible for any otherwise prior actions taken with respect to such documents or

information before receiving notice of the designation. Upon designation the

Receiving Party shall take reasonable efforts to retrieve such information from

individuals unauthorized to access it and to ensure that the information is treated

consistent with its designation and this Order.

      10.    PROSECUTION BAR.

             10.1 Absent written consent from the Producing Party, any

individual who receives access to information or items designated by the

Producing Party as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” shall not be involved in


                                          25
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 418 of 624 PageID #: 424




the prosecution of patents or patent applications relating to computer security,

network security, vulnerability management, and/or cyber security, including

without limitation the patents asserted in this action and any patent or application

claiming priority to or otherwise related to the patents asserted in this action,

before any foreign or domestic agency, including the United States Patent and

Trademark Office (“the Patent Office”).

             10.2 For the purposes of this section, “prosecution” includes any

involvement in or advising regarding drafting, editing, approving or amending

patent claims. Prosecution includes, for example, preparing or revising an original

application, or involvement in or advising regarding drafting, editing, approving or

amending patent claims in a reissue protest, ex parte reexamination, inter partes

reexamination, inter partes review, or other post grant proceedings.

             10.3 “Prosecution” as used in this section does not include

representing a party challenging a patent before a domestic or foreign agency

(including, but not limited to, a reissue protest, ex parte reexamination or inter

partes review). “Prosecution” as used in this section also does not include

participation by such individual representing a patent-holder in a reissue protest,

ex parte reexamination, or inter partes review, so long as the proceeding is not

initiated by the patentholder itself for any of its own patents, and so long as the

individual has no involvement in and does not advise regarding drafting, editing,


                                          26
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 419 of 624 PageID #: 425




approving or amending patent claims. 1 No prohibition set forth in this paragraph

shall apply to or result from any Designated Materials that such individual had

lawfully received or authored prior to and apart from this litigation, or to any other

material not covered by this Order.

               10.4 This Prosecution Bar shall begin when access to

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE” information or items is first received by the

affected individual and shall end two (2) years after final termination of this action.

       11.     GENERAL USE OF DESIGNATED MATERIAL. Unless

otherwise ordered by the Court, or agreed to in writing by the Parties, all

Designated Material, and all information derived therefrom, shall be used by the

Receiving Party only for purposes of this case. Designated Material shall not be

used for any other purpose including, but not limited to, any business, proprietary,

commercial, legal/other litigation, arbitration or claim, or governmental purpose.

Information contained or reflected in Designated Material shall not be disclosed in

conversations, presentations by parties or counsel, in court or in other settings that




1 Such individual may be involved in other activities such as reviewing, drafting or editing briefs,
correspondence, or other materials in any reissue protest, ex parte reexamination, or inter partes
review, so long as the individual has no involvement in and does not advise regarding drafting,
editing, approving or amending patent claims.


                                                27
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 420 of 624 PageID #: 426




might reveal Designated Material, except in accordance with the terms of this

Order.

             11.1 Nothing in this Order shall limit any Designating Party’s use of

its own documents and information, nor shall it prevent the Designating Party from

disclosing its own confidential information, documents or things to any person.

Such disclosure shall not affect any designations made pursuant to the terms of this

Order, so long as the disclosure is made in a manner that is reasonably calculated

to maintain the confidentiality of the information.

             11.2 Nothing in this Order shall limit a Receiving Party from making

use of or disclosing documents and/or things that (a) were lawfully in its

possession prior to receipt of such information from a Producing Party; (b) appear

in any published material available to the Producing Party’s trade or business,

available to the public, or otherwise become available within the public domain,

other than as a consequence of the Receiving Party’s breach of any obligation not

to disclose the information; or (c) it lawfully obtains subsequent to the Producing

Party’s disclosure, without obligation of confidence, from a source or sources other

than the Producing Party; regardless of whether the same is Designated Material.

             11.3 Subject to the remaining provisions of this Order, absent

written permission from the Producing Party or a court order secured after




                                          28
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 421 of 624 PageID #: 427




appropriate notice to all interested persons, a Receiving Party may not file, or

disclose, in the public record any Designated Material.

             11.4 If a Receiving Party files any document with the Court

containing information designated by a Producing Party as Designated Material, it

shall file such a document in accordance with the Court’s rules and practices

governing the filing of sealed documents and shall indicate prominently on the face

of the document that is being filed under seal, the level of confidentiality

protection to which the document is subject and the name of the Producing Party

whose Designated Material is involved. All such Designated Material so filed

shall be released from confidential treatment only by order of the Court.

             11.5 The Parties making a filing under seal must comply with the

provisions of Superior Court Rule of Civil Procedure 5(g). Notwithstanding the

forgoing, the Parties have no obligation to file public versions of any exhibits or

attachments to a filing, unless otherwise ordered by the Court or required by the

Prothonotary.

             11.6 This Order shall not bar or otherwise restrict Counsel of Record

from rendering advice to his or her client with respect to the Action, and in the

course thereof, referring to or relying generally upon his or her examination of

Designated Material, provided, however, that in rendering such advice and in

otherwise communicating with his or her client, the attorney shall not disclose the


                                          29
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 422 of 624 PageID #: 428




content of such information designated as Designated Material contrary to the

terms of this Order.

             11.7 Designated Material shall not be used by a Receiving Party in

any other way, or for any other purpose, including the acquisition, preparation or

prosecution before the Patent Office of any patent application, or in connection

with patent licensing.

      12.    NO WAIVER OF PRIVILEGE . Subject to the provisions of

Delaware Rule of Evidence 510, inspection or production of documents (including

physical objects) shall not constitute a waiver of the attorney-client privilege, work

product immunity, or any other applicable privilege or immunity. If the Producing

Party becomes aware of any inadvertent disclosure, the Producing Party may

promptly designate any such documents as within the attorney-client privilege,

work product immunity or any other applicable privilege or immunity and request

in writing return of such documents to the Producing Party. Upon such request and

the provision of a supplemental privilege log, the Receiving Party shall, within five

(5) business days, retrieve and return or destroy all copies of such document(s) and

give notice to the Producing Party that it has complied with the provisions of this

paragraph. The Producing Party shall retain a copy of any such documents and

shall be prepared to submit them to the Court in connection with any Order of this




                                          30
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 423 of 624 PageID #: 429




Court requiring in camera inspection in connection with a challenge of the

privilege designation.

      13.    INADVERTENT FAILURE TO DESIGNATE PROPERLY. The

inadvertent failure by a Producing Party to designate any material with one of the

designations provided for under this Order shall not waive any such designation

provided that the Producing Party notifies all Receiving Parties that such Material

is protected under one of the categories of this Order within fourteen (14) calendar

days of the Producing Party learning of the inadvertent failure to designate. The

Producing Party shall reproduce the Designated Material with the correct

confidentiality designation within seven calendar (7) days upon its notification to

the Receiving Parties. Upon receiving the Designated Material with the correct

confidentiality designation, the Receiving Parties shall return or securely destroy,

at the Producing Party’s option, all materials that were not designated properly.

      Once a Receiving Party has received notification of the correct

confidentiality designation for the Designated Material with the incorrect

confidentiality designation, the Receiving Party shall treat such material at the

appropriately designated level pursuant to the terms of this Order.

      14.    CHALLENGES TO CONFIDENTIALITY DESIGNATIONS.

The Parties will use reasonable care when designating information as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or


                                          31
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 424 of 624 PageID #: 430




“RESTRICTED CONFIDENTIAL – SOURCE CODE.” Nothing in this Order

shall prevent a Receiving Party from contending that any or all documents or

information designated as Confidential Material, Confidential – Outside Counsel

Only Material, or Restricted Confidential – Source Code Material have been

improperly designated. A Receiving Party may, at any time, request that the

Producing Party cancel or modify the confidentiality designation with respect to

any document or information contained therein. A Receiving Party may seek to

de-designate Designated Material on the grounds that such material: (i) that is or

has become publicly known through no fault of the Receiving Party; (ii) that is

lawfully acquired by or known to the Receiving Party independent of the

Producing Party; (iii) previously produced, disclosed and/or provided by the

Producing Party to the Receiving Party or a non-party without an obligation of

confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court. A Party shall not be

obligated to challenge the propriety of a “CONFIDENTIAL,” “CONFIDENTIAL

– OUTSIDE COUNSEL ONLY,” or “RESTRICTED CONFIDENTIAL –

SOURCE CODE” designation at the time made, and the failure to do so shall not

preclude a subsequent challenge thereto. Such a challenge shall be written, shall

be served on counsel for the Producing Party, and shall identify particularly the

documents or information that the Receiving Party contends should be differently


                                         32
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 425 of 624 PageID #: 431




designated. The parties shall use their best efforts to resolve promptly and

informally such disputes in accordance with all applicable rules. If agreement

cannot be reached, the Receiving Party shall request that the Court cancel or

modify a “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE” designation in

accordance with Superior Court Civil Rule 5(g)(4). The Parties’ entry into this

Order shall not preclude or prejudice either Party from arguing for or against any

designation, establish any presumption that a particular designation is valid, or

alter the burden of proof that would otherwise apply in a dispute over discovery or

disclosure of information. Notwithstanding any challenge to a designation, the

Material in question shall continue to be treated as designated under this Order

until one of the following occurs: (a) the Party who designated the Material in

question withdraws such designation in writing; or (b) the Court rules that the

Material in question is not entitled to the designation.

      15.    COMMUNICATIONS BETWEEN PARTIES AND COUNSEL

OF RECORD. Responsive documents and things subject to the attorney-client

privilege, work product protection, and/or other applicable protection/immunity,

including privileged or protected communications between a Party and its

respective Counsel of Record, occurring after the date of filing of Plaintiff’s initial

Complaint, need not be produced or disclosed on a privilege log in response to a


                                           33
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 426 of 624 PageID #: 432




discovery request served by another Party, except as required to rely on an opinion

of counsel as part of a defense in this Action.

      16.    EXPERT REPORTS, DECLARATIONS AND

COMMUNICATION. For experts retained in anticipation of or in connection

with this Action, documents constituting drafts of expert reports and declarations,

and documents constituting notes created by or for an expert in connection with

preparation of his or her expert report or declaration, shall not be discoverable and

need not be preserved. Work product materials, including communications,

generated in connection with non-testifying experts and consultants who are

retained in anticipation of or in connection with the above-captioned litigation,

shall not be discoverable. Conversations or communications between counsel and

any testifying expert or consultant shall not be discoverable, except to the extent

such conversations or communications are relied upon by the expert. For the

avoidance of doubt, this section does not apply to any materials provided to or

from KPMG or written or oral communications with KPMG as such materials or

communications are discoverable in this action.

      17.    UNAUTHORIZED DISCLOSURE. If a Receiving Party learns

that, by inadvertence or otherwise, it has disclosed Designated Material to any

person or in any circumstance not authorized under this Order, the Receiving Party

must immediately (a) notify in writing the Designating Party of the unauthorized


                                          34
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 427 of 624 PageID #: 433




disclosures, (b) use its best efforts to retrieve all copies of the Designated Material,

(c) inform the person or persons to whom unauthorized disclosures were made of

all the terms of this Order, and (d) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as

Exhibit A.

      18.    NON-PARTY USE OF THIS ORDER. A non-party that produces

Material voluntarily, or pursuant to a subpoena or a court order, may designate

such Material in the same manner, and shall receive the same level of protection

under this Order, as any Party to this lawsuit. A non-party’s use of this Order to

protect its Confidential Material, Confidential – Outside Counsel Only Material, or

Restricted Confidential – Source Code Material does not entitle that non-party

access to Confidential Material, Confidential – Outside Counsel Only Material, or

Restricted Confidential – Source Code Material produced by any Party in this case.

Any non-party who is subpoenaed or whose documents, things, or other items are

otherwise requested in connection with this action must be provided a copy of this

Order and be made aware of their right to produce documents pursuant thereto.

      19.    MATERIAL SUBPOENAED IN OTHER LITIGATION. By

entering this Order and limiting the disclosure of information in this case, the

Court does not intend to preclude another court from finding that information may

be relevant and subject to disclosure in another case. Any person or Party subject


                                           35
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 428 of 624 PageID #: 434




to this order who becomes subject to a motion to disclose another party’s

information designated “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE”

pursuant to this Order shall promptly notify that party of the motion so that the

party may have an opportunity to appear and be heard on whether that information

should be disclosed. More specifically, if a Receiving Party is served with a

subpoena or a court order that would compel disclosure of any information,

documents or things designated in this action as “CONFIDENTIAL,”

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” the Receiving Party must so notify the

Producing Party, in writing (by email) promptly, and in no event more than five (5)

calendar days after receiving the subpoena or order. Such notification must

include a copy of the subpoena or order. The Receiving Party also must

immediately inform, in writing, the party who caused the subpoena or order to

issue that some or all of the material covered by the subpoena or order is subject to

this Order. In addition, the Receiving Party must deliver a copy of this Order

promptly to the party in the other action that caused the subpoena or order to issue.

The Receiving Party must also cooperate with respect to all reasonable procedures

sought to be pursued by the Producing Party whose Designated Material may be

affected. If the Producing Party timely seeks a protective order, the party served


                                         36
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 429 of 624 PageID #: 435




with a subpoena or court order shall not produce any information designated in this

Action as “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE,” before a

determination by the court from which the subpoena or order issued, unless the

party has obtained the Producing Party’s permission. The Producing Party shall

bear the burdens and the expenses of seeking protection in that court of its

Designated Material. Nothing in these provisions should be construed as

authorizing or encouraging a Receiving Party in this action to disobey a lawful

directive from another court.

      20.    WAIVER OF NOTICE PROVISIONS. Any of the notice

requirements herein may be waived, in whole or in part, but only by a writing from

the Counsel of Record for the Party against whom such waiver will be effective.

      21.    MODIFICATION AND OBJECTIONS. This Order is entered

without prejudice to the right of any Party to apply to the Court at any time for

modification of this Order, when convenience or necessity requires. Nothing in

this Order abridges the right of any person to seek to assert other objections. No

Party waives any right it otherwise would have to object to disclosing or producing

any information, documents, or things on any ground not addressed in this Order.

Similarly, no Party waives any right to object on any ground to the use in evidence

of any of the material covered by this Order.


                                         37
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 430 of 624 PageID #: 436




      22.    JURISDICTION. The Superior Court of the State of Delaware is

responsible for the interpretation and enforcement of this Order. All disputes

concerning Designated Material produced under the protection of this Order shall

be resolved by the Superior Court of the State of Delaware. Every individual who

has signed the “Acknowledgement and Agreement To Be Bound By

Confidentiality Order” attached as Exhibit A, or who received any Designated

Material, agrees to subject himself or herself to the jurisdiction of this Court for the

purpose of any proceedings related to performance under, compliance with, or

violation of this Order.

      23.     FINAL DISPOSITION. Unless otherwise ordered or agreed in

writing by the Producing Party, within sixty (60) calendar days after the final

termination of this Action as to the Producing Party, all Parties, persons, and

entities (including experts and consultants) who received Designated Material shall

make a good faith effort to destroy or return to Counsel of Record for the

Producing Party all Designated Material and any and all copies of such Designated

Material (including summaries, excerpts, and derivative works). In the case of

material designated “RESTRICTED CONFIDENTIAL – SOURCE CODE,” the

Receiving Party must return (not destroy) the material. The Receiving Party must

submit a written confirmation of the return or destruction to the Producing Party

(and, if not the same person or entity, to the Designating Party) by the 60-day


                                          38
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 431 of 624 PageID #: 437




deadline. Notwithstanding this provision, Counsel of Record may retain an

archival copy of all pleadings, motion papers, deposition transcripts (including

exhibits), transcripts of other proceedings (including exhibits), expert reports

(including exhibits), discovery requests and responses (including exhibits), exhibits

offered or introduced into evidence at trial, legal memoranda, correspondence,

attorney work product, and legal files, even if such materials contain Designated

Material. Any such archival copies that contain or constitute Designated Material

remain subject to this Order as set forth in Section 20, above.

      24.    DURATION. The confidentiality obligations imposed by this Order

shall remain in effect until a Designating Party agrees otherwise in writing or a

court order otherwise directs.

      25.    SUCCESSORS. This Order shall be binding upon the Parties hereto,

their attorneys, and their successors, executors, personal representatives,

administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, retained consultants and experts, and any persons or

organizations over which they have direct control.




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 432 of 624 PageID #: 438



 /s/ Karen E. Keller                         /s/ Alexandra M. Cumings
 Karen E. Keller (No. 4489)                  Jack B. Blumenfeld
 SHAW KELLER LLP                             Alexandra M. Cumings
 I.M. Pei Building                           MORRIS, NICHOLS, ARSHT
 1105 North Market Street, 12th Floor         & TUNNELL LLP
 Wilmington, DE 19801                        1201 North Market Street
 (302) 298-0700                              P.O. Box 1347
 kkeller@shawkeller.com                      Wilmington, DE 19899
 Attorneys for Plaintiff                     (302) 658-9200
                                             jblumenfeld@mnat.com
                                             acumings@mnat.com
                                             Attorneys for Defendant

 Dated: October 2, 2019

                              SO ORDERED this ___ day of ________, 2019.


                              _______________________________________
                              The Honorable William C. Carpenter, Judge




                                        40
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 433 of 624 PageID #: 439



                                    EXHIBIT A

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                             C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                Defendant.

          ACKNOWLEDGEMENT AND AGREEMENT TO BE
       BOUND BY ORDER GOVERNING THE DESIGNATION AND
            HANDLING OF CONFIDENTIAL MATERIALS

      I, ____________________ [print or type full name], of

_____________________________ hereby affirm that:

      Information, including documents and things designated as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE,” as defined in the Order

Governing the Designation and Handling of Confidential Materials (the

“Confidentiality Order”) entered in this Litigation, will be provided to me pursuant

to the terms and restrictions of that Order.

      I have been given a copy of and have read the Confidentiality Order.




                                           1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 434 of 624 PageID #: 440




      I am familiar with the terms of the Confidentiality Order and I agree to

comply with and to be bound by its terms. I submit to the jurisdiction of this Court

for enforcement of the Confidentiality Order.

      I agree not to use any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL – SOURCE CODE

information disclosed to me pursuant to the Confidentiality Order except for

purposes of this Litigation and not to disclose any of this information to persons,

other than those specifically authorized by the Confidentiality Order, without the

express written consent of the Party who designated the information as confidential

or by order of the Court.



 DATED:
 CITY, STATE WHERE WORN AND SIGNED:
 PRINTED NAME:
 SIGNATURE:




                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 435 of 624 PageID #: 441



                                   EXHIBIT B

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                 Plaintiff,

v.                                            C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                 Defendant.


                      CERTIFICATION OF CONSULTANT

      I, ___________________ [print or type full name], of

_____________________________ hereby affirm that:

      Information, including documents and things designated as

“CONFIDENTIAL,”

      “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” as defined in the Order Governing the

Designation and Handling of Confidential Materials (“Confidentiality Order”)

entered in this Litigation, is being provided to me pursuant to the terms and

restrictions of that Order.

      I have been given a copy of and have read the Confidentiality Order.




                                          1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 436 of 624 PageID #: 442




       I am familiar with the terms of the Confidentiality Order and I agree to

comply with and to be bound by its terms. I submit to the jurisdiction of this Court

for enforcement of the Confidentiality Order.

       I agree not to use any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL – SOURCE CODE

information disclosed to me pursuant to the Confidentiality Order, except for

purposes of this Litigation, and not to disclose any of this information to persons,

other than those specifically authorized by the Confidentiality Order, without the

express written consent of the Party who designated the information as confidential

or by order of the Court. I also agree to notify any stenographic, clerical or

technical personnel who are required to assist me of the terms of this

Confidentiality Order and of its binding effect on them and me.

       Pursuant to Section 6 of the attached Confidentiality Order, I have provided

(a) my name and business title; (b) my business address; (c) my business or

profession; (d) my CV; (e) any previous or current relationship (personal or

professional) with any of the parties or their affiliates; (f) a list of other cases in

which I have testified (at trial or by deposition) within the last four years; (g) a list

of all companies with which I have consulted or by which I have been employed

within the last four years; and (h) a signed copy of the “Acknowledgement and

Agreement To Be Bound By Confidentiality Order” attached as Exhibit A.


                                             2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 437 of 624 PageID #: 443




      I understand that I am to retain all documents or materials designated as or

containing CONFIDENTIAL, CONFIDENTIAL – OUTSIDE COUNSEL ONLY,

or RESTRICTED CONFIDENTIAL – SOURCE CODE information in a secure

manner, and that all such documents and materials are to remain in my personal

custody until the completion of my assigned duties in this matter, whereupon all

such documents and materials, including all copies thereof, and any writings

prepared by me containing any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL– SOURCE CODE

information are to be returned to counsel who provided me with such documents

and materials.



 DATED:
 CITY, STATE WHERE WORN AND SIGNED:
 PRINTED NAME:
 SIGNATURE:




                                         3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 438 of 624 PageID #: 444
                                                EFiled: Oct 02 2019 06:00PM EDT
                                                Transaction ID 64267849
                                                Case No. N18C-04-006 WCC CCLD
                        CERTIFICATE OF SERVICE

       I, Karen E. Keller, hereby certify that on October 2, 2019, this document

 was served on the persons listed below in the manner indicated:

 BY FILE & SERVE XPRESS AND
 EMAIL
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 439 of 624 PageID #: 445
                        So Ordered                 EFiled: Oct 04 2019 09:28AM EDT
             /s/ Carpenter, William C Oct 04, 2019 Transaction ID 64273790
                                                   Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                            )
                                        )
                   Plaintiff,           )
                                        )
       v.                               ) C.A. No. N18C-04-006 WCC CCLD
                                        )
TRUSTWAVE HOLDINGS, INC.,               )
                                        )
                   Defendant.           )


                                [PROPOSED] ORDER

              Defendant Trustwave Holdings, Inc., having moved for an order

permitting the filing of its Motion for Leave to File Counterclaim (“Motion”) in

this action under seal, and the Court having considered such motion and good

cause having been shown,

              IT IS HEREBY ORDERED this ___ day of __________, 2019, that:

              1.   Defendant may file its Motion under seal;

              2.   Defendant will file a redacted version of the Complaint within

30 days in accordance with Superior Court Rule 5(g)(2); and

              3.   All filings made pursuant to this Order shall contain the

following language in the footer of each page: “THIS DOCUMENT IS

CONFIDENTIAL AND FILED UNDER SEAL. REVIEW AND ACCESS TO

THIS DOCUMENT IS PROHIBITED EXCEPT BY PRIOR COURT ORDER.”

                                            ____________________________
                                                        Judge
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 440 of 624 PageID #: 446




/s/ Judge Carpenter, William C
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 441 of 624 PageID #: 447
                                                EFiled: Oct 04 2019 04:20PM EDT
                                                Transaction ID 64278078
                                                Case No. N18C-04-006 WCC CCLD
            IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
       v.                                ) C.A. No. N18C-04-006 WCC CCLD
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         )
                   Defendant.            )

       DEFENDANT TRUSTWAVE HOLDINGS, INC.’S RESPONSE TO
           PLAINTIFF’S CORRECTED MOTION TO COMPEL

       Defendant Trustwave Holdings, Inc. (“Trustwave”) responds to Plaintiff

Finjan, Inc.’s (“Finjan”) August 30, 2019 Corrected Motion to Compel (the

“MTC”). Finjan’s 46 Interrogatories and 42 Document Requests far exceed the

scope of discovery set by the Court’s February 11, 2019 Letter Opinion (“Order”) –

namely, “whether or not Singtel is actually using the patent technology that would

trigger royalty payments under the Agreement.” Therefore, Trustwave respectfully

requests that the Court deny Finjan’s MTC and reaffirm the boundaries of this case.

  I.   INTRODUCTION

       Finjan’s MTC is a “motion to compel” in name only. Finjan’s true goal here

is to re-litigate the Order. Finjan’s MTC regurgitates arguments already abandoned

in open court by Finjan’s counsel or otherwise rejected by this Court.

       More fundamentally, Finjan filed the MTC in direct contravention of: a)

express agreements between the parties and b) the meet-and-confer rules. As
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 442 of 624 PageID #: 448



detailed in prior filings, KPMG had conducted a “review” upon which Finjan’s

lawsuit was based. See, e.g., Trustwave’s June 29, 2018 MTD Op. Br. pp.12-13

(Dkt. 17). Prior to the MTC being filed, Trustwave agreed to Finjan’s proposal that

Trustwave provide KPMG data showing all Trustwave post-acquisition sales to

Singtel so that KPMG could then conduct a like review to provide the parties with

quick feedback on the range of potential royalties (i.e., identifying all transactions

that possibly trigger royalties under the License Agreement). The purpose was to

facilitate potential settlement discussions about the merits and the parameters for

discovery. For some yet to be provided reason, Finjan instead filed the MTC.

Notably, Finjan fails to acknowledge the parties’ agreement in its MTC or in the

sworn certification signed by Finjan’s counsel.1

       On the merits, review of the case record reveals that Finjan’s MTC is based

on a flawed legal argument that has already been rejected by this Court. In its April

4, 2018 Complaint, Finjan argued that, after Singtel’s acquisition of Trustwave,

any Trustwave sale could be subject to a royalty obligation under the parties’

1
    See Rule 37(e)(1) Certification of John Letchinger attached hereto; see also
    Rule 37(e)(1) Certification of Karen E. Keller, which fails to acknowledge the
    parties’ agreement to submit the relevant financial data. See Ex. D (email
    between counsel agreeing to submit the universe of relevant data to KPMG for
    analysis); see also Ex. E (Trustwave email to KPMG confirming production
    agreement). Incredibly, even after Finjan had to file a corrected version of its
    MTC, Finjan again chose not to notify the Court of the parties’ agreement or
    discussions regarding production of the relevant data to KPMG. See Ex. F
    (email in which counsel acknowledges failure to include in its certification
    agreements between the parties that material narrow the dispute at issue in
    Finjan’s motion).

                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 443 of 624 PageID #: 449



March 2012 license agreement. Trustwave moved to dismiss the Complaint in

June 2018, and the Court heard oral argument on November 19, 2018 (the

“Hearing”). At the Hearing, Finjan’s counsel agreed that Trustwave’s post-

acquisition sales unrelated to Singtel could not trigger royalties under the

Agreement. See, e.g., Transcript at 42:18-43:17 (Dkt. 38). 2 The Court confirmed

this in its Order, where it denied Trustwave’s Motion to Dismiss but narrowly

defined the sole issue in dispute and corresponding scope of discovery accordingly:

       As a result, Finjan’s suit for breach of contract may proceed, but only
       to determine whether or not Singtel is actually using the patent
       technology that would trigger royalty payments under the
       Agreement. The cost obligations alleged in Counts Two and Three of
       the Complaint will await the outcome of the discovery which the
       Court has authorized.
Order p.2 (emphasis added) (Dkt. 39).

       Based on the Court’s Order, Trustwave expected that discovery would

target: (i) licensing activity from Trustwave to Singtel concerning the License

Agreement, (ii) Trustwave’s transfer of cybersecurity technology or proprietary

know-how to Singtel and/or (iii) Trustwave’s sales to Singtel of cybersecurity

products covered by the License3. Consistent with the Order, Trustwave has


2
    At the Hearing, the Court strongly encouraged representatives from Trustwave
    and Finjan to seek a business resolution of this dispute. See Ex. G, which
    contains the Hearing Transcript, at 36:6-38:25. Trustwave contacted Finjan and
    offered to voluntarily provide information Trustwave believed would help
    resolve this matter, but Finjan failed to engage in any meaningful way. See
    Smith Decl. ¶¶ 3-11.
3
    A significant number of Finjan’s discovery requests leverage historical public

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 444 of 624 PageID #: 450



confirmed via sworn declaration (and in its discovery responses) that none of the

activity covered by topics (i) and (ii) above has occurred and has offered to provide

the sales data under category (iii). See Decl. of J. Lawrence Podmolik.

       Nonetheless, Finjan’s 46 Interrogatories and 42 Document Requests show

that Finjan has categorically disregarded this Court’s Order. In fact, Finjan’s

discovery requests almost exclusively seek discovery on topics specifically

excluded by this Court’s Order, such as (1) Trustwave cybersecurity sales

unrelated to Singtel, (2) Singtel cybersecurity sales unconnected to Trustwave, and

(3) Finjan’s Counts Two and Three regarding a prior audit. Accordingly,

Trustwave served objections to these discovery requests and moved for a

protective order on May 29, 2019 to have the Court confirm the scope of discovery

in this case.4 Trustwave agreed to withdraw its notice of its motion for protective

order when Finjan retained new counsel, who requested the motion be taken off the

Court’s calendar because it intended to work to resolve the parties’ discovery

    statements, including press releases that proclaim the hope of expanding
    Trustwave’s sales via Singtel’s acquisition of Trustwave (i.e., where Trustwave
    could expand its reaches through Singtel as a reseller of Trustwave’s products).
    Since the acquisition on August 31, 2015, however, other than product and
    software sales in the ordinary course as would be made to other re-sellers,
    Trustwave has not transferred to, or shared with, Singtel any cybersecurity
    technology or proprietary know-how relating to any products it has sold
    commercially or offered for sale. In order to comply with the Court’s Order,
    consistent with its responses to the Interrogatories and Document Requests,
    Trustwave has compiled and offered to supply KPMG data on all post-
    acquisition sales of products from Trustwave to Singtel and other Singtel
    subsidiaries.
4
    Trustwave’s previously filed motion for protective order is attached as Ex. A.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 445 of 624 PageID #: 451



dispute (assuring that it would not relitigate the Order).5 Nearly five months later,

Finjan still failed to modify its discovery requests or justify the scope of the

discovery it seeks, and instead, with no prior notice (and despite the parties’

agreement that Trustwave would re-notice its discovery motion if the parties could

not agree to the scope), filed a virtual mirror-image MTC.

       Finjan now seeks to have the Court reconsider the scope of sales at issue in

this case, as confirmed by its MTC: “Trustwave has the mistaken impression that

the Agreement between Finjan and Trustwave does not apply to any cybersecurity

products and sales by Singtel or Trustwave unless related to both entities.” See

MTC at p. 4. Trustwave is not mistaken. This issue was put to rest nearly a year

ago.   Ignoring prior statements made in open court and this Court’s Order

regarding the scope of discovery, Finjan seeks to manipulate the discovery process

to resuscitate its flawed interpretation of the parties’ agreement—all in an effort to

garnish royalties that are clearly not owed.       If not clear from its discovery

positions, Finjan makes clear in its September 25, 2019 “demand” letter that it

intends to disregard the Order. Finjan renews its original $1,526,445.95 demand




5
    See Letchinger Rule 37(e)(1) Certification attached hereto. In fact, Trustwave
    agreed to withdraw the notice of its May 29, 2019 motion based on Finjan’s
    agreement to a specific protocol for having the parties’ discovery dispute
    resolved if future court intervention was necessary. See Ex. B. Finjan
    completely disregarded the conditions upon which Trustwave relied when
    Trustwave agreed to withdraw its prior motion for protective order.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 446 of 624 PageID #: 452



flowing from KPMG’s initial “inspection” discussed during the Hearing as if the

matter has never been addressed by this Court.

       Trustwave respectfully requests that this Court deny Finjan’s MTC and issue

an order limiting the scope of discovery consistent with the Court’s Order.

 II.   ARGUMENT 6

          a. Improper Requests Seeking Documents and Information
             regarding Trustwave Cybersecurity Sales Unrelated to Singtel
             Activity – Specifically Excluded by the Court’s Order

       This Court specifically noted that Trustwave is fully-paid up and owes

nothing for its ongoing existing business (see generally Hearing Transcript at

22:15-36:4), yet Finjan’s discovery requests seek wide-ranging information and

documents concerning all of Trustwave’s sales of cybersecurity products since

January 1, 2013. See, e.g., Interrogatories Nos. 2-9, 19, 21-24; RFP Nos. 2-9, 19,

21-24, 28-35. Finjan’s prior counsel conceded that Trustwave’s post-acquisition

sales unrelated to Singtel could not trigger royalties under the Agreement:

       COURT: What I think I've done here is at least set forth: This is what
       everyone agrees the dispute is about. The dispute is about whether
       the acquiring company is now using your product. Period. They're
       not using your product, Trustwave doesn't owe you anything. If
       Singtel is using your product, they now have an obligation to tell you
       and to pay royalties on it. I don't think that's -- that's not complicated.
       How you figure that out, how do you come to that conclusion? How

6
    The scope of discovery is limited to information “that is relevant to [a] claim or
    defense and proportional to the needs of the case,” and “shall be limited by the
    Court” if it is unreasonably cumulative or duplicative or unduly burdensome or
    expensive. Id.

                                           6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 447 of 624 PageID #: 453



      do you know? I don't know. I mean, and you want me to let you to
      continue discovery so you can find that out. They say the suit's against
      Trustwave and not Singtel. And if it's a patent infringement, go to the
      district court and file a patent infringement.

      MR. COOPER: Well, I think Your Honor has it exactly right. The
      only thing that I would ask is that we get the kind of information from
      Trustwave that is set forth in 3.4. And then we can resolve it. We can
      do exactly what Your Honor said, the businessmen can go resolve it.

Transcript at 42:18-43:17 (emphasis added). With its discovery requests, however,

Finjan ignores the Court’s directives, as illustrated in the following example:

      INTERROGATORY NO. 3:
      Identify and describe the products, services, and/or subscriptions
      comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS,
      including providing a list of all models, stock keeping units (SKUs),
      version numbers, and release dates.

This request concerns all Trustwave cybersecurity products and is not limited to

products arguably covered by the parties’ Agreement, let alone products sold to

Singtel since the acquisition. It seeks the same information (though, with no time

limitations) that was the subject of the KPMG Inspection, which this Court noted

was likely irrelevant to the extent it related to Trustwave’s own business. Hearing

Transcript at 28:22-29:9 and 34:12-15.

      Finjan’s Interrogatories Nos. 2-9, 19, 21-24 and Requests for Production

Nos. 2-9, 19, 21-24, 28-35 likewise improperly seek documents and information

concerning Trustwave cybersecurity sales unrelated to Singtel activity. Trustwave




                                          7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 448 of 624 PageID #: 454



has agreed to provide documents and information in its possession concerning all

Trustwave sales of products to Singtel since the August 31, 2015 acquisition.

          b. Improper Requests Seeking Documents and Information
             regarding Singtel Cybersecurity Sales Unconnected to Trustwave

       Likewise, the Court specifically noted that Singtel is not a party to this case

and Singtel sales unconnected to Trustwave products are not governed by this

action. Hearing Transcript at 38:14-18. Yet, Finjan’s requests seek wide-ranging

information and documents concerning all of Singtel’s sales of cybersecurity

products. See, e.g., Interrogatories Nos. 10-18, 20, 25-28; RFP Nos. 10-18, 20, 25-

28, 31-35. Finjan not only seeks documents that well precede the date of the

Singtel acquisition (August 31, 2015), but also seeks discovery concerning every

sale by Singtel of third-party products (i.e., purchased from independent third-

parties such as Microsoft and having nothing to do with Trustwave whatsoever).

Not only does Trustwave, of course, not have any information concerning these

transactions 7, but they are not transactions that could in any way trigger royalties


7
    Trustwave is one of dozens of Singtel’s subsidiaries. Singtel is not a named
    Defendant, and, naturally, Trustwave does not have access to Singtel’s internal
    accounting systems and documents.         See McLachlan Decl.; see also
    Theravectys SA v. Immune Design Corp., 2014 WL 5500506, at *2 (Del. Ch.
    Oct. 31, 2014). The cases cited by Finjan in its MTC that allegedly support
    finding Trustwave in control of Singtel materials are factually distinct and
    inapplicable. First, the cited cases either examine a parent’s control of a
    subsidiary’s record (here we have the opposite) or factually inapposite
    scenarios. Finjan’s authority actually supports Trustwave’s position that
    Singtel’s materials are not under Trustwave’s control. See, e.g., Princeton
    Digital Image Corp. v. Konami Digital Entertainment Inc., 316 F.R.D. 89, 90

                                          8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 449 of 624 PageID #: 455



under the Agreement. Nonetheless, Finjan seeks discovery into all Singtel

cybersecurity products sold at anytime, anywhere in the world. For example,

Finjan seeks:

       INTERROGATORY NO. 10:
       Identify and describe the products, services, and/or subscriptions
       comprising SINGTEL’S CYBERSECURITY PRODUCTS, including
       providing a list of all models, stock keeping units (SKUs), version
       numbers, and release dates.

Finjan alleges Trustwave owes royalties for sales of its products through Singtel.

Thus, the only arguably proper discovery is directed to materials in Trustwave’s

possession concerning Trustwave sales of cybersecurity products to Singtel, which

Trustwave agreed to provide.      Finjan, though, does not limit its requests to

Trustwave-connected activities but, instead, seeks information on all Singtel

cybersecurity products sold at anytime, anywhere, regardless of whether they could

possibly be covered by the Agreement. 8 Finjan’s Interrogatories Nos. 10-18, 20,

25-28 and Requests for Production Nos. 10-18, 20, 25-28, 31-35, likewise,


    (D. Del. 2016)(movant had not carried its burden in demonstrating that the
    litigating party had the “legal right to obtain the documents required on
    demand” from the non-party corporation). Here, Finjan has not carried its
    burden and Trustwave has unrebutted testimony that it cannot obtain Singtel
    materials unrelated to Trustwave. See McLachlan Decl.
8
    To trigger royalties, a product must at least (1) be “branded under Licensee’s
    and/or its Affiliates’ trademarks or brands” and (2) infringe a valid claim of a
    Licensed Patent identified in the Agreement. With respect to (1), Singtel sales
    of non-Trustwave products are not branded under Trustwave or its Affiliates
    trademarks or brands. With respect to (2), the Licensed Patents in the
    Agreement does not include a Singaporean patent; thus there can be no
    qualifying patent infringement in that jurisdiction.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 450 of 624 PageID #: 456



improperly seek information and documents concerning Singtel cybersecurity sales

unconnected to Trustwave.

          c. Improper Requests Seeking Documents and Information related
             to Finjan’s Counts Two and Three regarding the Prior Audit

       The Court’s Order made it clear that all discovery on Counts Two and Three

concerning a prior audit Finjan sought (citing the Agreement) was stayed:

       The cost obligations alleged in Counts Two and Three of the
       Complaint will await the outcome of the discovery which the Court
       has authorized.

Order at p. 2.9 Yet, Interrogatory No. 41 and Document Requests 38-40 seek

information concerning Section 3.4 of the Agreement, which covers the

inspection/audit provision that forms the basis for Finjan’s Counts Two and Three.

III.   CONCLUSION

       Trustwave respectfully requests that the Court deny Finjan’s MTC, issue a

protective order limiting the scope of Finjan’s First Set of Interrogatories and First

Set of Requests for Production to the scope of discovery set by the Court’s Order,

and award Trustwave its fees pursuant to Rule 37(a)(4).




9
    This Court questioned the value of the prior audit performed by Finjan’s
    auditors. See Order p. 2 (“it appears the Plaintiff was requesting an audit of
    matters that may not be required under the Agreement”); see also Hearing
    Transcript at 34:12-15.

                                         10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 451 of 624 PageID #: 457



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October 4, 2019




                                      11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 452 of 624 PageID #: 458



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                                                EFiled: Oct 04 2019 04:20PM EDT
                                                Transaction ID 64278078
                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 454 of 624 PageID #: 460
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 455 of 624 PageID #: 461



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                                                EFiled: Oct 04 2019 04:20PM EDT
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                                                Case No. N18C-04-006 WCC CCLD
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 457 of 624 PageID #: 463
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 458 of 624 PageID #: 464
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 459 of 624 PageID #: 465



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                                                EFiled: Oct 04 2019 04:20PM EDT
                                                Transaction ID 64278078
                                                Case No. N18C-04-006 WCC CCLD
              IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 FINJAN, INC.                                )
                                             )
                       Plaintiff,            )
                                             )
         v.                                  ) C.A. No. N18C-04-006 WCC CCLD
                                             )
 TRUSTWAVE HOLDINGS, INC.,                   )
                                             )
                       Defendant.            )



                   DECLARATION OF J. LAWRENCE PODMOLIK

         I, J. Lawrence Podmolik, declare as follows:

    1.        I have been employed by Trustwave Holdings, Inc. (“Trustwave”) since

 June 2007 as Trustwave’s Chief Technology Officer.

    2.        I make this declaration based on personal knowledge.

    3.        On   August 31, 2015        Trustwave     was   acquired   by Singapore

 Telecommunications Limited (“Singtel”) (the “Acquisition”).

    4.        Trustwave has not assigned or licensed to Singtel any rights covered by or

 under the Finjan-Trustwave March 2012 AMENDED AND RESTATED PATENT

 LICENSE AGREEMENT (the “Agreement”).

    5.        Other than sales in the ordinary course of products and software as would

 be made to other re-sellers, Trustwave has not transferred to, or shared with, Singtel
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 461 of 624 PageID #: 467




 any cybersecurity technology or proprietary know-how relating to any products it

 has sold commercially or offered for sale.

    6.      Since the acquisition, Trustwave has sold to Singtel and certain of its

 affiliates cybersecurity software and products as it does other customers and re-

 sellers.

    7.      Trustwave has not authorized or assisted in any way Singtel using

 Trustwave brand names on non-Trustwave cybersecurity products, nor does

 Trustwave have any knowledge of such re-branding being done by Singtel.

         I declare under penalty of perjury under the laws of the United States of

 America and the State of Delaware that the foregoing is true and correct.



 Date: August 20, 2019

                                              J. Lawrence Podmolik




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 462 of 624 PageID #: 468



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 463 of 624 PageID #: 469
                                                EFiled: Oct 04 2019 04:20PM EDT
                                                Transaction ID 64278078
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                              )
                                          )
                   Plaintiff,             )
                                          ) C.A. No. N18C-04-006 WCC CCLD
      v.                                  )
                                          )
TRUSTWAVE HOLDINGS, INC.,                 )
                                          )
                   Defendant.             )

     RULE 37(e)(1) CERTIFICATION IN SUPPORT OF DEFENDANT
     TRUSTWAVE HOLDINGS, INC.’S RESPONSE TO PLAINTIFF’S
                 CORRECTED MOTION TO COMPEL

      John S. Letchinger hereby certifies:

      1.     I am admitted to this Court pro hac vice and an attorney at Baker

Hostetler LLP, attorneys for Defendant Trustwave Holdings, Inc. (“Trustwave”). I

have knowledge of the facts set forth in this Certification, which I make on behalf

of Trustwave and submit this Certification in support of Trustwave’s Response to

Plaintiff’s Corrected Motion to Compel (the “Response”).

      2.     Plaintiff Finjan, Inc. (“Finjan”) served its First Set of Interrogatories

(“Interrogatories”) and First Set of Requests for Production (“Document

Requests”) on March 13, 2019.

      3.     On April 9, 2019, counsel for Trustwave informed prior counsel of

record for Finjan that the scope of the discovery requests exceeded the permissible
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 464 of 624 PageID #: 470



scope of discovery pursuant to the Court’s February 11, 2019 Letter Opinion (the

“Opinion”) and requested to meet and confer.

      4.     Finjan’s prior counsel agreed to meet and confer after Trustwave

served its responses and objections to the discovery requests. Trustwave agreed,

and, by email on April 12, 2019, counsel for Trustwave further explained its

position on the overbreadth of the discovery responses.

      5.     Trustwave served its responses and objections to the Interrogatories

and Document Requests on April 12, 2019.

      6.     On April 15, 2019, counsel for the parties met and conferred on the

scope of Finjan’s discovery requests.         As a result of the meet and confer,

Trustwave agreed to continue further discussions to attempt to reach a resolution.

      7.     On April 23, 2019, counsel for the parties met and conferred a second

time on the scope of Finjan’s discovery requests, and each side agreed to follow up

on several questions that arose during the call.

      8.     On April 30, 2019 by email, counsel for Trustwave followed up on the

outstanding issues by providing counsel for Finjan certain additional information.

As of the date of filing Trustwave’s Motion for Protective Order, counsel for

Finjan had not followed up with Trustwave on the issues raised on the call.

      9.     On May 7 and 8, counsel for the parties exchanged emails regarding

scheduling a hearing for Trustwave’s forthcoming Motion for Protective Order. In


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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 465 of 624 PageID #: 471



those emails, counsel for Trustwave expressed its willingness to continue to

engage in discussions to attempt to resolve or narrow the discovery issues

described in the Motion for Protective Order. Counsel for Finjan stated that it

would confer with its client on the scope of the discovery requests and then

respond to Trustwave’s position as to the scope of Finjan’s discovery requests.

Finjan’s prior counsel failed to follow up with Trustwave on the scope of discovery

or otherwise agree to modify its requests in any way.

      10.   On May 29, Trustwave filed its Motion for Protective Order and

served copies on Finjan’s prior counsel. A true and correct copy of Trustwave’s

May 29, 2019 Motion for Protective Order is attached hereto as Exhibit A. The

Motion for Protective Order was scheduled to be heard on June 12. On June 5,

Finjan’s prior counsel requested an extension of time for Finjan to file its

opposition to Trustwave’s Motion for Protective Order and a continuance of the

June 12 hearing because Finjan was substituting all prior counsel with new

counsel. Trustwave agreed and filed a letter on June 6 asking the Court to move

the hearing from June 12 to June 19.

      11.   Based on commitments from Finjan’s new counsel, Trustwave filed a

letter on June 13 requesting that the hearing on June 19 be withdrawn from the

Court’s calendar.    A true and correct copy of the email communication

memorializing counsel’s agreement upon which Trustwave agreed to withdraw the


                                         3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 466 of 624 PageID #: 472



oral argument date for its Motion for Protective Order is attached hereto as Exhibit

B. Based on Trustwave’s agreement to withdraw the June 19 hearing, Finjan’s

new counsel agreed to the following conditions:

      (a) Finjan would respond in writing to Trustwave’s position on discovery (as

            outlined in exchanges with Finjan’s prior counsel and in Trustwave’s

            Original Motion), including any bases for contesting what Trustwave

            believes is the appropriate scope of discovery in light of the Court’s

            February 11, 2019 Order regarding Trustwave’s motion to dismiss;

      (b) If a dispute regarding the proper scope of discovery remained, then the

            parties’ counsel would again meet and confer in an effort to continue to

            explore potential resolution;

      (c) If the parties were ultimately unable to resolve the discovery dispute,

            then the parties would choose a mutually agreeable date after July to re-

            notice Trustwave’s motion for protective order and Finjan would agree to

            provide Trustwave with Finjan’s responsive brief to Trustwave’s motion

            for protective order at least 10 days prior to any new hearing date.

      12.      On June 21, Finjan’s new counsel provided a letter in which it made

no compromises regarding Finjan’s position regarding the proper scope of

discovery and, in fact, indicated that it would seek more expansive discovery than

Finjan’s prior counsel was seeking. It also appeared from Finjan’s letter that


                                            4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 467 of 624 PageID #: 473



Finjan intended through discovery motions to seek reconsideration of the Court’s

February 11, 2019 Order regarding Trustwave’s motion to dismiss. In order to

clarify Finjan’s position, Trustwave’s counsel sought confirmation of two points

that Trustwave believed to have been resolved by the Court’s February 11, 2019

Order:

      (a) “As it relates to section (1) of your letter, you appear to take the position

         that all post-acquisition Trustwave sales, not just those to Singtel or

         affiliates (save those that are covered by the Existing Business exception

         under the License Agreement) continue to be subject to royalties

         notwithstanding acknowledgements by counsel during oral argument

         and, more importantly, Judge Carpenter’s Order. Please confirm or

         correct us by return email or letter. If that is your position, we also ask

         that you explain your position in light of the ultimate holding on the issue

         in Judge Carpenter’s Order – ‘As a result, Finjan’s suit for breach of

         contract may proceed, but only to determine whether or not Singtel is

         actually using the patent technology that would trigger royalty payments

         under the Agreement.’”

      (b) “As it relates to section (2) of your letter, we reiterate that Trustwave has

         no access to Singtel information. Putting that aside, we need clarification

         on the substance of the issue. Is it Finjan’s current position that Singtel


                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 468 of 624 PageID #: 474



            transactions that are completely unrelated to Trustwave (e.g., sales of

            unrelated, third-party products by Singtel to Singtel customers) somehow

            trigger Singtel royalty obligations under the License Agreement?”

A true and correct copy of the email posing these two questions is attached hereto

as Exhibit C. To date, Finjan’s new counsel has refused to answer these two

simple questions in writing.

      13.      The parties’ counsel held calls on August 2 and 16 regarding

Trustwave’s Motion for Protective Order. During the call on August 16, Finjan’s

counsel did not contest Trustwave’s position that both Trustwave sales unrelated to

Singtel and Singtel sales unrelated to Finjan are not subject to royalty obligations

under the parties’ Agreement or within the scope of discovery in this action, but

Finjan’s counsel noted that Finjan was not comfortable so stipulating in writing at

that point. Instead, as an interim step (and, one that hopefully would facilitate

resolution of the discovery dispute if not settlement of the case), Finjan’s counsel

proposed having KPMG review sales data for Trustwave’s sales of Trustwave

products to Singtel (and Singtel’s affiliates) applying the same logic as with the

prior KPMG inspection. Trustwave reiterated its view that it would need to

proceed to hearing on its motion for protective order if Finjan continued in its

refusal to work towards a written confirmation on the scope of discovery, but




                                          6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 469 of 624 PageID #: 475



counsel agreed that the KPMG exercise would be useful and would recommend

same to Trustwave.

      14.     Trustwave subsequently agreed with Finjan’s proposal. A true and

correct copy of Trustwave’s counsel’s email agreeing to submit the universe of

relevant data to KPMG for analysis is attached hereto as Exhibit D. A true and

correct copy of Trustwave’s counsel’s email with KPMG regarding production of

Trustwave sales data to KPMG for analysis of what could be deemed a covered

product under the license agreement is attached here to as Exhibit E.

      15.     Without notice, on August 22, Finjan’s counsel filed a motion for

leave to file a motion to compel under seal. Finjan’s counsel never mentioned a

motion to compel in prior correspondence or phone conversations with

Trustwave’s counsel. Finjan’s counsel did not provide an explanation for why they

were refusing to continue discussions regarding Trustwave’s motion for protective

order or comply with Finjan’s prior commitments upon which Trustwave relied

when it withdrew its hearing date for its motion for protective order nearly three

months ago.

      16.     The Rule 37(e)(1) certification accompanying Finjan’s original

motion to compel failed to acknowledge the parties’ agreement to submit the

relevant financial data to KPMG.       Moreover, the Rule 37(e)(1) certification

accompanying Finjan’s corrected motion to compel again fails to note the parties’


                                         7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 470 of 624 PageID #: 476



agreement or relevant emails on the subject. A true and correct copy of an email

from Finjan’s counsel acknowledging counsel’s failure to disclose the parties’

agreements (this being prior to Finjan filing its Corrected Motion to Compel) is

attached as Exhibit F.

      17.    A copy of the transcript from the November 19, 2018 hearing on

Trustwave’s motion to dismiss is attached hereto as Exhibit G.


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October 4, 2019



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 471 of 624 PageID #: 477



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                                                EFiled: Oct 04 2019 04:20PM EDT
                                                Transaction ID 64278078
                                                Case No. N18C-04-006 WCC CCLD




         EXHIBIT A
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 473 of 624 PageID #: 479



              IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                                    )
                                                )
                       Plaintiff,               )
                                                )
         v.                                     ) C.A. No. N18C-04-006 WCC CCLD
                                                )
TRUSTWAVE HOLDINGS, INC.,                       )
                                                )
                       Defendant.               )

         DEFENDANT TRUSTWAVE HOLDINGS, INC.’S MOTION FOR
                       PROTECTIVE ORDER
         Defendant Trustwave Holdings, Inc. (“Trustwave”) respectfully moves this

Court pursuant to Delaware Superior Court Civil Rule 26(c) for a protective order

limiting the scope of Plaintiff Finjan, Inc.’s (“Finjan”) First Set of Interrogatories

(“Interrogatories”) and First Set of Requests for Production (“Document

Requests”)1 to the scope of discovery set by the Court’s February 11, 2019 Letter

Opinion (“Order”) – namely, “whether or not Singtel is actually using the patent

technology that would trigger royalty payments under the Agreement”.

    I.   INTRODUCTION

         In its Order, this Court denied Trustwave’s Motion to Dismiss, but narrowly

defined the sole issue in dispute and corresponding scope of discovery accordingly:

         As a result, Finjan’s suit for breach of contract may proceed, but only
         to determine whether or not Singtel is actually using the patent
         technology that would trigger royalty payments under the Agreement.
1
     The Interrogatories and Document Requests are attached as Exhibits A and B, respectively.

                                                1
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 474 of 624 PageID #: 480



       The cost obligations alleged in Counts Two and Three of the
       Complaint will await the outcome of the discovery which the Court
       has authorized.

Order at p.2. Finjan’s recent discovery requests, 46 interrogatories and 42 requests

for production, show that it has categorically disregarded this Court’s Order. 2 In

fact, Finjan’s discovery requests almost exclusively seek discovery on topics

specifically excluded by this Court’s Order, such as (1) Trustwave cybersecurity

sales unrelated to Singtel, (2) Singtel cybersecurity sales unconnected to

Trustwave, and (3) Finjan’s Counts Two and Three regarding a prior audit.3

Trustwave, accordingly, seeks a protective order limiting Finjan’s discovery to the

scope set forth by this Court in its Order.

       This is a breach of contract suit based on a March 2012 license agreement

between Plaintiff Finjan and Defendant Trustwave (“Agreement”, as defined by

the Court in its Order).        At the Hearing, the Court’s questioning led to the

following exchanges concerning what might trigger royalty obligations:

       COURT: What I think I’ve done here is at least set forth: This is what
       everyone agrees the dispute is about. The dispute is about whether the

2
    At the November 19, 2018 hearing concerning Trustwave’s motion to dismiss (“Hearing”),
    the Court strongly encouraged representatives from Trustwave and Finjan to seek a business
    resolution of this dispute. See Hearing Transcript at 36:6-38:25. Accordingly, Trustwave’s
    General Counsel, Joel Smith, spoke with Finjan’s Chief Intellectual Property Officer and
    Vice President of Legal Operations, Julie Mar-Spinola and offered to voluntarily provide
    information that Trustwave believed would help resolve this matter, but Ms. Mar-Spinola
    failed to provide a material response. See Smith Decl. ¶¶ 3-11.
3
    Counsel for the parties met and conferred regarding the motion, but were unable to reach a
    resolution on the scope of discovery. See Rule 37(e)(1) Certification attached hereto.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 475 of 624 PageID #: 481



       acquiring company is now using your product. Period. They’re not
       using your product, Trustwave doesn't owe you anything.

See Hearing Transcript (“Hearing Transcript”) at 42:18-43:4; see also Order at p.

2. Based on the Court’s Order, Trustwave expected that discovery would target: (i)

licensing activity from Trustwave to Singtel concerning the License Agreement,

(ii) Trustwave’s transfer of cybersecurity technology or proprietary know-how to

Singtel and/or (iii) Trustwave’s sales to Singtel of cybersecurity products covered

by the License4. Consistent with the Order, Trustwave has confirmed via sworn

declaration (and in its discovery responses) that none of the activity covered by

topics (i) and (ii) above has occurred and has agreed to provide the sales data under

category iii. See Declaration of J. Lawrence Podmolik.

       Simply put, Finjan’s discovery requests ignore this Court’s Order. Instead

of abiding by the limitations in the Order, Finjan served 46 interrogatories and 42

requests for production seeking wide-ranging discovery on all Trustwave and


4
    A significant number of Finjan’s discovery requests leverage historical public statements,
    including press releases, that proclaim the hope of expanding Trustwave’s sales via Singtel’s
    acquisition of Trustwave (i.e., where Trustwave could expand its reaches through Singtel as a
    reseller of Trustwave’s products). Most recently, Finjan cites a December 2018 press release
    concerning corporate restructuring in which cybersecurity subsidiaries will operate
    worldwide under the Trustwave brand.            This corporate reconfiguration will allow
    management to track the performance of all cybersecurity operations, while leveraging the
    Trustwave brand. From the acquisition on August 31, 2015 to present, however, other than
    sales in the ordinary course of products and software as would be made to other re-sellers,
    Trustwave has not transferred to, or shared with, Singtel any cybersecurity technology or
    proprietary know-how relating to any products it has sold commercially or offered for sale.
    In order to comply with the Court’s Order, as detailed in its responses to the Interrogatories
    and Document Requests, Trustwave is endeavoring to supply data on all post-acquisition
    sales of products from Trustwave to Singtel and other Singtel subsidiaries.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 476 of 624 PageID #: 482



Singtel activities related to cybersecurity software as well as that related to Counts

Two and Three of Finjan’s Complaint.                    This Court specifically noted that

Trustwave is fully-paid up and owes nothing for its ongoing business (see generally

Hearing Transcript at 22:15-36:4), yet Finjan’s requests seek wide-ranging

information and documents concerning all of Trustwave’s sales of cybersecurity

products since January 1, 2013. See Ex. A at Interrogatories Nos. 2-9, 19, 21-24;

Ex. B at Requests for Production Nos. 2-9, 19, 21-24, 28-35. As the definition of

“TRUSTWAVE’S CYBERSECURITY PRODUCTS” in Finjan’s requests shows,

Finjan’s requests are neither limited to sales of Trustwave products to Singtel nor

even temporally limited consistent with the Singtel acquisition date:

       “TRUSTWAVE’S CYBERSECURITY PRODUCTS” means
       cybersecurity products, services, and/or subscriptions, including
       hardware, software, and/or any combination of hardware and
       software, used to protect, defect, or remedy, cybersecurity issues such
       as viruses, worms, malware, denial of service attacks, and/or other
       cybersecurity issues, manufactured, used, sold, and/or offered by
       TRUSTWAVE since January 1, 2013.

Id. at p. 2.

       Likewise, the Court specifically noted that Singtel is not a party to this case

and Singtel sales unconnected to Trustwave products are not governed by this

action5. Yet, as the definition of “SINGTEL’S CYBERSECURITY PRODUCTS”


5
    See, e.g., Hearing Transcript at 38:14-18 (“THE COURT: And if you want to sue Singtel
    because they’re using your patent now inappropriately, go for it. District court is up the street
    two blocks. That’s the patent infringement world.”).

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 477 of 624 PageID #: 483



shows, Finjan’s requests seek wide-ranging information and documents concerning

all of Singtel’s sales of cybersecurity products:

       “SINGTEL’S         CYBERSECURITY             PRODUCTS”           means
       cybersecurity products, services, and/or subscriptions, including
       hardware, software, and/or any combination of hardware and
       software, used to protect, defect, or remedy, cybersecurity issues such
       as viruses, worms, malware, denial of service attacks, and/or other
       cybersecurity issues, manufactured, used, sold, and/or offered by
       SINGTEL since January 1, 2013.

See Ex. A at pp. 1-2; see also Interrogatories Nos. 10-18, 20, 25-28; Ex. B at

Requests for Production Nos. 10-18, 20, 25-28, 31-35. Finjan not only seeks

documents that well precede the date of the Singtel acquisition (August 31, 2015),

but also seeks discovery concerning every sale by Singtel of third-party products

(i.e., purchased from independent third-parties such as Microsoft and having

nothing to do with Trustwave whatsoever). Not only does Trustwave, of course,

not have any information concerning these transactions6, but they are not

transactions that could in any way trigger royalties under the Agreement.

       Finjan’s requests clearly ignore this Court’s Order specifically delineating

the one substantive issue in the case and the limitations on discovery. Trustwave,



6
    Trustwave is one of dozens of Singtel’s subsidiaries. Singtel is not a named Defendant, and,
    naturally, Trustwave does not have access to Singtel’s internal accounting systems and
    documents (no more than Dairy Queen (a wholly owned subsidiary of Berkshire Hathaway)
    would have the ability to access Berkshire Hathaway’s internal accounting systems,
    transaction data and reports). See Michelle McLachlan Decl.; see also Theravectys SA v.
    Immune Design Corp., 2014 WL 5500506, at *2 (Del. Ch. Oct. 31, 2014).


                                               5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 478 of 624 PageID #: 484



thus, respectfully requests that this Court issue a protective order limiting the scope

of the Interrogatories and Document Requests consistent with the Court’s Order.

 II.   ARGUMENT 7

       Finjan’s improper requests fall into three categories: (1) requests regarding

Trustwave cybersecurity sales unrelated to Singtel and otherwise made in

Trustwave’s own business, (2) requests regarding Singtel cybersecurity sales

unconnected to Trustwave—i.e. Singtel’s business activity prior to the Trustwave

acquisition or otherwise having nothing to do with Trustwave, and (3) requests

relating to Finjan’s Counts Two and Three.

           a. Improper Requests Seeking Documents and Information
              Regarding Trustwave Cybersecurity Sales Unrelated to Singtel
              Activity – Specifically Excluded by the Court’s Order

       At the Hearing, Finjan’s counsel agreed that Trustwave’s post-acquisition

sales unrelated to Singtel could not trigger royalties under the Agreement:

       COURT: What I think I've done here is at least set forth: This is what
       everyone agrees the dispute is about. The dispute is about whether
       the acquiring company is now using your product. Period. They're
       not using your product, Trustwave doesn't owe you anything. If
       Singtel is using your product, they now have an obligation to tell you
       and to pay royalties on it. I don't think that's -- that's not complicated.
       How you figure that out, how do you come to that conclusion? How
       do you know? I don't know. I mean, and you want me to let you to
7
    This Court may enter a protective order “to protect a party or person from annoyance,
    embarrassment, oppression, or undue burden or expense . . .” Super. Ct. Civ. R. 26(c). The
    scope of discovery is limited to information “reasonably calculated to lead to admissible
    evidence,” Crowhorn v. Nationwide Mut. Ins. Co., 2002 WL 1767529, at *5 (Del. Super. Ct.
    July 10, 2002), and discovery “shall be limited by the Court” if it is unreasonably cumulative
    or duplicative or unduly burdensome or expensive, Super. Ct. Civ. R. 26(b)(1).

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 479 of 624 PageID #: 485



      continue discovery so you can find that out. They say the suit's against
      Trustwave and not Singtel. And if it's a patent infringement, go to the
      district court and file a patent infringement.

      MR. COOPER: Well, I think Your Honor has it exactly right. The
      only thing that I would ask is that we get the kind of information from
      Trustwave that is set forth in 3.4. And then we can resolve it. We can
      do exactly what Your Honor said, the businessmen can go resolve it.

Transcript at 42:18-43:17 (emphasis added). This understanding was confirmed in

the Court’s Order:

      The parties appear to agree that if Singtel, as the acquiring company,
      is now using the patent information in its business, additional royalties
      are required. They also reluctantly agree that if Singtel is not using
      the patent information and it is only being used for Trustwave's
      existing business, no additional royalties are required.

Order at p. 2 (emphasis added). With its discovery requests, however, Finjan

ignores the Court’s directives, as illustrated in the following example:

      INTERROGATORY NO. 3:
      Identify and describe the products, services, and/or subscriptions
      comprising TRUSTWAVE’S CYBERSECURITY PRODUCTS,
      including providing a list of all models, stock keeping units (SKUs),
      version numbers, and release dates.

See Ex. A at p. 8. This request concerns all Trustwave cybersecurity products and

is not limited to products arguably covered by the parties’ Agreement, let alone

products sold to Singtel since the acquisition. It seeks the same information

(though, with no time limitations) that was the subject of the KPMG Inspection,

which this Court noted at the Hearing was irrelevant to the extent it related to

Trustwave’s own business. Hearing Transcript at 28:22-29:9 and 34:12-15.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 480 of 624 PageID #: 486



       Finjan’s Interrogatories Nos. 2-9, 19, 21-24 and Requests for Production

Nos. 2-9, 19, 21-24, 28-35, likewise, improperly seek documents and information

concerning Trustwave cybersecurity sales unrelated to Singtel activity. For all of

these requests, Trustwave has agreed to provide documents and information in

Trustwave’s possession concerning Trustwave’s sales of products to Singtel since

the September 1, 2015 acquisition. 8 In accordance with the Order, Trustwave

requests that the Court impose a protective order that limits Finjan’s requests to

documents and information in Trustwave’s possession concerning Trustwave’s

sales of cybersecurity products to Singtel since the August 31, 2015 acquisition.

           b. Improper Requests Seeking Documents and Information
              Regarding Singtel Cybersecurity Sales Unconnected to Trustwave

       At the Hearing, the Court made it clear that Singtel activities unconnected to

Trustwave are outside the bounds of this action:

       COURT: And if you want to sue Singtel because they're using your
       patent now inappropriately, go for it. District court is up the street two
       blocks. That's the patent infringement world.

Hearing Transcript at 38:14-17. Again, this was confirmed in the Court’s Order:

       Finjan's suit for breach of contract may proceed, but only to determine
       whether or not Singtel is actually using the patent technology that
       would trigger royalty payments under the Agreement.



8
    Trustwave has agreed to provide information regarding the complete universe of its
    product/software sales to Singtel after the 2015 acquisition and to follow-up with information
    relevant to whether some of the sales could arguably trigger royalties under the Agreement.

                                                8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 481 of 624 PageID #: 487



Order at p. 2. Nonetheless, Finjan seeks discovery into all Singtel cybersecurity

products sold at anytime, anywhere in the world. For example, Finjan seeks:

       INTERROGATORY NO. 10:
       Identify and describe the products, services, and/or subscriptions
       comprising SINGTEL’S CYBERSECURITY PRODUCTS, including
       providing a list of all models, stock keeping units (SKUs), version
       numbers, and release dates.

Ex. A at p. 9. Singtel is not a party to this suit. The Agreement in dispute is

between Finjan and Trustwave. Finjan alleges Trustwave owes royalties for sales

of its products through Singtel.          Thus, the only arguably proper discovery is

directed to materials in Trustwave’s possession concerning Trustwave sales of

cybersecurity products to Singtel, which Trustwave agreed to provide. Finjan,

though, does not limit its requests to Trustwave-connected activities but, instead,

seeks information on all Singtel cybersecurity products sold at anytime, anywhere,

regardless of whether they could possibly be covered by the Agreement. 9

       Finjan’s Interrogatories Nos. 10-18, 20, 25-28 and Requests for Production

Nos. 10-18, 20, 25-28, 31-35, likewise, improperly seek information and

documents concerning Singtel cybersecurity sales unconnected to Trustwave. For

all of these requests Trustwave has agreed to provide documents and information


9
    Elaborating further on this point, Finjan seeks information and documents related to every
    sale by Singtel of non-Trustwave products and otherwise having nothing to do with
    Trustwave. Not only is Finjan plainly ignoring the Court’s Order, but it further ignores that
    the License does not cover any Singapore patents and Finjan does not own a patent in
    Singapore. All else aside, these sales are completely unrelated to Trustwave and the
    Agreement and, as such, are incapable of triggering royalties under the Agreement.

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 482 of 624 PageID #: 488



in Trustwave’s possession concerning Trustwave’s cybersecurity products sold to

Singtel since the August 31, 2015 acquisition. Trustwave respectfully requests that

the Court impose a protective order that limits Finjan’s requests accordingly.

            c. Improper Requests Seeking Documents and Information Related
               to Finjan’s Counts Two and Three regarding the Prior Audit

        The Court’s Order made it clear that all discovery on Counts Two and Three

concerning a prior audit Finjan sought (citing the Agreement) was stayed:

        The cost obligations alleged in Counts Two and Three of the
        Complaint will await the outcome of the discovery which the Court
        has authorized.

Order at p. 2.10 Yet, Interrogatory No. 41 and Requests for Production Nos. 38-40

seek information concerning Section 3.4 of the Agreement, which covers the

inspection/audit provision that forms the basis for Finjan’s Count Two and Three.

III.    CONCLUSION

        Trustwave respectfully requests that the Court grant this Motion and issue a

protective order limiting the scope of Finjan’s First Set of Interrogatories and First

Set of Requests for Production to the scope of discovery set by the Court’s Order.




10
     This Court has questioned the value of the prior audit performed by Finjan’s auditors. See
     Order at p. 2 (“it appears the Plaintiff was requesting an audit of matters that may not be
     required under the Agreement”); Hearing Transcript at 34:12-15 (“THE COURT: To me, the
     audit is simply a red herring thrown out there. Yeah, because your real dispute supposedly is
     that another company acquired Trustwave.”).

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 483 of 624 PageID #: 489




                                       MORRIS, NICHOLS, ARSHT &
                                       TUNNELL LLP


                                       /s/ Alexandra M. Cumings
OF COUNSEL:                            Jack B. Blumenfeld (#1014)
                                       Alexandra M. Cumings (#6146)
John S. Letchinger                     1201 North Market Street
BAKER& HOSTETLER LLP                   P.O. Box 1347
191 N. Wacker Drive, Suite 3100        Wilmington, DE 19899-1347
Chicago, IL 60606-1901                 (302) 658-9200
(312) 416-6200                         Attorneys for Defendant
                                       Trustwave Holdings, Inc.
Jared A. Brandyberry
BAKER& HOSTETLER LLP
1801 California Street, Suite 4400
Denver, CO 80202
(303) 764-4072

May 29, 2019




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 484 of 624 PageID #: 490



                         CERTIFICATE OF SERVICE

            I hereby certify that on May 29, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen L. Pascale, Esquire
                         Mary F. Dugan, Esquire
                         1000 North King Street
                         Wilmington, DE 19801




                                      /s/ Alexandra M. Cumings
                                      Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 485 of 624 PageID #: 491




          EXHIBIT B
      Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 486 of 624 PageID #: 492




From:                Letchinger, John S.
Sent:                Wednesday, June 12, 2019 10:33 AM
To:                  Vakil, Bijal V.
Cc:                  Brandyberry, Jared; Cumings, Alexandra
Subject:             [EXT] RE: Trustwave- Protective Order Motion


Bijal, I understand your interest in more time, as discussed yesterday, but your email is just a repeat of your opening
request yesterday that we simply give you more time. You omit the majority of what we discussed, which I outline
below:

    1. As of when we spoke, you had not read the License Agreement nor spoken with Finjan’s local counsel or lead
       counsel (John Cooper of the Farella Braun firm). As such, I inquired as to how you could be in a position to
       promise to work in good faith to substantively address the outstanding discovery issues and attempt to resolve
       same in short order. I also expressed concern that we had not been contacted by Farella Braun concerning the
       change in counsel, leaving us concerned about the posture of the case, namely, the Court has not been formally
       advised nor ruled on any proposed changes. I don’t recall exactly how the topic came up, but you further
       advised that it was your understanding that Farella Braun was remaining of record in the case, with the only
       substitution being with local Delaware counsel. You promised to advise on Farella Braun’s status going forward,
       as we made it clear that it is relevant to your request.
    2. As concerns moving the June 19 hearing date (first noticed for June 12), I advised you that Trustwave had been
       prepared to file the Motion over two months ago, but had repeatedly held off based on representations that
       Finjan intended to work towards resolution in light of Judge Carpenter’s MTD Order. We outlined our concerns
       and detailed what we would agree to produce, but never received a substantive response. We also repeatedly
       advised of material scheduling conflicts end of June and throughout July. With that background, I made it clear
       during our call yesterday that Trustwave would agree to withdraw the June 19 hearing date only with agreement
       to the following conditions: a. By end of next week, Finjan responds in writing to Trustwave’s position on
       discovery (as outlined in exchanges with Mary Dugan and in our Motion), including any bases for contesting
       what Trustwave believes is the appropriate scope of discovery in light of Judge Carpenter’s Order; b. If there is
       contest, we would spend some time on the phone (and, we’re happy to start with calls if that is easier, but we
       still request Finjan’s position in writing to eliminate the need for emails like this one) to continue to explore
       potential resolution; c. if we ultimately are not able to resolve the present discovery dispute, we would choose a
       mutually agreeable date after July to re‐notice the Motion, with Finjan agreeing to provide us with its response
       brief to Trustwave’s Motion for Protective Order 10 days prior to any new hearing date. Subject to no. 3 below,
       we do have authority from Trustwave to proceed with moving the June 19 hearing on the above conditions.
    3. You promised to confirm one way or another Mr. Cooper’s ongoing status in the litigation. As we made clear
       yesterday, we did not believe that Trustwave would be amenable to moving the June 19 date if Mr. Cooper is
       continuing as counsel for Finjan. It’s just not reasonable given he has been lead counsel on the matter from the
       onset, argued the motion to dismiss and we understood that he was actively involved in the discovery issue over
       the past months. Please confirm Farella Braun’s status one way or another.

To reiterate following yesterday’s call, our general approach is to always attempt to reach agreement on scheduling
issues with opposing counsel. This is a unique situation. We have received virtually no cooperation from day one
(starting with us being required to contend with a contested motion on the timing of our responsive pleading to the
Complaint). More importantly, Trustwave is working to bring this case to a close, while, from its perspective, Finjan is
attempting to start anew. While you indicated on our call that you have no intention of trying to re‐litigate matters that
the Court has already addressed, I’m sure you can understand Trustwave’s skepticism with additional counsel joining the
case who has not even read the operative agreement. That all said, Trustwave will agree to give you the time you are


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       Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 487 of 624 PageID #: 493
requesting provided that this is a true substitution of counsel and subject to you confirming agreement to the conditions
noted above. We look forward to working cooperatively going forward.

John

John Letchinger
Partner

One North Wacker Drive | Suite 4500
Chicago, IL 60606‐2841
T +1.312.416.6206

jletchinger@bakerlaw.com
bakerlaw.com



From: Vakil, Bijal V.
Sent: Wednesday, June 12, 2019 8:39 AM
To: Letchinger, John S. ; acummings@mnat.com
Cc: Karen Keller ; W&C Finjan Litigation Team
Subject: Trustwave‐ Protective Order Motion

John and Ali‐
Thanks for your time on the phone yesterday.

In view of our discussion, Finjan confirms that it will agree to Trustwave’s proposal to withdraw the pending
motion and highlight to the court that the parties are working together to try to resolve the issues presented.

We look forward to that withdrawal. Please let us know when you are both free next week to schedule an
hour or two for a meet and confer.

Thanks.




bijal v. vakil | partner
white & case llp | bijal@whitecase.com
t.+1.650.213.0303 | m.+1.415.517.5596

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         Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 488 of 624 PageID #: 494

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 489 of 624 PageID #: 495




          EXHIBIT C
         Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 490 of 624 PageID #: 496




From:                 Letchinger, John S.
Sent:                 Monday, July 1, 2019 5:54 PM
To:                   Vakil, Bijal V.
Cc:                   Brandyberry, Jared; Cumings, Alexandra
Subject:              RE: Trustwave Litigation


Bijal:

         We have reviewed your letter, which has left us unclear with respect to Finjan’s most recent position on the
scope of products that Finjan believes are subject to the royalty inquiry, especially in light of discussions with prior
counsel. We believe Judge Carpenter’s Order was clear on the issue, but in order to attempt to focus any live
discussions, we have a few questions:

         1. As it relates to section (1) of your letter, you appear to take the position that all post‐acquisition Trustwave
            sales, not just those to Singtel or affiliates (save those that are covered by the Existing Business exception
            under the License Agreement) continue to be subject to royalties notwithstanding acknowledgements by
            counsel during oral argument and, more importantly, Judge Carpenter’s Order. Please confirm or correct us
            by return email or letter. If that is your position, we also ask that you explain your position in light of the
            ultimate holding on the issue in Judge Carpenter’s Order ‐‐ “As a result, Finjan’s suit for breach of contract
            may proceed, but only to determine whether or not Singtel is actually using the patent technology that
            would trigger royalty payments under the Agreement”.
         2. As it relates to section (2) of your letter, we reiterate that Trustwave has no access to Singtel
            information. Putting that aside, we need clarification on the substance of the issue. Is it Finjan’s current
            position that Singtel transactions that are completely unrelated to Trustwave (e.g., sales of unrelated, third‐
            party products by Singtel to Singtel customers) somehow trigger Singtel royalty obligations under the
            License Agreement?


John Letchinger
Partner


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T +1.312.416.6206

jletchinger@bakerlaw.com
bakerlaw.com




From: Vakil, Bijal V. <bijal@whitecase.com>
Sent: Thursday, June 27, 2019 11:58 AM
To: acumings@mnat.com; Letchinger, John S. <jletchinger@bakerlaw.com>
Cc: W&C Finjan Litigation Team <WCFinjanLitigationTeam@whitecase.com>; Karen Keller <kkeller@shawkeller.com>
Subject: RE: Trustwave Litigation

John and Ali‐

Checking in. Karen has called Ali as well. We would like to speak soon.

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      Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 491 of 624 PageID #: 497
Thanks.




Bijal V. Vakil | Partner
O +1 650 213 0303 | M + 1 415 517 5596
bijal@whitecase.com | bio | post


From: Vakil, Bijal V.
Sent: Wednesday, June 26, 2019 10:51 PM
To: acumings@mnat.com; 'Letchinger, John S.' <jletchinger@bakerlaw.com>
Cc: W&C Finjan Litigation Team <WCFinjanLitigationTeam@whitecase.com>; Karen Keller <kkeller@shawkeller.com>
Subject: RE: Trustwave Litigation

John and Ali‐
Time to speak Friday?
Thanks.




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bijal@whitecase.com | bio | post


From: Vakil, Bijal V.
Sent: Friday, June 21, 2019 3:36 PM
To: acumings@mnat.com; Letchinger, John S. <jletchinger@bakerlaw.com>
Cc: W&C Finjan Litigation Team <WCFinjanLitigationTeam@whitecase.com>; Karen Keller <kkeller@shawkeller.com>
Subject: Trustwave Litigation

Ali and John‐
Please see the attached.




Bijal V. Vakil | Partner
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bijal@whitecase.com | bio | post



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      Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 492 of 624 PageID #: 498
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 493 of 624 PageID #: 499




          EXHIBIT D
       Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 494 of 624 PageID #: 500




From:                Letchinger, John S.
Sent:                Thursday, August 22, 2019 2:13 PM
To:                  Vakil, Bijal V.
Subject:             Re: Trustwave - Follow Up


Bijal, Trustwave has agreed to proceed with making a production of sales data to KPMG relating to Trustwave sales to
Singtel and Singtel affiliates in as similar a form and per the same conditions as prior productions to KPMG. While Finjan
has remained unwilling to commit in writing to any of our proposed stipulations concerning the scope of the case (as
track from our original motion for protective order and subsequent communications), you have indicated general
agreement and urged us to trust your good intentions. It is in that spirit that we are agreeing to move forward in this
fashion, with a settlement meeting with parties and KPMG to follow KPMG’s analysis of the data.

I got stuck in Los Angeles for an extra day. I committed to getting back to you by today, which is the purpose for this
email. I will be in tomorrow and we can formalize each side’s understandings of this interim step. That said, I want to
make sure it is clear that our agreeing to involve KPMG is without waiver of any of Trustwave’s defenses, positions, etc.

I am just about to board a flight back to Chicago. Assuming you are available, I’ll speak with you tomorrow.

John

On Aug 19, 2019, at 11:46 AM, Vakil, Bijal V. <bijal@whitecase.com> wrote:

        John-
        Thanks for your call today to follow up on our ongoing discussions.

        In response to our concern that we were unable to make any stipulations as a precursor to
        documents provided to KPMG for their input and analysis, you agreed to ask Trustwave for
        permission to produce all information relating to every transaction involving Singtel for their
        review.

        We look forward to Trustwave’s prompt response.

        Thanks.




        bijal v. vakil | partner
        O +1 650 213 0303 | M + 1 415 517 5596
        bijal@whitecase.com | bio
        <image003.png>



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 496 of 624 PageID #: 502




          EXHIBIT E
       Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 497 of 624 PageID #: 503




From:                 Letchinger, John S.
Sent:                 Thursday, August 29, 2019 10:31 AM
To:                   Ballow, Rob
Subject:              RE: Finjan | Trustwave


Hello Rob. I trust you have been in contact with Bijal Vakil from White & Case. In an effort to bridge discovery disputes
in the Delaware litigation, Trustwave has agreed to provide data to KPMG covering all post‐acquisition sales by
Trustwave to Singtel and Singtel affiliates. Because, as I trust your notes will reflect from prior discussions with
Trustwave, the company utilizes different systems for different parts of the world, the data is not available via a “push of
the button” but, rather, the data needed to be assembled by the team. As such, the format may appear to be
different. That said, I believe Trustwave was able to put together substantially similar information to allow KPMG to
apply the same “yes”, “no” and “maybe” designations. The ultimate goal, as agreed between the parties, will be to
receive KPMG’s analysis of the potential royalties per the same methodology utilized in the prior inspections. It should
go without saying that Trustwave is not waiving any of its defenses, positions, etc., all of which are expressly reserved. If
you will email back KPMG’s agreement to handle our production per the same terms and conditions as utilized in the
past, we should be able to forward the data right away.

Thanks.

John

John Letchinger
Partner


One North Wacker Drive | Suite 4500
Chicago, IL 60606-2841
T +1.312.416.6206

jletchinger@bakerlaw.com
bakerlaw.com




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 498 of 624 PageID #: 504




           EXHIBIT F
      Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 499 of 624 PageID #: 505




From:                Karen Keller <kkeller@shawkeller.com>
Sent:                Thursday, August 29, 2019 7:16 PM
To:                  Cumings, Alexandra
Cc:                  Letchinger, John S.; Bijal Vakil
Subject:             [EXT] RE: Finjan/Trustwave
Attachments:         FW: Trustwave - Follow Up; [EXT] RE: Trustwave- Protective Order Motion


Ali and John:

While I appreciate your emails to Finjan, I want to clarify a few misstatements and reiterate our willingness to try and
reach a compromise on these issues as we have done all along.

1.A party cannot unilaterally declare that an impasse has not been reached and therefore declare that the certification is
in violation of the Local Rules. As the Rule 37 certification mentioned (using examples and not the entirety of the
correspondence), there have been numerous meet and confers, including verbal meet and confers with Delaware
counsel on the line. This included an email Bijal sent to Mr. Letchinger on Monday, August 19 looking for a "prompt
response" from Trustwave on whether there was any movement toward an agreement. Consistent with past delays in
getting responses from Trustwave's counsel, there was no response from Mr. Letchinger until late afternoon on
Thursday (notably almost 5 hours after Finjan filed its motion for leave to file its motion to compel under seal). While I
was not aware of Mr. Letchinger's email on August 22 until Bijal's email of August 25, Finjan stands by its position that it
has met all of the requirements of the Local Rules prior to bringing its motion to compel. While it is true that the parties
had begun to work towards a resolution, no agreement had been reached in June or at the time of filing the motion and
there still remains no agreement. This dispute has been going on for some time now and it appeared as if Trustwave was
doing everything it could to delay discussing the issues and responding to our requests to meet and confer further. With
a trial date now on calendar and an interest in moving the case forward Finjan felt its only recourse was to get a motion
filed with the court. Despite Trustwave's willingness now to provide the documents to KPMG to review, Trustwave has
not: (1) committed to a firm date for production of the materials; and (2) confirmed that all relevant materials will be
provided to KPMG and Finjan without limitation (John expressed to Bijal that there would be a yes/no/maybe pile of
documents).

2.Finjan remains willing to request a continuance of the hearing provided that Trustwave sets a firm timeline with
specific dates for its production (to KPMG and in this case) and abides by those dates.

3.Finally, there were no agreements regarding the protective order withdrawal relating to Finjan's own motion practice.
(see attached). We apologize on the oversight regarding page limits and will be filing a corrected brief that is limited to
10 pages.



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         Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 500 of 624 PageID #: 506

PRIVILEGED AND CONFIDENTIAL ATTORNEY‐CLIENT COMMUNICATION

‐‐‐‐‐Original Message‐‐‐‐‐
From: Cumings, Alexandra <acumings@MNAT.com>
Sent: Tuesday, August 27, 2019 5:59 PM
To: Karen Keller <kkeller@shawkeller.com>
Subject: RE: Finjan/Trustwave

Karen,

We were surprised to see the motion to compel you filed last week in light the parties' progress in negotiating a
resolution and our prior agreement that Trustwave would renew its motion for protective order. Indeed, the day before
you filed the motion, John Letchinger reached out to Bijal Vakil to confirm Trustwave's commitment to produce the
documents Finjan seeks. While I see that Bijal copied you on his response back to John on Sunday, I trust you were not
aware of John's emails (attached here for reference) prior to filing the motion over a day later and I ask you to confirm
or correct me on that. Not only was that communication absent from your Rule 37(e)(1) certification, but it's also
contrary to the spirit of the rule to file a blanket motion to compel despite the parties' substantial agreement on an
interim approach for working through the parties' disputes ‐ here, it being your side's proposal.

Perhaps more importantly, after deferring for weeks at Finjan's urging (prior counsel), in May 2019 Trustwave filed a
motion for protective order on issues identical to those raised in the motion to compel. Then a month later in June
2019, Trustwave reluctantly agreed to withdraw its notice of motion for protective order at Finjan's urging and upon
Finjan's agreement that should the parties be unable to resolve the discovery disputes, Trustwave would re‐notice its
motion for protective order. Instead, without any prior notice, Finjan filed the motion to compel on August 23. It is a
breach of the parties' written agreement (which was noted in our June 13, 2019 letter to Judge Carpenter) and, again,
completely contrary to the spirit of the local rules. Also for reference, I attach the email memorializing that agreement.

Finally, your motion exceeds the page limit.

We expect that, by tomorrow, Finjan will withdraw its motion to compel.

Regards,
Ali

‐‐‐‐‐Original Message‐‐‐‐‐
From: Karen Keller [mailto:kkeller@shawkeller.com]
Sent: Friday, August 23, 2019 4:46 PM
To: Cumings, Alexandra
Subject: [EXT] Finjan/Trustwave


Ali:

As you probably saw already, we filed our motion to compel today. Unfortunately the parties were at an impasse and
with a pending trial date now we felt it important to get this issue heard and resolved. We remain willing to continue the
discussions and attempt to reach a compromise with the hope of taking it off calendar but until a resolution is reached
we need to proceed.

Best,
Karen Keller


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      Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 501 of 624 PageID #: 507



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 502 of 624 PageID #: 508




          EXHIBIT G
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 503 of 624 PageID #: 509
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 1        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
                    IN AND FOR NEW CASTLE COUNTY
 2

 3        - - - - - - - - - - - -           :   C.A. NO: N18C-04-006
                                            :            WWC CCLD
 4       FINJAN, INC.                       :
                                            :
 5                       Plaintiff,         :
                                            :
 6                v.                        :
                                            :
 7       TRUSTWAVE HOLDINGS,                :
         INC.,                              :
 8                                          :
                    Defendant.              :
 9        - - - - - - - - - - - -           :

10

11   BEFORE THE HONORABLE WILLIAM C. CARPENTER, JR.

12

13

14

15                                    - -   - -
                                   MOTION   HEARING
16                               November    19, 2018
                                      - -   - -
17

18

19

20
                            KAREN L. SIEDLECKI, RMR
21                     SUPERIOR COURT OFFICIAL REPORTER
                        500 N. King Street, Suite 2609
22                        Wilmington, Delaware 19801

23
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 504 of 624 PageID #: 510
                                                                             2

 1        APPEARANCES:

 2              YOUNG CONAWAY STARGATT & TAYLOR, LLP
                By MARY F. DUGAN, ESQUIRE
 3                 KAREN L. PASCALE, ESQUIRE
                  -and-
 4              FARELLA BRAUN & MARTEL, LLP
                By JOHN L. COOPER, ESQUIRE
 5                 For the Plaintiff

 6              MORRIS NICHOLS ARSHT & TUNNELL, LLP
                By JACK B. BLUMENFELD, ESQUIRE
 7                -and-
                BAKER & HOSTETLER, LLP
 8              By JOHN S. LETCHINGER, ESQUIRE
                    For the Defendant
 9

10        ALSO PRESENT:

11              Julie Mar-Spinola, Finjan

12

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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 505 of 624 PageID #: 511
                                                                             3

 1                                                 November 19, 2018
                                                   Courtroom 8C
 2                                                 10:00 a.m.

 3

 4

 5        PRESENT:

 6              As noted.

 7                                    _    _   _

 8               THE COURT:      Good morning, everyone.

 9            Mr. Blumenfeld, this is your motion.                You may

10    proceed, or whoever is going to do it.

11               MR. BLUMENFELD:          Yes, Your Honor.       Jack

12    Blumenfeld, Morris Nichols, for the defendant.

13    Along with John Letchinger with Baker Hostetler.

14            With your permission, Mr. Letchinger will be

15    presenting for the defendant.

16               THE COURT:      Okay.      Thank you.

17               MR. BLUMENFELD:          Thank you.

18               MR. LETCHINGER:          Good morning, Your Honor.

19    My name is John Letchinger.

20            As a significant part of my presentation to

21    Your Honor, I'm going to be referencing the two

22    documents that were appended to our motion, which is

23    the license agreement and an inspection report.                    I
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 506 of 624 PageID #: 512
                                                                             4

 1    have extra copies if anybody needs to follow along.

 2               THE COURT:      I have it.

 3               MR. LETCHINGER:        Okay.     As way of about 20

 4    seconds of background, Your Honor, this agreement

 5    came to be in connection with the purchase by

 6    Trustwave, the licensee of a company called M86.

 7    M86, prior to the transaction, had merged with a

 8    company called Marshal and Finjan Software.

 9            So essentially, by way of that transaction,

10    Trustwave acquired all of the assets of those

11    companies, which was software products and know-how.

12    And then, in tandem with that, in order to actually

13    continue practicing and growing their business,

14    Trustwave took a patent license from Finjan which is

15    what we're here fighting about.

16            And as detailed in the agreement, I think it's

17    the fourth whereas clause, in exchange for that

18    patent license agreement they gave 224,000 shares of

19    stock, which ultimately turned into about

20    $20 million.

21            So it was really two buckets of things that

22    Trustwave got.        They got all the products from M86,

23    then they got the patent license for an extra fee.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 507 of 624 PageID #: 513
                                                                             5

 1    I referenced the $28 million fee because what I

 2    would really like -- with the Court's indulgence --

 3    to focus on is a small subset of the provisions of

 4    the agreement, which I believe form our dispositive

 5    to the dispute before Your Honor, which make it

 6    very, very clear that as it relates to the licensee,

 7    Trustwave itself, that license is fully paid up,

 8    period.     No exceptions, no triggers, period.

 9            And I'm going to try to go through some

10    language and piece that together, because it's not

11    the most nimble agreement in the world to follow.

12            Actually, starting with the fourth whereas

13    clause.     In the third line, it specifically

14    references that it's a grant to the licensee of a

15    fully paid-up license.

16               THE COURT:      Let me ask you, is the

17    argument -- I read the briefs, and I don't think

18    this was argued.         But is the -- is it your position

19    that the real party that should be the defendant

20    here is Singtel who bought Trustwave?

21            I mean, the whole thing here appears to be

22    there's this agreement -- and you can walk through

23    it with me -- but at some point in time, at least
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 508 of 624 PageID #: 514
                                                                             6

 1    the representation in the complaint is if Trustwave

 2    was acquired, then there is some additional

 3    royalties that were required under the agreement.

 4            And as best I can read, Singtel bought

 5    Trustwave; right?         Am I right there?

 6               MR. LETCHINGER:        Absolutely.

 7               THE COURT:      And therefore, as a result of

 8    the sale or the acquisition of Trustwave by Singtel,

 9    now there's this provision that requires a four

10    percent royalty hit of some nature.

11            So I get lost in the transaction of, it

12    appears that no one's disputing that Trustwave, at

13    the time they acquired the services from Finjan,

14    they had a fully paid-up patent.              It's when the

15    acquisition occurred that supposedly this kicked in.

16            Now, that's what I'm reading from what I've

17    gotten.     And if I'm wrong, I need you to tell me.

18               MR. LETCHINGER:        I don't think it's a matter

19    of being wrong, Your Honor.             I think if, in fact,

20    the technology had been licensed or transferred to

21    Singtel, or expanded to Singtel -- which I think is

22    what this is supposed to do, is protect Finjan in

23    that event -- and it exploited and Singtel was
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 509 of 624 PageID #: 515
                                                                             7

 1    starting to exploit it, then, yes, I think those

 2    sales might come into play under that Section 2.5

 3    provision.

 4            But the complaint is exclusively directed at

 5    the sales of Trustwave.           Those were the only sales

 6    that were counted, and those are the sales against

 7    which they're trying to apply a royalty.

 8            And what I'm prepared to show you, and I don't

 9    think it will take very long, is that the license

10    agreement is purposely exclusive as to licensee, and

11    then addresses acquirers or other transferees or

12    OEMs in a much different fashion.

13            So if you would indulge me, if you just look

14    at -- I'm going to look at three sections with you,

15    Your Honor.       I'm going to look at Section 2, which

16    is the grant, the grant itself.

17            And maybe I don't need to do this, because I

18    think you indicated you recognized that it's a fully

19    paid-up license.         But I'm specifically focusing on,

20    in these provisions, the very specific distinctions

21    that are being drawn in the agreement between

22    application of rules as it relates to the licensee

23    versus acquirers, transferees or OEMs.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 510 of 624 PageID #: 516
                                                                             8

 1             So in the license grant, Section 2.5, five

 2    lines down, again, it says it's a fully paid-up

 3    license.      There is nothing in Section 2 whatsoever

 4    that makes for any exclusion or any exception to

 5    that.

 6             So the license to the licensee itself,

 7    Trustwave, a separate company right now, is the only

 8    company's sales that are in dispute, that's fully

 9    paid up.      And I think it's illustrated even better

10    when we look at two more provisions, which are 1.9

11    and then some provisions in 3.1.

12             In Section 1.9, it's the definition of net

13    sales.     Net sales is everything.           Net sales is the

14    gross revenues against which you apply whatever

15    royalty rate you're going to apply, if applicable.

16    Okay.

17             So they're saying four percent.             That four

18    percent would get charged against net sales.                     Okay?

19    So in the definition of net sales, it specifically

20    states that net sales means the gross amount

21    invoiced by OEMs, permitted transferee or its

22    affiliates, or acquirer or its affiliates.                  It

23    specifically excludes from that equation the sales
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 511 of 624 PageID #: 517
                                                                             9

 1    of the licensee.

 2            Likewise, if you go to the sister provision in

 3    3.1 -- and unfortunately it's not numbered.                  By my

 4    count it's on Page 9.

 5            If we look carefully at Section 3.1, which is

 6    Application of Relevant Net Sales -- so you can see

 7    the direct link back to Section 1.9 -- the licenses

 8    and rights granted hereunder are pursuant to a

 9    license which is fully paid up for, (i), licensee

10    and its affiliates.          And then (ii), any acquirer and

11    its affiliates licensed hereunder for the existing

12    business.

13            So the royalty-free component for an acquirer

14    is narrower, it's got the existing business

15    exception.

16            I don't believe, Your Honor, this agreement

17    makes any sense if we're going to treat the

18    licensee, which is, again, the second, third, fourth

19    time it's now specifically referenced that it's

20    fully paid up without exception to the licensee and

21    its affiliates.        And then it goes on to talk about a

22    different treatment for the acquirer and its

23    affiliates.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 512 of 624 PageID #: 518
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 1             And that's my primary point.            The only sales

 2    at issue in this dispute and the only sales that are

 3    on that KPMG inspection are Trustwave's, the

 4    licensee.      So --

 5               THE COURT:      Of the existing business;

 6    correct?

 7               MR. LETCHINGER:         The existing business

 8    exception doesn't even come into play because for

 9    the licensee, as we just read, that exception

10    doesn't apply.         It's fully paid up.

11             And if you go further in Section 3.1, it's

12    right before you get to subpart A.               It reads:

13    "Accordingly, relevant net sales for the application

14    of the provisions of this Section 3 shall apply only

15    to permitted transferees and their affiliates."                    And

16    then it goes on to talk about OEMs.

17               THE COURT:      Okay.

18               MR. LETCHINGER:         So $20 million is a lot of

19    money.     First we bought the company.             Then we had to

20    take a license.

21             I don't believe there's any language in the

22    agreement that suggests that as to the licensee,

23    licensee gets to continue practicing all of this
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 513 of 624 PageID #: 519
                                                                            11

 1    royalty free.

 2               THE COURT:      I want to try to make sure I'm

 3    understanding what you're saying.               Because I'm

 4    following along that you are the licensee and,

 5    therefore, you have a fully paid-up patent.                  And

 6    therefore, your use of the product, I'll call it,

 7    you don't owe any additional money, don't owe any

 8    additional royalties because it's a totally paid-up

 9    patent.

10            They're acquired by Singtel.             Is it your

11    argument that even the purchase by Singtel for

12    business that occurred after the acquisition is

13    covered and you owe nothing for that acquisition

14    profits that occur afterwards?

15               MR. LETCHINGER:        That is my position as it

16    relates to the ongoing business of Trustwave as a

17    separate and existing company.

18            So Singtel is a telecom company, utility.

19    Just happens to be a large company.                They wanted to

20    purchase this asset.          Under their theory, we get

21    penalized automatically by way of this transaction,

22    even if there's no use by Singtel.

23            If Singtel were to say:           Okay, great, now
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 514 of 624 PageID #: 520
                                                                            12

 1    we're going to start making new products, we're

 2    going to use these patents.             I believe then the

 3    answer to what I think your original question, then

 4    we as the licensee would have a duty to get

 5    royalties to pay to them for a certain limited set

 6    of products.       I agree with that.         That's not what's

 7    alleged and that's not what's happening.

 8             All that's happening -- the way I look at it,

 9    Your Honor, is think of some crazy billionaire.                    And

10    I can say that because I'll never be a billionaire.

11    So he just decides:          Oh, I'm going to own a grocery

12    store chain --

13               THE COURT:      You're closer than me, but

14    that's all right.

15               MR. LETCHINGER:        We can talk about that

16    later.

17             But this is -- you know what, actually, maybe

18    the best way to describe this is when we purchased,

19    when Trustwave purchased M86, that was the

20    consolidation of two security companies.                 And

21    because of that, the expansion of the technology was

22    obvious.      That's why we had to pay $20 million extra

23    for a patent license.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 515 of 624 PageID #: 521
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 1            M86 wasn't allowed to just say:              We're selling

 2    you the company, and by the way, you get the patent

 3    license.      Fair enough.

 4            We got purchased by Singtel.             There's been no

 5    activity to transfer that technology, there's been

 6    no use of it.        It would be like the grocery store

 7    owner saying:        I'm buying Trustwave, so boom,

 8    automatically now Trustwave has to pay more

 9    royalties.      There's no logic to it.

10            So while I know these are just words on the

11    paper, provision after provision after provision in

12    excruciating detail distinguishes between treatment

13    in certain conditions for the acquirer versus

14    treatment of a licensee.

15            And so when you look at a patent license, you

16    look at the grant and then you look at the royalty

17    provisions.       We've just looked at those, and they

18    couldn't be any more specific and clear.

19            The licensee is fully paid up.              It says it

20    three, four, five times.            And then it goes on to

21    talk about -- it again says in the royalty section,

22    3.1(i), that we're fully paid up.               The very next

23    line it says, "Acquirer is fully paid up," but only
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 516 of 624 PageID #: 522
                                                                            14

 1    for the existing business.

 2            So if it's to be interpreted that everyone

 3    gets treated the same, this is meaningless.

 4               THE COURT:      And you would agree that if

 5    Singtel began using that technology that you bought

 6    or acquired, then there's a royalty provision that

 7    kicks in somewhere in the contract?

 8               MR. LETCHINGER:         I do believe that that

 9    would be a trigger to start looking at the

10    possibility of royalties.            There are significant

11    exceptions to that.

12               THE COURT:      I don't need to get into that.

13               MR. LETCHINGER:         You don't need to get into

14    that.

15            There is a universe of activity that I'll

16    agree with Your Honor would be subject to some

17    royalty scrutiny by Singtel, but never by Trustwave.

18               THE COURT:      Okay.     Understand.

19               MR. LETCHINGER:         So since I stayed up late

20    last night to write this last concluding sentence,

21    I'm going to say it.

22            When read together, Section 2, Section 1.9,

23    Section 3.1 -- which again, license grant and the
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 517 of 624 PageID #: 523
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 1    royalty provisions -- from our perspective, there's

 2    no way to read this other than Trustwave, the

 3    licensee, has a royalty, fully paid-up royalty-free

 4    license forever for itself.             Which, if that's true,

 5    as a matter of law eliminates all three counts of

 6    the complaint with prejudice.

 7            From our perspective, there is no way to read

 8    this agreement -- not withstanding what the

 9    complaint says.        We're allowed to rely on the

10    agreement now that it's been accepted by both sides

11    as being part of the pleadings.              You can't read this

12    agreement to say that we have to pay anything for

13    our activity.

14            If Your Honor isn't prepared to make that

15    ruling, there's still -- the complaint is still

16    wholly defective.         I'm not going to get into

17    pleading standards.          I know we're in Delaware

18    Superior Court.

19            The elephant in the room is that if you don't

20    believe you can dispose of this dispute under

21    contract law alone, in other words, without getting

22    to the ultimate marriage of:             If we get past this

23    point, this point and this point, then we have to
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 518 of 624 PageID #: 524
                                                                            16

 1    decide if royalties are owing.              The only way to do

 2    that is to look at whether the patents are valid and

 3    whether they're being practiced.              That's just a

 4    fact.

 5            I believe Your Honor can dispose of this as a

 6    matter of law based on the fact that for Trustwave,

 7    the licensee, we're fully paid up.

 8            But looking just at the complaint itself, I

 9    think Finjan admits on Page 15 of its brief that all

10    they have to do is basically say we allege there's a

11    contract, we allege that we asked KPMG to do an

12    inspection, they did it, they put a number down, and

13    therefore, there's a breach of contract.                 We've

14    alleged it and we're damaged.

15               THE COURT:      And the number that the

16    automatic auditing firm created or put down, that's

17    simply net sales of your company; right, Trustwave.

18    And so, therefore, it doesn't -- the four percent

19    royalties doesn't apply because you've already --

20    that's your company, that's your sales.                 The fact

21    that you have a fully paid-up patent, therefore,

22    doesn't apply.        Right?

23               MR. LETCHINGER:        That is the overarching
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 519 of 624 PageID #: 525
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 1    argument, Your Honor.          From a more substantiative

 2    perspective, from a procedural perspective, what

 3    they've done is they've basically said:                 There's a

 4    report, there's a number on there, you owe it, and

 5    that's all we have to allege.

 6            And they've actually gone so far as to state

 7    in their complaint and restate in their brief that

 8    the report actually is a finding that KPMG found

 9    that we owe $1.5 million.            That's the entire

10    foundation of their complaint.              They say it in their

11    brief, and it's misstated.            With respect, every time

12    the word "royalty" is used, it's qualified by the

13    word "potential."

14            All this is is -- and the footnotes make it

15    perfectly clear.         I mean, KPMG goes to pretty great

16    lengths to try to explain:            We didn't have

17    information, there's no reference to any patent

18    analysis here.

19            That with Finjan's instructions, they

20    basically looked at our website and tried to

21    identify categories of products that might relate to

22    security, in essence.          And they put them in a

23    bucket.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 520 of 624 PageID #: 526
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 1            We gave them -- we gave them access to the

 2    entire company's sales.           They went through, they

 3    picked what they wanted to count.               They had access

 4    to every single invoice.            And they come up and they

 5    provide numbers.         All they did was do a count of

 6    theoretical categories of products.                And they

 7    reported over and over again as potential royalties

 8    due.

 9            Because, as they qualify, we don't have enough

10    information.       And we're not going to interpret the

11    contract.      And we know there are exceptions.               We're

12    going to assume the exceptions don't apply.

13            This isn't a royalty finding.              That's why it's

14    called a report.         It's not even called an audit.

15    And what, I think what they've tried to do is

16    convert this KPMG effort into some sort of

17    arbitration or some sort of conclusive finding.

18               THE COURT:      Maybe you can point out the

19    provision.      I'm a little confused as to why, if I

20    bought a fully paid-up patent, and therefore, I can

21    utilize the services I bought and the patent

22    information I bought without any additional payment,

23    why is there an audit provision at all?                 Why would
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 521 of 624 PageID #: 527
                                                                            19

 1    somebody include an audit provision when it really

 2    doesn't matter for net sales because I've already

 3    paid for it?

 4             So where's the audit provision come into a

 5    contract in which there's a fully paid-up patent?

 6    Do you understand what I mean?

 7               MR. LETCHINGER:         I absolutely do, Your

 8    Honor.     And again, it goes back to the first

 9    argument.

10             I agree with Your Honor that let's say we have

11    Singtel purchased us.          Again, if Singtel has been

12    using the technology, it is our job to report that

13    by way of the inspection.            It's our job to

14    affirmatively pay royalties on it if they're due and

15    owing.

16             So when they asked us for an audit, I wasn't

17    there, but I would have presumed they were looking

18    for that information.

19               THE COURT:      Understood.

20               MR. LETCHINGER:         And actually the section is

21    3.4.

22               THE COURT:      Okay.

23               MR. LETCHINGER:         It specifically talks about
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 522 of 624 PageID #: 528
                                                                            20

 1    the activity of OEMs and acquirers.                So it's

 2    consistent.       So that's why there's an audit

 3    provision or an inspection provision.

 4            And again, I think it's really clear that that

 5    provision relates to, it's the licensee's obligation

 6    to acquire that information if technology is being

 7    used and if it's applicable.

 8            And I say "if it's applicable" because just by

 9    way of example, at the very end of Section 1.9.2,

10    which is on Page 3, there's a very strong exception.

11            "Not withstanding anything in the definition

12    of net sales or this agreement to the contrary,

13    sales by acquirer and its affiliates licensed

14    hereunder for licensed products and services

15    attributable to the existing business and sales of

16    integrated licensed products and services" -- which

17    is subject to a whole bunch of other definitions

18    which I will not belabor you with -- "are not to be

19    included in the definition of net sales."

20            It's very clear that certain sales by the

21    acquirer could trigger royalties.               That's why we

22    have an audit provision.            But again, this provision

23    is just another of many where it's very, very
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 523 of 624 PageID #: 529
                                                                            21

 1    specific:      This is for the acquirer.            No exception

 2    being made for the licensee, because we're fully

 3    paid up.

 4               THE COURT:      Okay.     Understood.

 5               MR. LETCHINGER:         So there can be no

 6    argument, I don't believe, under Section 1.8 which

 7    is the definition of licensed products and sales,

 8    that in order for anybody to have to pay any

 9    royalties in this case, Finjan will ultimately have

10    to establish that whatever party that is, acquirer,

11    transferee, they're making use of a valid patent

12    claim.

13             There is no other way to get to the ultimate

14    conclusion that a dollar is owed in the case without

15    that finding.        I don't think Your Honor has to get

16    anywhere near patents or patent law to determine

17    that as it relates to the pleadings today, which are

18    directed solely at Trustwave, that Trustwave is

19    royalty free, and this case should be dismissed.

20               THE COURT:      Understand.       Thank you.

21               MR. LETCHINGER:         That's what I've got for

22    now, Your Honor.         Thank you.

23               MR. COOPER:       Good morning, Your Honor.            My
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 524 of 624 PageID #: 530
                                                                            22

 1    name is John Cooper, I'm with the Farella Braun and

 2    Martel firm in San Francisco.             And with me today is

 3    Mary Dugan and Karen Pascale.             And also in the

 4    courtroom is Julie Mar-Spinola from Finjan.

 5            Mr. Letchinger -- this is a contract case.

 6    It's not a patent case, it's a contract case.                   And

 7    Mr. Letchinger only very briefly mentioned 3.4 which

 8    says that the parties agreed to an audit procedure.

 9            And we have alleged, and the complaint sets

10    forth, that not withstanding that agreement, that

11    Trustwave did not give KPMG the information that it

12    needed to find out what royalties were due.                  And

13    that's required in Section 3.4.

14            This was an agreement, a license agreement.

15               THE COURT:      Yeah, but let's -- for me this

16    is a relatively simple case.             Either you owe the

17    royalties or -- you are either owed royalties or

18    not.

19            And the whole issue here is whether or not

20    Trustwave owes you any royalties at all by the

21    simple fact that they've been acquired by another

22    company.      And they argue that Trustwave is not --

23    Singtel, who bought it, is not using your product,
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 525 of 624 PageID #: 531
                                                                            23

 1    not using any of the services that Trustwave bought

 2    and paid for.        And until that happens, you're not

 3    entitled to any more royalties.

 4            So I need you -- forget the audit for a

 5    minute.     I need you to show me in the contract where

 6    you're entitled to royalties now out of Trustwave

 7    for what they're doing.

 8               MR. COOPER:       2.4 and 2.5, Your Honor.           2.4

 9    defines existing business.            And 2.5 says that if

10    licensee is acquired, then all of the products that

11    are sold herein not attributable to the existing

12    business, there must be a royalty paid on that.                    And

13    that is what's required --

14               THE COURT:      Royalty for what, though?            They

15    paid you for it, up front.

16               MR. COOPER:       But they're asking us to take

17    their word that Singtel is not selling any product

18    that would constitute something other than existing

19    business.      And it says it was actually offered or

20    distributed by licensee or their affiliates at the

21    time of the transfer.

22            And so what we've alleged is that there was a

23    triggering event which was the acquisition by
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 526 of 624 PageID #: 532
                                                                            24

 1    Singtel of Trustwave.          And we've alleged that what

 2    was required under Section 3.4 is that Trustwave,

 3    the licensee, issue a report that, and in sufficient

 4    detail to enable the royalties payable hereunder to

 5    be determined.

 6            And then if you look at 2.4 and 2.5 regarding

 7    existing business and what was offered, then

 8    Trustwave had an obligation under this agreement to

 9    report with the auditor -- which KPMG, they agreed

10    to -- what royalties were due, if any.

11            And they haven't done that, Your Honor.                 And

12    that is why -- you know that is why we filed this

13    lawsuit, is because that report and KPMG says

14    repeatedly in their report:             We weren't given the

15    information.       We had to guess about it.

16            And the reason we have the courts is because

17    you don't have to take someone's word for it.                   You

18    can conduct discovery and have a trial.

19               THE COURT:      But what are you -- do you --

20    let me see if I can parcel it out to make sure.                    Do

21    you agree that Trustwave has totally, at the time

22    that they acquired Finjan's product, they had a

23    totally paid-up patent and they owed you nothing on
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 527 of 624 PageID #: 533
                                                                            25

 1    existing sales or from royalties?               They had it, that

 2    was done, they paid it; right?

 3               MR. COOPER:       Yes, we agree that and we say

 4    that in Paragraph 9.

 5               THE COURT:      Okay.     So -- and do you agree

 6    that the royalties that would be owed now

 7    potentially would be to the extent that Singtel is

 8    using the patent information that they acquired from

 9    Trustwave for their business?             Not Trustwave's

10    business, but their own now, a different entity.

11            Is that where you think the line is?

12               MR. COOPER:       I think that depends on the

13    definition of "existing business" as set forth in

14    2.4.

15               THE COURT:      Why would somebody pay you

16    millions of dollars for a totally paid-up patent,

17    and if it's acquired by someone else but that

18    information is still being only used by Trustwave,

19    now owe you more royalties?

20               MR. COOPER:       Well, because the parties

21    agreed to 2.4 and 2.5.           So if there's never been an

22    acquisition, then it would be a paid-up license and

23    we wouldn't be here and there would never be a
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 528 of 624 PageID #: 534
                                                                            26

 1    problem.

 2             But there was an acquisition, and we've

 3    alleged that.        And so that invoked Paragraph 2.4 and

 4    2.5.     And so --

 5               THE COURT:      But what did it invoke for?             I

 6    mean, yes, there's no question there's an

 7    acquisition.       And if that acquiring party then began

 8    using your patent information for their product,

 9    certainly there's an audit and certainly there's

10    royalties.

11             But from as best I can tell and from your

12    complaint, which I read, is you're alleging that

13    Trustwave now owes you some royalties.                 Not Singtel,

14    right?

15               MR. COOPER:       Well, no.      I don't believe

16    that's true.       I think that Trustwave may owe us

17    obligations for what Singtel is selling, under

18    Sections 2.4 and 2.5.          And that that had to be

19    reported.

20               THE COURT:      But it had nothing to do with --

21    what I'm confusing it to.            I don't disagree with the

22    last statement that you just said, and I don't think

23    the defendant disagrees.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 529 of 624 PageID #: 535
                                                                            27

 1               MR. COOPER:       They agree.

 2               THE COURT:      If Singtel is using your product

 3    now, having acquired Trustwave, and they're using it

 4    themselves, there's a royalty obligation that falls

 5    from that.

 6            The audit, though, was not of what is Singtel

 7    now using the product for and how much sales they're

 8    generating and, therefore, has a royalty obligation.

 9    Your audit was of Trustwave.             For what?      Trustwave

10    paid you and -- I'm losing the two connect.

11            Only if you're saying that Trustwave has just

12    been merged into Singtel and it's all now one

13    company and now they're using your product.

14               MR. COOPER:       Well, what I'm saying is that

15    under 3.4, Trustwave, the licensee, had an

16    obligation to report.          And --

17               THE COURT:      And report what?

18               MR. COOPER:       And -- the royalties that were

19    due.    And Section 2.5 talks about Trustwave being

20    acquired --

21               THE COURT:      Right.

22               MR. COOPER:       -- by another acquirer, which

23    in this case was Singtel.            And then it very clearly
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 530 of 624 PageID #: 536
                                                                            28

 1    defines, it says that they owe royalties that are

 2    not attributable to existing business.

 3            And so then, the existing business is defined

 4    in 2.4, which means that what was actually offered

 5    and distributed at the time of the transfer.

 6            So if, if Singtel or if Trustwave offered for

 7    sale products that were -- now, that were different

 8    than what was being offered at the time of the

 9    transfer, then they have to report that to KPMG and

10    the audit to determine what royalties are due.

11            And that is invoking Section 2.4, 2.5 and 3.4.

12    And that's all we're asking.             This is a contract

13    action.

14               THE COURT:      I'm not -- I guess my question

15    to you is what -- to file the complaint in good

16    faith, you would have to have some assumptions, I

17    assume, that Singtel is now using Trustwave's

18    software and patent information that it got from

19    your client; right?

20               MR. COOPER:       Well, but the parties agreed to

21    an audit procedure in 3.4.

22               THE COURT:      But an audit of what?           You're

23    asking them to audit Trustwave, of what?                 Why
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 531 of 624 PageID #: 537
                                                                            29

 1    audit -- I mean, if you want to, if you want to

 2    allege that as a result of the acquisition Singtel

 3    is now using your product and, therefore, you're

 4    owed royalties at four percent, I get it.                  I get it.

 5            But what you're saying is:            I don't know, I

 6    don't know anything.          But, so I filed a complaint

 7    against Trustwave because I don't know.                 And the

 8    audit says they have net sales of something of one

 9    point whatever million.            What's that mean?

10               MR. COOPER:       But 2.5 and 2.4 says if

11    Trustwave is acquired --

12               THE COURT:      Yeah.

13               MR. COOPER:       -- then royalties are due on

14    the products that were not offered at the time of

15    the transfer, and the license agreement provides

16    that under 3.4 that an audit will be conducted.

17            And so what we're saying is tell us, tell us

18    that Singtel is not using this.              They didn't tell --

19    they didn't tell KPMG that.

20            Tell us what is happening.            And Trustwave is

21    totally acquired by Singtel, and we've alleged that.

22    And so this license then -- and under 2.5 goes to,

23    you know, goes to Trustwave pursuant to the
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 532 of 624 PageID #: 538
                                                                            30

 1    provisions of 2.5 and pursuant to the provisions of

 2    3.4.    And so we're in a contract dispute that is

 3    subject to discovery and subject to a trial.                   And

 4    there is a dispute.

 5            Mr. Letchinger says in the event that Singtel

 6    is using this technology, they admit that royalties

 7    are due.      But they need to tell KPMG that.              They

 8    need to tell KPMG the information.

 9            And they didn't, and that's what this lawsuit

10    is about.

11               THE COURT:      All right.

12               MR. COOPER:       Thank you.

13               MR. LETCHINGER:        May I, Your Honor?

14            Just for clarification, Your Honor.

15    Mr. Cooper was kind of in lump form talking about

16    2.5, 2.4 and saying:          Therefore, under 3.4 an audit

17    is required.

18            As with every other section that we've

19    examined today, even in 2.5 dealing with the

20    acquirer, to the point you're making, it has to be

21    Singtel using it, it's very specific.                It's

22    specifically and exclusively looking at the sale of

23    products by the acquirer or its affiliates, not
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 533 of 624 PageID #: 539
                                                                            31

 1    Trustwave.

 2            And it actually parrots the exact language

 3    from 3.1, which was that royalty provision.

 4               THE COURT:      Well, let me ask -- let me go

 5    through it this way, what I think they're saying,

 6    and then you can respond.

 7            Their contract is with you, not Singtel.                  And,

 8    therefore, if you're acquired by another company and

 9    that other company began using their patent

10    information that you paid a royalty for, but now

11    they're using it, not your company, then you agree

12    they have -- you potentially have a royalty

13    obligation to Finjan.

14            They wanted an audit to determine whether or

15    not Singtel is now using the product that you

16    bought.     And until they have the -- until they

17    complete the audit or have the audit find that

18    information out.         I'm not sure that's what the audit

19    did.

20            But the allegation is that they need an audit

21    now to determine whether or not your acquiring

22    company is using your software, your license, your

23    patent information.          I think that's what they're
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 534 of 624 PageID #: 540
                                                                            32

 1    saying.

 2               MR. LETCHINGER:        They are.

 3               THE COURT:      And they then say:          Well, when

 4    they did the audit, that information wasn't given

 5    because the fact that you have sales, I'm not sure

 6    means anything; right?           Because it's really

 7    Singtel's use of it.

 8               MR. LETCHINGER:        I agree with you, Your

 9    Honor.     Every dollar reported in Exhibit B is a

10    Trustwave sale.        It's the only information we were

11    asked for.      We can't prove a negative.

12             There's been no license to anybody from

13    Trustwave to Singtel.          There's been no knowledge

14    share.     Again, Singtel is a telecom company.

15             So I guess if -- and maybe I'll get yelled at

16    by my client.        But I guess if Finjan files a

17    complaint before Your Honor that says -- and they

18    have a good faith basis for saying it -- Singtel is

19    selling products or using the patents and it's not

20    subject to any of these exceptions, like the one we

21    read in Section 1.9.2 at the very end, that big

22    notwithstanding clause, if they allege that, then

23    that's a whole different lawsuit.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 535 of 624 PageID #: 541
                                                                            33

 1             This entire lawsuit, 100 percent, is founded

 2    on KPMG's inspection of Trustwave's sales.                  Which I

 3    think Mr. Cooper is now agreeing are not relevant.

 4             If Your Honor allows them to refile and they

 5    can in good faith say, like they did with us, saying

 6    we looked at Singtel's website, that somehow we've

 7    transferred technology and they're manufacturing

 8    products under the patent license, then putting all

 9    the exceptions aside, that probably states a claim.

10    It doesn't eliminate the back-end patent problem.

11             But that's a whole different animal.               Using

12    whatever pleading standard you want, that's just not

13    pled.

14               THE COURT:      Okay.

15               MR. LETCHINGER:         But I agree with Your

16    Honor.     Thank you.

17               THE COURT:      Uh-huh.

18               MR. COOPER:       May I reply very briefly?

19               THE COURT:      Sure.

20               MR. COOPER:       I think that Your Honor has

21    captured it in a nutshell.            2.5 says that when

22    Trustwave is acquired, the acquirer gets the

23    license.      And then -- except for existing business.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 536 of 624 PageID #: 542
                                                                            34

 1    And then that triggers 3.4 and the audit.

 2            And so, so, therein 2.5 is where the license

 3    transfers to the acquirer.            And 3.4 requires Singtel

 4    and/or then the acquirer to file a report and to

 5    provide the auditor, that they agreed to, with the

 6    necessary information.

 7            And this complaint is about the fact they

 8    didn't provide the necessary information.                  And it

 9    goes on and -- you know, that's our Claim 2.

10    Claim 3 is regarding the cost of the audit.                  So

11    that's all.

12               THE COURT:      To me, the audit is simply a red

13    herring thrown out there.            Yeah, because your real

14    dispute supposedly is that another company acquired

15    Trustwave.

16            Now this other company has Trustwave's patent

17    information that they bought from you, and now the

18    other company that has now been -- that's acquired

19    them is using that information and not paying you

20    royalties.

21            That's a fair claim.          That's a fair claim.

22               MR. COOPER:       That's what we're saying.

23               THE COURT:      Well, that's not exactly what
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 537 of 624 PageID #: 543
                                                                            35

 1    you said.

 2             You said that somehow or other Trustwave owes

 3    you money because they had sales of -- which is

 4    their sales.       It's Singtel's problem, right?              It's

 5    not Trustwave.        As long as it's Trustwave sales,

 6    it's of existing business that's going on.                  The

 7    existing business is Trustwave.              As long as

 8    Trustwave is selling it, they bought it.                 Right?

 9               MR. COOPER:       But it requires Your Honor to

10    interpret 2.5 and 3.4.           Because 2.5 provides that

11    this license transfers to the acquirer.                 And they

12    have the right to conduct everything that

13    constituted existing business, which was actually

14    sold at the time of the transfer.

15             So 2.5 triggers 3.4 and the sales, if there

16    were any, by Singtel.

17               THE COURT:      But what did you want them to

18    audit?     I mean, I don't know if you all were

19    involved at this point in time or not.                 But it seems

20    to me that whatever business work was being done,

21    I'm not sure there's even been a clear message as to

22    what you wanted audited, what you asked KPMG to do.

23             But you say:      Well, they're obligated to do
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 538 of 624 PageID #: 544
                                                                            36

 1    it.    Well, you're the one who asked for the audit.

 2    You applied for the audit.            What did you ask the

 3    accounting company to do?            To audit Singtel's sales?

 4    No, you asked them to audit Trustwave's sales.

 5               MR. COOPER:       Well, but --

 6               THE COURT:      Here, I'm going to stop you.

 7    This is another one of those good examples of I have

 8    business decisions being made poorly, business

 9    decisions being made not effective, business

10    decisions being made ineffective, inappropriate and

11    not clear.

12            I have two businesses that are not working

13    well together, are pissing at each other, and now I

14    have two lawyers standing up in front of me trying

15    to make legal arguments to support their positions.

16    It's outrageous.         Outrageous.

17            I hear it all the time.           I'm tired of hearing

18    business disputes that should be resolved at the

19    business world and not in the legal world.                  Okay?

20    These two companies need to get together and figure

21    out what's going on.

22            Because as best I can tell at the moment,

23    Trustwave is not doing anything in regards to giving
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 539 of 624 PageID #: 545
                                                                            37

 1    its information to Singtel.             You think it is, they

 2    think it is.       But you have nothing to support it.

 3    Nothing, zero.        So what do you do?         You ask for the

 4    audit.     An audit that is absolutely of no value.

 5    Because you even say it's of no value to what you...

 6             So what in the world are the two businesses

 7    doing?     Their representative sitting back there

 8    should be going back to their CEO.               I don't know if

 9    you're the CEO, but whoever is needs to go back and

10    say:     Let's go back and figure out what's going on

11    here.

12             If it's Trustwave doing their business as

13    they've done before, you agree there's no royalties.

14    If Singtel is using it, they agree they owe you

15    royalties.      Figure it out.

16             But instead I have two lawyers who traveled

17    across the country to come and argue to me about

18    some stupid audit provision.             Fact.     I'm sorry.      I'm

19    just shocked.        They're spending more money on the

20    two of you than they would to resolve the dispute.

21    I mean, I have five lawyers who I know are not cheap

22    sitting in front of me.

23               MR. COOPER:       I don't disagree with you, Your
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 540 of 624 PageID #: 546
                                                                            38

 1    Honor.     And I -- now this is outside the pleading

 2    and outside the motion, but we tried to resolve it

 3    and couldn't.        And that's why we came to see you.

 4             And I think that the bottom line is that it

 5    requires interpretation of 2.5 and 3.4.                 And this is

 6    a factual dispute, so it's not suitable for

 7    dismissal.

 8               THE COURT:      Well, I suggest that the both of

 9    you go back to your client and tell them that:                    You

10    know, I really didn't like being in a courtroom

11    getting my head chewed off because two corporations

12    can't get their business sense together and decide

13    what's really going on here.

14             And if you want to sue Singtel because they're

15    using your patent now inappropriately, go for it.

16    District court is up the street two blocks.                  That's

17    the patent infringement world.              I tried to be there

18    20 years ago, they didn't want me there 20 years

19    ago.     So you're stuck with me here.

20             So I just don't -- I think that's where we

21    are.     I'll look at it, but I'm just -- I'd rather

22    you go back and say we -- this is not a judge who's

23    happy about this.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 541 of 624 PageID #: 547
                                                                            39

 1               MR. COOPER:       We'll do that, Your Honor.

 2    And, but I ask that you look at 2.5 and 3.4 at the

 3    time you're making the decision.

 4             Thank you, Your Honor.

 5               THE COURT:      And for your side of it, my

 6    difficult point, it's at the motion to dismiss

 7    stage.     I mean, you need to realize my ability to do

 8    that much at this stage is kind of limited.                  I kind

 9    of have to accept what they've said.

10             Now, there's a contract provision that I can

11    look at and see if it makes any sense.                 But to a

12    large degree -- I've been on the bench 25 years,

13    I'll bet you maybe less than a handful of times I've

14    granted motion to dismiss.            They're just not.

15             And motions to dismiss are like suppression

16    hearings in criminal cases.             For some reason

17    attorneys have to file them.             It's like I can't go

18    on.    Because they don't want to do discovery, I

19    understand that.

20             But it's not something that's generally

21    granted.      I'm not saying your argument's not good.

22    I followed it, I understand it.              But the reality is

23    I have to if -- they get the upper chip at this
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 542 of 624 PageID #: 548
                                                                            40

 1    point in time.

 2            So this seems to me relatively clear:                 Either

 3    Trustwave has given Finjan's information to the new

 4    acquiring company and they're now using it, and if

 5    they're using it, you're entitled to your royalties.

 6    Okay.

 7            And the whole dispute here is how do I figure

 8    out how they're using it, if they're using it.                    And

 9    maybe that was the intent of the audit provision.

10    But that's not, as far as I can tell from the audit,

11    that's not what was done.            I don't know what KPMG's

12    direction was, what they were asked to do.

13            If it was simply to determine net sales of the

14    company, well, yeah, they did a nice job doing that.

15    That didn't tell you anything.

16               MR. COOPER:       They were asked to look at 2.5

17    and 3.4 and the entire license agreement.                  And we

18    engaged KPMG jointly to conduct the audit.                  And what

19    Your Honor can do is let us take a little discovery.

20               THE COURT:      I know that's what you'd like to

21    do, because everybody files a complaint and then

22    they say:      Well, you know, it's sufficient, let me

23    go do discovery and see if I can find -- I mean,
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 543 of 624 PageID #: 549
                                                                            41

 1    this is like almost as clear as you get.

 2            I'm not quite sure if Singtel has used the

 3    information.       I have suspicion that maybe they did

 4    because they've acquired, but simply because they've

 5    acquired the company.          That's the only thing I have.

 6    I don't have anything else.

 7            So since they acquired the company, let me go

 8    ahead and continue my lawsuit so I can see if

 9    they've actually done that.

10               MR. COOPER:       The parties agreed to 3.4,

11    which was an audit procedure, to avoid having Your

12    Honor involved.        And they agreed to 2.5 in the event

13    Trustwave was acquired.

14            All we're asking, all we're asking is the

15    opportunity to get a, some meaningful information to

16    KPMG so they can reach a conclusion according to

17    what the parties agreed to.

18               THE COURT:      I don't know why the two parties

19    don't sit down and figure out what KPMG is supposed

20    to look for and tell them to go look for it and

21    resolve it.

22               MR. COOPER:       Well, I think --

23               THE COURT:      Their position is it hasn't been
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 544 of 624 PageID #: 550
                                                                            42

 1    used; your position is "I don't know."

 2               MR. COOPER:       And the parties agreed to a

 3    means for resolving it without troubling Your Honor.

 4               THE COURT:      I'm here whether it's you or

 5    someone else, so it doesn't really matter.

 6               MR. COOPER:       Thank you.

 7               THE COURT:      But I will -- I'm in the middle

 8    of, as counsel, local counsel knows, I'm in six

 9    months' of murder trials.            So you're certainly not

10    going to see this for 90 days if you see it then.

11             So I would ask that Counsel go back, talk to

12    their clients and see if something can't be worked

13    out.     This is simply -- from a business point of

14    view, it makes no sense at all.

15             But if you can't get any cooperation from them

16    because they're not willing to give you that

17    information, that's kind of a different ball game.

18             What I think I've done here is at least set

19    forth:     This is what everyone agrees the dispute is

20    about.     The dispute is about whether the acquiring

21    company is now using your product.               Period.

22             They're not using your product, Trustwave

23    doesn't owe you anything.            If Singtel is using your
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 545 of 624 PageID #: 551
                                                                            43

 1    product, they now have an obligation to tell you and

 2    to pay royalties on it.

 3             I don't think that's -- that's not

 4    complicated.       How you figure that out, how do you

 5    come to that conclusion?            How do you know?        I don't

 6    know.

 7             I mean, and you want me to let you to continue

 8    discovery so you can find that out.                They say the

 9    suit's against Trustwave and not Singtel.                  And if

10    it's a patent infringement, go to the district court

11    and file a patent infringement.

12               MR. COOPER:       Well, I think Your Honor has it

13    exactly right.        The only thing that I would ask is

14    that we get the kind of information from Trustwave

15    that is set forth in 3.4.            And then we can resolve

16    it.     We can do exactly what Your Honor said, the

17    businessmen can go resolve it.

18               THE COURT:      All right.

19               MR. COOPER:       Thank you.

20               THE COURT:      Thank you.

21             All right.      I'll reserve decision.          And I'll

22    keep the package.         Thank you all very much.

23                    (Proceedings concluded at 10:54 a.m.)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 546 of 624 PageID #: 552
                                                                            44

 1

 2                      CERTIFICATE OF COURT REPORTER

 3

 4               I, Karen L. Siedlecki, RMR, Official Court

 5       Stenographer of the Superior Court, State of

 6       Delaware, do hereby certify that the foregoing is

 7       an accurate transcript of the proceedings had, as

 8       reported by me, in the Superior Court of the State

 9       of Delaware, in and for New Castle County, in the

10       case herein stated, as the same remains of record

11       in the Office of the Prothonotary at Wilmington,

12       Delaware, and that I am neither counsel nor kin to

13       any party or participant in said action, nor

14       interested in the outcome thereof.

15               WITNESS my hand this 21st Day of November

16       2018.

17

18

19

20                               Karen L. Siedlecki, RMR
                                 Official Court Reporter
21

22

23
                         5                    alleging [1] 26/12           14/5 18/20 18/21 18/22 22/23
    Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20
                                              allowed [2]Page    547 of 62423/1
                                                           13/1 15/9        PageID    #: 553
                                                                                31/16 34/17 35/8
MR. BLUMENFELD: [2] 3/10          500 [1] 1/21
3/16                                                               allows [1] 33/4                  BRAUN [2] 2/4 22/1
MR. COOPER: [29] 21/22            8                                almost [1] 41/1                  breach [1] 16/13
                                  8C [1] 3/1                       alone [1] 15/21                  brief [3] 16/9 17/7 17/11
23/7 23/15 25/2 25/11 25/19
                                                                   amount [1] 8/20                  briefly [2] 22/7 33/18
26/14 26/23 27/13 27/17 27/21
28/19 29/9 29/12 30/11 33/17      9                                analysis [1] 17/18               briefs [1] 5/17
                                  90 [1] 42/10                     animal [1] 33/11                 bucket [1] 17/23
33/19 34/21 35/8 36/4 37/22
38/23 40/15 41/9 41/21 42/1                                        answer [1] 12/3                  buckets [1] 4/21
42/5 43/11 43/18
                                  A                                APPEARANCES [1] 2/1              bunch [1] 20/17
                                  a.m [2] 3/2 43/23                appended [1] 3/22                business [31] 4/13 9/12 9/14
MR. LETCHINGER: [21] 3/17
4/2 6/5 6/17 10/6 10/17 11/14     ability [1] 39/7                 applicable [3] 8/15 20/7 20/8    10/5 10/7 11/12 11/16 14/1
12/14 14/7 14/12 14/18 16/22      absolutely [3] 6/6 19/7 37/4     application [3] 7/22 9/6 10/13   20/15 23/9 23/12 23/19 24/7
19/6 19/19 19/22 21/4 21/20       accept [1] 39/9                  applied [1] 36/2                 25/9 25/10 25/13 28/2 28/3
30/12 32/1 32/7 33/14             accepted [1] 15/10               apply [8] 7/7 8/14 8/15 10/10    33/23 35/6 35/7 35/13 35/20
                                  access [2] 18/1 18/3              10/14 16/19 16/22 18/12         36/8 36/8 36/9 36/18 36/19
THE COURT: [50]
                                  according [1] 41/16              arbitration [1] 18/17            37/12 38/12 42/13
$                                 Accordingly [1] 10/13            argue [2] 22/22 37/17            businesses [2] 36/12 37/6
$1.5 [1] 17/9                     accounting [1] 36/3              argued [1] 5/18                  businessmen [1] 43/17
$1.5 million [1] 17/9             accurate [1] 44/7                argument [5] 5/17 11/11 17/1     buying [1] 13/7
$20 [3] 4/20 10/18 12/22          acquire [1] 20/6                  19/9 21/6
                                                                   argument's [1] 39/21             C
$20 million [3] 4/20 10/18        acquired [22] 4/10 6/2 6/13
 12/22                             11/10 14/6 22/21 23/10 24/22    arguments [1] 36/15            C.A [1] 1/3
                                   25/8 25/17 27/3 27/20 29/11     ARSHT [1] 2/6                  can't [6] 15/11 32/11 38/12
$28 [1] 5/1
                                   29/21 31/8 33/22 34/14 34/18    aside [1] 33/9                  39/17 42/12 42/15
$28 million [1] 5/1
                                   41/4 41/5 41/7 41/13            asset [1] 11/20                captured [1] 33/21
-                                 acquirer [17] 8/22 9/10 9/13     assets [1] 4/10                carefully [1] 9/5
-and [2] 2/3 2/7                   9/22 13/13 13/23 20/13 20/21    assume [2] 18/12 28/17         CARPENTER [1] 1/11
                                   21/1 21/10 27/22 30/20 30/23    assumptions [1] 28/16          case [9] 21/9 21/14 21/19 22/5
/                                  33/22 34/3 34/4 35/11           attorneys [1] 39/17             22/6 22/6 22/16 27/23 44/10
/s/Karen [1] 44/19                acquirers [3] 7/11 7/23 20/1     attributable [3] 20/15 23/11   cases [1] 39/16
                                  acquiring [4] 26/7 31/21 40/4     28/2                          CASTLE [2] 1/1 44/9
0                                  42/20                           audit [41] 18/14 18/23 19/1    categories [2] 17/21 18/6
006 [1] 1/3                       acquisition [9] 6/8 6/15 11/12    19/4 19/16 20/2 20/22 22/8    CCLD [1] 1/3
                                   11/13 23/23 25/22 26/2 26/7      23/4 26/9 27/6 27/9 28/10     CEO [2] 37/8 37/9
1                                  29/2                             28/21 28/22 28/23 29/1 29/8   certain [3] 12/5 13/13 20/20
1.8 [1] 21/6                      action [2] 28/13 44/13            29/16 30/16 31/14 31/17 31/17 certainly [3] 26/9 26/9 42/9
1.9 [4] 8/10 8/12 9/7 14/22       activity [4] 13/5 14/15 15/13     31/18 31/20 32/4 34/1 34/10   CERTIFICATE [1] 44/2
1.9.2 [2] 20/9 32/21               20/1                             34/12 35/18 36/1 36/2 36/3    certify [1] 44/6
100 percent [1] 33/1              additional [4] 6/2 11/7 11/8      36/4 37/4 37/4 37/18 40/9     chain [1] 12/12
10:00 [1] 3/2                      18/22                            40/10 40/18 41/11             charged [1] 8/18
10:54 [1] 43/23                   addresses [1] 7/11               audited [1] 35/22              cheap [1] 37/21
15 [1] 16/9                       admit [1] 30/6                   auditing [1] 16/16             chewed [1] 38/11
19 [2] 1/16 3/1                   admits [1] 16/9                  auditor [2] 24/9 34/5          chip [1] 39/23
19801 [1] 1/22                    affiliates [10] 8/22 8/22 9/10   automatic [1] 16/16            claim [6] 21/12 33/9 34/9
                                   9/11 9/21 9/23 10/15 20/13      automatically [2] 11/21 13/8    34/10 34/21 34/21
2                                  23/20 30/23                     avoid [1] 41/11                Claim 3 [1] 34/10
2.4 [11] 23/8 23/8 24/6 25/14     affirmatively [1] 19/14                                         clarification [1] 30/14
 25/21 26/3 26/18 28/4 28/11                                       B                              clause [3] 4/17 5/13 32/22
                                  afterwards [1] 11/14
 29/10 30/16                      ago [2] 38/18 38/19              back-end [1] 33/10             clear [9] 5/6 13/18 17/15 20/4
2.5 [24] 7/2 8/1 23/8 23/9 24/6   agree [13] 12/6 14/4 14/16       background [1] 4/4              20/20 35/21 36/11 40/2 41/1
 25/21 26/4 26/18 27/19 28/11      19/10 24/21 25/3 25/5 27/1      BAKER [2] 2/7 3/13             clearly [1] 27/23
 29/10 29/22 30/1 30/16 30/19      31/11 32/8 33/15 37/13 37/14    ball [1] 42/17                 client [3] 28/19 32/16 38/9
 33/21 34/2 35/10 35/10 35/15     agreed [9] 22/8 24/9 25/21       basis [1] 32/18                clients [1] 42/12
 38/5 39/2 40/16 41/12             28/20 34/5 41/10 41/12 41/17    began [3] 14/5 26/7 31/9       closer [1] 12/13
20 [3] 4/3 38/18 38/18             42/2                            belabor [1] 20/18              companies [3] 4/11 12/20
2018 [3] 1/16 3/1 44/16           agreeing [1] 33/3                bench [1] 39/12                 36/20
21st [1] 44/15                    agreement [22] 3/23 4/4 4/16     best [4] 6/4 12/18 26/11 36/22 company [26] 4/6 4/8 8/7
224,000 [1] 4/18                   4/18 5/4 5/11 5/22 6/3 7/10     bet [1] 39/13                   10/19 11/17 11/18 11/19 13/2
25 [1] 39/12                       7/21 9/16 10/22 15/8 15/10      better [1] 8/9                  16/17 16/20 22/22 27/13 31/8
2609 [1] 1/21                      15/12 20/12 22/10 22/14 22/14   between [2] 7/21 13/12          31/9 31/11 31/22 32/14 34/14
                                   24/8 29/15 40/17                big [1] 32/21                   34/16 34/18 36/3 40/4 40/14
3                                                                  billionaire [2] 12/9 12/10      41/5 41/7 42/21
                                  agrees [1] 42/19
3.1 [7] 8/11 9/3 9/5 10/11        ahead [1] 41/8                   blocks [1] 38/16               company's [2] 8/8 18/2
 13/22 14/23 31/3                 allegation [1] 31/20             BLUMENFELD [3] 2/6 3/9         complaint [15] 6/1 7/4 15/6
3.4 [19] 19/21 22/7 22/13 24/2    allege [5] 16/10 16/11 17/5      3/12                            15/9 15/15 16/8 17/7 17/10
 27/15 28/11 28/21 29/16 30/2      29/2 32/22                      boom [1] 13/7                   22/9 26/12 28/15 29/6 32/17
 30/16 34/1 34/3 35/10 35/15      alleged [7] 12/7 16/14 22/9      bottom [1] 38/4                 34/7 40/21
 38/5 39/2 40/17 41/10 43/15       23/22 24/1 26/3 29/21           bought [12] 5/20 6/4 10/19     complete [1] 31/17
C                    definitions [1] 20/17       entire [4] 17/9 18/2 33/1 40/17 following [1] 11/4
Case 1:20-cv-00372-MNdegree
                       Document
                             [1] 39/122-1 Filed 03/16/20
                                                 entitled [3] Page  54840/5
                                                              23/3 23/6   of 624footnotes
                                                                                   PageID[1]#: 17/14
                                                                                               554
complicated [1] 43/4
                              DELAWARE [6] 1/1 1/22            entity [1] 25/10                foregoing [1] 44/6
component [1] 9/13
                              15/17 44/6 44/9 44/12            equation [1] 8/23               forever [1] 15/4
CONAWAY [1] 2/2
                              describe [1] 12/18               ESQUIRE [5] 2/2 2/3 2/4 2/6     forget [1] 23/4
concluded [1] 43/23
                              detail [2] 13/12 24/4             2/8                            form [2] 5/4 30/15
concluding [1] 14/20
                              detailed [1] 4/16                essence [1] 17/22               forth [4] 22/10 25/13 42/19
conclusion [3] 21/14 41/16
                              determine [5] 21/16 28/10        essentially [1] 4/9              43/15
 43/5
                              31/14 31/21 40/13                establish [1] 21/10             foundation [1] 17/10
conclusive [1] 18/17
                              determined [1] 24/5              event [4] 6/23 23/23 30/5       founded [1] 33/1
conditions [1] 13/13
                              didn't [8] 17/16 29/18 29/19      41/12                          four [6] 6/9 8/17 8/17 13/20
conduct [3] 24/18 35/12 40/18
                              30/9 34/8 38/10 38/18 40/15      exact [1] 31/2                   16/18 29/4
conducted [1] 29/16
                              different  [7] 7/12 9/22 25/10   exactly [3] 34/23 43/13 43/16   fourth [3] 4/17 5/12 9/18
confused [1] 18/19
                              28/7 32/23 33/11 42/17           examined [1] 30/19              Francisco [1] 22/2
confusing [1] 26/21
                              difficult [1] 39/6               example [1] 20/9                free [4] 9/13 11/1 15/3 21/19
connect [1] 27/10
                              direct [1] 9/7                   examples [1] 36/7               front [3] 23/15 36/14 37/22
connection [1] 4/5
                              directed [2] 7/4 21/18           except [1] 33/23                fully [19] 5/7 5/15 6/14 7/18
consistent [1] 20/2
                              direction [1] 40/12              exception [7] 8/4 9/15 9/20      8/2 8/8 9/9 9/20 10/10 11/5
consolidation [1] 12/20
                              disagree [2] 26/21 37/23          10/8 10/9 20/10 21/1            13/19 13/22 13/23 15/3 16/7
constitute [1] 23/18
                              disagrees [1] 26/23              exceptions [6] 5/8 14/11         16/21 18/20 19/5 21/2
constituted [1] 35/13
                              discovery [6] 24/18 30/3          18/11 18/12 32/20 33/9
continue [4] 4/13 10/23 41/8                                                                   G
                              39/18 40/19 40/23 43/8           exchange [1] 4/17
 43/7
                              dismiss   [3] 39/6 39/14 39/15   excludes [1] 8/23               game [1] 42/17
contract [13] 14/7 15/21
                              dismissal   [1] 38/7             exclusion [1] 8/4               generally [1] 39/20
 16/11 16/13 18/11 19/5 22/5
                              dismissed    [1] 21/19           exclusive [1] 7/10              generating [1] 27/8
 22/6 23/5 28/12 30/2 31/7
                              dispose   [2]  15/20 16/5        exclusively [2] 7/4 30/22       given [3] 24/14 32/4 40/3
 39/10
                              dispositive [1] 5/4              excruciating [1] 13/12          grant [6] 5/14 7/16 7/16 8/1
contrary [1] 20/12
                              dispute [12] 5/5 8/8 10/2        Exhibit [1] 32/9                13/16 14/23
convert [1] 18/16
                              15/20 30/2 30/4 34/14 37/20      existing [19] 9/11 9/14 10/5    granted [3] 9/8 39/14 39/21
COOPER [4] 2/4 22/1 30/15
                              38/6 40/7 42/19 42/20             10/7 11/17 14/1 20/15 23/9     great [2] 11/23 17/15
 33/3
                              disputes   [1] 36/18              23/11 23/18 24/7 25/1 25/13    grocery [2] 12/11 13/6
cooperation [1] 42/15
                              disputing [1] 6/12                28/2 28/3 33/23 35/6 35/7      gross [2] 8/14 8/20
copies [1] 4/1
                              distinctions [1] 7/20             35/13                          growing [1] 4/13
corporations [1] 38/11
                              distinguishes [1] 13/12          expanded [1] 6/21               guess [4] 24/15 28/14 32/15
correct [1] 10/6                                                                               32/16
                              distributed [2] 23/20 28/5       expansion [1] 12/21
cost [1] 34/10
                              district [2] 38/16 43/10         explain [1] 17/16               guess if [1] 32/15
couldn't [2] 13/18 38/3
                              documents [1] 3/22               exploit [1] 7/1
counsel [4] 42/8 42/8 42/11
                              doesn't [9] 10/8 10/10 16/18     exploited [1] 6/23              H
 44/12                                                                                         hand [1] 44/15
                              16/19 16/22 19/2 33/10 42/5      extent [1] 25/7
count [3] 9/4 18/3 18/5                                                                        handful [1] 39/13
                              42/23                            extra [3] 4/1 4/23 12/22
counted [1] 7/6                                                                                happy [1] 38/23
                              dollar [2] 21/14 32/9
country [1] 37/17                                              F                               hasn't [1] 41/23
                              dollars [1] 25/16
counts [1] 15/5                                                                                haven't [1] 24/11
                              don't [34] 5/17 6/18 7/8 7/17    fact [8] 6/19 16/4 16/6 16/20
COUNTY [2] 1/1 44/9                                             22/21 32/5 34/7 37/18          head [1] 38/11
                              9/16 10/21 11/7 11/7 14/12
court [10] 1/1 1/21 15/18                                                                      hear [1] 36/17
                              14/13 15/19 18/9 18/12 21/6      factual [1] 38/6
 38/16 43/10 44/2 44/4 44/5                                                                    hearing [2] 1/15 36/17
                              21/15 24/17 26/15 26/21 26/22    fair [3] 13/3 34/21 34/21
 44/8 44/20                                                                                    hearings [1] 39/16
                              29/5 29/6 29/7 35/18 37/8        faith [3] 28/16 32/18 33/5
Court's [1] 5/2                                                                                hereby [1] 44/6
                              37/23 38/20 39/18 40/11 41/6     falls [1] 27/4
courtroom [3] 3/1 22/4 38/10                                                                   herein [2] 23/11 44/10
                              41/18 41/19 42/1 43/3 43/5       far [2] 17/6 40/10
courts [1] 24/16                                                                               hereunder [4] 9/8 9/11 20/14
                              done [8] 17/3 24/11 25/2         FARELLA [2] 2/4 22/1
covered [1] 11/13                                                                              24/4
                              35/20 37/13 40/11 41/9 42/18     fashion [1] 7/12
crazy [1] 12/9                                                                                 herring [1] 34/13
                              down   [4] 8/2 16/12 16/16       fee [2] 4/23 5/1
created [1] 16/16                                                                              hit [1] 6/10
                              41/19                            fighting [1] 4/15
criminal [1] 39/16                                                                             HOLDINGS [1] 1/7
                              drawn [1] 7/21                   figure [6] 36/20 37/10 37/15
D                             due [8] 18/8 19/14 22/12          40/7 41/19 43/4                Honor [36] 3/11 3/18 3/21 4/4
                              24/10 27/19 28/10 29/13 30/7     file [4] 28/15 34/4 39/17 43/11 5/5 6/19 7/15 9/16 12/9 14/16
damaged [1] 16/14                                                                              15/14 16/5 17/1 19/8 19/10
                              DUGAN [2] 2/2 22/3               filed [2] 24/12 29/6
days [1] 42/10                                                                                 21/15 21/22 21/23 23/8 24/11
                              duty [1] 12/4                    files [2] 32/16 40/21
dealing [1] 30/19                                                                              30/13 30/14 32/9 32/17 33/4
                                                               FINJAN [11] 1/4 2/11 4/8 4/14
decide [2] 16/1 38/12            E                                                             33/16 33/20 35/9 38/1 39/1
                                                                6/13 6/22 16/9 21/9 22/4 31/13
decides [1] 12/11                                                                              39/4 40/19 41/12 42/3 43/12
                                 effective [1] 36/9             32/16
decision [2] 39/3 43/21                                                                        43/16
                                 effort [1] 18/16              Finjan's [3] 17/19 24/22 40/3
decisions [3] 36/8 36/9 36/10
                                 either [3] 22/16 22/17 40/2   firm [2] 16/16 22/2             HONORABLE [1] 1/11
defective [1] 15/16
                                 elephant [1] 15/19            first [2] 10/19 19/8            HOSTETLER [2] 2/7 3/13
defendant [6] 1/8 2/8 3/12
                                 eliminate [1] 33/10           five [3] 8/1 13/20 37/21
3/15 5/19 26/23
                                 eliminates [1] 15/5           focus [1] 5/3
                                                                                               I
defined [1] 28/3                                                                               I'd [1] 38/21
                                 enable [1] 24/4               focusing [1] 7/19
defines [2] 23/9 28/1                                                                          I'll [8] 11/6 12/10 14/15 32/15
                                 end [3] 20/9 32/21 33/10      follow [2] 4/1 5/11
definition [6] 8/12 8/19 20/11                                                                  38/21 39/13 43/21 43/21
                                 engaged [1] 40/18             followed [1] 39/22
20/19 21/7 25/13
I                                 kind [5] 30/15 39/8 39/8 42/17 Marshal [1] 4/8                      notwithstanding [1] 32/22
    Case 1:20-cv-00372-MN 43/14
                            Document 2-1 Filed 03/16/20
                                                MARTEL [2]Page  549 of 624November
                                                           2/4 22/2        PageID [3]
                                                                                   #: 555
                                                                                      1/16 3/1 44/15
I'm [33] 3/21 5/9 6/16 6/17 7/8
 7/14 7/15 7/19 11/2 11/3 12/11   King [1] 1/21                      MARY [2] 2/2 22/3                number [3] 16/12 16/15 17/4
 13/7 14/21 15/16 18/19 22/1      know-how [1] 4/11                  matter [5] 6/18 15/5 16/6 19/2   numbered [1] 9/3
                                  knowledge [1] 32/13                42/5                             numbers [1] 18/5
 26/21 27/10 27/14 28/14 31/18
                                  knows [1] 42/8                     mean [11] 5/21 17/15 19/6        nutshell [1] 33/21
 32/5 35/21 36/6 36/17 37/18
                                  KPMG [16] 10/3 16/11 17/8          26/6 29/1 29/9 35/18 37/21
 37/18 38/21 39/21 41/2 42/4                                                                          O
                                   17/15 18/16 22/11 24/9 24/13      39/7 40/23 43/7
 42/7 42/8
                                   28/9 29/19 30/7 30/8 35/22        meaningful [1] 41/15             obligated [1] 35/23
I've [6] 6/16 19/2 21/21 39/12
                                   40/18 41/16 41/19                 meaningless [1] 14/3             obligation [7] 20/5 24/8 27/4
 39/13 42/18
                                  KPMG's [2] 33/2 40/11              means [4] 8/20 28/4 32/6 42/3    27/8 27/16 31/13 43/1
identify [1] 17/21
                                                                     mentioned [1] 22/7               obligations [1] 26/17
ii [1] 9/10                       L                                  merged [2] 4/7 27/12             obvious [1] 12/22
illustrated [1] 8/9
                                  language [3] 5/10 10/21 31/2       message [1] 35/21                occur [1] 11/14
inappropriate [1] 36/10
                                  large [2] 11/19 39/12              middle [1] 42/7                  occurred [2] 6/15 11/12
inappropriately [1] 38/15
                                  last [3] 14/20 14/20 26/22         might [2] 7/2 17/21              OEMs [5] 7/12 7/23 8/21
INC [2] 1/4 1/7
                                  late [1] 14/19                     million [6] 4/20 5/1 10/18       10/16 20/1
include [1] 19/1
                                  law [4] 15/5 15/21 16/6 21/16      12/22 17/9 29/9                  offered [6] 23/19 24/7 28/4
included [1] 20/19
                                  lawsuit [5] 24/13 30/9 32/23       millions [1] 25/16               28/6 28/8 29/14
indicated [1] 7/18                 33/1 41/8                         minute [1] 23/5                  Office [1] 44/11
indulge [1] 7/13
                                  lawyers [3] 36/14 37/16 37/21      misstated [1] 17/11              OFFICIAL [3] 1/21 44/4 44/20
indulgence [1] 5/2
                                  least [2] 5/23 42/18               moment [1] 36/22                 one [5] 27/12 29/8 32/20 36/1
ineffective [1] 36/10
                                  legal [2] 36/15 36/19              money [4] 10/19 11/7 35/3        36/7
information [27] 17/17 18/10
                                  lengths [1] 17/16                  37/19                            one's [1] 6/12
 18/22 19/18 20/6 22/11 24/15
                                  less [1] 39/13                     months' [1] 42/9                 ongoing [1] 11/16
 25/8 25/18 26/8 28/18 30/8
                                  let's [3] 19/10 22/15 37/10        morning [3] 3/8 3/18 21/23       opportunity [1] 41/15
 31/10 31/18 31/23 32/4 32/10
                                  LETCHINGER [7] 2/8 3/13            MORRIS [2] 2/6 3/12              order [2] 4/12 21/8
 34/6 34/8 34/17 34/19 37/1
                                   3/14 3/19 22/5 22/7 30/5          most [1] 5/11                    original [1] 12/3
 40/3 41/3 41/15 42/17 43/14
                                  license [29] 3/23 4/14 4/18        motion [6] 1/15 3/9 3/22 38/2    outcome [1] 44/14
infringement [3] 38/17 43/10       4/23 5/7 5/15 7/9 7/19 8/1 8/3    39/6 39/14                       outrageous [2] 36/16 36/16
 43/11
                                   8/6 9/9 10/20 12/23 13/3 13/15    motions [1] 39/15                outside [2] 38/1 38/2
inspection [6] 3/23 10/3           14/23 15/4 22/14 25/22 29/15      Mr [1] 22/5                      overarching [1] 16/23
 16/12 19/13 20/3 33/2
                                   29/22 31/22 32/12 33/8 33/23      Mr. [6] 3/9 3/14 22/7 30/5       owe [11] 11/7 11/7 11/13 17/4
instead [1] 37/16                  34/2 35/11 40/17                                                   17/9 22/16 25/19 26/16 28/1
                                                                     30/15 33/3
instructions [1] 17/19
                                  licensed [6] 6/20 9/11 20/13       Mr. Blumenfeld [1] 3/9           37/14 42/23
integrated [1] 20/16               20/14 20/16 21/7                  Mr. Cooper [2] 30/15 33/3        owed [5] 21/14 22/17 24/23
intent [1] 40/9
                                  licensee [25] 4/6 5/6 5/14         Mr. Letchinger [3] 3/14 22/7     25/6 29/4
interested [1] 44/14               7/10 7/22 8/6 9/1 9/9 9/18 9/20   30/5                             owes [3] 22/20 26/13 35/2
interpret [2] 18/10 35/10          10/4 10/9 10/22 10/23 11/4        murder [1] 42/9                  owing [2] 16/1 19/15
interpretation [1] 38/5
                                   12/4 13/14 13/19 15/3 16/7        must [1] 23/12                   own [2] 12/11 25/10
interpreted [1] 14/2               21/2 23/10 23/20 24/3 27/15                                        owner [1] 13/7
invoice [1] 18/4                                                     N
                                  licensee's [1] 20/5
invoiced [1] 8/21
                                  licenses [1] 9/7                   N18C [1] 1/3                     P
invoke [1] 26/5                                                                                       package [1] 43/22
                                  Likewise [1] 9/2                   N18C-04-006 [1] 1/3
invoked [1] 26/3                                                                                      Page [3] 9/4 16/9 20/10
                                  limited [2] 12/5 39/8              name [2] 3/19 22/1
invoking [1] 28/11                                                                                    Page 15 [1] 16/9
                                  line [4] 5/13 13/23 25/11 38/4     narrower [1] 9/14
involved [2] 35/19 41/12                                                                              Page 3 [1] 20/10
                                  lines [1] 8/2                      nature [1] 6/10
isn't [2] 15/14 18/13                                                                                 Page 9 [1] 9/4
                                  link [1] 9/7                       near [1] 21/16
issue [3] 10/2 22/19 24/3                                                                             paid [30] 5/7 5/15 6/14 7/19
                                  LLP [4] 2/2 2/4 2/6 2/7            necessary [2] 34/6 34/8
it's [54]                                                                                             8/2 8/9 9/9 9/20 10/10 11/5
                                  local [1] 42/8                     need [11] 6/17 7/17 14/12
itself [5] 5/7 7/16 8/6 15/4                                                                          11/8 13/19 13/22 13/23 15/3
                                  logic [1] 13/9                     14/13 23/4 23/5 30/7 30/8
 16/8                                                                                                 16/7 16/21 18/20 19/3 19/5
                                  look [17] 7/13 7/14 7/15 8/10      31/20 36/20 39/7
J                                  9/5 12/8 13/15 13/16 13/16        needed [1] 22/12                 21/3 23/2 23/12 23/15 24/23
                                   16/2 24/6 38/21 39/2 39/11        needs [2] 4/1 37/9               25/2 25/16 25/22 27/10 31/10
JACK [2] 2/6 3/11
                                   40/16 41/20 41/20                 negative [1] 32/11               paid-up [13] 5/15 6/14 7/19
job [3] 19/12 19/13 40/14                                                                             8/2 11/5 11/8 15/3 16/21 18/20
                                  looked [3] 13/17 17/20 33/6        net [14] 8/12 8/13 8/13 8/18
JOHN [5] 2/4 2/8 3/13 3/19                                                                            19/5 24/23 25/16 25/22
 22/1                             looking [4] 14/9 16/8 19/17        8/19 8/20 9/6 10/13 16/17 19/2
                                   30/22                             20/12 20/19 29/8 40/13           paper [1] 13/11
jointly [1] 40/18
                                  losing [1] 27/10                   never [4] 12/10 14/17 25/21      Paragraph [2] 25/4 26/3
JR [1] 1/11
                                  lost [1] 6/11                      25/23                            parcel [1] 24/20
judge [1] 38/22
                                  lump [1] 30/15                     new [4] 1/1 12/1 40/3 44/9       parrots [1] 31/2
Julie [2] 2/11 22/4
                                                                     next [1] 13/22                   part [2] 3/20 15/11
K                                 M                                  nice [1] 40/14                   participant [1] 44/13
                                  M86 [5] 4/6 4/7 4/22 12/19         NICHOLS [2] 2/6 3/12             parties [7] 22/8 25/20 28/20
KAREN [6] 1/20 2/3 22/3 44/4
                                  13/1                               night [1] 14/20                  41/10 41/17 41/18 42/2
 44/19 44/20
                                  manufacturing [1] 33/7             nimble [1] 5/11                  party [4] 5/19 21/10 26/7
keep [1] 43/22
                                  Mar [2] 2/11 22/4                  noted [1] 3/6                    44/13
kicked [1] 6/15
                                  Mar-Spinola [2] 2/11 22/4          nothing [6] 8/3 11/13 24/23      PASCALE [2] 2/3 22/3
kicks [1] 14/7
                                  marriage [1] 15/22                 26/20 37/2 37/3                  past [1] 15/22
kin [1] 44/12
P                    provide [3] 18/5 34/5 34/8   reserve [1] 43/21            sides [1] 15/10
Case 1:20-cv-00372-MNprovides
                       Document      2-135/10
                              [2] 29/15    Filed 03/16/20
                                                  resolve [5] Page  55041/21
                                                              37/20 38/2 of 624SIEDLECKI
                                                                                 PageID #: [4]556
                                                                                               1/20 44/4
patent [31] 4/14 4/18 4/23
6/14 11/5 11/9 12/23 13/2        provision [20] 6/9 7/3 9/2         43/15 43/17                       44/19 44/20
                                 13/11 13/11 13/11 14/6 18/19      resolved [1] 36/18                significant [2] 3/20 14/10
13/15 16/21 17/17 18/20 18/21
                                 18/23 19/1 19/4 20/3 20/3 20/5    resolving [1] 42/3                simple [2] 22/16 22/21
19/5 21/11 21/16 22/6 24/23
                                 20/22 20/22 31/3 37/18 39/10      respect [1] 17/11                 simply [5] 16/17 34/12 40/13
25/8 25/16 26/8 28/18 31/9
                                 40/9                              respond [1] 31/6                   41/4 42/13
31/23 33/8 33/10 34/16 38/15
                                 provisions [9] 5/3 7/20 8/10      restate [1] 17/7                  single [1] 18/4
38/17 43/10 43/11
                                 8/11 10/14 13/17 15/1 30/1        result [2] 6/7 29/2               Singtel [46]
patents [4] 12/2 16/2 21/16
                                 30/1                              revenues [1] 8/14                 Singtel's [4] 32/7 33/6 35/4
32/19
                                 purchase [3] 4/5 11/11 11/20      rights [1] 9/8                     36/3
pay [8] 12/5 12/22 13/8 15/12
19/14 21/8 25/15 43/2            purchased [4] 12/18 12/19         RMR [3] 1/20 44/4 44/20           sister [1] 9/2
                                 13/4 19/11                        room [1] 15/19                    sit [1] 41/19
payable [1] 24/4
                                 purposely [1] 7/10                royalties [35] 6/3 11/8 12/5      sitting [2] 37/7 37/22
paying [1] 34/19
                                 pursuant [3] 9/8 29/23 30/1        13/9 14/10 16/1 16/19 18/7       six [1] 42/8
payment [1] 18/22
                                 put [3] 16/12 16/16 17/22          19/14 20/21 21/9 22/12 22/17     small [1] 5/3
penalized [1] 11/21
                                 putting [1] 33/8                   22/17 22/20 23/3 23/6 24/4       software [4] 4/8 4/11 28/18
percent [6] 6/10 8/17 8/18
                                                                    24/10 25/1 25/6 25/19 26/10       31/22
16/18 29/4 33/1                  Q                                  26/13 27/18 28/1 28/10 29/4      sold [2] 23/11 35/14
perfectly [1] 17/15
                                 qualified [1] 17/12                29/13 30/6 34/20 37/13 37/15     solely [1] 21/18
period [3] 5/8 5/8 42/21
                                 qualify [1] 18/9                   40/5 43/2                        someone's [1] 24/17
permission [1] 3/14
                                 quite [1] 41/2                    royalties or [1] 22/17            somewhere [1] 14/7
permitted [2] 8/21 10/15
                                                                   royalty [22] 6/10 7/7 8/15 9/13   sorry [1] 37/18
perspective [4] 15/1 15/7 17/2   R                                  11/1 13/16 13/21 14/6 14/17      sort [2] 18/16 18/17
17/2                             rate [1] 8/15                      15/1 15/3 15/3 17/12 18/13       specific [4] 7/20 13/18 21/1
picked [1] 18/3                  rather [1] 38/21                   21/19 23/12 23/14 27/4 27/8       30/21
piece [1] 5/10                   reach [1] 41/16                    31/3 31/10 31/12                 specifically [7] 5/13 7/19 8/19
pissing [1] 36/13                read [9] 5/17 6/4 10/9 14/22      royalty-free [2] 9/13 15/3         8/23 9/19 19/23 30/22
Plaintiff [2] 1/5 2/5             15/2 15/7 15/11 26/12 32/21      rules [1] 7/22                    spending [1] 37/19
play [2] 7/2 10/8                reading [1] 6/16                  ruling [1] 15/15                  Spinola [2] 2/11 22/4
pleading [3] 15/17 33/12 38/1    reads [1] 10/12                                                     stage [2] 39/7 39/8
pleadings [2] 15/11 21/17        real [2] 5/19 34/13               S                                 standard [1] 33/12
pled [1] 33/13                   reality [1] 39/22                 sale [4] 6/8 28/7 30/22 32/10     standards [1] 15/17
point [12] 5/23 10/1 15/23       realize [1] 39/7                  sales [38] 7/2 7/5 7/5 7/6 8/8    standing [1] 36/14
15/23 15/23 18/18 29/9 30/20     really [8] 4/21 5/2 19/1 20/4      8/13 8/13 8/13 8/18 8/19 8/20    STARGATT [1] 2/2
35/19 39/6 40/1 42/13             32/6 38/10 38/13 42/5             8/23 9/6 10/1 10/2 10/13 16/17   start [2] 12/1 14/9
poorly [1] 36/8                  reason [2] 24/16 39/16             16/20 18/2 19/2 20/12 20/13      starting [2] 5/12 7/1
position [4] 5/18 11/15 41/23    recognized [1] 7/18                20/15 20/19 20/20 21/7 25/1
42/1                                                                                                 state [4] 1/1 17/6 44/5 44/8
                                 record [1] 44/10                   27/7 29/8 32/5 33/2 35/3 35/4    statement [1] 26/22
positions [1] 36/15              red [1] 34/12                      35/5 35/15 36/3 36/4 40/13       states [2] 8/20 33/9
possibility [1] 14/10            reference [1] 17/17               San [1] 22/2                      stayed [1] 14/19
potential [2] 17/13 18/7         referenced [2] 5/1 9/19           scrutiny [1] 14/17                Stenographer [1] 44/5
potentially [2] 25/7 31/12       references [1] 5/14               second [1] 9/18                   still [3] 15/15 15/15 25/18
practiced [1] 16/3               referencing [1] 3/21              seconds [1] 4/4                   stock [1] 4/19
practicing [2] 4/13 10/23        refile [1] 33/4                   section [22] 7/2 7/15 8/1 8/3     stop [1] 36/6
prejudice [1] 15/6               regarding [2] 24/6 34/10           8/12 9/5 9/7 10/11 10/14 13/21   store [2] 12/12 13/6
prepared [2] 7/8 15/14           regards [1] 36/23                  14/22 14/22 14/23 19/20 20/9     store chain [1] 12/12
PRESENT [2] 2/10 3/5             relate [1] 17/21                   21/6 22/13 24/2 27/19 28/11      street [2] 1/21 38/16
presentation [1] 3/20            relates [5] 5/6 7/22 11/16 20/5    30/18 32/21                      strong [1] 20/10
presenting [1] 3/15               21/17                            sections [2] 7/14 26/18           stuck [1] 38/19
presumed [1] 19/17               relatively [2] 22/16 40/2         security [2] 12/20 17/22          stupid [1] 37/18
pretty [1] 17/15                 relevant [3] 9/6 10/13 33/3       see [9] 9/6 24/20 38/3 39/11      subject [5] 14/16 20/17 30/3
primary [1] 10/1                 rely [1] 15/9                      40/23 41/8 42/10 42/10 42/12      30/3 32/20
problem [3] 26/1 33/10 35/4      remains [1] 44/10                 selling [5] 13/1 23/17 26/17      subpart [1] 10/12
procedural [1] 17/2              repeatedly [1] 24/14               32/19 35/8                       subset [1] 5/3
procedure [3] 22/8 28/21         reply [1] 33/18                   sense [4] 9/17 38/12 39/11        substantiative [1] 17/1
41/11                            report [13] 3/23 17/4 17/8         42/14                            sue [1] 38/14
proceed [1] 3/10                  18/14 19/12 24/3 24/9 24/13      sentence [1] 14/20                sufficient [2] 24/3 40/22
proceedings [2] 43/23 44/7        24/14 27/16 27/17 28/9 34/4      separate [2] 8/7 11/17            suggest [1] 38/8
product [13] 11/6 22/23 23/17    reported [4] 18/7 26/19 32/9      services [5] 6/13 18/21 20/14     suggests [1] 10/22
24/22 26/8 27/2 27/7 27/13        44/8                              20/16 23/1                       suit's [1] 43/9
29/3 31/15 42/21 42/22 43/1      REPORTER [3] 1/21 44/2            set [4] 12/5 25/13 42/18 43/15    suitable [1] 38/6
products [15] 4/11 4/22 12/1      44/20                            sets [1] 22/9                     Suite [1] 1/21
12/6 17/21 18/6 20/14 20/16      representation [1] 6/1            shall [1] 10/14                   SUPERIOR [5] 1/1 1/21 15/18
21/7 23/10 28/7 29/14 30/23      representative [1] 37/7           share [1] 32/14                    44/5 44/8
32/19 33/8                       required [5] 6/3 22/13 23/13      shares [1] 4/18                   support [2] 36/15 37/2
profits [1] 11/14                 24/2 30/17                       shocked [1] 37/19                 supposed [2] 6/22 41/19
protect [1] 6/22                 requires [4] 6/9 34/3 35/9        show [2] 7/8 23/5                 supposedly [2] 6/15 34/14
Prothonotary [1] 44/11            38/5                             side [1] 39/5                     suppression [1] 39/15
prove [1] 32/11
S                    TRUSTWAVE [65]               world [5] 5/11 36/19 36/19
Case 1:20-cv-00372-MNTrustwave's
                       Document  [6] 2-1   Filed 03/16/20
                                      10/3 25/9    37/6 38/17 Page 551 of 624 PageID #: 557
suspicion [1] 41/3
                                 28/17 33/2 34/16 36/4           wouldn't [1] 25/23
T                               try [3] 5/9 11/2 17/16           write [1] 14/20
talks [2] 19/23 27/19           trying [2] 7/7 36/14             WWC [1] 1/3
tandem [1] 4/12                 TUNNELL [1] 2/6
                                turned [1] 4/19                  Y
TAYLOR [1] 2/2
                                two [14] 3/21 4/21 8/10 12/20    years [3] 38/18 38/18 39/12
technology [8] 6/20 12/21
 13/5 14/5 19/12 20/6 30/6 33/7 27/10 36/12 36/14 36/20 37/6     yelled [1] 32/15
                                 37/16 37/20 38/11 38/16 41/18   you'd [1] 40/20
telecom [2] 11/18 32/14
                                                                 you're [18] 8/15 11/3 12/13
that's [47]                     U                                 23/2 23/6 26/12 27/11 28/22
themselves [1] 27/4
                                Uh [1] 33/17                      29/3 29/5 30/20 31/8 36/1 37/9
theoretical [1] 18/6
                                ultimate [2] 15/22 21/13          38/19 39/3 40/5 42/9
theory [1] 11/20
                                ultimately [2] 4/19 21/9         you've [1] 16/19
there's [29] 5/22 6/9 10/21
                                             6/3 7/2 11/20       YOUNG [1] 2/2
 11/22 13/4 13/5 13/9 14/6 15/1 under [13]
                                 15/20 21/6 24/2 24/8 26/17
 15/15 16/10 16/13 17/3 17/4                                     Z
                                 27/15 29/16 29/22 30/16 33/8
 17/17 19/5 20/2 20/10 25/21
                                Understood     [2] 19/19 21/4    zero [1] 37/3
 26/6 26/6 26/9 26/9 27/4 32/12
 32/13 35/21 37/13 39/10        unfortunately    [1] 9/3
                                universe   [1]  14/15
therefore [11] 6/7 11/5 11/6
                                up [28] 5/7 5/15 6/14 7/19 8/2
 16/13 16/18 16/21 18/20 27/8
                                 8/9 9/9 9/20 10/10 11/5 11/8
 29/3 30/16 31/8
                                 13/19 13/22 13/23 14/19 15/3
therein [1] 34/2
                                 16/7 16/21 18/4 18/20 19/5
thereof [1] 44/14
                                 21/3 23/15 24/23 25/16 25/22
they're [25] 7/7 8/17 11/10
                                 36/14 38/16
 16/3 19/14 21/11 23/7 23/16
 27/3 27/7 27/13 31/5 31/11     upper   [1] 39/23
                                used   [5] 17/12 20/7 25/18
 31/23 33/7 35/23 37/19 38/14
                                 41/2 42/1
 39/14 40/4 40/5 40/8 40/8
                                utility [1] 11/18
 42/16 42/22
                                utilize [1] 18/21
they've [10] 17/3 17/3 17/6
 18/15 22/21 37/13 39/9 41/4    V
 41/4 41/9
                                valid [2] 16/2 21/11
think that's [1] 43/3
                                value [2] 37/4 37/5
third [2] 5/13 9/18
                                versus [2] 7/23 13/13
three [3] 7/14 13/20 15/5
                                view [1] 42/14
thrown [1] 34/13
tired [1] 36/17                 W
today [3] 21/17 22/2 30/19      walk [1] 5/22
together [5] 5/10 14/22 36/13 wasn't [3] 13/1 19/16 32/4
 36/20 38/12                    We'll [1] 39/1
took [1] 4/14                   we're [19] 4/15 9/17 12/1 12/1
totally [5] 11/8 24/21 24/23     13/1 13/22 15/9 15/17 16/7
 25/16 29/21                     16/14 18/10 18/11 21/2 28/12
transaction [4] 4/7 4/9 6/11     29/17 30/2 34/22 41/14 41/14
 11/21                          we've [8] 13/17 16/13 23/22
transcript [1] 44/7              24/1 26/2 29/21 30/18 33/6
transfer [6] 13/5 23/21 28/5    website [2] 17/20 33/6
 28/9 29/15 35/14               weren't [1] 24/14
transferee [2] 8/21 21/11       what's [7] 12/6 12/7 23/13
transferees [3] 7/11 7/23        29/9 36/21 37/10 38/13
 10/15                          whatsoever [1] 8/3
transferred [2] 6/20 33/7       where's [1] 19/4
transfers [2] 34/3 35/11        whereas [2] 4/17 5/12
traveled [1] 37/16              who's [1] 38/22
treat [1] 9/17                  whole [6] 5/21 20/17 22/19
treated [1] 14/3                 32/23 33/11 40/7
treatment [3] 9/22 13/12        wholly [1] 15/16
 13/14                          WILLIAM [1] 1/11
trial [2] 24/18 30/3            willing [1] 42/16
trials [1] 42/9                 Wilmington [2] 1/22 44/11
tried [4] 17/20 18/15 38/2      withstanding [3] 15/8 20/11
 38/17                           22/10
trigger [2] 14/9 20/21          WITNESS [1] 44/15
triggering [1] 23/23            word [4] 17/12 17/13 23/17
triggers [3] 5/8 34/1 35/15      24/17
troubling [1] 42/3              words [2] 13/10 15/21
true [2] 15/4 26/16
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 552 of 624 PageID #: 558
                        So Ordered                 EFiled: Oct 07 2019 12:13PM EDT
             /s/ Carpenter, William C Oct 07, 2019 Transaction ID 64282268
                                                   Case No. N18C-04-006 WCC CCLD
          IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                               )
                                             )
                 Plaintiff,                  )
                                             )
    v.                                       ) C.A. No. 18C-04-006-WCC-CCLD
                                             )
 TRUSTWAVE HOLDINGS, INC.,                   )
                                             )
                 Defendant.                  )


     STIPULATION AND [PROPOSED] ORDER GOVERNING THE
   DESIGNATION AND HANDLING OF CONFIDENTIAL MATERIALS

         To expedite the flow of discovery material, to facilitate the prompt

resolution of disputes over confidentiality of discovery materials, to adequately

protect information the parties are entitled to keep confidential, to ensure that only

materials the parties are entitled to keep confidential are subject to such treatment,

and to ensure that the parties are permitted reasonably necessary uses of such

materials in preparation for and in the conduct of trial, it is hereby ORDERED

THAT:

         1.    DEFINITIONS. The terms defined in this Section 1 and

parenthetically elsewhere shall, throughout this Order, have the meanings

provided. Defined terms may be used in the singular or plural.

               1.1    The “Action” means the above-captioned litigation.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 553 of 624 PageID #: 559




             1.2   “Party” means a party to the Action, including all of its officers,

directors, employees, consultants, retained experts, and outside counsel (and their

support staff).

             1.3   “Material” means all information, documents, testimony, and

things produced, served or otherwise provided in this action by any Party or by any

non-party.

             1.4   “Designated Material” means any Material that is designated

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”, and/or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” under this Order.

Designated Material shall not include advertising or other materials that have been

actually published or publicly disseminated.

             1.5    “Designating Party” means a Party or non-party that designates

any Material in productions, in disclosures, or in responses to discovery as

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”, and/or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.”

             1.6   “Producing Party” means any Party or non-party that discloses

or produces Material in this Action.

             1.7   “Receiving Party” means any Party receiving production or

disclosure of Material in this Action.




                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 554 of 624 PageID #: 560




             1.8    “Confidential Material” means information, documents, and

things the Designating Party believes in good faith constitutes trade secret or other

confidential research, development, or commercial information that is maintained

in confidence by the Designating Party and not generally known to others.

             1.9    “Confidential – Outside Counsel Only Material” means

Confidential Material that the Designating Party believes in good faith has

significant competitive value such that unrestricted disclosure to others would

create a substantial risk of serious injury.

             1.10 “Restricted Confidential – Source Code Material” means

extremely sensitive “Confidential Material” representing “Source Code,” (defined

below), disclosure of which to another Party or Non-Party would create a

substantial risk of serious harm that could not be avoided by less restrictive means.

             1.11 “Source Code” means computer instructions and data

definitions expressed in a form suitable for input to an assembler or compiler and

associated comments and revision histories to the extent such comments and

revision histories are contained within the source code itself.

             1.12 “Counsel of Record” means (i) outside counsel who has entered

an appearance as counsel for a Party and has not subsequently withdrawn, and (ii)

partners, principals, counsel, associates, employees and contract attorneys of such

outside counsel to whom it is reasonably necessary to disclose the information for


                                               3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 555 of 624 PageID #: 561




this Action, including supporting personnel employed by the attorneys, such as

paralegals, legal translators, legal secretaries, legal clerks and shorthand reporters.

             1.13 “Outside Consultant” means any person with specialized

knowledge or experience in a matter pertinent to this Action who has been retained

by Counsel of Record to serve as an expert witness, or as a consultant in this

Action, and who is not a current employee of a Party or of a competitor of a Party

and who, at the time of retention, is not anticipated to become an employee of a

Party or of a competitor of a Party.

             1.14 “Professional Vendors” means any persons or entities that

provide litigation support services and their employees and subcontractors who

have been retained or directed by Counsel of Record in this action, and who are not

current employees of a Party or of a competitor of a Party and who, at the time of

retention, are not anticipated to become employees of a Party or of a competitor of

a Party. Litigation support services include but are not limited to: photocopying;

videotaping; translating; designing and preparing exhibits, graphics, or

demonstrations; organizing, storing, retrieving data in any form or medium; etc.

Professional Vendors include ESI vendors and professional jury or trial consultants

retained in connection with this litigation. Professional Vendors do not include

consultants who fall within the definition of Outside Consultant.




                                           4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 556 of 624 PageID #: 562




             1.15 “Termination” means the dismissal of the Action (whether

through settlement or otherwise), or the entry of final judgment and expiration of

all periods to appeal or to seek judicial review of such judgment or dismissal.

             1.16 “Affiliate” shall mean, with respect to any Party, any other

entity controlling, controlled by, or under common control with that Party. As

used in this definition, the term “control” means the ownership of more than fifty

percent (50%) of the ownership or equity interests of such entity.

      2.     SCOPE

             2.1   The protections conferred by this Order cover not only

Designated Material (as defined above), but also any information copied or

extracted therefrom, as well as all copies, excerpts, summaries, or compilations

thereof. Nothing herein shall alter or change in any way the discovery provisions

of the Delaware Superior Court Civil Rules of Procedure, or the Court’s deadlines

provided in any scheduling order or case management order issued by the Court.

Identification of any individual pursuant to this Order does not make that

individual available for deposition, or any other form of discovery outside of the

restrictions and procedures of the Delaware Superior Court Civil Rules of

Procedure, and the Court’s deadlines provided in any scheduling order or case

management order issued by the Court.




                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 557 of 624 PageID #: 563




             2.2    Nothing in this Order shall prevent or restrict a Producing

Party’s own disclosure or use of its own Designated Material for any purpose, and

nothing in this Order shall preclude any Producing Party from showing its

Designated Material to an individual who prepared the Designated Material.

             2.3    Nothing in this Order shall be construed to prejudice any

Party’s right to use any Designated Material in court or in any court filing with the

consent of the Producing Party or by order of the Court.

      3.     MATERIAL DESIGNATED “CONFIDENTIAL.” Any

Designating Party may designate as “CONFIDENTIAL” any Material that the

party believes in good faith constitutes Confidential Material. Unless otherwise

ordered by the Court or permitted in writing by the Designating Party, a Receiving

Party may disclose any Material designated “CONFIDENTIAL” only to:

             (a)    Persons who appear on the face of the Designated Material as

an author, addressee, or recipient thereof;

             (b)    Up to three (3) in-house employees of a Receiving Party

(including a parent or affiliate of a Receiving Party), and necessary secretarial

staff, who are responsible for providing oversight of or assistance in the litigation,

provided that any such employee or staff has signed the “Acknowledgement and

Agreement To Be Bound By Order” attached hereto as Exhibit A, and provided an

executed copy to the Producing Party prior to receiving any Designated Material;


                                           6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 558 of 624 PageID #: 564




             (c)    Counsel of Record for the Designating Party or the Receiving

Party;

             (d)    Outside Consultants of the Receiving Party (including

necessary employees of the Outside Consultants) provided that disclosure is only

to the extent necessary to perform such work; and provided that: (a) such expert or

consultant has agreed to be bound by the provisions of this Order by signing a copy

of the “Acknowledgement and Agreement To Be Bound By Order Governing the

Designation and Handling of Confidential Materials” attached hereto as Exhibit A,

and the “Certification Of Consultant” attached hereto as Exhibit B, with the

provisions of Section 6 being complied with prior to receiving any Designated

Material; (b) such expert or consultant is not a current officer, director, or

employee of a Party or of a competitor of a Party, nor anticipated at the time of

retention to become an officer, director or employee of a Party or of a competitor

of a Party; and (c) no unresolved objections to such disclosure exist after proper

notice has been given to all Parties as set forth in Section 6 below;

             (e)    Witnesses at deposition and/or trial consistent with the

provisions of Section 7 below, provided that such witnesses may not retain copies

of Designated Material unless permitted by other provisions of this Order;

             (f)    The Court and its personnel, any technical advisor that the

Court may appoint, and any Jury impaneled in the Action;


                                           7
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 559 of 624 PageID #: 565




             (g)    Any designated arbitrator or mediator who is assigned to hear

this matter, or who has been selected by the Parties, and his or her staff;

             (h)    Court reporters and videographers employed in connection with

this case;

             (i)    Professional Vendors to whom disclosure is reasonably

necessary for this Action;

             (j)    Jury consultants, trial consultants, or mock jurors selected by

counsel in preparation for trial, provided they have signed the “Acknowledgement

and Agreement To Be Bound By Order Governing the Designation and Handling

of Confidential Materials” attached hereto as Exhibit A; and

             (k)    Any other person authorized by written agreement of the

Producing Party and the Receiving Party or by order of the Court.

      4.     MATERIAL DESIGNATED “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY.” Any Designating Party may designate as

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY” any Material that the party

believes in good faith constitutes Confidential – Outside Counsel Only Material.

Unless otherwise ordered by the Court or permitted in writing by the Designating

Party, Material designated as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY”

shall be treated as Material designated as “CONFIDENTIAL” with the further




                                           8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 560 of 624 PageID #: 566




restriction that it shall not be disclosed to any person identified in Section 3(b)

above.

      Notwithstanding the foregoing, each Receiving Party predesignates its

General Counsel, listed below, as well as his or her secretarial and clerical

employees, to review damages discovery responses, damages disclosures and

damages expert reports (together, “Damages Materials”), to be used for the sole

purpose of more meaningful participation in settlement discussions, provided that

the designated employee has signed the “Acknowledgement and Agreement To Be

Bound By Order Governing the Designation and Handling of Confidential

Materials” attached hereto as Exhibit A, and provided an executed copy to the

Producing Party prior to receiving any such Damages Materials.”

      For Finjan, Inc.
      Julie Mar-Spinola

      For Trustwave Holdings, Inc.
      Joel Smith

      5.     MATERIAL DESIGNATED “RESTRICTED CONFIDENTIAL

– SOURCE CODE.” Any Designating Party may designate as “RESTRICTED

CONFIDENTIAL – SOURCE CODE” any Material that the party believes in good

faith constitutes Restricted Confidential – Source Code Material. Unless otherwise

ordered by the Court or permitted in writing by the Designating Party, Material

designated as “RESTRICTED CONFIDENTIAL – SOURCE CODE” shall be


                                           9
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 561 of 624 PageID #: 567




treated as Material designated as “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” with the further restriction that (i) it shall not be disclosed to any person

identified in Sections 3(b), 3(g), 3(i) or 3(j) above; and (ii) such Material is subject

to the provisions of Section 8 of this Order. Inclusion of this designation in this

order by no means constitutes an agreement that the inspection or production of

source code material is necessary or justified in this Action and by no means

waives any objection to another Parties’ request for production or request to

inspect such source code material.

      6.     DISCLOSURE TO OUTSIDE CONSULTANTS. No disclosure of

Designated Material to Outside Consultants shall occur until the notice and

resolution of objection procedures of this Section are followed.

             6.1    Notice. If a Receiving Party wishes to disclose another Party’s

Designated Material to any Outside Consultant, such Receiving Party must provide

notice to counsel for the Designating Party, which notice shall include: (a) the

individual’s name and business title; (b) business address; (c) business or

profession; (d) the individual’s CV; (e) any previous or current relationship

(personal or professional) with any of the Parties or any entity that the either

Receiving Party or the Outside Consultant has reason to believe is an Affiliate of

any of the Parties; (f) a list of other cases in which the individual has testified (at

trial or by deposition) within the last four years; (g) a list of all companies with


                                           10
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 562 of 624 PageID #: 568




which the individual has consulted or by which the individual has been employed

within the last four years; and (h) a signed copy of the “Acknowledgement and

Agreement To Be Bound By Order Governing the Designation and Handling of

Confidential Materials” attached as Exhibit A, and the “Certification Of

Consultant” attached hereto as Exhibit B. Notice of information under (a)-(h)

above shall in no way waive any limitation on discovery imposed or objection

provided by Delaware Superior Court Civil Rule of Procedure 26(b)(3)-(6).

             6.2   Objections. The Designating Party shall have five (5) business

days from receipt of the notice specified in Section 6.1 to object in writing to such

disclosure. Any such objection must set forth in detail the grounds on which it is

based. After the expiration of the 5-day period, if no objection has been asserted,

then Designated Material may be disclosed to the Outside Consultant pursuant to

the terms of this Order. However, if the Designating Party objects within the 5-day

period, the Receiving Party may not disclose Designated Material to the challenged

individual absent resolution of the dispute or Court Order. In the event the

Designating Party makes a timely objection, the parties shall promptly meet and

confer to try to resolve the matter by agreement. If the parties cannot reach an

agreement, the Objecting Party may, within three (3) business days following the

meet and confer, file a motion for a protective order preventing disclosure of

Designated Material to the Outside Consultant, and notice the motion to be heard


                                         11
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 563 of 624 PageID #: 569




on the Court’s next routine motions calendar at least 10 business days following

the filing the motion. If the Objecting Party files a timely motion for a protective

order, Designated Material shall not be disclosed to the challenged individual until

and unless a final ruling allowing such disclosure is made by this Court, or by the

consent of the Objecting Party, whichever occurs first. If the Objecting Party fails

to file a motion for a protective order within the prescribed period the Designated

Material may thereafter be disclosed to such individual.

         7.   USE AT DEPOSITION

              7.1   A present director, officer, agent, employee, designated Rule

30(b)(6) witness, and/or Outside Consultant of a Producing Party may be shown at

deposition and examined on all Designated Material that has been produced by that

Party;

              7.2   A former director, officer, agent and/or employee of a

Producing Party may be shown at deposition and examined on all Designated

Material that has been produced by that Party and that the Receiving Party’s

Outside Counsel reasonably and in good faith believes to have been received by

the witness previously or that refers to matters within the witness’s personal

knowledge pertaining to the period or periods of his or her employment,

engagement, or relationship with the Producing Party;




                                          12
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 564 of 624 PageID #: 570




             7.3    Non-parties may be shown at deposition and examined on any

document containing Designated Material of a Producing Party that appears on its

face, or which the Receiving Party’s Outside Counsel reasonably and in good faith

believes based on other documents or testimony, to have been received from or

communicated to the non-party. Any person other than the witness, his or her

attorney(s), and any person qualified to receive Designated Material under this

Order, shall be excluded from the portion of the examination concerning such

information, unless the Producing Party consents to persons other than qualified

recipients being present at the examination. If the witness is represented by an

attorney who is not qualified under this Order to receive such information, then

prior to the examination, the attorney shall be requested to sign the

“Acknowledgement and Agreement To Be Bound By Order Governing the

Designation and Handling of Confidential Materials” attached as Exhibit A. In the

event that such attorney declines to sign the Acknowledgement and Agreement To

Be Bound By Order Governing the Designation and Handling of Confidential

Materials prior to the examination, the parties, by their attorneys, shall jointly seek

a protective order from the Court prohibiting such attorney from disclosing such

Designated Material.

             7.4    A witness who previously had access to a document designated

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or


                                          13
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 565 of 624 PageID #: 571




“RESTRICTED CONFIDENTIAL – SOURCE CODE” but who is not under a

present non-disclosure agreement with the Producing Party that covers that

document, may be shown the document at deposition if the witness is advised on

the record of the existence of the Order Governing the Designation and Handling

of Confidential Materials and that the Order requires the parties to keep

confidential any questions, testimony or documents that are designated as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.” The witnesses may not

copy, take notes on or retain copies of any Designated Material used or reviewed at

the deposition. The witness may not take out of the deposition room any exhibit

that is marked “CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” or “RESTRICTED CONFIDENTIAL – SOURCE CODE”. The

Producing Party of any Designated Material used at the deposition may also

require that the transcript and exhibits not be copied by a witness who is not

subject to this Order or his counsel who is not subject to this Order, that no notes

may be made of the transcript or the exhibits, and that the transcript and exhibits

may only be reviewed by the witness in the offices of one of the counsel

representing a party in this case (or another firm acting for one of the counsel

representing a party in this case and under the supervision of one of the lawyers

who is bound by the terms of this Order).


                                          14
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 566 of 624 PageID #: 572




             7.5   Except as may be otherwise ordered by the Court, and without

limitation as to any of the other provisions of this section, any person may be

examined as a witness by deposition, and may testify concerning all Designated

Material of which such person has prior knowledge.

             7.6   Notwithstanding any sub-Section of this Section 7, no copies of

Designated Material may be provided to any deponent or trial witness other than

for purposes of the examination without the written consent of the Producing Party.

      8.     PRODUCTION OF SOURCE CODE. This Section shall govern

the production of Source Code in this Action.

             8.1   Source Code designated as “RESTRICTED CONFIDENTIAL

– SOURCE CODE” shall be made available for the Receiving Party’s inspection,

only by outside Counsel of Record representing the Receiving Party and Outside

Consultants retained by the Receiving Party who have been approved under

Section 6 of this Order.

             (a)   Source Code designated as “RESTRICTED CONFIDENTIAL

– SOURCE CODE” shall be maintained by the Producing Party and made

available for inspection by the Receiving Party on a stand-alone computer (that is,

a computer not connected to any network, the Internet, or any peripheral device

other than a keyboard, mouse, and monitor) in electronic and searchable form in a

manner consistent with how the code being made available for inspection is


                                         15
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 567 of 624 PageID #: 573




maintained in the ordinary course of business (e.g. with folder hierarchies

preserved).

              (b)   The stand-alone computer shall be maintained in a secured

location at the offices of the Producing Party’s outside counsel or at the offices of

the Producing Party, access to which shall be controlled by reasonable physical

(e.g., locked doors) and electronic (e.g., password or other access provisions)

security measures. Use of any input/output device (e.g., USB memory stick, CDs,

floppy disk, portable hard drive, etc.) is prohibited while accessing the computer

containing the Source Code, and the Receiving Party shall not attempt to use any

peripheral device of any kind (other than the keyboard, mouse, and monitor

provided by the Producing Party) with the stand-alone computers, nor shall the

Receiving Party attempt to install any software on the stand-alone computer. No

person other than the Producing Party may alter, dismantle, disassemble, or modify

the Standalone Computer in any way, or attempt to circumvent any security feature

of the Standalone Computer.

              (c)   The Receiving Party’s outside counsel and/or experts may

request that commercially available software tools for viewing and searching

Source Code be installed on the secured computer, provided, however, that (i) the

Receiving Party provides such software tools (or links to such software tools) to

the Producing Party at least ten (5) business days in advance of the date upon


                                          16
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 568 of 624 PageID #: 574




which the Receiving Party wishes to have the software tool(s) available for use on

the standalone computer; (ii) the Receiving Party possesses an appropriate license

to such software tools; (iii) the Producing Party approves such software tools (such

approval shall not be unreasonably withheld); and (iv) such other software tools

are reasonably necessary for the Receiving Party to perform its review of the

Source Code consistent with all of the protections herein.

             8.2   The Receiving Party shall make any request to inspect the

Producing Party’s Source Code a reasonable time in advance of its desired

inspection, and in no event less than five (5) business days’ notice. Inspection of

Source Code shall be permitted during regular business hours (i.e, 9:00 a.m. –

6:00 p.m.), although the Parties will be reasonable in accommodating requests to

conduct inspections at other times. The Receiving Party shall be given access to

the Source Code Computers through the close of expert discovery in this Action, as

requested.

             8.3   At the Producing Party’s selection, the secure location will be at

an office of the Producing Party’s Counsel of Record or at the offices of the

Producing Party. The Producing Party will endeavor to make a separate, private

room available for the Receiving Party to confer or talk on the phone.

             8.4   No person shall copy, e-mail, transmit, upload, download, print,

photograph, or otherwise duplicate any portion of Source Code, or documents or


                                         17
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 569 of 624 PageID #: 575




things designated “RESTRICTED CONFIDENTIAL – SOURCE CODE,” except

as follows:

              (a)   The stand-alone computer may be connected to a print driver

capable of printing electronic copies (e.g., an Adobe print driver capable of

creating PDF files) for temporary storage on the “stand-alone” computer for

subsequent printing by the Producing Party for the limited purposes set forth

herein. The Receiving Party may request printouts of limited portions of Source

Code that are reasonably necessary for the preparation of court filings, pleadings,

expert reports, or other papers, or for deposition or trial, but shall not request paper

copies for the purposes of reviewing the Source Code other than electronically.

The Receiving Party shall be permitted to request printouts that do not exceed (1)

600 total pages of the Producing Party’s Source Code; or (2) twenty (20) or more

pages of a continuous block of Source Code. The Producing Party shall provide all

such Source Code in paper form including bates numbers and the label

“RESTRICTED CONFIDENTIAL – SOURCE CODE” within three (3) business

days of the Receiving Party’s request, subject to subsection (b), below. Each

printed document shall indicate the full path and file name of the printed file, and

each line of the source code listing shall be separately numbered, provided that the

Receiving Party has supplied a software tool for viewing and searching Source

Code pursuant to Section 8.1(c) that includes such information on print outs.


                                           18
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 570 of 624 PageID #: 576




             (b)    If the Producing Party has any objection to the print-outs, the

Producing Party must object in writing within three (3) business days from the

request for print-outs from the Receiving Party. The Parties shall meet and confer

in an attempt to reach a resolution within four (4) business days of the Receiving

Party’s objection. If no resolution can be reached, the Producing Party must file a

motion for protective order with the Court no later than five (5) business days from

the Parties reaching an impasse.

             (c)    The Receiving Party shall not make any electronic copies or

images, nor more than three (3) additional paper copies, of any printed pages of

Source Code or other documents or things designated as “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” without the agreement of the Producing

Party or further order of the Court. Notwithstanding the foregoing, nothing in this

sub-Paragraph shall prevent a Party from making such additional hard or electronic

copies or images of limited excerpts necessary to prepare as exhibits to or include

in depositions, expert reports, court filings, or court presentations.

             (d)    For any RESTRICTED CONFIDENTIAL – SOURCE CODE

material used as a deposition exhibit, the exhibit shall be identified on the record,

by Bates number or otherwise. The Receiving Party shall retain the original of any

such exhibit and shall provide a copy of the original exhibit to the Producing Party

at the deposition. No source code Exhibits shall be retained by the Court reporter


                                           19
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 571 of 624 PageID #: 577




at the conclusion of the deposition or appended to the transcript by the Court

Reporter. At the conclusion of the deposition, the Producing Party will collect and

shred any other copies of the source code that may have been distributed at the

deposition, with the exception of the Parties’ working copy(ies).

             (e)   A Receiving Party that wants to file or otherwise submit any

Source Code, or other documents or things designated as “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” to the Court in connection with a filing

may make only as many copies, and only of the specific pages as needed, for

submission to the Court and shall file any and all such copies of the materials with

an application to file under seal. Unless agreed to by the Producing Party, images

or copies of source code shall not be included in correspondence between the

parties.

             8.5   No devices with network or recording functionality or a camera

are permitted in the secure room containing the stand-alone Computer, so long as

the Receiving Party is provided a separate secure room to store such devices during

the review. During its review of Source Code made available for inspection, the

Receiving Party may take notes. To the extent the Receiving Party desires to take

notes electronically, it may do so using a computer not connected to any network,

the Internet, or any peripheral device other than a keyboard, mouse, and monitor,

consistent with all of the protections herein. Any notes (whether electronic or non-


                                         20
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 572 of 624 PageID #: 578




electronic) shall not include copies or reproductions of portions of the source code,

but may contain filenames, directory names, module names, class names,

parameter names, variable names, function names, method names, or procedure

names. The Producing Party may not inspect or review the notes of the Receiving

Party or its consultants.

             8.6    Any paper copies, documents, or things designated

“RESTRICTED CONFIDENTIAL – SOURCE CODE” shall be stored or viewed

only at (i) the offices of Counsel of Record for the Receiving Party; (ii) the offices

of Outside Consultants who have been approved to access “RESTRICTED

CONFIDENTIAL – SOURCE CODE” materials; (iii) the site where any

deposition is taken; (iv) the Court; or (v) any intermediate location necessary to

transport the information to a hearing, trial, or deposition. Paper copies stored in

locations (i) and (ii) shall be maintained at all times in a locked and secure area.

             8.7    No Party shall physically, magnetically, digitally, optically, or

otherwise copy by any means, any Source Code, or documents or things that

another Party has designated “RESTRICTED CONFIDENTIAL – SOURCE

CODE,” subject to the exceptions enumerated above.

             8.8    Within 60 days of final termination of the suit as to the

Producing Party, the Receiving Party shall return all hard (non-electronic) copies




                                          21
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 573 of 624 PageID #: 579




of Source Code or certify through counsel with personal knowledge that all such

copies have been destroyed.

      9.     PROCEDURE FOR DESIGNATING MATERIAL. Subject to the

limitations set forth in this Order, a Designating Party may: designate as

“CONFIDENTIAL” information that the Designating Party believes, in good faith,

meets the definition of Confidential Material set forth in Section 1.8 above;

designate as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” information that

it believes, in good faith, meets the definition of Confidential – Outside Counsel

Only Material set forth in Section 1.9 above; and designate as “RESTRICTED

CONFIDENTIAL – SOURCE CODE” information that it believes, in good faith,

meets the definition of Restricted Confidential – Source Code Material set forth in

Section 1.10 above.

             9.1   Except as provided above in Section 8 with respect to

“RESTRICTED CONFIDENTIAL – SOURCE CODE” Material, any Material

(including physical objects) made available for inspection by counsel for the

Receiving Party prior to producing copies of selected items shall initially be

considered, as a whole, to constitute “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY” information, and shall be subject to this Order. Thereafter, the Producing

Party shall have ten (10) calendar days from the inspection to review and designate




                                         22
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 574 of 624 PageID #: 580




the appropriate documents as “CONFIDENTIAL” or “CONFIDENTIAL –

OUTSIDE COUNSEL ONLY” prior to furnishing copies to the Receiving Party.

             9.2    Except as otherwise provided in this Order or as otherwise

stipulated or ordered, Material that qualifies for protection under this Order must

be designated in accordance with this Section before the Material is disclosed or

produced. In addition to the marking of documents and things with the appropriate

level of confidentiality as provided in this Order, all documents and things

produced by a Producing Party shall be Bates numbered.

             9.3    Designation in conformity with this Order shall be made as

follows:

             (a)    For information in documentary form (apart from transcripts of

depositions, or other pretrial or trial proceedings), the Producing Party shall affix

the legend “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE” on each page

that contains Designated Material.

             (b)    For testimony given in deposition, the Designating Party shall

specify any portions of the testimony that it wishes to designate as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE.” In the case of depositions,

the Designating Party may also designate any portion of a deposition transcript as


                                          23
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 575 of 624 PageID #: 581




“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” by informing the reporter,

and opposing Parties, in writing within thirty (30) calendar days of completion of

the deposition of the designations to be applied. All deposition transcripts not

marked at least “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” during the

deposition will nonetheless be treated as “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY” until the thirty (30) day period has expired. Transcript pages

containing Designated Material must be separately bound by the court reporter,

who must affix to the top of each such page the legend “CONFIDENTIAL,”

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE” as instructed by the Designating Party.

             (c)   For information produced in some form other than

documentary, and for any other tangible items, the Producing Party shall affix in a

prominent place on the exterior of the container or containers in which the

information or thing is stored the legend “CONFIDENTIAL”, “CONFIDENTIAL

– OUTSIDE COUNSEL ONLY” or “RESTRICTED CONFIDENTIAL –

SOURCE CODE” to the extent reasonably practical.

             (d)   The provisions of this Sub-Section 9.3 do not apply to

documents produced in native format. Documents produced in native format will




                                         24
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 576 of 624 PageID #: 582




have their respective confidentiality designation and Bates number identified in the

filename of the native file.

             9.4    In the event that a Producing Party mistakenly or inadvertently

fails to stamp or otherwise designate a document or other information as

“CONFIDENTIAL”, “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” at the time of its

production, it may be corrected by written notification to counsel for the Receiving

Party, and the Receiving Party must make reasonable efforts to assure that the

material is treated in accordance with the terms of this Order. The Receiving Party

and other authorized recipients of such documents or information shall not be

responsible for any otherwise prior actions taken with respect to such documents or

information before receiving notice of the designation. Upon designation the

Receiving Party shall take reasonable efforts to retrieve such information from

individuals unauthorized to access it and to ensure that the information is treated

consistent with its designation and this Order.

      10.    PROSECUTION BAR.

             10.1 Absent written consent from the Producing Party, any

individual who receives access to information or items designated by the

Producing Party as “CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE” shall not be involved in


                                          25
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 577 of 624 PageID #: 583




the prosecution of patents or patent applications relating to computer security,

network security, vulnerability management, and/or cyber security, including

without limitation the patents asserted in this action and any patent or application

claiming priority to or otherwise related to the patents asserted in this action,

before any foreign or domestic agency, including the United States Patent and

Trademark Office (“the Patent Office”).

             10.2 For the purposes of this section, “prosecution” includes any

involvement in or advising regarding drafting, editing, approving or amending

patent claims. Prosecution includes, for example, preparing or revising an original

application, or involvement in or advising regarding drafting, editing, approving or

amending patent claims in a reissue protest, ex parte reexamination, inter partes

reexamination, inter partes review, or other post grant proceedings.

             10.3 “Prosecution” as used in this section does not include

representing a party challenging a patent before a domestic or foreign agency

(including, but not limited to, a reissue protest, ex parte reexamination or inter

partes review). “Prosecution” as used in this section also does not include

participation by such individual representing a patent-holder in a reissue protest,

ex parte reexamination, or inter partes review, so long as the proceeding is not

initiated by the patentholder itself for any of its own patents, and so long as the

individual has no involvement in and does not advise regarding drafting, editing,


                                          26
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 578 of 624 PageID #: 584




approving or amending patent claims. 1 No prohibition set forth in this paragraph

shall apply to or result from any Designated Materials that such individual had

lawfully received or authored prior to and apart from this litigation, or to any other

material not covered by this Order.

               10.4 This Prosecution Bar shall begin when access to

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE” information or items is first received by the

affected individual and shall end two (2) years after final termination of this action.

       11.     GENERAL USE OF DESIGNATED MATERIAL. Unless

otherwise ordered by the Court, or agreed to in writing by the Parties, all

Designated Material, and all information derived therefrom, shall be used by the

Receiving Party only for purposes of this case. Designated Material shall not be

used for any other purpose including, but not limited to, any business, proprietary,

commercial, legal/other litigation, arbitration or claim, or governmental purpose.

Information contained or reflected in Designated Material shall not be disclosed in

conversations, presentations by parties or counsel, in court or in other settings that




1 Such individual may be involved in other activities such as reviewing, drafting or editing briefs,
correspondence, or other materials in any reissue protest, ex parte reexamination, or inter partes
review, so long as the individual has no involvement in and does not advise regarding drafting,
editing, approving or amending patent claims.


                                                27
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 579 of 624 PageID #: 585




might reveal Designated Material, except in accordance with the terms of this

Order.

             11.1 Nothing in this Order shall limit any Designating Party’s use of

its own documents and information, nor shall it prevent the Designating Party from

disclosing its own confidential information, documents or things to any person.

Such disclosure shall not affect any designations made pursuant to the terms of this

Order, so long as the disclosure is made in a manner that is reasonably calculated

to maintain the confidentiality of the information.

             11.2 Nothing in this Order shall limit a Receiving Party from making

use of or disclosing documents and/or things that (a) were lawfully in its

possession prior to receipt of such information from a Producing Party; (b) appear

in any published material available to the Producing Party’s trade or business,

available to the public, or otherwise become available within the public domain,

other than as a consequence of the Receiving Party’s breach of any obligation not

to disclose the information; or (c) it lawfully obtains subsequent to the Producing

Party’s disclosure, without obligation of confidence, from a source or sources other

than the Producing Party; regardless of whether the same is Designated Material.

             11.3 Subject to the remaining provisions of this Order, absent

written permission from the Producing Party or a court order secured after




                                          28
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 580 of 624 PageID #: 586




appropriate notice to all interested persons, a Receiving Party may not file, or

disclose, in the public record any Designated Material.

             11.4 If a Receiving Party files any document with the Court

containing information designated by a Producing Party as Designated Material, it

shall file such a document in accordance with the Court’s rules and practices

governing the filing of sealed documents and shall indicate prominently on the face

of the document that is being filed under seal, the level of confidentiality

protection to which the document is subject and the name of the Producing Party

whose Designated Material is involved. All such Designated Material so filed

shall be released from confidential treatment only by order of the Court.

             11.5 The Parties making a filing under seal must comply with the

provisions of Superior Court Rule of Civil Procedure 5(g). Notwithstanding the

forgoing, the Parties have no obligation to file public versions of any exhibits or

attachments to a filing, unless otherwise ordered by the Court or required by the

Prothonotary.

             11.6 This Order shall not bar or otherwise restrict Counsel of Record

from rendering advice to his or her client with respect to the Action, and in the

course thereof, referring to or relying generally upon his or her examination of

Designated Material, provided, however, that in rendering such advice and in

otherwise communicating with his or her client, the attorney shall not disclose the


                                          29
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 581 of 624 PageID #: 587




content of such information designated as Designated Material contrary to the

terms of this Order.

             11.7 Designated Material shall not be used by a Receiving Party in

any other way, or for any other purpose, including the acquisition, preparation or

prosecution before the Patent Office of any patent application, or in connection

with patent licensing.

      12.    NO WAIVER OF PRIVILEGE . Subject to the provisions of

Delaware Rule of Evidence 510, inspection or production of documents (including

physical objects) shall not constitute a waiver of the attorney-client privilege, work

product immunity, or any other applicable privilege or immunity. If the Producing

Party becomes aware of any inadvertent disclosure, the Producing Party may

promptly designate any such documents as within the attorney-client privilege,

work product immunity or any other applicable privilege or immunity and request

in writing return of such documents to the Producing Party. Upon such request and

the provision of a supplemental privilege log, the Receiving Party shall, within five

(5) business days, retrieve and return or destroy all copies of such document(s) and

give notice to the Producing Party that it has complied with the provisions of this

paragraph. The Producing Party shall retain a copy of any such documents and

shall be prepared to submit them to the Court in connection with any Order of this




                                          30
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 582 of 624 PageID #: 588




Court requiring in camera inspection in connection with a challenge of the

privilege designation.

      13.    INADVERTENT FAILURE TO DESIGNATE PROPERLY. The

inadvertent failure by a Producing Party to designate any material with one of the

designations provided for under this Order shall not waive any such designation

provided that the Producing Party notifies all Receiving Parties that such Material

is protected under one of the categories of this Order within fourteen (14) calendar

days of the Producing Party learning of the inadvertent failure to designate. The

Producing Party shall reproduce the Designated Material with the correct

confidentiality designation within seven calendar (7) days upon its notification to

the Receiving Parties. Upon receiving the Designated Material with the correct

confidentiality designation, the Receiving Parties shall return or securely destroy,

at the Producing Party’s option, all materials that were not designated properly.

      Once a Receiving Party has received notification of the correct

confidentiality designation for the Designated Material with the incorrect

confidentiality designation, the Receiving Party shall treat such material at the

appropriately designated level pursuant to the terms of this Order.

      14.    CHALLENGES TO CONFIDENTIALITY DESIGNATIONS.

The Parties will use reasonable care when designating information as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or


                                          31
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 583 of 624 PageID #: 589




“RESTRICTED CONFIDENTIAL – SOURCE CODE.” Nothing in this Order

shall prevent a Receiving Party from contending that any or all documents or

information designated as Confidential Material, Confidential – Outside Counsel

Only Material, or Restricted Confidential – Source Code Material have been

improperly designated. A Receiving Party may, at any time, request that the

Producing Party cancel or modify the confidentiality designation with respect to

any document or information contained therein. A Receiving Party may seek to

de-designate Designated Material on the grounds that such material: (i) that is or

has become publicly known through no fault of the Receiving Party; (ii) that is

lawfully acquired by or known to the Receiving Party independent of the

Producing Party; (iii) previously produced, disclosed and/or provided by the

Producing Party to the Receiving Party or a non-party without an obligation of

confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court. A Party shall not be

obligated to challenge the propriety of a “CONFIDENTIAL,” “CONFIDENTIAL

– OUTSIDE COUNSEL ONLY,” or “RESTRICTED CONFIDENTIAL –

SOURCE CODE” designation at the time made, and the failure to do so shall not

preclude a subsequent challenge thereto. Such a challenge shall be written, shall

be served on counsel for the Producing Party, and shall identify particularly the

documents or information that the Receiving Party contends should be differently


                                         32
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 584 of 624 PageID #: 590




designated. The parties shall use their best efforts to resolve promptly and

informally such disputes in accordance with all applicable rules. If agreement

cannot be reached, the Receiving Party shall request that the Court cancel or

modify a “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE” designation in

accordance with Superior Court Civil Rule 5(g)(4). The Parties’ entry into this

Order shall not preclude or prejudice either Party from arguing for or against any

designation, establish any presumption that a particular designation is valid, or

alter the burden of proof that would otherwise apply in a dispute over discovery or

disclosure of information. Notwithstanding any challenge to a designation, the

Material in question shall continue to be treated as designated under this Order

until one of the following occurs: (a) the Party who designated the Material in

question withdraws such designation in writing; or (b) the Court rules that the

Material in question is not entitled to the designation.

      15.    COMMUNICATIONS BETWEEN PARTIES AND COUNSEL

OF RECORD. Responsive documents and things subject to the attorney-client

privilege, work product protection, and/or other applicable protection/immunity,

including privileged or protected communications between a Party and its

respective Counsel of Record, occurring after the date of filing of Plaintiff’s initial

Complaint, need not be produced or disclosed on a privilege log in response to a


                                           33
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 585 of 624 PageID #: 591




discovery request served by another Party, except as required to rely on an opinion

of counsel as part of a defense in this Action.

      16.    EXPERT REPORTS, DECLARATIONS AND

COMMUNICATION. For experts retained in anticipation of or in connection

with this Action, documents constituting drafts of expert reports and declarations,

and documents constituting notes created by or for an expert in connection with

preparation of his or her expert report or declaration, shall not be discoverable and

need not be preserved. Work product materials, including communications,

generated in connection with non-testifying experts and consultants who are

retained in anticipation of or in connection with the above-captioned litigation,

shall not be discoverable. Conversations or communications between counsel and

any testifying expert or consultant shall not be discoverable, except to the extent

such conversations or communications are relied upon by the expert. For the

avoidance of doubt, this section does not apply to any materials provided to or

from KPMG or written or oral communications with KPMG as such materials or

communications are discoverable in this action.

      17.    UNAUTHORIZED DISCLOSURE. If a Receiving Party learns

that, by inadvertence or otherwise, it has disclosed Designated Material to any

person or in any circumstance not authorized under this Order, the Receiving Party

must immediately (a) notify in writing the Designating Party of the unauthorized


                                          34
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 586 of 624 PageID #: 592




disclosures, (b) use its best efforts to retrieve all copies of the Designated Material,

(c) inform the person or persons to whom unauthorized disclosures were made of

all the terms of this Order, and (d) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as

Exhibit A.

      18.    NON-PARTY USE OF THIS ORDER. A non-party that produces

Material voluntarily, or pursuant to a subpoena or a court order, may designate

such Material in the same manner, and shall receive the same level of protection

under this Order, as any Party to this lawsuit. A non-party’s use of this Order to

protect its Confidential Material, Confidential – Outside Counsel Only Material, or

Restricted Confidential – Source Code Material does not entitle that non-party

access to Confidential Material, Confidential – Outside Counsel Only Material, or

Restricted Confidential – Source Code Material produced by any Party in this case.

Any non-party who is subpoenaed or whose documents, things, or other items are

otherwise requested in connection with this action must be provided a copy of this

Order and be made aware of their right to produce documents pursuant thereto.

      19.    MATERIAL SUBPOENAED IN OTHER LITIGATION. By

entering this Order and limiting the disclosure of information in this case, the

Court does not intend to preclude another court from finding that information may

be relevant and subject to disclosure in another case. Any person or Party subject


                                           35
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 587 of 624 PageID #: 593




to this order who becomes subject to a motion to disclose another party’s

information designated “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE

COUNSEL ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE”

pursuant to this Order shall promptly notify that party of the motion so that the

party may have an opportunity to appear and be heard on whether that information

should be disclosed. More specifically, if a Receiving Party is served with a

subpoena or a court order that would compel disclosure of any information,

documents or things designated in this action as “CONFIDENTIAL,”

“CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” the Receiving Party must so notify the

Producing Party, in writing (by email) promptly, and in no event more than five (5)

calendar days after receiving the subpoena or order. Such notification must

include a copy of the subpoena or order. The Receiving Party also must

immediately inform, in writing, the party who caused the subpoena or order to

issue that some or all of the material covered by the subpoena or order is subject to

this Order. In addition, the Receiving Party must deliver a copy of this Order

promptly to the party in the other action that caused the subpoena or order to issue.

The Receiving Party must also cooperate with respect to all reasonable procedures

sought to be pursued by the Producing Party whose Designated Material may be

affected. If the Producing Party timely seeks a protective order, the party served


                                         36
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 588 of 624 PageID #: 594




with a subpoena or court order shall not produce any information designated in this

Action as “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL

ONLY,” or “RESTRICTED CONFIDENTIAL – SOURCE CODE,” before a

determination by the court from which the subpoena or order issued, unless the

party has obtained the Producing Party’s permission. The Producing Party shall

bear the burdens and the expenses of seeking protection in that court of its

Designated Material. Nothing in these provisions should be construed as

authorizing or encouraging a Receiving Party in this action to disobey a lawful

directive from another court.

      20.    WAIVER OF NOTICE PROVISIONS. Any of the notice

requirements herein may be waived, in whole or in part, but only by a writing from

the Counsel of Record for the Party against whom such waiver will be effective.

      21.    MODIFICATION AND OBJECTIONS. This Order is entered

without prejudice to the right of any Party to apply to the Court at any time for

modification of this Order, when convenience or necessity requires. Nothing in

this Order abridges the right of any person to seek to assert other objections. No

Party waives any right it otherwise would have to object to disclosing or producing

any information, documents, or things on any ground not addressed in this Order.

Similarly, no Party waives any right to object on any ground to the use in evidence

of any of the material covered by this Order.


                                         37
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 589 of 624 PageID #: 595




      22.    JURISDICTION. The Superior Court of the State of Delaware is

responsible for the interpretation and enforcement of this Order. All disputes

concerning Designated Material produced under the protection of this Order shall

be resolved by the Superior Court of the State of Delaware. Every individual who

has signed the “Acknowledgement and Agreement To Be Bound By

Confidentiality Order” attached as Exhibit A, or who received any Designated

Material, agrees to subject himself or herself to the jurisdiction of this Court for the

purpose of any proceedings related to performance under, compliance with, or

violation of this Order.

      23.     FINAL DISPOSITION. Unless otherwise ordered or agreed in

writing by the Producing Party, within sixty (60) calendar days after the final

termination of this Action as to the Producing Party, all Parties, persons, and

entities (including experts and consultants) who received Designated Material shall

make a good faith effort to destroy or return to Counsel of Record for the

Producing Party all Designated Material and any and all copies of such Designated

Material (including summaries, excerpts, and derivative works). In the case of

material designated “RESTRICTED CONFIDENTIAL – SOURCE CODE,” the

Receiving Party must return (not destroy) the material. The Receiving Party must

submit a written confirmation of the return or destruction to the Producing Party

(and, if not the same person or entity, to the Designating Party) by the 60-day


                                          38
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 590 of 624 PageID #: 596




deadline. Notwithstanding this provision, Counsel of Record may retain an

archival copy of all pleadings, motion papers, deposition transcripts (including

exhibits), transcripts of other proceedings (including exhibits), expert reports

(including exhibits), discovery requests and responses (including exhibits), exhibits

offered or introduced into evidence at trial, legal memoranda, correspondence,

attorney work product, and legal files, even if such materials contain Designated

Material. Any such archival copies that contain or constitute Designated Material

remain subject to this Order as set forth in Section 20, above.

      24.    DURATION. The confidentiality obligations imposed by this Order

shall remain in effect until a Designating Party agrees otherwise in writing or a

court order otherwise directs.

      25.    SUCCESSORS. This Order shall be binding upon the Parties hereto,

their attorneys, and their successors, executors, personal representatives,

administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, retained consultants and experts, and any persons or

organizations over which they have direct control.




                                           39
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 591 of 624 PageID #: 597



 /s/ Karen E. Keller                         /s/ Alexandra M. Cumings
 Karen E. Keller (No. 4489)                  Jack B. Blumenfeld
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 (302) 298-0700                              P.O. Box 1347
 kkeller@shawkeller.com                      Wilmington, DE 19899
 Attorneys for Plaintiff                     (302) 658-9200
                                             jblumenfeld@mnat.com
                                             acumings@mnat.com
                                             Attorneys for Defendant

 Dated: October 2, 2019

                              SO ORDERED this ___ day of ________, 2019.


                              _______________________________________
                              The Honorable William C. Carpenter, Judge




                                        40
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 592 of 624 PageID #: 598



                                    EXHIBIT A

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                Plaintiff,

v.                                             C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                Defendant.

          ACKNOWLEDGEMENT AND AGREEMENT TO BE
       BOUND BY ORDER GOVERNING THE DESIGNATION AND
            HANDLING OF CONFIDENTIAL MATERIALS

      I, ____________________ [print or type full name], of

_____________________________ hereby affirm that:

      Information, including documents and things designated as

“CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or

“RESTRICTED CONFIDENTIAL – SOURCE CODE,” as defined in the Order

Governing the Designation and Handling of Confidential Materials (the

“Confidentiality Order”) entered in this Litigation, will be provided to me pursuant

to the terms and restrictions of that Order.

      I have been given a copy of and have read the Confidentiality Order.




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 593 of 624 PageID #: 599




      I am familiar with the terms of the Confidentiality Order and I agree to

comply with and to be bound by its terms. I submit to the jurisdiction of this Court

for enforcement of the Confidentiality Order.

      I agree not to use any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL – SOURCE CODE

information disclosed to me pursuant to the Confidentiality Order except for

purposes of this Litigation and not to disclose any of this information to persons,

other than those specifically authorized by the Confidentiality Order, without the

express written consent of the Party who designated the information as confidential

or by order of the Court.



 DATED:
 CITY, STATE WHERE WORN AND SIGNED:
 PRINTED NAME:
 SIGNATURE:




                                          2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 594 of 624 PageID #: 600



                                   EXHIBIT B

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

FINJAN, INC.,

                 Plaintiff,

v.                                            C.A. No. N18C-04-006-WCC (CCLD)

TRUSTWAVE HOLDINGS, INC.,

                 Defendant.


                      CERTIFICATION OF CONSULTANT

      I, ___________________ [print or type full name], of

_____________________________ hereby affirm that:

      Information, including documents and things designated as

“CONFIDENTIAL,”

      “CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “RESTRICTED

CONFIDENTIAL – SOURCE CODE,” as defined in the Order Governing the

Designation and Handling of Confidential Materials (“Confidentiality Order”)

entered in this Litigation, is being provided to me pursuant to the terms and

restrictions of that Order.

      I have been given a copy of and have read the Confidentiality Order.




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 595 of 624 PageID #: 601




       I am familiar with the terms of the Confidentiality Order and I agree to

comply with and to be bound by its terms. I submit to the jurisdiction of this Court

for enforcement of the Confidentiality Order.

       I agree not to use any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL – SOURCE CODE

information disclosed to me pursuant to the Confidentiality Order, except for

purposes of this Litigation, and not to disclose any of this information to persons,

other than those specifically authorized by the Confidentiality Order, without the

express written consent of the Party who designated the information as confidential

or by order of the Court. I also agree to notify any stenographic, clerical or

technical personnel who are required to assist me of the terms of this

Confidentiality Order and of its binding effect on them and me.

       Pursuant to Section 6 of the attached Confidentiality Order, I have provided

(a) my name and business title; (b) my business address; (c) my business or

profession; (d) my CV; (e) any previous or current relationship (personal or

professional) with any of the parties or their affiliates; (f) a list of other cases in

which I have testified (at trial or by deposition) within the last four years; (g) a list

of all companies with which I have consulted or by which I have been employed

within the last four years; and (h) a signed copy of the “Acknowledgement and

Agreement To Be Bound By Confidentiality Order” attached as Exhibit A.


                                             2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 596 of 624 PageID #: 602




      I understand that I am to retain all documents or materials designated as or

containing CONFIDENTIAL, CONFIDENTIAL – OUTSIDE COUNSEL ONLY,

or RESTRICTED CONFIDENTIAL – SOURCE CODE information in a secure

manner, and that all such documents and materials are to remain in my personal

custody until the completion of my assigned duties in this matter, whereupon all

such documents and materials, including all copies thereof, and any writings

prepared by me containing any CONFIDENTIAL, CONFIDENTIAL – OUTSIDE

COUNSEL ONLY, or RESTRICTED CONFIDENTIAL– SOURCE CODE

information are to be returned to counsel who provided me with such documents

and materials.



 DATED:
 CITY, STATE WHERE WORN AND SIGNED:
 PRINTED NAME:
 SIGNATURE:




                                         3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 597 of 624 PageID #: 603
                                                EFiled: Oct 09 2019 04:26PM EDT
                                                Transaction ID 64298543
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                              )
                                            )
                Plaintiff,                  )
                                            )
   v.                                       ) C.A. No. 18C-04-006-WCC-CCLD
                                            )
 TRUSTWAVE HOLDINGS, INC.,                  )
                                            )
                Defendant.                  )


                    STIPULATION AND PROPOSED ORDER

        Plaintiff Finjan, Inc. (“Plaintiff”) and defendant Trustwave Holdings, Inc.

(“Defendant”) stipulate and agree, subject to the approval of the Court, that the

time for Plaintiff to respond to Defendant’s Motion to Amend is extended through

and including October 11, 2019.

 /s/ Karen E. Keller                           /s/ Alexandra M. Cumings
 Karen E. Keller (No. 4489)                    Jack B. Blumenfeld (No. 1014)
 SHAW KELLER LLP                               Alexandra M. Cumings (No. 6146)
 I.M. Pei Building                             MORRIS, NICHOLS, ARSHT
 1105 North Market Street, 12th Floor           & TUNNELL LLP
 Wilmington, DE 19801                          1201 North Market Street
 (302) 298-0700                                P.O. Box 1347
 kkeller@shawkeller.com                        Wilmington, DE 19899
 Attorneys for Plaintiff                       (302) 658-9200
                                               jblumenfeld@mnat.com
 Dated: October 9, 2019                        acumings@mnat.com
                                               Attorneys for Defendant
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 598 of 624 PageID #: 604




      SO ORDERED this _____ day of_____________, 2019.


                                    ______________________________
                                    Honorable William C. Carpenter Jr.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 599 of 624 PageID #: 605
                        So Ordered                 EFiled: Oct 11 2019 08:34AM EDT
             /s/ Carpenter, William C Oct 11, 2019 Transaction ID 64305723
                                                   Case No. N18C-04-006 WCC CCLD
          IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                               )
                                             )
                 Plaintiff,                  )
                                             )
    v.                                       ) C.A. No. 18C-04-006-WCC-CCLD
                                             )
 TRUSTWAVE HOLDINGS, INC.,                   )
                                             )
                 Defendant.                  )


                     STIPULATION AND PROPOSED ORDER

         Plaintiff Finjan, Inc. (“Plaintiff”) and defendant Trustwave Holdings, Inc.

(“Defendant”) stipulate and agree, subject to the approval of the Court, that the

time for Plaintiff to respond to Defendant’s Motion to Amend is extended through

and including October 11, 2019.

 /s/ Karen E. Keller                            /s/ Alexandra M. Cumings
 Karen E. Keller (No. 4489)                     Jack B. Blumenfeld (No. 1014)
 SHAW KELLER LLP                                Alexandra M. Cumings (No. 6146)
 I.M. Pei Building                              MORRIS, NICHOLS, ARSHT
 1105 North Market Street, 12th Floor            & TUNNELL LLP
 Wilmington, DE 19801                           1201 North Market Street
 (302) 298-0700                                 P.O. Box 1347
 kkeller@shawkeller.com                         Wilmington, DE 19899
 Attorneys for Plaintiff                        (302) 658-9200
                                                jblumenfeld@mnat.com
 Dated: October 9, 2019                         acumings@mnat.com
                                                Attorneys for Defendant
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 600 of 624 PageID #: 606




      SO ORDERED this _____ day of_____________, 2019.


                                    ______________________________
                                    Honorable William C. Carpenter Jr.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 601 of 624 PageID #: 607




Court Authorizer
     Comments:

So Ordered on 10-10-19 by Carpenter, J.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 602 of 624 PageID #: 608
                                                EFiled: Oct 14 2019 02:30PM EDT
                                                Transaction ID 64313703
                                                Case No. N18C-04-006 WCC CCLD
           IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


FINJAN, INC.                             )
                                         )
                   Plaintiff,            )
                                         )
      v.                                 ) C.A. No. N18C-04-006 WCC CCLD
                                         )
TRUSTWAVE HOLDINGS, INC.,                )
                                         )
                   Defendant.            )


                      DEFENDANT’S COUNTERCLAIM
      Defendant Trustwave Holdings, Inc. (“Trustwave”), by and through its

undersigned counsel, brings the following Counterclaim against Plaintiff Finjan,

Inc. (“Finjan”):

                                NATURE OF ACTION
      1.     This is a Counterclaim for declaratory judgment as to the parties’

rights and obligations relating to royalties owed, if any, under Trustwave’s and

Finjan’s March 2012 Amended and Restated Patent License Agreement (the

“Agreement”), which is attached hereto as Exhibit A.

      2.     Trustwave realleges and incorporates by reference each of the

paragraphs in its February 19, 2019 Answer and Affirmative Defenses to Finjan’s

Complaint.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 603 of 624 PageID #: 609



                                      PARTIES
      3.     Finjan is a Delaware corporation with a principal place of business at

2000 University Avenue, Suite 600, Palo Alto, California, 94303.

      4.     Finjan’s sole purpose is to extract patent license fees from operating

companies through litigation or the threat of litigation:

      Licensing and enforcement of the Company’s cybersecurity patent
      portfolio is operated by its wholly-owned subsidiary Finjan, Inc.
      (“Finjan”).

      Through Finjan, we generate revenues and related cash flows by
      granting intellectual property licenses for the use of patented
      technologies that we own. We actively license and enforce our patent
      rights against unauthorized use of our patented technologies (i.e.
      potential infringers). Many of our license agreements, whether entered
      into via negotiated transactions (i.e. licensing transactions) or through
      a settlement or court ordered judgment (i.e. litigation action) or
      otherwise, are structured on a fully paid-up basis (often referred to as a
      “global peace license”).

      …

      We derive substantially all of our income from a relatively small
      number of patented technologies. As of December 31, 2017, our assets
      consisted primarily of Finjan’s 29 U.S. and 38 international patents….
      Finjan’s current U.S. issued patents began expiring in 2017, and we
      currently have 2 U.S. patent applications and 1 international patent
      application pending as of the date of the filing of this Annual Report
      on Form 10-K. As new technological advances occur, many of the
      patented technologies we own through Finjan may become obsolete
      before they are completely monetized.

      See Exhibit B (Finjan Holdings, Inc.’s 10-K for FY2017) at pp. 4-5 and 13.




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 604 of 624 PageID #: 610



      5.     Trustwave Holdings, Inc. is a Delaware corporation with a principal

place of business in 70 W. Madison St., Suite 600, Chicago, IL 60602.

                       THE MARCH 2012 AGREEMENT
      6.     In March 2012, Trustwave and Finjan entered into the Agreement

when Trustwave acquired M86. See Exhibit. A at first whereas clause. The original

license between M86 and Finjan began in November 2009. Id.

      7.     In the Agreement, Finjan—the Licensor—granted Trustwave—the

Licensee—a “fully paid up, worldwide right and license” to the “Licensed Patents”

owned by Finjan in exchange for shares of Trustwave. Id. at Section 2.1.1 and

fourth whereas clause (“Licensor has agreed to amend the Original License, inter

alia to grant Licensee a fully paid up license to use the Licensed Patents pursuant

to the terms and conditions set forth herein in consideration for issuance of

224,000 shares of Class A Voting Common Stock of Licensee.”). Hence, in March

2012, Trustwave and Finjan negotiated a fully-paid up, royalty-free license.

      8.     Finjan’s shares in Trustwave were converted to nearly $20 million

when Singapore Telecommunications Limited (“Singtel”) acquired Trustwave on

August 31, 2015.

                         JURISDICTION AND VENUE
      9.     The Court has subject matter jurisdiction and personal jurisdiction

over Finjan at least by virtue of Section 6.4.1 of the Agreement, which states that



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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 605 of 624 PageID #: 611



“[t]he parties hereto hereby irrevocably submit to the exclusive jurisdiction of any

federal or state court located within the State of Delaware over any dispute arising

out of or relating to this Agreement and each party hereby irrevocably agrees that

all claims in respect of such dispute or any suit, action proceeding related thereto

may be heard and determined in such courts.” This dispute arises of and relates to

the Agreement by virtue of Finjan’s allegations that Trustwave breached

provisions of the Agreement as stated in Finjan’s Complaint.

      10.    The Court also has personal jurisdiction over Finjan because

Trustwave’s claims against each of them arises out of or relate to each of their

purposeful contacts with Delaware, and the exercise of personal jurisdiction over

each Finjan in this particular case would comport with principles of fair play and

substantial justice.

      11.    This Court also has personal jurisdiction over Finjan because it has

engaged in systematic and continuous contacts with this State and this district by,

inter alia, regularly conducting and soliciting business in this State and this

district, and deriving substantial revenue from products and/or services provided to

persons in this State and this district. For example, and without limitation, as noted

above, Finjan is a Delaware corporation.

      12.    Venue is proper in this Court at least by virtue of Section 6.4.1 of the

Agreement, which, in addition to stating that “[t]he parties hereto hereby


                                           4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 606 of 624 PageID #: 612



irrevocably submit to the exclusive jurisdiction of any federal or state court located

within the State of Delaware over any dispute arising out of or relating to this

Agreement,” further states that “[t]he parties hereby irrevocably waive, to the

fullest extent permitted by applicable law, any objection which they may now or

hereafter have to the laying of venue of any such dispute brought in such court or

any defense of inconvenient forum for the maintenance of such dispute.”

      13.    Venue is further proper in this State because Finjan is incorporated

here, and a substantial part of the events or omissions giving rise to the

counterclaim alleged herein occurred in this district, and because Finjan is subject

to this Court's personal jurisdiction with respect to the counterclaim alleged herein.

                                COUNTERCLAIM

  (Declaratory Judgment as to the Parties’ Rights and Obligations relating to
                   Royalties Owed under the Agreement)

      14.    Trustwave incorporates paragraphs 1 through 13 herein by reference.

      15.    Finjan and Trustwave entered into the Agreement, a valid,

enforceable, and binding contract supported by offer, acceptance, and mutual

consideration. Trustwave was acquired by Singtel no later than August 31, 2015.

      16.    Finjan alleged in its Complaint that Trustwave owed a 4% royalty on

sales of certain cybersecurity products sold by Trustwave regardless of the

customer.




                                          5
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 607 of 624 PageID #: 613



      17.    After extensive briefing and a November19, 2018 oral argument on

Trustwave’s Motion to Dismiss, on February 11, 2019, this Court issued a Letter

Opinion (the “Order”) that narrowly defined the sole issue in dispute as follows:

      As a result, Finjan's suit for breach of contract may proceed, but only
      to determine whether or not Singtel is actually using the patent
      technology that would trigger royalty payments under the Agreement.
      The cost obligations alleged in Counts Two and Three of the
      Complaint will await the outcome of the discovery which the Court
      has authorized.

      18.    Finjan continues to disregard the Court’s Order and seek royalties on

Trustwave sales unrelated to Singtel as well as Singtel sales unrelated to

Trustwave. In addition to its discovery requests (and corresponding Motion to

Compel), which wholly ignore the Court’s Order, Finjan’s renewed demand for the

identical royalties it sought pre-litigation related to Trustwave sales (unrelated to

Singtel) on September 25, 2019 demonstrates that a justiciable controversy exists

between the parties concerning their rights and obligations under the Agreement.

      19.    Under the Order, the only transactions even potentially capable of

triggering royalties under the Agreement are sales by Trustwave to Singtel

following August 31, 2015.

      20.    While Trustwave acknowledges that the Court’s Order contemplates

discovery concerning Trustwave’s sales to Singtel, Trustwave does not believe that

there has been any royalty-triggering activity.




                                           6
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 608 of 624 PageID #: 614



      21.    As such, a further justiciable controversy exists as to whether

Trustwave has breached the parties’ Agreement and whether any royalties are

owed to Finjan under the Agreement.

      22.    Trustwave seeks a declaration confirming the parties’ rights and

obligations under the Agreement (including as detailed by the Court earlier in the

litigation), including, inter alia, that Trustwave’s transactions in connection with

its ongoing existing business are fully paid-up/royalty-free under the Agreement

and that Trustwave has not breached the Agreement.

                             PRAYER FOR RELIEF

      WHEREFORE, Trustwave respectfully requests that this Court:

      A.     Enter judgment in the form of a declaration confirming the parties’

rights and obligations under the Agreement (including as detailed by the Court

earlier in the litigation), including, inter alia, that Trustwave’s transactions in

connection with its ongoing existing business are fully paid-up/royalty-free under

the Agreement and that Trustwave has not breached the Agreement;

      B.     Award Trustwave its reasonable costs and expenses incurred in

connection with this Action; and

      C.     Grant Trustwave such other and further relief as this Court may deem

just and proper.




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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 609 of 624 PageID #: 615




                                       MORRIS, NICHOLS, ARSHT &
                                       TUNNELL LLP


                                       /s/ Jack B. Blumenfeld
OF COUNSEL:                            Jack B. Blumenfeld (#1014)
                                       Alexandra M. Cumings (#6146)
John S. Letchinger                     1201 North Market Street
BAKER& HOSTETLER LLP                   P.O. Box 1347
191 N. Wacker Drive, Suite 3100        Wilmington, DE 19899-1347
Chicago, IL 60606-1901                 (302) 658-9200
(312) 416-6200                         Attorneys for Defendant Trustwave
                                       Holdings, Inc.
Jared A. Brandyberry
BAKER& HOSTETLER LLP
1801 California Street, Suite 4400
Denver, CO 80202
(303) 764-4072

October 14, 2019




                                      8
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 610 of 624 PageID #: 616



                         CERTIFICATE OF SERVICE

            I hereby certify that on October 14, 2019 the foregoing documents were

served upon all counsel of record via File & ServeXpress.

                         Karen E. Keller, Esq.
                         Shaw Keller LLP
                         I.M. Pei Building
                         1105 N. Market Street, 12th Floor
                         Wilmington, DE 19801




                                     /s/ Alexandra M. Cumings
                                     Alexandra M. Cumings (#6146)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 611 of 624 PageID #: 617
                                                          EFiled: Oct 14 2019 02:30PM EDT
                M O R R I S , N I C H O L S , A R S H T & Transaction
                                                          T U N N E L L LIDL P64313703
                                                          Case No. N18C-04-006 WCC CCLD
                                  1201 N ORTH M ARKET S TREET
                                         P.O. B OX 1347
                              W ILMINGTON , D ELAWARE 19899-1347

                                         (302) 658-9200
                                      (302) 658-3989 FAX

 ALEXANDRA M. CUMINGS
 (302) 351-9248
 (302) 425-3012 FAX
 acumings@mnat.com




                                           October 14, 2019

 BY E-FILING AND HAND DELIVERY

 The Honorable William C. Carpenter, Jr.
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

                 Re:    Finjan, Inc. v. Trustwave Holdings, Inc.,
                        C.A. No. N18C-04-006-WCC [CCLD]

 Dear Judge Carpenter:

                 I write on behalf of Defendant Trustwave Holdings, Inc.

 (“Trustwave”) regarding Trustwave’s Motion for Leave to File Counterclaims

 (“Motion for Leave,” Dkt. 70), which was noticed for oral argument as a routine

 motion on October 16, 2019. Plaintiff consented to the filing of the Counterclaim,

 and thus the hearing on the Motion for Leave can be taken off calendar. Trustwave

 filed its Counterclaim contemporaneously with this letter.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 612 of 624 PageID #: 618
The Honorable William C. Carpenter, Jr.
October 14, 2019
Page 2

            Should Your Honor have any questions, counsel is available at the

Court’s convenience.

                                    Respectfully,

                                    /s/ Alexandra M. Cumings

                                    Alexandra M. Cumings (#6146)


cc:   Karen Keller (via File & ServeXpress)
    Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 613 of 624 PageID #: 619
                                                    EFiled: Oct 16 2019 02:31PM EDT
                                                    Transaction ID 64322613
                                                    Case No. N18C-04-006 WCC CCLD
                               Superior Court Proceeding Worksheet

      Date:           Wednesday, October 16, 2019                       Time:    9:15 a.m.- Courtroom 8A


     Judge:                William C. Carpenter                  Case Number:      N18C-04-006 WCC


Type of Proceeding:                                         Motion to Compel

                           Karen Keller, Esq.                                    Alexandra Cumings, Esq.
Plaintiff Attorney          Bijal Vakil, Esq.              Defendant Attorney     John S. Letchinger, Esq.


        Plaintiff                                 Finjan, Inc.

                                                      v
      Defendant                         Trustwave Holdings, Inc.



       Decision:                 Granted             Denied            Deferred Decision           Passed


        Other:             Motion GRANTED only to the extent that the information regarding sales from
                           Trustwave Holdings, Inc. to Singtel is to be given to KPMG.


                           .




Court Clerk:         Nancy Hernandez-Becerra              Court Reporter:   James Pavone
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 614 of 624 PageID #: 620
                                                EFiled: Nov 04 2019 04:37PM EST
                                                Transaction ID 64385470
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                              )
                                            )
               Plaintiff,                   )
                                            )
   v.                                       ) C.A. No. N18C-04-006-WCC-CCLD
                                            )
 TRUSTWAVE HOLDINGS, INC.,                  )
                                            )
               Defendant.                   )


        FINJAN’S RESPONSE TO DEFENDANT’S COUNTERCLAIM
        Plaintiff and Counter-Defendant FINJAN, INC., by and through its

undersigned counsel, responds to the Counterclaim filed by Counterclaimant

Trustwave Holdings, Inc. as follows:

                              NATURE OF ACTION

        1.    Finjan admits the allegations in Paragraph 1.

        2.    Paragraph 2 relies on legal conclusions to which no response is

required. To the extent that a response is required, Finjan lacks knowledge or

information sufficient to form a belief about the truth of the allegations in

Paragraph 2 and therefore denies them.

                                      PARTIES

        3.    Finjan admits the allegations in Paragraph 3.

        4.    Finjan denies the allegations in Paragraph 4.
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 615 of 624 PageID #: 621



      5.     Finjan lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 5 and therefore denies them.

                        THE MARCH 2012 AGREEMENT

      6.     Finjan admits the allegations in Paragraph 6.

      7.     Finjan admits that the Agreement contains Section 2.1.1 as stated in

Paragraph 7, but Finjan denies all remaining allegations in Paragraph 7.

      8.     Finjan lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 8 and therefore denies them.

                          JURISDICTION AND VENUE

      9.     Finjan admits that the Court has subject matter jurisdiction and

personal jurisdiction for this dispute as it arises out of and relates to the

Agreement, Finjan denies all other allegations in Paragraph 9.

      10.    Finjan admits that the Court has personal jurisdiction for this dispute,

Finjan denies all other allegations in Paragraph 10.

      11.    Finjan admits that the Court has personal jurisdiction for this dispute,

Finjan denies all other allegations in Paragraph 11.

      12.    Finjan admits that venue is proper in this Court for this dispute as it

arises out of and relates to the Agreement, Finjan denies all other allegations in

Paragraph 12.




                                            2
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 616 of 624 PageID #: 622



      13.    Finjan admits that venue is proper in this State for this dispute, Finjan

denies all other allegations in Paragraph 13.

                                 COUNTERCLAIM

  (Declaratory Judgment as to the Parties’ Rights and Obligations relating to
                   Royalties Owed under the Agreement)

      14.    Finjan repeats and incorporates by reference its answers in Paragraphs

1 through 13 as if fully set forth herein.

      15.    Finjan admits the allegations in Paragraph 15.

      16.    Finjan admits that its Complaint requested the Court to order

Trustwave to pay to Finjan damages (including but not limited to attorney’s fees,

costs, interest on damages, and damages) for Trustwave’s breach of the Agreement

and failure to pay royalties as required under the Agreement, but Finjan denies all

remaining allegations in Paragraph 16.

      17.    Finjan admits that this Court issued a Letter Opinion on February 11,

2019 as stated in Paragraph 17, but Finjan denies all remaining allegations in

Paragraph 17.

      18.    Finjan denies the allegations in Paragraph 18.

      19.    Finjan denies the allegations in Paragraph 19.

      20.    Finjan lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 20 and therefore denies them.

      21.    Finjan admits the allegations in Paragraph 21.
                                             3
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 617 of 624 PageID #: 623



      22.    Paragraph 22 relies on legal conclusions to which no response is

required. To the extent that a response is required, Finjan lacks knowledge or

information sufficient to form a belief about the truth of the allegations in

Paragraph 22 and therefore denies them.

                                               /s/ Karen S. Keller
                                               Karen E. Keller (No. 4489)
                                               David M. Fry (No. 5486)
                                               SHAW KELLER LLP
                                               I.M. Pei Building
 OF COUNSEL:                                   1105 North Market Street, 12th Floor
 Bijal Vakil                                   Wilmington, DE 19801
 WHITE & CASE LLP                              (302) 298-0700
 3000 El Camino Real                           kkeller@shawkeller.com
 2 Palo Alto Square, Suite 900                 dfry@shawkeller.com
 Palo Alto, CA 94306                           Attorneys for Plaintiff
 (650) 213-0300

 Dated: November 4, 2019




                                           4
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 618 of 624 PageID #: 624



                        CERTIFICATE OF SERVICE
       I, Karen E. Keller, hereby certify that on November 4, 2019, this document

 was served on the persons listed below in the manner indicated:

 BY FILE & SERVE XPRESS AND
 EMAIL
 Jack B. Blumenfeld                     Jared A. Brandyberry
 Alexandra M. Cumings                   BAKER & HOSTETLER LLP
 MORRIS, NICHOLS, ARSHT                 1801 California Street
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 Wilmington, DE 19899                   jbrandyberry@bakerlaw.com
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                                        /s/ Karen E. Keller
                                        Karen E. Keller (No. 4489)
                                        David M. Fry (No. 5486)
                                        SHAW KELLER LLP
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                                        (302) 298-0700
                                        kkeller@shawkeller.com
                                        dfry@shawkeller.com
                                        Attorneys for Plaintiff
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 619 of 624 PageID #: 625
                                                          EFiled: Nov 22 2019 01:22PM EST
                M O R R I S , N I C H O L S , A R S H T & Transaction
                                                          T U N N E L L LIDL P64457544
                                                          Case No. N18C-04-006 WCC CCLD
                                  1201 N ORTH M ARKET S TREET
                                         P.O. B OX 1347
                              W ILMINGTON , D ELAWARE 19899-1347

                                         (302) 658-9200
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 acumings@mnat.com




                                           November 22, 2019

 BY E-FILING AND HAND DELIVERY

 The Honorable William C. Carpenter, Jr.
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

                 Re:    Finjan, Inc. v. Trustwave Holdings, Inc.,
                        C.A. No. N18C-04-006-WCC [CCLD]

 Dear Judge Carpenter:

                 I write on behalf of Defendant Trustwave Holdings, Inc.

 (“Trustwave”) regarding the Stipulated Order Governing Designation and

 Handling of Confidential Materials dated October 7, 2019 (the “Confidentiality

 Order,” Dkt. 79). Third-party KPMG will be conducting a review of certain

 Trustwave confidential sales information at issue in this action. In KPMG’s view

 portions of the Confidentiality Order conflict with professional accounting

 standards under which KPMG must conform. Accordingly, KPMG requested that
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 620 of 624 PageID #: 626
The Honorable William C. Carpenter, Jr.
November 22, 2019
Page 2

the forthcoming review be conducted pursuant to a separate, prior Non-Disclosure

Agreement between Trustwave and KPMG dated October 27, 2016. In order to

proceed with the review in a timely fashion Trustwave has agreed to accommodate

KPMG’s request. Finjan has indicated that it does not object to this arrangement.

Therefore, Trustwave writes herein to notify the Court that the confidentiality of

the forthcoming KPMG review will be controlled by the terms of the October 27,

2016 Non-Disclosure Agreement.

            Should Your Honor have any questions, counsel is available at the

Court’s convenience.

                                     Respectfully,
                                     /s/ Alexandra M. Cumings

                                     Alexandra M. Cumings (#6146)


cc:   Karen Keller (via File & ServeXpress)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 621 of 624 PageID #: 627
                           So Noted                         EFiled: Nov 25 2019 01:42PM EST
             /s/ Carpenter, William C Nov 25, 2019
                  M O R R I S , N I C H O L S , A R S H T & Transaction
                                                            T U N N E L L LIDL P64462541
                                                            Case No. N18C-04-006 WCC CCLD
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                                           November 22, 2019

 BY E-FILING AND HAND DELIVERY

 The Honorable William C. Carpenter, Jr.
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

                 Re:    Finjan, Inc. v. Trustwave Holdings, Inc.,
                        C.A. No. N18C-04-006-WCC [CCLD]

 Dear Judge Carpenter:

                 I write on behalf of Defendant Trustwave Holdings, Inc.

 (“Trustwave”) regarding the Stipulated Order Governing Designation and

 Handling of Confidential Materials dated October 7, 2019 (the “Confidentiality

 Order,” Dkt. 79). Third-party KPMG will be conducting a review of certain

 Trustwave confidential sales information at issue in this action. In KPMG’s view

 portions of the Confidentiality Order conflict with professional accounting

 standards under which KPMG must conform. Accordingly, KPMG requested that
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 622 of 624 PageID #: 628
The Honorable William C. Carpenter, Jr.
November 22, 2019
Page 2

the forthcoming review be conducted pursuant to a separate, prior Non-Disclosure

Agreement between Trustwave and KPMG dated October 27, 2016. In order to

proceed with the review in a timely fashion Trustwave has agreed to accommodate

KPMG’s request. Finjan has indicated that it does not object to this arrangement.

Therefore, Trustwave writes herein to notify the Court that the confidentiality of

the forthcoming KPMG review will be controlled by the terms of the October 27,

2016 Non-Disclosure Agreement.

            Should Your Honor have any questions, counsel is available at the

Court’s convenience.

                                     Respectfully,
                                     /s/ Alexandra M. Cumings

                                     Alexandra M. Cumings (#6146)


cc:   Karen Keller (via File & ServeXpress)
Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 623 of 624 PageID #: 629
                                                EFiled: Dec 04 2019 06:03PM EST
                                                Transaction ID 64488834
                                                Case No. N18C-04-006 WCC CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 FINJAN, INC.,                            )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     ) C.A. No. 18C-04-006-WCC-CCLD
                                          )
 TRUSTWAVE HOLDINGS, INC.,                )
                                          )
               Defendant.                 )


                             NOTICE OF SERVICE

        PLEASE TAKE NOTICE that on December 4, 2019, the following

 document was served on the persons listed below in the manner indicated:

        1)   Plaintiff’s First Supplemental Responses and Objections to
             Defendant’s First Set of Interrogatories

        BY LEXIS NEXIS FILE
        & SERVE XPRESS
        AND EMAIL
        Jack B. Blumenfeld                  John S. Letchinger
        Alexandra M. Cumings                Matthew J. Caccamo
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Case 1:20-cv-00372-MN Document 2-1 Filed 03/16/20 Page 624 of 624 PageID #: 630




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 Dated: December 4, 2019




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